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                          EXHIBIT 40
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                                     IN THE
                    United States Court of Appeals
                        for the Federal Circuit
       INTELLECTUAL VENTURES I LLC; INTELLECTUAL VENTURES II LLC,
                                                    Plaintiffs-Appellees,
        INVENTION INVESTMENT FUND II, LLC; INTELLECTUAL VENTURES
           MANAGEMENT, LLC; INVENTION INVESTMENT FUND I, L.P.,
                                        Third-Party Defendants-Appellees,
                                        v.
                  CAPITAL ONE FINANCIAL CORPORATION et al.,
                               Defendants/Third-Party Plaintiffs-Appellants.

                              On Appeal from the
            United States District Court for the District of Maryland
                    No. 8:14-cv-111 (Hon. Paul W. Grimm)

           BRIEF FOR THE UNITED STATES OF AMERICA
     AND THE FEDERAL TRADE COMMISSION AS AMICI CURIAE
          IN SUPPORT OF NEITHER PARTY (CORRECTED)

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                        STATEMENT OF INTEREST

        This case concerns the scope of the Noerr-Pennington doctrine,

  which protects attempts to influence the passage or enforcement of

  laws, including through litigation, from antitrust liability. See E. R.R.

  Presidents Conference v. Noerr Motor Freight, Inc., 365 U.S. 127 (1961);

  United Mine Workers v. Pennington, 381 U.S. 657 (1965). Here, a

  company defending against a patent-infringement lawsuit asserted

  antitrust counterclaims against the plaintiff. The district court

  dismissed the antitrust counterclaims based, in part, on its

  determination that the challenged conduct included patent-litigation

  activity that was protected by the Noerr-Pennington doctrine.

        The U.S. Department of Justice (DOJ) and the Federal Trade

  Commission (FTC) (collectively, the government) enforce the federal

  antitrust laws and have a strong interest in the substantive and

  procedural aspects of those laws. The government files this brief,

  pursuant to Fed. R. App. P. 29(a), to address the district court’s

  statement that, “even if the . . . litigation allegations could be excised

  from [the antitrust claimant’s] pleadings,” Noerr-Pennington would

  protect the patent holder from liability—including for its patent



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  acquisitions—because litigation was “one component of [the] larger

  scheme” of allegedly anticompetitive conduct. Mem. Op. 23 (D. Ct. Dkt.

  No. 686) (Op.). That language incorrectly suggests that the presence of

  protected litigation activity shields non-petitioning conduct (e.g., asset

  acquisitions) from antitrust liability. Accordingly, if the Court reaches

  the Noerr-Pennington issue, it should clarify that Noerr-Pennington

  does not protect anticompetitive patent acquisitions from antitrust

  liability, regardless of whether the patent acquirer engages in protected

  litigation activity. The government expresses no view on any other

  grounds on which the Court may decide the case.

                       STATEMENT OF THE ISSUE

        Whether, under the Noerr-Pennington doctrine, a non-sham

  patent-infringement lawsuit shields an anticompetitive patent

  acquisition from antitrust scrutiny under Section 2 of the Sherman Act,

  15 U.S.C. § 2, or Section 7 of the Clayton Act, id. § 18.

                        STATEMENT OF THE CASE

        On December 1, 2017, the U.S. District Court for the District of

  Maryland granted summary judgment to five related entities

  (collectively Intellectual Ventures), the counter-defendants to Capital



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  One’s antitrust counterclaims alleging that Intellectual Ventures

  violated Section 2 of the Sherman Act and Section 7 of the Clayton Act.

  Capital One appeals that decision.

     A. Legal Background

        This case involves the Noerr-Pennington doctrine, which protects

  petitions to the government for redress. The doctrine provides “that no

  violation of the [antitrust laws] can be predicated upon mere attempts

  to influence the passage or enforcement of laws.” E. R.R. Presidents

  Conference v. Noerr Motor Freight, Inc., 365 U.S. 127, 135 (1961); accord

  United Mine Workers v. Pennington, 381 U.S. 657, 670 (1965). And the

  doctrine “extends to all departments of the Government,” thus

  protecting “[t]he right of access to the courts.” Cal. Motor Transp. Co. v.

  Trucking Unlimited, 404 U.S. 508, 510 (1972).

        Noerr-Pennington does not, however, protect “private commercial

  activity, no element of which involved seeking to procure the passage or

  enforcement of laws.” Cont’l Ore Co. v. Union Carbide & Carbon Corp.,

  370 U.S. 690, 707 (1962). Nor does it protect persons who “use the

  governmental process—as opposed to the outcome of that process—as an

  anticompetitive weapon.” Columbia v. Omni Outdoor Advert., Inc., 499



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  U.S. 365, 380 (1991) (emphases in original). In the litigation context,

  this limitation is called the “sham litigation” exception and withdraws

  Noerr-Pennington protection from “private action that is not genuinely

  aimed at procuring favorable government action.” Prof’l Real Estate

  Inv’rs, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 58 (1993)

  (quoting Allied Tube & Conduit Corp. v. Indian Head, Inc., 486 U.S.

  492, 500 n.4 (1988)); see Cal. Motor Transp. Co., 404 U.S. at 513 (“a

  pattern of baseless, repetitive claims may emerge which leads the

  factfinder to conclude that the administrative and judicial processes

  have been abused”).

        Here, the Noerr-Pennington issue arises in the context of antitrust

  claims brought against an entity that was suing to enforce its portfolio

  of acquired patents. As this Court has observed, antitrust law and

  patent law are “complementary, as both are aimed at encouraging

  innovation, industry and competition.” Atari Games Corp. v. Nintendo

  of Am., Inc., 897 F.2d 1572, 1576 (Fed. Cir. 1990). The patent system

  “provide[s] incentives for innovation and its dissemination and

  commercialization by establishing enforceable property rights,” while

  “antitrust laws promote innovation and consumer welfare by


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  prohibiting certain actions that may harm competition.” Dep’t of

  Justice & Fed. Trade Comm’n, Antitrust Guidelines for the Licensing of

  Intellectual Property § 1.0 (2017) (Antitrust-IP Guidelines).

        A valid patent confers the right to exclude others from practicing

  the invention claimed in the patent. 35 U.S.C. § 154(a)(1); Dawson

  Chem. Co. v. Rohm & Haas Co., 448 U.S. 176, 215 (1980). Courts often

  refer to this right to exclude as the “patent monopoly,” but the right to

  exclude others does not—in and of itself—create a monopoly in the

  antitrust sense. See Ill. Tool Works Inc. v. Indep. Ink, Inc., 547 U.S. 28,

  45 (2006) (“[A] patent does not necessarily confer market power upon

  the patentee.”); Abbott Labs. v. Brennan, 952 F.2d 1346, 1354 (Fed. Cir.

  1991) (same); Antitrust-IP Guidelines § 2.2 (same). Moreover,

  “[i]ntellectual property rights do not confer a privilege to violate the

  antitrust laws.” United States v. Microsoft Corp., 253 F.3d 34, 63 (D.C.

  Cir. 2001) (en banc) (per curiam) (quoting In re Indep. Serv. Orgs.

  Antitrust Litig., 203 F.3d 1322, 1325 (Fed. Cir. 2000)).

        The antitrust laws at issue in this case are Section 2 of the

  Sherman Act, which makes it illegal to “monopolize, or attempt to

  monopolize . . . any part of the trade or commerce among the several


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  States,” 15 U.S.C. § 2, and Section 7 of the Clayton Act, which prohibits

  the acquisition of assets when “the effect of such acquisition may be

  substantially to lessen competition, or to tend to create a monopoly,” id.

  § 18. Both could apply to anticompetitive patent acquisitions. For

  example, a patent holder violates Section 2 when it attempts to

  monopolize an industry by acquiring “every important patent” to that

  industry. Kobe, Inc. v. Dempsey Pump Co., 198 F.2d 416, 422-24 (10th

  Cir. 1952). And Clayton Act “section 7 may prohibit an acquisition,

  such as the acquisition of some patent licenses, if ‘the effect of such

  acquisition may be substantially to lessen competition, or to tend to

  create a monopoly.’” Eastman Kodak Co. v. Goodyear Tire & Rubber

  Co., 114 F.3d 1547, 1557 (Fed. Cir. 1997) (citation omitted);1 accord

  Herbert J. Hovenkamp, Prophylactic Merger Policy 21 & n.93, Univ. of

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  (citing cases).




  1 Eastman Kodak was abrogated for several years, on other grounds, by

  Cybor Corp. v. FAS Technologies, Inc., 138 F.3d 1448, 1454-55 (Fed. Cir.
  1998) (en banc). But Cybor itself was subsequently abrogated, as
  explained by Teva Pharmaceuticals USA, Inc. v. Sandoz, Inc., 789 F.3d
  1335, 1339-40 (Fed. Cir. 2015).

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     B. Factual And Procedural Background

        Intellectual Ventures purchases patents and aggregates them into

  portfolios that it seeks to license to businesses. Intellectual Ventures

  sought to license Capital One to use its portfolio of thousands of

  financial-services patents. After the parties failed to agree on a license,

  Intellectual Ventures sued Capital One for patent infringement, first in

  the Eastern District of Virginia in 2013 (on five patents) and then in the

  District of Maryland in 2014 (on five different patents). Capital One

  asserted antitrust counterclaims in both actions, alleging that

  Intellectual Ventures violated Section 2 of the Sherman Act by

  monopolizing or attempting to monopolize a market for financial-

  services patents (defined as Intellectual Ventures’ portfolio) and that

  Intellectual Ventures’ acquisition of these patents violated Section 7 of

  the Clayton Act.

        All claims of infringement of the financial-services patents

  Intellectual Ventures asserted in these cases have been withdrawn or

  rejected because the patents were invalid or unenforceable. See

  Intellectual Ventures I LLC v. Capital One Fin. Corp., 850 F.3d 1332

  (Fed. Cir. 2017) (affirming District of Maryland decisions); Intellectual



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  Ventures I LLC v. Capital One Bank (USA), 792 F.3d 1363 (Fed. Cir.

  2015) (affirming Eastern District of Virginia decision). The litigation on

  Capital One’s antitrust counterclaims, however, continued in the

  District of Maryland.2

        In the decision under review, the district court granted summary

  judgment on those counterclaims in favor of Intellectual Ventures.

  Op. 1-2, 52. The court held that Capital One’s antitrust claims were

  barred by the Noerr-Pennington doctrine. Op. 20-39.3 It understood

  Capital One’s Section 2 and Section 7 claims to rest on allegations that

  Intellectual Ventures acquired market or monopoly power through

  patent aggregation, concealment, and litigation, which enabled it to

  demand from potential licensees (like Capital One) take-it-or-leave-it,




  2 Capital One’s antitrust counterclaims in the Eastern District of

  Virginia were dismissed for failure to state a claim. Intellectual
  Ventures I LLC v. Capital One Fin. Corp., No. 1:13-cv-740, 2013 WL
  6682981, at *5-8 (E.D. Va. Dec. 18, 2013). Capital One cross-appealed
  that dismissal, but later moved to dismiss its cross-appeal, which this
  Court did. Intellectual Ventures I LLC, 792 F.3d at 1365 n.1.
  3 The district court’s summary-judgment decision was also based on an

  alternative and independent ground: the judgment in the Eastern
  District of Virginia collaterally estopped Capital One from relitigating
  its antitrust claims in the District of Maryland. Op. 39-52. The
  government expresses no opinion on that portion of the court’s decision.

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  supracompetitive royalties to license its patent portfolio. See Op. 21-22.

  In the court’s view, Intellectual Ventures’ litigation activity was “an

  integral component of Intellectual Ventures’ alleged strategy underlying

  all of Capital One’s claims,” Op. 22, and so placed all of the challenged

  conduct squarely within the protections of the Noerr-Pennington

  doctrine.

        The district court rejected Capital One’s contention that Noerr-

  Pennington does not extend to “litigation conduct [that] is part of a

  broader monopolistic scheme.” Op. 21. And it concluded that, “even if

  the sham litigation allegations could be excised from its pleadings,”

  Noerr-Pennington still applied because the litigation was “one

  component of a larger scheme” of anticompetitive conduct. Op. 23. The

  court then considered whether Capital One had established that

  Intellectual Ventures’ patent-enforcement litigation was “sham

  litigation” and therefore not protected from antitrust liability by the

  Noerr-Pennington doctrine. It held that Capital One had not, and

  further, that no other exception to the Noerr-Pennington doctrine

  applied. Op. 24-39.




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                        SUMMARY OF ARGUMENT

        The Noerr-Pennington doctrine protects legitimate petitioning

  activity, including patent-infringement litigation, from antitrust

  scrutiny. It applies even when the petitioning activity is part of an

  overall course of anticompetitive conduct. The petitioning activity (and

  conduct incidental to it) remains protected.

        But Noerr-Pennington does not protect non-petitioning conduct

  that is not incidental to petitioning, even if both are part of the same

  course of conduct. The district court’s opinion, however, could be read

  to suggest that Capital One’s antitrust claims could not survive

  because, subsequent to the challenged acquisition, Intellectual Ventures

  filed patent-infringement litigation that Capital One alleged was “one

  component of [the] larger scheme” of anticompetitive conduct. Op. 23.

  That suggestion is incorrect. An acquiring entity is not protected from

  the antitrust laws just because it may subsequently exercise its

  unlawfully obtained market power through litigation.

        Accordingly, if the Court reaches the Noerr-Pennington issue, it

  should clarify that the Noerr-Pennington doctrine does not protect




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  anticompetitive patent acquisitions from antitrust liability regardless of

  whether the patent acquirer engages in protected litigation activity.

                                 ARGUMENT

  ENFORCEMENT OF PATENTS THROUGH LITIGATION DOES
  NOT PROTECT THE ACQUISITION OF THOSE PATENTS
  FROM ANTITRUST CHALLENGE

        The district court’s Noerr-Pennington analysis employed overly

  broad language when it said that, “even if the . . . litigation allegations

  could be excised from [Capital One’s] pleadings,” Noerr-Pennington

  would protect Intellectual Ventures from antitrust liability—even for its

  non-petitioning activity—because litigation was “one component of [the]

  larger scheme.” Op. 23. In this way, the court suggested, incorrectly,

  that the mere presence of protected petitioning activity in an overall

  course of anticompetitive conduct shields non-petitioning aspects of that

  course of conduct from antitrust liability.4



  4 The government expresses no view on the district court’s sham-

  litigation-exception analysis, Op. 25-39, other than to note that the
  court misread Professional Real Estate Investors, 508 U.S. at 60-61, to
  mean that the subjective prong of the sham-litigation exception can be
  satisfied only if the antitrust defendant sues a competitor. Op. 38. This
  Court has not focused exclusively on the marketplace relationship
  between the plaintiff and the defendant, but instead has said that
  Professional Real Estate Investors’ subjective prong addresses whether


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        1. Under the Noerr-Pennington doctrine, a person or entity may,

  “without violating the antitrust laws, use the channels and procedures

  of state and federal agencies and courts to advocate their causes and

  points of view respecting resolution of their business and economic

  interests vis-à-vis their competitors.” Cal. Motor Transp. Co. v.

  Trucking Unlimited, 404 U.S. 508, 511 (1972); see United Mine Workers

  v. Pennington, 381 U.S. 657, 670 (1965); E. R.R. Presidents Conference

  v. Noerr Motor Freight, Inc., 365 U.S. 127, 135 (1961). Legitimate

  petitioning activity, even if “intended to eliminate competition,” “is not

  illegal, either standing alone or as part of a broader scheme itself

  violative of the [antitrust laws].” Pennington, 381 U.S. at 670.

        Noerr-Pennington protection extends only to petitioning activity

  itself and to restraints that are “‘incidental’ to a valid effort to influence

  governmental action.” Allied Tube & Conduit Corp. v. Indian Head,

  Inc., 486 U.S. 492, 499 (1988) (quoting Noerr, 365 U.S. at 143).

  Incidental restraints include those that are “reasonably and normally



  the antitrust defendant filed a baseless suit out of “a desire to impose
  anticompetitive harm from the judicial process rather than obtain
  judicial relief.” ERBE Elektromedizin GmbH v. Canady Tech. LLC, 629
  F.3d 1278, 1291 (Fed. Cir. 2010).

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  attendant upon effective” petitioning. Globetrotter Software, Inc. v.

  Elan Comput. Grp., Inc., 362 F.3d 1367, 1376 (Fed. Cir. 2004) (quoting

  Coastal States Mktg., Inc. v. Hunt, 694 F.2d 1358, 1367 (5th Cir. 1983)).

        At the same time, although protected litigation activity cannot

  itself be the antitrust violation, that activity may be used to show other

  things, such as intent. See Pennington, 381 U.S. at 670 n.3. Or, once

  the antitrust violation is established on other grounds, the costs of

  defending against litigation can be incorporated in an award of

  damages. See Amphastar Pharm. Inc. v. Momenta Pharm., Inc., 850

  F.3d 52, 57-58 (1st Cir. 2017); 1 Herbert Hovenkamp et al., IP and

  Antitrust: An Analysis of Antitrust Principles Applied to Intellectual

  Property Law § 11.04[F], at 11-83 (3d ed. 2018).

        2. The district court rightly held there is no “overall scheme”

  exception to Noerr-Pennington that withdraws protection from

  petitioning activity simply because it is part of a larger course of

  anticompetitive conduct. See Op. 21-24; Pennington, 381 U.S. at 670.

  The district court also appeared to recognize that, to assess whether

  IV’s conduct violated the antitrust laws, it should disregard Capital

  One’s allegations of protected litigation activity. See Op. 23.


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        But then the court used overbroad language to suggest that “even

  if the . . . litigation allegations could be excised from [Capital One’s]

  pleadings,” Noerr-Pennington would still apply to the non-petitioning

  aspects of the alleged unlawful anticompetitive scheme because

  litigation was “one component of [that] larger scheme.” Op. 23. This

  suggestion cannot be reconciled with Pennington, which specifically

  acknowledged that protected petitioning activity may be part of a larger

  anticompetitive, and hence unlawful, course of conduct. See 381 U.S. at

  670. In such circumstance, the Court distinguished between the

  petitioning activity that was “not illegal” and the “broader scheme”—of

  which the petitioning activity was a “part”—that was “itself violative of

  the Sherman Act.” Id. In other words, the non-petitioning aspects of an

  anticompetitive course of conduct may be sufficient to establish a

  violation of the antitrust laws, even though the petitioning activity

  itself remains protected. See id.

        Other Sherman Act cases confirm that conduct that falls outside

  protected petitioning may violate the antitrust laws. In Columbia v.

  Omni Outdoor Advertising, for example, the Supreme Court considered

  whether an antitrust claimant could challenge an alleged


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  anticompetitive course of conduct that included activity protected by

  Noerr-Pennington. 499 U.S. 365, 384 (1991). The fact that the conduct

  included protected activity did “not entirely resolve the dispute” because

  there were “other activities . . . at issue”—namely, “private

  anticompetitive actions such as trade libel, the setting of artificially low

  rates, and inducement to breach of contract.” Id. The Court therefore

  remanded for a determination whether “the evidence was sufficient to

  sustain a verdict on the basis of these other actions alone.” Id.

        The Second Circuit reached a similar conclusion in a Sherman Act

  case in which a satellite operator alleged that network broadcasters

  “engaged in a concerted refusal to negotiate copyright licenses” with it.

  PrimeTime 24 Joint Venture v. Nat’l Broad. Co., 219 F.3d 92, 98 (2d Cir.

  2000). The Second Circuit rejected the broadcasters’ argument that

  their subsequent filing of copyright-infringement lawsuits protected

  them from antitrust liability for their alleged preexisting agreement not

  to deal with the satellite operator. Id. at 102-03. The court

  distinguished the agreement from the lawsuits, stating that “copyright

  holders may not agree to limit their individual freedom of action in

  licensing future rights to such an infringer before, during, or after the


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  lawsuit.” Id. at 103. “Such an agreement would, absent litigation,

  violate the Sherman Act, and cannot be immunized by the existence of a

  common lawsuit.” Id. (citation omitted). Thus, “an unlawful

  agreement, or an unlawful overall scheme, do[es] not become lawful

  because [it] may be enforced by immunized litigation.” Abbott Labs. v.

  Teva Pharm. USA, Inc., 432 F. Supp. 2d 408, 429 (D. Del. 2006)

  (citations omitted).

        The district court’s decision raises particularly stark concerns in

  the context of Section 7. A Section 7 violation exists at, or before, the

  point of “acquisition,” 15 U.S.C. § 18, and “there is . . . no requirement

  that the anticompetitive power manifest itself in anticompetitive action

  before § 7 can be called into play,” FTC v. Procter & Gamble Co., 386

  U.S. 568, 577 (1967). “The core question” to determine whether the

  acquisition violates Section 7 is whether it “may substantially lessen

  competition, and necessarily requires a prediction of the [acquisition’s]

  impact on competition, present and future.” Id. This inquiry focuses on

  the probable effect of the acquisition. See id. The particular

  mechanism the acquiring party might then use to wield its unlawfully

  obtained power cannot undo that violation. See id.


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        The acquiring entity’s subsequent decision to assert its property

  rights through litigation does not change the nature of the transaction

  or its susceptibility to antitrust enforcement. Consider this

  hypothetical: ABC Medical Company manufactures and leases x-ray

  machines. ABC buys out its main competitor, and so acquires monopoly

  power that enables it to raise its prices to supracompetitive levels. It

  could charge the higher rates when renewing leases with existing

  customers and when negotiating leases with new customers. Of course,

  if existing customers refused the higher prices, ABC could sue to

  repossess its machines. But that prospect does not change the fact that

  ABC’s acquisition of its competitor was unlawful, both because it

  created a monopoly in violation of Section 2, 15 U.S.C. § 2, and because

  the effect of the acquisition was “substantially to lessen competition, or

  to tend to create a monopoly,” in violation of Section 7, id. § 18.

        Patent acquisitions are no different. A patent acquirer has the

  right to enforce its newly acquired patents, but the patent laws do “not

  permit the creation of monopoly by means of [patent] transfer rather

  than invention.” Herbert J. Hovenkamp, Prophylactic Merger Policy 23,

  Univ. of Penn. Inst. for Law & Econ. Research Paper No. 18-3 (Jan. 6,


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  2018); see Eastman Kodak Co. v. Goodyear Tire & Rubber Co., 114 F.3d

  1547, 1557 (Fed. Cir. 1997) (recognizing that Section 7 applies to

  acquisitions of patent rights). The patent acquisition is what “may

  substantially lessen competition”—not any potential subsequent

  enforcement action. 15 U.S.C. § 18.

        DOJ and FTC routinely analyze patent acquisitions under the

  antitrust laws. See Antitrust-IP Guidelines § 5.7 & Ex. 10. The Hart-

  Scott-Rodino Antitrust Improvements Act of 1976 facilitates this

  analysis by requiring persons intending to acquire assets at or above a

  threshold value to provide notice of the transaction to the government,

  and wait a designated period before consummating the acquisition, to

  allow for government investigation of the likely competitive effects of

  the transaction. 15 U.S.C. § 18a(a). This notification and review

  process can apply to the acquisition of patents and patent rights, such

  as licenses. See Pharm. Research & Mfrs. of Am. v. FTC, 790 F.3d 198,

  201-02, 208 (2015) (upholding Hart-Scott-Rodino Act rule requiring

  notification of exclusive licenses to pharmaceutical patents that grant

  all commercial rights). And whether through this review process or

  under their general enforcement authority, DOJ and FTC have the


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  ability to prevent the anticompetitive transfer of patents before they are

  asserted against others. See 15 U.S.C. § 25 (government has duty to

  “institute proceedings in equity to prevent and restrain” Clayton Act

  violations); id. § 53(b) (similar); cf., e.g., FTC v. Univ. Health, Inc., 938

  F.2d 1206, 1225-26 (11th Cir. 1991) (directing district court to issue

  preliminary injunction against consummation of asset acquisition); DOJ

  Closing Statement (Feb. 13, 2012) (explaining decision to close

  investigation into acquisitions of patent portfolios by Google, Apple, and

  Microsoft). Antitrust enforcers similarly have the ability to challenge

  patent acquisitions after the acquirer has begun asserting the patents

  against others because the unlawful conduct remains the

  anticompetitive acquisition; the subsequent assertion of the acquired

  patents through infringement litigation is simply a lawful tool used to

  reap the rewards from unlawful conduct. See, e.g., Decision & Order, In

  re Biovail Corp., No. C-4060 (FTC Oct. 2, 2012) (ordering divestiture of

  illegally acquired exclusive patent license); see generally Hovenkamp,

  Prophylactic Merger Policy, supra, at 19-24 (explaining Clayton Act

  limitations on patent acquisitions).




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        Thus, enforcement of Section 7, whether before or after the patent

  owner has alleged infringement of its patented invention, does not run

  afoul of Noerr-Pennington protection. Such enforcement challenges the

  legality of the antecedent acquisition, not any subsequent petitioning

  activity. See FTC, Enforcement Perspectives on the Noerr-Pennington

  Doctrine: An FTC Staff Report 21 n.87 (2006).

        3. Interpreting Noerr-Pennington to protect a patent acquisition

  from antitrust liability simply because it is followed by protected

  petitioning activity, however, would significantly hinder both private

  and government enforcement of Sherman Act Section 2 and Clayton Act

  Section 7. See Hovenkamp, Prophylactic Merger Policy, supra, at 23

  (“[i]f taken seriously the district court’s holding would effectively

  prohibit application of § 7 of the Clayton Act to virtually any acquisition

  of rights in intellectual property”). An acquiring entity need only file a

  lawsuit asserting its patent rights (or perhaps only threaten to file a

  lawsuit) to avoid any antitrust challenge to its anticompetitive

  acquisition of patent rights. Such an expansion of Noerr-Pennington

  finds no justification in the need to protect petitioning activity. “The

  mere existence of a lawsuit does not retroactively immunize prior anti-


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  competitive conduct.” Amphastar, 850 F.3d at 57. Likewise, Noerr-

  Pennington does not protect anticompetitive patent acquisitions from

  antitrust liability simply because the patent holder subsequently

  engages in protected litigation activity.




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                                CONCLUSION

        If the Court reaches the Noerr-Pennington issue, it should clarify

  that the Noerr-Pennington doctrine does not protect anticompetitive

  patent acquisitions from antitrust liability.

                                          Respectfully submitted.

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                    CERTIFICATE OF COMPLIANCE

        Pursuant to Fed. R. App. P. 32(g)(1), I certify that this Brief

  complies with the type-volume limitation of Fed. R. App. P. 29(a)(5) and

  Fed. R. App. P. 32(a)(7)(B), as modified by Circuit Rule 32(a), because

  this Brief contains 3,856 words, excluding the parts of the Brief

  exempted by Fed. R. App. P. 32(f) and Circuit Rule 32(b).

        I further certify that this Brief complies with the typeface

  requirements of Fed. R. App. P. 32(a)(5) and the type style

  requirements of Fed. R. App. P. 32(a)(6) because the Brief has been

  prepared in New Century Schoolbook, 14-point font, using Microsoft

  Office Word 2013.

                                           /s/ Frances Marshall
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                        CERTIFICATE OF SERVICE

        I certify that on May 11, 2018, I caused the foregoing to be filed

  through this Court’s CM/ECF filer system, which will serve a notice of

  electronic filing on all registered users, including counsel of record for

  all parties.

                                           /s/ Frances Marshall
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


  JAZZ PHARMACEUTICALS, INC.,

                          Plaintiff,
                                             C.A. No. 21-691-GBW
              V.


  AVADEL CNS PHARMACEUTICALS
  LLC,

                          Defendant.

  JAZZ PHARMACEUTICALS, INC. and
  JAZZ PHARMACEUTICALS IRELAND
  LIMITED,

                          Plaintiff,         C.A. No. 21-1138-GBW
               v.
  AVADEL CNS PHARMACEUTICALS
  LLC,

                          Defendants.

  JAZZ PHARMACEUTICALS, INC. and
  JAZZ PHARMACEUTICALS IRELAND
  LIMITED,
                                              C.A. No. 21-1594-GBW
                           Plaintiff,

                   V.


  AVADEL CNS PHARMACEUTICALS
  LLC,

                           Defendants.



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         Pending before the Court is Defendant Avadel CNS Pharmaceuticals, LLC's ("Avadel")

 Emergency Motion to Stay (hereinafter, the "Motion to Stay," D.I. 670) the Court's August 27

 Order (hereinafter, the ·"Order," D.I. 666), which granted-in-part Jazz Pharmaceuticals, Inc. 's

 ("Jazz") motion for limited permanent injunction. On August 28, 2024, Avadel appealed the

 Court's Order, and the Federal Circuit subsequently agreed to consider Avadel's appeal on an

 expedited schedule. D.I. 667; D.I. 677. Having reviewed Avadel's Motion and all related briefing,

 the Court DENIES Avadel's Motion to Stay.


           I.    LEGAL STANDARD 1


         In deciding whether to grant a motion to stay final judgment, courts consider four factors:

 "(l) whether the stay applicant has made a strong showing that he is likely to succeed on the merits;

 (2) whether.the applicant will be irreparably injured absent a stay; (3) whether issuance of the stay

 will substantially injure the other parties interested in the proceeding; and (4) where the public

 interest lies." Standard Havens Prod., Inc. v. Gencor Indus., Inc., 897 F.2d 511, 512 (Fed. Cir.

 1990) (quoting Hilton v. Braunskill, 481 U.S. 770, 776 (1987)). A moving party "must meet the

 threshold for the first two 'most critical' factors: it must demonstrate that it. can win on the merits

 (which requires a showing significantly better than negligible but not necessarily more likely than

 not) and that it is more likely than not to suffer irreparable harm in the absence of preliminary

 relief." Reilly v. City of Harrisburg, 858 F.3d 173, 179 & n. 3 (3d Cir. 2017) (internal citations

 omitted & emphasis added). "If these gateway factors are met, a court then considers the remaining

 two factors and determines in its sound discretion if all four factors, taken together, balance in

 favor of granting the requested [] relief." Id.


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   The Court writes for the benefit of the parties and assumes their familiarity with all pertinent
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          II.   DISCUSSION

                    A. The Order Exempts the Use of Lumryz for Narcolepsy and the Use of
                       Lumryz in On-Going Clinical Trials.
        As a preliminary matter, the Court finds it pertinent to discuss and clarify the scope of

 conduct enjoined by the Order. Avadel contends that Jazz now interprets the Court's Order as

 mandating that "Avadel 'withdraw' its long-pending request for pediatric narcolepsy." D.I. 671

 at 4. Yet, in resolving Jazz's motion for permanent injunction, the Court explicitly declined to

 enjoin A vadel' s conduct with respect to Lumryz for the treatment of narcolepsy. Indeed, as A vadel

 notes, "the Order contains an express exemption for "making, using, and selling [Lumryz]: (a) for

 the treatment of narcolepsy." D.I. 671 at 5 (citing D.I. 666 at 1). To the extent that Avadel believes

 that Jazz will seek to hold A vadel in contempt for such conduct, the Court emphasizes that the

 Order does not enjoin, in any way, Avadel's use of Lumryz for narcolepsy. Jazz concedes that "it

 will not argue that Avadel's application for FDA approval of Lumryz for pediatric patients with

 narcolepsy, and Avadel's maintenance of that request, is in contempt of the injunction." D.I. 679

 at n. 1. Thus, there is no present danger that A vadel will be prevented from seeking FDA approval

 for Lumyrz to treat pediatric narcolepsy.


        Similarly, under the explicit terms of the Order, A vadel is not enjoined from making, using,

 or selling Lumryz "in currently on-going clinical trials and studies." D.I. 666, ,r I .A.(c) (emphasis

 added). While the Court was not specifically aware that Avadel initiated its IH study prior to the

 issuance of the Order,2 the Order and its exception for "currently on-going clinical trials" took

 effect on the date in which the Order was signed and entered by the Court. In excluding "currently

 on-going" trials, the Order exempted from its scope any clinical studies that were on-going (i.e.,



 2
  Indeed, it appears that A vadel represented that it would not pursue IH trials if enjoined. See Hr.
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 initiated) before August 27, 2024, the effective date of the Order. Thus, to the extent that Avadel

 initiated the REVITAL YZ clinical study on July 31, 2024, that study would constitute a "currently

 on-going clinical trial[]" exempt from the Court's injunction. As nothing in the Order prohibits or

 otherwise limits Avadel's ability to enroll subjects to an already ongoing study, the Order does not

 enjoin Avadel from enrolling approximately 150 adults to the REVITALYZ study. D.I. 671 at 2-

 3; See also id., Exs. B-C. Finally, while the Order enjoins Avadel from seeking FDA approval for

 IH, the Order does not enjoin Avadel from submitting information or results from ongoing clinical

 studies to the FDA.


        Avadel is, however, enjoined from: (1) offering open-label extensions to trial participants;

 (2) applying for FDA approval of Lumryz for IH; and (3) initiating new clinical trials or studies

 after the Order's effective date of August 27, 2024. See generally D.I. 666. Accordingly, in

 considering Avadel' s Motion to Stay-and, particularly, in weighing the risk of irreparable

 harm-the Court must decide whether a stay is necessary pending appeal with respect to each of

 these three activities. For the following reasons, Avadel has not demonstrated a substantial risk of

 immediate and irreparable harm if it is not permitted to offer open-label extensions to trial

 participants, apply for FDA approval of Lumryz for IH, and/or initiate new clinical trials before

 tl'ie Federal Circuit resolves the pending appeal.


                    B. Avadel Has Not Demonstrated a Substantial Risk of Immediate and
                       Irreparable Harm.
        In support of its claim that a stay is necessary to prevent Avadel from suffering irreparable

 harm, Avadel submits the declaration of Jennifer Gudeman, the Senior Vice President, Medical

 and Clinical Affairs at Avadel Pharmaceuticals. D.I. 672 ("Gudeman Deel."), ,r 2. Ms. Gudeman

 swears that Avadel intends to enroll approximately 150 subjects to the REVITAL YZ trial "to

 ensure a minimum of 104 subjects complete the study." Id, ,r 4. According to Ms. Gudeman,

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 Avadel would suffer significant, irreparable harm if Avadel is enjoined from enrolling additional

 patients in the REVITALYZ trial. Id., ,r 6. -For instance, Ms. Gudeman asserts that Avadel may

 be forced to terminate the trial altogether if it could not enroll a sufficient number of participants,

 "which would result in patients currently receiving Lumryz for IH losing access to their

 medication, as well as other clinical care that they are receiving as part of the study." Id. Ms.

 Gudeman adds that early termination would result in irreparable harm to "investigators

 participating in the REVITAL YZ trial [who] have invested significant time and resources in

 enrolling patients, training for the study, and recording the necessary data .... " Id., ,r 7. Finally,

 Ms. Gudeman asserts that a freeze in enrollment would irreparably harm Avadel by "delay[ing]

 any potential application with FDA for approval of an idiopathic hypersomnia indication for

 Lumryz" and harming Avadel's reputation with "patients and investigators who become aware of

 a pause on enrollment .... " Id., ,r 8. As the Court noted supra, however, the Order does not

 enjoin Avadel from enrolling patients in the on-going REVITAL YZ trial.              Thus, given the

 REVITAL YZ trial is ongoing and is not enjoined by the Order, there is not a substantial risk that,

 before the Federal Circuit decides the appeal, A vadel would suffer any of the harms which it

 alleges will result if it is forced to terminate or delay the REVITAL YZ trial.


        Ms. Gudeman asserts that Avadel will also suffer irreparable injury if it is "enjoined from

 conducting additional clinical studies or if the open label extension that is a part of REVITAL YZ

 is halted." Id., ,r 9. With respect to new trials, however, Avadel has not demonstrated a risk of

 immediate harm because Avadel does not allege that it intends to initiate any new trial before the

 appeal is decided. Moreover, as Jazz notes, any harm stemming from Avadel's inability to initiate

 new trials is not immediate given that the Federal Circuit will decide the appeal on the parties'

 agreed-upon expedited schedule. D.I. 679 at 1.


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        As to its ability to use open-label extensions, Avadel contends that the open-label

 extensions "allow clinical-trial participants to continue using a trial drug following completion of

 the monitored phase of the clinical trial." D.I. 671 at 13. According to Avadel, the extensions

 "are part of the clinical trial itself and [are] a 'valuable recruiting tool' for boosting enrollment in

 clinical trials." Id (internal citations omitted). Yet, Avadel does not show or claim that it would

 be unable to recruit participants to the REVITAL YZ study without open-label extensions. See D.I.

 679 at 15 (arguing that "open-label studies are merely '[d]ressing up marketing exercises as

 research'" (internal citations omitted)). Thus, the Court is not persuaded by Avadel's assertions

 alone that it would suffer irreparable, or even significant, harm if it was required to conduct its

 trial without allowing patients to continue using infringing forms of Lumryz through open-label

 extensions even after the clinical trial is complete. Sunoco Partners Mktg. & Terminals L.P. v.

 Powder Springs Logistics, LLC, No. 17-1390, 2018 WL 395750, at *14 (D. Del. Jan. 8, 2018)

 (finding that "conclusory and speculative allegations" are insufficient to "demonstrate irreparable

 harm.").

        Lastly, Avadel cannot demonstrate imminent and irreparable harm stemming from the

 Order's injunction on seeking FDA approval ofLumryz for IH, since Avadel concedes that it will

 not seek FDA approval for IH until January 2026. D.I. 671 at 14. Because Avadel has not made

 the threshold showing of immediate and irreparable harm, the Court need not address the

 remaining factors.

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       WHEREFORE, at Wilmington, this 24th day of September 2024, IT IS HEREBY

 ORDERED that Defendant Avadel's CNS Pharmaceuticals, LLC'   ~mergency Motion to Stay

 (D.I. 670) is DENIED.


                                                         GREGORYB. WlLLIAMS
                                                 UNITED STATES DISTRICT JUDGE




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                          EXHIBIT 45
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                          EXHIBIT 46
                           REDACTED
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                          EXHIBIT 47
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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE



  JAZZ PHARMACEUTICALS, INC.,

                       Plaintiff,

               V.                         C.A. No. 21-691-GBW

  AV ADEL CNS PHARMACEUTICALS,
  LLC,

                       Defendant.


  JAZZ PHARMACEUTICALS, INC., et al. ,

                       Plaintiffs,
                                          C.A. No. 21-1138-GBW
               V.


  AV ADEL CNS PHARMACEUTICALS,
  LLC,

                       Defendant.


   JAZZ PHARMACEUTICALS, INC. , et al.,

                       Plaintiffs,
                                          C.A. No. 21-1594-GBW
               V.


  AV ADEL CNS PHARMACEUTICALS,
  LLC,

                       Defendant.




                              MEMORANDUM OPINION
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 November 18, 2022
 Wilmington, Delaware
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                                                                      GREGORY B. WILLIAMS
                                                              UNITED STATES DISTRICT JUDGE


         In these actions filed by Plaintiff Jazz Pharmaceuticals, Inc. ("Jazz") against Defendant

  Avadel CNS Pharmaceuticals, LLC ("Avadel"), Jazz alleges infringement of U.S. Patent Nos.

  8,731,963 (''the '963 patent"), 10,758,488 (''the ' 488 patent"), 10,813,885 (''the '885 patent"),

  10,959,956 (''the '956 patent"), 10,966,931 (''the '931 patent"), 11,077,079 (''the '079 patent"),

  and 11,147,782 (''the '782 patent").1 Before the Court is the issue of claim construction of multiple

  terms in these patents. The Court has considered the parties' joint claim construction brief and the

  accompanying appendix. C.A. No. 21-691 , D.I. 132 & 133-1. The Court held a claim construction

  hearing on October 25, 2022 (the "Hearing").

  I.     LEGAL STANDARDS

         "It is a bedrock principle of patent law that the claims of a patent define the invention to

  which the patentee is entitled the right to exclude." Phillips v. AWH Corp., 415 F.3d 1303, 1312

  (Fed. Cir. 2005) (en bane) (internal quotation marks omitted); see also Corning Glass Works v.

  Sumitomo Elec. U.S.A., Inc., 868 F.2d 1251 , 1257 (Fed. Cir. 1989) ("A claim in a patent provides

  the metes and bounds of the right which the patent confers on the patentee to exclude others from

  making, using, or selling the protected invention"). "[T]here is no magic formula or catechism for

  conducting claim construction." Phillips, 415 F.3d at 1324. The Court is free to attach the

  appropriate weight to appropriate sources "in light of the statutes and policies that inform patent

  law." Id. The ultimate question of the proper construction of a patent is a question of law, although




         1
         Docket numbers identified herein refer to C.A. No. 21-691-GBW unless otherwise noted.
  The Court writes for the benefit of the parties and assumes their familiarity with these actions.
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  subsidiary fact-finding is sometimes necessary. Teva Pharm. USA, Inc. v. Sandoz, Inc., 135 S. Ct.

  831,837 (2015) (quoting Markman v. Westview Instruments, Inc., 517 U.S. 370,372 (1996)).

         "The words of a claim are generally given their ordinary and customary meaning as

  understood by a person of ordinary skill in the art when read in the context of the specification and

 prosecution history." Thorner v. Sony Comput. Ent. Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir.

  2012) (citing Phillips, 415 F.3d at 1312-13). A person of ordinary skill in the art "is deemed to

  read the claim term not only in the context of the particular claim in which the disputed term

  appears, but in the context of the entire patent, including the specification." Phillips, 415 F.3d at

  at 1313.

         "When construing claim terms, the court first looks to, and primarily rely on, the intrinsic

  evidence, including the claims themselves, the specification, and the prosecution history of the

  patent, which is usually dispositive." Sunovion Pharms., Inc. v. Teva Pharms. USA, Inc., 731 F.3d

  1271, 1276 (Fed. Cir. 2013). "Other claims of the patent in question, both asserted and unasserted,

  can ... be valuable" in discerning the meaning of a disputed claim term because "claim terms are

  normally used consistently throughout the patent," and so, ''the usage of a !erm in one claim can

  often illuminate the meaning of the same term in other claims." Phillips, 415 F.3d at 1314. In

  addition, "[d]ifferences among claims can also be a useful guide[.]" Id.           For example, ''the

  presence of a dependent claim that adds a particular limitation gives rise to a presumption that the

  limitation in question is not present in the independent claim." Id. at 1314-15.

         In addition to the claim, the Court should analyze the specification, which "is always highly

  relevant to the claim construction analysis .. . [as] it is the single best guide to the meaning of a

  disputed term." Vitronics Corp. v. Conceptronic, Inc., 90 F.3d 1576, 1582 (Fed. Cir. 1996). It is

  also possible that ''the specification may reveal a special definition given to a claim term by the


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  patentee that differs from the meaning it would otherwise possess. In such cases, the inventor's

  lexicography governs." Phillips, 415 F.3d at 1316. "Even when the specification describes only

  a single embodiment, [however,] the claims of the patent will not be read restrictively unless the

  patentee has demonstrated a clear intention to limit the claim scope using words or expressions of

  manifest exclusion or restriction." Hill-Rom Servs., Inc. v. Stryker Corp., 755 F.3d 1367, 1372

  (Fed. Cir. 2014) (internal quotation marks omitted) (quoting Liebel-Flarsheim Co. v. Medrad, Inc.,

  358 F.3d 898, 906 (Fed. Cir. 2004)). And, the specification "is not a substitute for, nor can it be

  used to rewrite, the chosen claim language." SuperGuide Corp. v. DirecTV Enters., Inc., 358 F.3d

  870, 875 (Fed. Cir. 2004).

         The Court "should also consider the patent's prosecution history, if it is in evidence."

  Markman, 52 F.3d at 980. The prosecution history "can often inform the meaning of the claim

  language by demonstrating how the inventor understood the invention and whether the inventor

  limited the invention in the course of prosecution[.]" Phillips, 415 F.3d at 1317.

         In some cases, the Court ''will need to look beyond the patent's intrinsic evidence and to

  consult extrinsic evidence in order to understand, for example, the background science or the

  meaning of a term in the relevant art during the relevant time period." Teva, 135 S. Ct. at 841.

  Extrinsic evidence "consists of all evidence external to the patent and prosecution history,

  including expert and inventor testimony, dictionaries, and learned treatises." Markman, 52 F.3d

  at 980. Overall, while extrinsic evidence may be useful, it is "less significant than the intrinsic

  record in determining the legally operative meaning of claim language." Phillips, 415 F.3d at 1317

  (internal quotation marks and citations omitted).




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  II.             AGREED-UPON TERMS

                  The parties agreed upon the construction of claim term "by about 4 to about 6 hours" in

  the '488, '885, '956 and '931 patents to have its plain and ordinary meaning, which is "at any point

  prior to approximately 4 hours or at any point prior to approximately 6 hours". D.I. 145 at 3. The

  Court will adopt the agreed-upon construction.

  III.            DISPUTED TERMS

                  1. "sustained release portion"2

                                      Plaintiff Juz's          Defendant AvadePs                  The Courtrs
   Disputed.Tenn
           ·.••
                       ·•·   ...      •• Consb:uction             Construction ,1;.      ;•
                                                                                                  Construction           .
      "sustained                       Plain and ordinary                                       Plain and ordinary
                                                                A gradual, extended
   release portion"                         meaning,                                                  meaning,
                                                               release, as opposed to
                                    i.e., the portion of the                                  i.e., the portion of the
                                                               releasing a majority of
        ('488 patent;              formulation that is not                                    formulation that is not
                                                                 the drug within an
         '885 patent;              immediate release and                                      immediate release and
                                                               hour upon exposure to
         '956 patent;                 that releases over a                                      that releases over a
                                                                    intestinal pH
         '931 patent)                    period of time                                            period of time


                  Jazz argues that Avadel's construction impermissibly imports time-dependent ("gradual,

  extended release") and pH-dependent ("as opposed to releasing a majority of the drug within an

  hour upon exposure to intestinal pH") limitations not supported by the intrinsic record. A vadel

  argues that Jazz clearly and unmistakably surrendered claim scope during prosecution.

                  Use of the disputed term in claim 1 of the '488 patent is representative:



                  2
            Although the parties originally disputed whether the Court should construe the term
  "sustained release portion" (as advocated by Jazz) or "sustained release" (as advocated by Avadel),
  the parties maintain that their respective positions are correct regardless of which phrase the Court
  construes. D.I. 132 at 6 n.3; 10 n. 7. At the Hearing, Avadel confirmed that ''there is no material
  difference as to whether you include 'portion' or simply construe 'sustained release."' Tr. 17:4-
  10. The Court will construe the term "sustained release portion" in its entirety as the appropriate
  construction considers the entire phrase contextually in light of the intrinsic record.


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                  A formulation comprising immediate release and sustained release portions,
                  each portion comprising at least one pharmaceutically active ingredient
                  selected from gamma-hydroxybutyrate and pharmaceutically acceptable
                  salts of gamma-hydroxybutyrate, wherein:

                  a. the sustained release portion comprises a functional coating and a core,
                  wherein the functional coating is deposited over the core, wherein the core
                  comprises at least one pharmaceutically active ingredient selected from
                  gamma-hydroxybutyrate and pharmaceutically acceptable salts of gamma-
                  hydroxybutyrate wherein the functional coating comprises one or more
                  methacrylic acid-methyl methacrylate co-polymers that are from about 20%
                  to about 50% by weight of the functional coating; the sustained release
                  portion comprises about 500 mg to 12 g of at least one pharmaceutically
                  active ingredient selected from gamma-hydroxybutyrate and
                  pharmaceutically acceptable salts of gamma-hydroxybutyrate; and the
                  sustained release portion releases greater than about 40% of its gamma-
                  hydroxybutyrate by about 4 to about 6 hours when tested in a dissolution
                  apparatus 2 in deionized water at a temperature of 37° C. and a paddle speed
                  of 50 rpm ....

  '488 patent at cl. 1. Starting with the claims, they require that the formulation comprise both

  "immediate release and sustained release portions." Id. Thus, on their face, the claims distinguish

  between immediate and sustained release, suggesting that the Court should construe "sustained

  release portion" in a manner that distinguishes it from the immediate release portion. While

  Avadel proposes that the Court construe "sustained release" to include specific time-dependent

  ("gradual, extended release") and pH-dependent ("as opposed to releasing a majority of the drug

  within an hour upon exposure to intestinal pH") drug release characteristics, the claims set forth

  the specific dissolution profile and the specific media used-that is, the "sustained release portion"

  of the claimed formulation must "release □ greater than about 40% of its gamma-hydroxy butyrate

  by about 4 to about 6 hours when tested in a dissolution apparatus 2 in deionized water .... " Thus,

 the claim language recites a dissolution profile measured in deionized water using expressly

  identified time limits.




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        Turning to the specification, it repeatedly refers to the invention as releasing over "a

 prolonged period of time." See, e.g., '488 patent at 16:12-13. While Avadel argues that these

 disclos~es undermine the "any" time period implicit in Jazz's proposed construction, Jazz's

 construction is not unbounded-rather, the relevant time period is expressly set forth in the claims.

 The specification is also consistent with the claimed dissolution profile measured in deionized

 water. See '488 patent at 7:64-8:1 ("Drug delivery performance provided by the dosage forms

 described herein can be evaluated using a standard USP type 2 or USP type 7 dissolution apparatus

 set to 37° C. ± 2° C. under the conditions described, for example, in the experimental examples

 provided herein."). While the '488 patent's specification provides examples of other dissolution

 media that could be employed in certain embodiments (e.g., "simulated intestinal fluid," '488

 patent at 8:4), that media was not recited in the claims, undermining Avadel's- effort to include a

 limitation based on the sustained release portion's exposure to intestinal pH.

        Avadel seeks to exclude the pH-based intestinal release profile from the scope of the claims

 by arguing that Jazz clearly and unambiguously surrendered claim scope during prosecution.

 "Under the doctrine of prosecution disclaimer, a patentee may limit the meaning of a claim term

 by making a clear and unmistakable disavowal of scope during prosecution." Purdue Pharma L.P.

 v. Endo Pharms. Inc., 438 F.3d 1123, 1136 (Fed. Cir. 2006). Prosecution disclaimer can arise

 from both claim amendments and arguments made to the PTO. Biogen Idec, Inc. v.

 GlaxoSmithKline LLC, 713 F.3d 1090, 1095 (Fed. Cir. 2013). The doctrine does not apply unless

 the disclaimer is "both clear and unmistakable to one of ordinary skill in the art." Elbex Video, Ltd

 v. Sensormatic Elecs. Corp., 508 F.3d 1366, 1371 (Fed. Cir. 2007) (quotations omitted).

        The originally-filed claims did not contain the "sustained release" limitation. Instead, they

 were directed to "controlled release" portions. D.I. 133-1 at Ex. A. The examiner rejected those


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  claims as obvious over prior art that disclosed a "controlled release." D.I. 133-1 at Ex. B. Jazz

  amended the claims to replace "controlled release" with "sustained release" (D.I. 133-1 at Ex. A

  at 2-5), and later distinguished "sustained release" from the prior art by arguing that "sustained

  release" formulations "provide for a more gradual, but extended release" while the prior art's

  "delayed release" formulations "quickly release the majority of the drug." Ex. 133-1 at Ex. B. A

  declaration submitted by a named inventor states that, "[o]ur aim was to develop GHB

  formulations that ... proved (sic) sustained release throughout the ileum and jejunum, rather than

  [the prior art's] delayed release which more rapidly releases GHB in a single part of the intestinal

  tract." Ex. 133-1 at Ex. C 17. According to Avadel, Jazz's amendment and arguments constitute

  a clear and unmistakable surrender of claim scope.

         This Court disagrees.     First, there is no amendment-based disclaimer. Although Jazz

  replaced the term "controlled release" with "sustained release," the prosecution history does not

  support a conclusion that "controlled release" (which Jazz replaced with "sustained release") was

  synonymous with the limitation Avadel seeks to import into the claims (not "releasing a majority

  of the drug within an hour upon exposure to intestinal pH").

         Second, there is no argument-based disclaimer. Avadel argues that the prosecution history

  contains the requisite clarity because Jazz distinguished its present invention ("sustained release")

  from the prior art (which taught a "delayed release"). On the one hand, the applicant stated:

         Since [the prior art] is directed to delayed release, not sustained release ... [the
         prior art's] delayed-release coatings comprise about 87% by weight pH-sensitive
         enteric polymers, specifically pH-sensitive methacrylic acid-methyl methacrylate
         co-polymers. As the coatings comprise a large percentage of pH-sensitive polymer,
         these dosage forms would release the majority of the drug relatively rapidly upon
         exposure to intestinal pH (e.g., about 6 and above), i.e., delayed release.




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 D.I. 133-1, Ex.Bat 9. But on the other hand, Jazz consistently identified the necessary features

 of its invention as the DI water-based in vitro release profile and a sustained release coating

 comprised of certain co-polymers. For example, Jazz stated that:

        In contrast [to the prior art], the presently claimed invention is directed to dosage
        forms comprising an immediate release portion and a sustained release portion. The
        claimed sustained release portion releases less than 10% of the drug within an hour
        in DI water and at least about 40% of the drug by about four to six hours in DI water
        and the sustained release coating comprises about 20-50% by weight methacrylic
        acid-methyl methacrylate co-polymers .... [Aware of the teachings in the prior art,
        the inventors] conducted a regional GHB absorption study in humans in order to
        create an improved model of GHB delivery and used pharmacokinetic modeling to
        predict an in vitro release profile that would provide improved bioavailability.

 D.I. 133-1, Ex.Bat 9. 3 Jazz did not clearly and unmistakably assert that not "releasing a majority

 of the drug within an hour upon exposure to intestinal pH" is also a necessary feature of its

 invention. cf SpeedTrack, Inc. v. Amazon.com, 998 F.3d 1373, 1378 (Fed. Cir. 2021) (finding

 disclaimer where applicants added a hierarchical limitation to overcome the prior art and

 "repeatedly highlighted predefined hierarchical field-and-value relationships as a difference

 between [the prior art] and the [asserted] patent"). At bottom, the prosecution history is ambiguous

 and does not meet the high standard for finding a disclaimer. See Avid Tech., Inc. v. Harmonic,

 Inc., 812 F.3d 1040, 1046 (Fed. Cir. 2016) ("When the prosecution history is used solely to support

 a conclusion of patentee disclaimer, the standard for justifying the conclusion is a high one. Where

 the alleged disavowal is ambiguous, or even amenable to multiple reasonable interpretations, we

 have declined to find prosecution disclaimer.") (internal quotation marks and citations omitted).



        3
           See also D.I. 133-1, Ex.Bat 11 ("As the cited art teaches neither the presently claimed
 structural limitations, nor the presently claimed release profile, and one of skill in the art would
 have no motivation, based on the cited art, to develop a GHB formulation with the claimed in vitro
 release profile."); Id. (noting that the "inventors had discovered that the claimed in vitro release
 profile provides superior bioavailability as compared to the formulations in the cited art").


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            Finally, the extrinsic evidence demonstrates that a person of ordinary skill in the art would

  understand "sustained release" as plainly meaning a dosage form "in which release of the drug is

 extended over a period of time". See, e.g., D.I. 133-1 at Ex. 3 (Dictionary of Pharmacy); Id. at Ex.

  4 (defining "sustained release" in Webster' s New Explorer Medical Dictionary as "designed to

  slowly release a drug in the body over an extended period of time"). Because plain and ordinary

 meaning is the default in claim construction, Phillips, 415 F.3d at 1316, the Court construes

 "sustained release" according to its plain meaning- ''the portion of the formulation that is not

  immediate release and that releases over a period of time."

            2. "controlled release component"
                          +
   DispuJ~Te~,                Plaintiff Jazz's        Defendant AvaileUs "'           <'Ihe Court'·s •
                              'C6nsttuction               Construeti4jn •             1
     ....     /       >                                                               'constmdion

                               A formulation          Resinate compositions             Compositions
     "controlled             component with an           characterized by         characterized by having
       release             active pharmaceutical       having at least one of     at least one of the active
     component"              ingredient having a      the active components         components having a
                          release over a period of    having a release over a     release over a period of
     (' 079 patent)       at least about 2 to about   period of at least about   at least about 2 to about 8
                                    8 hours             2 to about 8 hours                  hours


            While the parties agree that the patentee's lexicography governs construction of"controlled

 release component" and that the inventors defined "controlled release" as "having a release over a

 period of at least about 2 to about 8 hours," Jazz maintains the lexicography stops there. Avadel,

 taking the lexicography further, argues that the lexicography also includes "for example GHB

 resinate compositions" and therefore, "controlled release component" is necessarily "limited to

 compositions that achieve controlled release using ion-exchange resins."

            "[C]ontrolled release component" is found in claim 1 of the '079 patent, which states:

                   A method of treating narcolepsy in a patient in need thereof, the method
                   compnsmg:

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                         administering a single daily dose to the patient, the single daily dose
                         comprising an amount of oxybate equivalent to from 4.0 g to 12.0 g
                         of sodium oxybate, wherein the administering comprises:

                         opening a sachet containing a solid oxybate formulation, mixing the
                         formulation with water, and

                         orally administering the mixture to the patient, wherein the oxybate
                         formulation comprises an immediate release component and a
                         controlled release component.

         "[C]ontrolled release" is expressly defined in the specification:

                 As used herein, the term "controlled release" refers to compositions, for
                 example GHB resinate compositions as described herein, which are
                 characterized by having at least one of the active components having a
                 release over a period of at least about 2 to about 8 hours ...

  See '079 patent at 6:55-7:8 (emphasis added). Given the express definition of"controlled release"

  in the specification, the Court will apply that definition and construe "controlled release

  component" as "compositions characterized by having at least one of the active components having

  a release over a period of at least about 2 to about 8 hours." See Renishaw PLC v. Marposs Societa '

  Per Azioni, 158 F.3d 1243, 1249 (Fed. Cir. 1998) (explaining that where "a patent applicant has

  elected to be a lexicographer by providing an explicit definition in the specification for a claim

  term," then ''the definition selected by the patent applicant controls").

         The Court declines to limit "controlled release component" to resinates. The use of the

  word "example" in the '079 patent's specification suggests that controlled release compositions

  may be, but are not required to be, formulated from resins. Although Avadel argues that only ''the

  'GHB' portion of the 'GHB resinate compositions' .. . is exemplary," D.I. 132 at 32, the definition

  states that '"controlled release' refers to compositions, for example GHB resinate compositions"-

  not that controlled release refers to resinate compositions, for example of GHB. See '079 patent at

  6:55-7:8.


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         Nor does the word "example" by itself disclaim non-resinate compositions. See, e.g.,

 Purdue Pharma L.P. v. Acura Pharms., Inc., C.A. No. 15-292, 2016 WL 234800, at *4 n.7 (D.

 Del. Jan. 19, 2016) ("[T]his exemplary discussion of a binder is not a disavowal of the full scope

 of the claim term and I decline to import this limitation into the claim."). Avadel relies on Level

 Sleep LLC v. Sleep Number Corp. to argue that non-resinates have been disclaimed. But there, the

  Court limited the claim term "low body pressure" where the specification expressly defined "low

  body pressure" as "below the ischemic pressure of about 30 mmHg." No. 2020-1718, 2021 WL

  2934816, at *1 (Fed. Cir. July 13, 2021). Here, the specification does not contain the requisite

 clarity to conclude, as Avadel urges, that all compositions be limited as resinate compositions.

         Avadel argues that "controlled release" should be limited to resinate compositions because

 the specification purportedly "makes clear that 'the present invention' is limited to resinate dosage

 forms." D.I. 132 at 31. But the specification describes numerous embodiments of "the present

 invention" without limiting the claims to resinate compositions, suggesting that while some

 embodiments may be accomplished through the use of resinate compositions, such resinates are

  not a necessary component of the claimed inventions. See, e.g., '079 patent at 4:35-38; 6:42-45.

  Thus, describing exemplary embodiments as the "present invention" does not limit claim scope,

 especially where the specification does not uniformly require compositions to be resinates. See

  Continental Circuits LLC v. Intel Corp., 915 F.3d 788, 798 (Fed. Cir. 2019) ("present invention"

  is not limiting "where the references .. . are not uniform, or where other portions of the intrinsic

  evidence do not support applying the limitation to the entire patent").

         Accordingly, the Court construes "controlled release component" as "compositions

  characterized by having at least one of the active components having a release over a period of at

  least about 2 to about 8 hours."


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          3. "modified release particles"

                                                                                                     The: Court~,.
                                                        t,
                                                                                          r.
     Disp~ted.T e~,            PJaintiff Jazz's               DefendantAvadel's
              . ...            AConstruction                      Construction •~
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 L                    .f



                               Plain and ordinary                                                  Plain and ordinary
                                                                  Particles that are
                                    mearung,                                                            mearung,
       "modified                                              resinate compositions
                           i.e., particles containing                                          i.e., particles containing
        release                                              characterized by having
                           an active pharmaceutical                                            an active pharmaceutical
       particles"                                            at least one of the active
                           ingredient with a release                                           ingredient with a release
                                                               components having a
                            profile that is different                                           profile that is different
      ('782 patent)                                          release over a period of
                                 from that of an                                                     from that of an
                                                             at least about 2 to about
                               immediate release                                                   immediate release
                                                                       8 hours
                                     particle                                                            particle


          Jazz argues that "modified release particles" should be afforded its plain and ordinary

 meaning. Avadel argues that "modified release particles" in the '782 patent should be construed

 consistent with "controlled release component" in the '079 patent.

          "[M]odified release particles" appears in claim 1 of the '782 patent, which recites:

                    A formulation of gamma-hydroxybutyrate comprising:

                             a plurality of immediate release particles comprising gamma-
                             hydroxybutyrate;

                             a plurality of modified release particles compnsmg gamma-
                             hydroxybutyrate;

                             a viscosity enhancing agent; and

                             an acid;

                             wherein the viscosity enhancing agent and the acid are separate from
                             the immediate release particles and the modified release particles.

 '782 patent at cl. 1. Starting with the claim language and the specification, neither support

 Avadel' s limitations-that is, limiting "modified release particles" to a resinate composition with

 the GHB releasing over a period of at least about 2 to about 8 hours. While Avadel argues that the

 specification's interchangeable use of "controlled" and "modified" release means that they have


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 the same meaning (because the patent draws no distinction between them), "controlled release" is

 expressly defined; "modified release" is not. And although Avadel says a person of ordinary skill

 in the art would understand "modified release particles" to be limited to resinates given the

 "specification's descriptions of the 'present invention' and disparagement of non-resinate

 formulations," D.I. 132 at 44, the examiner stated during prosecution that "modified release

 portion is broadly interpreted as being modified in some way," D.I. 133-1, Ex. 8 at 6, suggesting

 that a person of ordinary skill in the art would understand modified release particles as having a

 release profile that is different from that of an immediate release particle. See Salazar v. Procter

 & Gamble Co., 414 F.3d 1342, 1347 (Fed. Cir. 2005) ("Statements about a claim term made by an

 examiner during prosecution of an application may be evidence of how one of skill in the art

 understood the term at the time the application was filed.").

        The extrinsic evidence further suggests that "modified release" was a term of art, meaning

 a release profile that is different from that of an immediate release product. See, e.g., D.I. 133-1,

 Ex. 9 at 4 ("Modified release dosage forms are formulations where the rate and/or site of release

 of the active ingredient(s) are different from that of the immediate release dosage form

 administered by the same route."). Other courts are in accord. See Fe"ing B. V. v. Mylan Pharms.

 Inc., C.A. No. 13-5909, 2014 WL 6676670, at *3 (E.D. Pa. Nov. 25,.2014) (concluding that "plain

 meaning of the phrase ' modified release material' as used in the patent claims means 'a material

 that modifies the release of the active pharmaceutical ingredient."').

        Thus, the Court will apply the plain and ordinary meaning, which is the default in claim

 construction. Phillips, 415 F .3d at 1316. "Modified release particles" means "particles containing




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 an active pharmaceutical ingredient with a release profile that is different from that of an

 immediate release particle."4

        4. "whether the claimed 'system' includes methods of using the approved product"
                                                                                                            .•.



                                                                                            ':fbe Court's
               •·

                                   .Plaintiff Jazz's         Defendant·Avadel:~s ,,.,.
    •Disputed ':ferm         '       Construction               Constnicti~n . .           Construction

                                 The '963 patent claims
                                   methods of using a
   "whether the claimed
                                 computer-implemented
     'system' includes                                      The claims are directed        The claims are
                                    system to safely
   methods of using the                                      to systems and not to       directed to systems
                                   distribute gamma-
    approved product"                                              methods.              and not to methods.
                                  hydroxybutyrate for
       ('963 patent)
                                     treatment of a
                                   narcoleptic patient.


        The parties dispute whether claims of the '963 patent are directed to methods (as Jazz

 contends), or systems (as Avadel contends).

        Claim 1 of the '963 patent recites:

                    A computer-implemented system for treatment of a narcoleptic patient with
                    a prescription drug that has a potential for misuse, abuse or diversion,
                    compnsmg:

                           one or more computer memories for storing a single computer
                           database having a database schema that contains and interrelates
                           prescription fields, patient fields, and prescriber fields;

                           said prescription fields, contained within the database schema,
                           storing prescriptions for the prescription drug with the potential for
                           abuse, misuse or diversion, wherein the prescription drug is sold or
                           distributed by a company that obtained approval for distribution of
                           the prescription drug;

                           said patient fields, contained within the database schema, storing
                           information sufficient to identify the narcoleptic patient for whom
                           the company's prescription drug is prescribed;

        4
          While Avadel argues that "modified release particles" in the '782 patent should be
 construed consistent with "controlled release component" in the '079 patent, this Court, as
 described supra, declined to limit "controlled release component" to resinates.

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                        said prescriber fields, contained within the database schema, storing
                        information sufficient to identify a physician or other prescriber of
                        the company's prescription drug and information to show that the
                        physician or other prescriber is authorized to prescribe the
                        company's prescription drug;

                        a data processor configured to:

                        process a database query that operates over all data related to the
                        prescription fields, prescriber fields, and patient fields for the
                        prescription drug; and reconcile inventory of the prescription drug
                        before the shipments for a day or other time period are sent by using
                        said database query to identify information in the prescription fields
                        and patient fields;

                        wherein the data processor is configured to process a second
                        database query that identifies that the narcoleptic patient is a cash
                        payer and a physician that is interrelated with the narcoleptic patient
                        through the schema of the single computer database;

                        said identifying that the narcoleptic patient is a cash payer by said
                        second database query being an indicator of a potential misuse,
                        abuse or diversion by the narcoleptic patient and being used to notify
                        the physician that is interrelated with the narcoleptic patient through
                        the schema of the single computer database.

  '963 patent at cl. 1. Starting with the claim language, it recites a "computer-implemented system",

 followed by identifying the functions of that system, to include "one or more computer memories",

 "prescription fields", "patient fields," "prescriber fields," and a "data processor" configured to

 process various queries. Id. Thus, the claimed system is an assemblage of components that

 together operate to accomplish the prescribed purpose. See ABB Automation Inc. v. Schlumberger

 Resource Management Services, Inc., C.A. No. 01---077- SLR, 2003 WL 1700013, at *4 (D. Del.,

 Mar. 27, 2003) (explaining that a "system" is "an integrated assemblage of hardware and/or

 software elements operating together to accomplish a prescribed end purpose"). To argue that the

 language claims a method, Jazz rewrites the claim language, omitting the recited components (e.g.,



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 "computer memories", "prescription fields", "prescriber fields") and inserting verbs where they

 do not exist (e.g., "identifying", "reconciling"). D.I. 132 at 48. But the claims, on their face, do

  not recite any method steps. See In re Kollar, 286 F.3d 1326, 1332 (Fed. Cir. 2002) (noting the

 "distinction between a claim to a product, device, or apparatus, all of which are tangible items, and

  a claim to a process, which consists of a series of acts or steps").

         Jazz alleges that, because the claims purportedly require a human to perform the steps on

  computer, they must be method claims. Tr. 69:10-70:23; D.I. 132 at 60. But the claims recite

  functional language (e.g., ''the data processor is configured to process a second database query")

  and system components may be described as taking action without being transformed into

  methods. See HTC Corp. v. lPCom GmbH & Co., KG, 667 F.3d 1270, 1277 (Fed. Cir. 2012) (the

  claim element "[a] mobile station for use with a network ... that achieves a handover ... by: ...

  storing link data ..." does not require that the network take the action of storing link data);

  MasterMine Software, Inc. v. Microsoft Corp., 874 F.3d 1307, 1315-16 (Fed. Cir. 2017) ("Because

  the claims merely use permissible functional language to describe the capabilities of the claimed

  system, it is clear that infringement occurs when one makes, uses, offers to sell, or sells the claimed

  system.").

         At the Hearing, Jazz maintained that "system" and "method" mean the same thing, arguing

  that "[a] system is a type of method." Tr. 93:21. But Jazz's position is strained in view of the

  patent's title, "Sensitive Drug Distribution System and Method" (emphasis added), distinguishing

  between a "system" and a "method." And Jazz's position is further strained given that Jazz

  prosecuted both system and method claims in this patent family, pursing claims to "[a] computer-

  implemented system" and "[a] computer-implemented method" in the same application. D.I. 133-

  1, Ex.Rat 22.


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               Jazz relies on Lyda v. CBS Corp. , 838 F.3d 1331 , 1339 (Fed. Cir. 2016) to argue that,

 despite using the word "system," the "purported system claims [as Avadel proposes] asserted in

 this case are, in fact, method claims because the body of the claims require the performance of

 particular method steps." D.I. 132 at 47-48 (quoting Lyda, 838 F.3d at 1339). But the Federal

  Circuit treated the claims at issue in Lyda as method claims when conducting a Rule 12(b)(6)

 analysis; that conclusion was not reached at claim construction. Also, in Lyda, unlike here, the

 claims on their face were actually directed to a system of method steps. 838 F.3d at 1335 ("A

  system . .. comprising . .. providing ... having .. transmitting . . . collecting, correlating, and

 processing .. . [and] routing.").

               For all these reasons, the Court finds the claims of the '963 patent are directed to systems,

  not methods. 5

               5. "[single]/[central] computer database"
        . •.      •. •   . •.                                                        ,,
                                       Plaintiff Jazz's        Defendant Avadel"s                TheCourt~s
      Disputed'ferm             k''                                                                                .
                                      ' Construction              Constructi~n    /       i'     Construction

                                                                One and only one
     "[single]/[central]
                                      No construction          computer database,              One and only one
    computer database"
                                        necessary               having the recited             computer database
        ('963 patent)
                                                                  functionality


               The parties dispute whether "single computer database" and "central computer database"

 contemplate multiple databases distributed among multiple commuters so long as they are under




               5 While the claims of the '936 patent are directed to systems, and not methods, Avadel has

 not waived arguing that the claims recite both a system and the method steps of using the system
 and are accordingly indefinite under 35 U.S.C. § 112. See IPXL Holdings, L.L.C. v. Amazon.com,
 Inc., 430 F.3d 1377, 1384 (Fed. Cir. 2005).


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 an entity's central control (as Jazz suggests), or whether those terms contemplate one and only

 one database to perform the recited functions (as Avadel suggests).

        Claims 1-23 require:

                one or more computer memories for storing a single computer database
                having a database schema that contains and interrelates prescription fields,
                patient fields, and prescriber fields; ....

 '936 patent at cl. 1-23. Claims 25 and 28 depend from claim 24, which requires:

                one or more computer memories for storing a central computer database of
                the company that obtained approval for distribution of the prescription drug,
                for receiving prescriptions from any and all patients being prescribed the
                company's prescription drug, said central computer database having a
                database schema that contains and interrelates prescription fields, patient
                fields, and prescriber fields; ....

 '936 patent at cl. 24. Starting with the claim language, the claims use the term "single computer

 database" and "central computer database" as opposed to one or more databases or multiple

 databases. "One or more" and "multiple" are both used in other limitations, but not for the

 computer database itself, which is always "single." Turning to the specification, it discusses "the

 central database" and illustrates that, while the applicants knew how to use words like "multiple",

 they did not choose that language for the central database, which is always singular. See, e.g.,

 '963 patent at 1:48-53 ("Information is kept in a central database" and abuses are identified "by

 monitoring data in the database."); Id. at 2:20-25 ("The exclusive central database contains all

 relevant data .... Several queries and reports are run against the database to provide information

 which might reveal potential abuse of the sensitive drug, such as early refills."). Thus, the intrinsic

 record favors a construction that only one database can perform the recited functionality.

        Jazz asserts that the term "single" suggest exclusivity of control. Tr. 102:11-16 ("A

 database ... is just some kind of storage or data, you want to call one or 15 of them, as long as I



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 control all of them and I can do that query to find out if that guy is doctor shopping, that's what

 matters."). But the claim doesn't say multiple computer databases under common control. The

 claim language says a "single" database. And in claims 25 and 28, "central computer database"

 means "single computer database."

         "Single" means "one and only one." See D.I. 133-1 , Exs. L, M. The Court will construe

 "single computer database" and "central computer database" to mean "one and only one computer

 database."

         6. "reconcile inventory/reconciling inventory/cycle counted and reconciled"
                                                                                                           .·.. •

                               Plaintiff Jau;'s         Defendant Av,del's •           /
                                                                                            TheCottres
     >Disputed {f ei,n
                   ,... ,,      Construction                                                Construction
                                                           Construction ·• • • ...,,   A:


                                                       Checking whether there            Checking whether
          "reconcile
                                                       is a mismatch between            there is a mismatch
   inventory/reconciling
                                                        the aggregate amount            between the amount
      inventory/cycle          No construction
                                                         of a drug reported in         of a drug reported in
        counted and              necessary
                                                       physical inventory and            physical inventory
         reconciled"
                                                        the aggregate amount           and the amount in the
        ('963 patent)
                                                            in the database                   database


         The parties agree that "reconciling inventory" means confirming that the inventory at a

 particular location matches what is expected based on the information in the database, D.I. 132 at

 76; Tr. 112:2-10, but dispute whether that mismatch requires tabulating "aggregate" amounts.

         Starting with the claim language, claim 1 requires "a data processor configured to: ...

 reconcile inventory of the prescription drug before the shipments for a day or other time period are

  sent by using said database query to identify information in the prescription fields and patient

 fields." '963 patent at cl. 1. If the plain meaning of ''to reconcile" in this context means to bring

 multiple things into agreement, claim 1 does not explain what is being brought into agreement

 with what.


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         The prosecution history suggests that "inventory reconciliation involves a physical check

 being made with respect to the physical inventory and then compared to a database system

 inventory value to determine whether the physical inventory matches the database inventory

 value." D.I. 133-1, Ex. Q at 11. When distinguishing their claims over prior art, the applicants

  stated: "[The prior art] merely checks whether a pharmacy has a sufficient amount of the

  medication to fulfill a specific prescription order. There is no disclosure of checking whether there

  is a mismatch between the aggregate amount of a drug in physical inventory with the aggregate

  amount in the database as required by the inventory reconciliation features of claim 1." Id.

         Based upon the intrinsic record, the Court will construe "reconciling inventory" to mean

  "checking whether there is a mismatch between the amount of a drug reported in physical

  inventory and the amount in the database." To import the term "aggregate" in the construction

  would render claim 20 (dependent on claim 1) superfluous as it includes aggregate inventory

  reconciliation, but is not limited by aggregate inventory reconciliation. See '963 patent at cl. 20.

  ("The system of claim 1, wherein current inventory is cycle counted and reconciled with database

  quantities before shipments for a day or other time period are sent.").

 IV.     CONCLUSION

         The Court will adopt the parties' agreed-upon construction of claim term "by about 4 to

  about 6 hours" and construe the disputed claim terms as described above. The Court will issue an

  Order consistent with this Memorandum Opinion.




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                   Corresponding Author: Pieter A. Cohen, MD, Broadway Clinic, Cambridge Health         Patents on Risk Evaluation and Mitigation Strategies
                   Alliance, 300 Broadway, Somerville, MA 02143 (pcohen@challiance.org).
                                                                                                        for Prescription Drugs and Generic Competition
                   Author Contributions: Drs Cohen and Vanhee had full access to all the data in        Certain prescription drugs are associated with harms that the
                   the study and take responsibility for the integrity of the data and the accuracy
                   of the data analysis.                                                                US Food and Drug Administration (FDA) concludes can be miti-
                   Concept and design: Cohen, Jacobs, Vanhee.                                                                            gated with safeguards, such as
                   Acquisition, analysis, or interpretation of data: All authors.                                                        laboratory testing or pre-
                   Drafting of the manuscript: Cohen, Jacobs, Vanhee.
                                                                                                        Supplemental content             scriber and patient educa-
                   Critical review of the manuscript for important intellectual content: Jacobs,
                   Van Hoorde, Vanhee.                                                                                                   tion. For these drugs, the FDA
                   Administrative, technical, or material support: Jacobs, Van Hoorde, Vanhee.          may require manufacturers to implement risk evaluation and
                   Supervision: Cohen, Van Hoorde, Vanhee.                                              mitigation strategies (REMS) encompassing such measures.1
                   Conflict of Interest Disclosures: Dr Cohen reported receiving grants from                 Some manufacturers have obtained patents on these
                   Consumers Union and PEW Charitable Trust and personal fees from UpToDate
                   and Centers for Disease Control and Prevention outside the submitted work.
                                                                                                        REMS, which provide 20 years of market exclusivity and can
                   Dr Cohen was subject of a civil suit brought by Hi-Tech Pharmaceuticals,             frustrate generic competition. For example, Celgene sued a ge-
                   a supplement company; the jury found in Dr Cohen’s favor. No other disclosures       neric manufacturer of thalidomide for REMS patent infringe-
                   were reported.
                                                                                                        ment in 2007,2 keeping generics off the market during years
                   Data Sharing Statement: See Supplement 2.                                            the drug earned billions.3 More recently, Jazz, the manufac-
                   Additional Contributions: We thank John Travis, BS, of NSF International for         turer of sodium oxybate (Xyrem), used REMS patents to fore-
                   his thoughtful comments on an earlier version of the manuscript. He was not
                   compensated for his contributions.
                                                                                                        stall competition from a brand-name rival.4 We identified the
                                                                                                        prevalence of REMS patents and their effect on delaying ge-
                   1. Johnston A, Holt DW. Substandard drugs: a potential crisis for public health.
                   Br J Clin Pharmacol. 2014;78(2):218-243. doi:10.1111/bcp.12298                       neric competition.
                   2. Cohen PA, Avula B, Katragunta K, Travis JC, Khan I. Presence and quantity of
                   botanical ingredients with purported performance-enhancing properties in             Methods | We identified novel small-molecule drugs with ac-
                   sports supplements. JAMA Netw Open. 2023;6(7):e2323879. doi:10.1001/                 tive, non–class-wide REMS on December 31, 2022, from the FDA
                   jamanetworkopen.2023.23879
                                                                                                        website, patents protecting the drugs in annual editions of the
                   3. Loy C, Schneider L. Galantamine for Alzheimer’s disease and mild cognitive
                                                                                                        FDA’s Approved Drug Products With Therapeutic Equivalence
                   impairment. Cochrane Database Syst Rev. 2006;2006(1):CD001747. doi:10.
                   1002/14651858.CD001747.pub3                                                          Evaluations (Orange Book) through 2022, and patent litigation
                   4. Winblad B, Gauthier S, Scinto L, et al; GAL-INT-11/18 Study Group. Safety and     through 2011 using the database Lex Machina. For drugs with
                   efficacy of galantamine in subjects with mild cognitive impairment. Neurology.       REMS patents, we classified the drugs’ other patents as protect-
                   2008;70(22):2024-2035. doi:10.1212/01.wnl.0000303815.69777.26                        ing the active ingredient, a formulation, or a method of use.
                   5. Cronin JR. The plant alkaloid galantamine: approved as a drug; sold as a               Among drugs with generic competition by 2022, we com-
                   supplement. Altern Complement Ther. 2001;7(6):380-383. doi:10.1089/
                                                                                                        pared the first generic marketing date with the expiration dates
                   10762800152709741
                                                                                                        of REMS and non-REMS patents. For drugs lacking generic
                   6. Kose E, Yamamoto T, Tate N, Ando A, Enomoto H, Yasuno N. Adverse drug
                   event profile associated with anti-dementia drugs: analysis of a spontaneous         competition, we compared the expiration dates of the last-
                   reporting database. Pharmazie. 2023;78(5):42-46.                                     expiring REMS patent with the last-expiring active ingredient

                   Table. Patent and Generic Entry Information for Drugs With REMS-Covered Patents
                                                                                   No. of
                                                                                   REMS patents
                                                                                   (% of total         Last-expiring         Last-expiring                          Invalidated
                                                              FDA-approved         Orange Book         REMS patent           active ingredient    First generic     vs challenged
                       Drug               Approval date       indications          patent portfolio)   expiration date       patent date          marketing date    REMS patents, No.
                       Alvimopan          5/20/2008           Bowel surgery        2 (33)              7/31/2030             3/29/2016            12/2/2020         0 vs 0
                       (Entereg)
                       Lenalidomide       12/27/2005          Multiple             10 (33)             10/23/2020            10/4/2019            3/3/2022          2 vs 10
                       (Revlimid)                             myeloma; mantle
                                                              cell lymphoma,
                                                              transfusion-
                                                              dependent
                                                              anemia; follicular
                                                              lymphoma;
                                                              marginal zone
                                                              lymphoma
                       Pomalidomide       2/8/2013            Multiple             10 (50)             10/23/2020            10/4/2019            NAa               2 vs 10
                       (Pomalyst)                             myeloma;
                                                              AIDS-related
                                                              Kaposi sarcoma
                       Sodium oxybate     7/17/2002           Narcolepsy           7 (32)              12/17/2022            NAb                  NAa               6 vs 7
                       (Xyrem)
                       Thalidomide        7/16/1998           Leprosy; multiple    14 (70)             10/23/2020            NAb                  NAa               2 vs 14
                       (Thalomid)                             myeloma
                                                                                                        b
                   Abbreviations: FDA, US Food and Drug Administration; NA, not applicable;                 Sodium oxybate and thalidomide lacked active ingredient patents.
                   REMS, risk evaluation and mitigation strategies.
                   a
                       Generic entry had not occurred for pomalidomide, sodium oxybate, or
                       thalidomide.



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                  Figure. Orange Book–Listed Patents

                  □
                  A Alvimopan (Entereg)                                                               □
                                                                                                      B Lenalidomide (Revlimid)

                  Type of patent                                                                      Type of patent
                  Method of use                                                                       Method of use
                  REMS                                                                                Method of use
                  REMS                                                                                Method of use
                  Method of use                                                                       Method of use
                  Formulation
                                                                                                      Method of use
                  Active ingredient
                                                                                                      Method of use
                                    Jan    Jul     Jan       Jul    Dec      Jun     Dec    Jun       Method of use
                                   1993   1998    2004      2009   2014     2020    2025   2031
                                                                                                      REMS
                                                            Month/year                                REMS
                                                                                                      Method of use
                  □
                  C Pomalidomide (Pomalyst)
                                                                                                      Method of use
                  Type of patent                                                                      Method of use
                  Formulation                                                                         REMS
                  Formulation                                                                         Active ingredient
                  Formulation                                                                         REMS
                  Method of use
                                                                                                      Method of use
                  Method of use
                                                                                                      Formulation
                  REMS
                  REMS                                                                                Method of use
                  REMS                                                                                Method of use
                  REMS                                                                                Method of use
                  Method of use                                                                       Formulation
                  Formulation                                                                         REMS
                  REMS                                                                                REMS
                  REMS                                                                                REMS
                  REMS
                                                                                                      REMS
                  REMS
                                                                                                      Formulation
                  Formulation
                  Formulation                                                                         REMS
                  REMS                                                                                Method of use
                  REMS                                                                                REMS
                  Active ingredient                                                                   Active ingredient

                                    Jul     Jan       Jul       Dec        Jun      Dec     Jun                            Jul     Jan      Jul       Dec       Jun     Dec       Jun
                                   1998    2004      2009      2014       2020     2025    2031                           1998    2004     2009      2014      2020    2025      2031
                                                            Month/year                                                                            Month/year

                  □
                  D Sodium oxybate (Xyrem)                                                            □
                                                                                                      E Thalidomide (Thalomid)

                  Type of patent                                                                      Type of patent
                  Method of use                                                                       REMS
                  Method of use                                                                       REMS
                  Method of use                                                                       REMS
                  Formulation                                                                         REMS
                  Method of use                                                                       Method of use
                  Method of use                                                                       REMS
                  Method of use                                                                       REMS
                  Formulation
                                                                                                      Method of use
                  Method of use
                                                                                                      Method of use
                  REMS
                                                                                                      Formulation
                  REMS
                                                                                                      REMS
                  REMS
                                                                                                      REMS
                  Method of use
                  Formulation                                                                         REMS
                  REMS                                                                                REMS
                  Method of use                                                                       REMS
                  REMS                                                                                REMS
                  REMS                                                                                REMS
                  REMS                                                                                Method of use
                  Formulation                                                                         REMS
                  Formulation                                                                         Method of use

                                    Jul  Apr  Dec  Sep  Jun  Mar Dec   Sep  Jun  Feb                                     Mar       Sep        Feb          Aug         Feb        Jul
                                   2009 2012 2014 2017 2020 2023 2025 2028 2031 2034                                    1997      2002       2008         2013        2019       2024
                                                            Month/year                                                                            Month/year


                  Some patents did not last 20 years because the patents were invalidated or        the original patent. The dashed blue vertical lines indicate when generic entry
                  because the manufacturer filed a continuation, in which minor clarifications or   occurred. REMS indicates risk evaluation and mitigation strategies.
                  additions were added to an invention, resulting in a new patent that replaced



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                   patent to estimate the maximum added exclusivity the REMS          Author Affiliations: Program on Regulation, Therapeutics, and Law, Brigham
                   patents could provide.                                             and Women’s Hospital, Boston, Massachusetts (Sarpatwari, Kohli, Kesselheim);
                                                                                      West Virginia University College of Law, Morgantown (Tu).
                       For each drug, we identified the number of REMS patents
                                                                                      Accepted for Publication: January 22, 2024.
                   the generic manufacturers challenged and the outcome of the
                                                                                      Published Online: February 22, 2024. doi:10.1001/jama.2024.0924
                   challenges. Analyses were performed using Excel, version 16
                                                                                      Corresponding Author: Ameet Sarpatwari, PhD, JD, Program on Regulation,
                   (Microsoft).
                                                                                      Therapeutics, and Law, Brigham and Women’s Hospital, 1620 Tremont St,
                                                                                      Ste 3030, Boston, MA 02120 (asarpatwari@bwh.harvard.edu).
                   Results | Of 24 novel small-molecule drugs covered by active,      Author Contributions: Dr Sarpatwari had full access to all of the data in the
                   non–class-wide REMS, 5 (21%) had Orange Book–listed REMS           study and takes responsibility for the integrity of the data and the accuracy of
                   patents: alvimopan (Entereg), lenalidomide (Revlimid),             the data analysis.
                                                                                      Concept and design: Sarpatwari, Kohli, Kesselheim.
                   pomalidomide (Pomalyst), sodium oxybate (Xyrem), and tha-
                                                                                      Acquisition, analysis, or interpretation of data: All authors.
                   lidomide (Thalomid). There was a median of 10 (range, 2-14)        Drafting of the manuscript: Sarpatwari, Kohli, Tu.
                   REMS patents per drug, comprising a median of 33% (range,          Critical review of the manuscript for important intellectual content: All authors.
                   32%-70%) of all patents per drug, which was higher than the        Statistical analysis: Sarpatwari, Kohli.
                                                                                      Obtained funding: Kesselheim.
                   median number of active ingredient (1 [range, 0-2]; 5% [range,     Administrative, technical, or material support: Sarpatwari, Kohli, Tu.
                   0%-17%]), formulation (3 [range, 1-6]; 17% [range, 5%-30%]),       Supervision: Sarpatwari, Kesselheim.
                   or method-of-use (5 [range, 2-15]; 33% [range, 20%-50%]) pat-      Conflict of Interest Disclosures: Dr Sarpatwari reported receiving grants from
                   ents per drug (Table).                                             the US Food and Drug Administration (FDA) outside the submitted work. Dr Tu
                                                                                      reported consulting for purchasers of lenalidomide-containing products outside
                       Generic entry had occurred for 2 drugs by 2022. For le-
                                                                                      the submitted work. Dr Kesselheim reported serving as an expert witness on
                   nalidomide, the date of first generic marketing was 16 months      behalf of a class of individual plaintiffs against Gilead relating to its
                   after expiration of the last-expiring REMS patent and 28 months    tenofovir-containing products outside the submitted work. No other
                   after expiration of the closest expired non-REMS patent. For       disclosures were reported.
                   alvimopan, the date of first generic marketing was more than       Funding/Support: This work was funded by a grant from Arnold Ventures.
                                                                                      Dr Tu’s work is also supported by the West Virginia University Hodge’s Research
                   9 years before expiration of the last-expiring REMS patent and
                                                                                      Grant. Dr Kesselheim’s work is also supported by the Commonwealth Fund.
                   3 days after expiration of the first method-of-use patent
                                                                                      Role of the Funder/Sponsor: The funders had no role in the design and
                   (Figure). Among drugs with no generic entry, only pomalido-        conduct of the study; collection, management, analysis, and interpretation of
                   mide had an active ingredient patent, which expired 12 months      the data; preparation, review, or approval of the manuscript; and decision to
                   before the last expiring REMS patent. Generic manufacturers        submit the manuscript for publication.
                   challenged 10 lenalidomide, 10 pomalidomide, 7 sodium oxy-         Data Sharing Statement: See the Supplement.
                   bate, and 14 thalidomide REMS patents, leading to invalida-        1. Guadamuz JS, Qato DM, Alexander GC. Use of risk evaluation and mitigation
                                                                                      strategies by the US Food and Drug Administration, 2008-2019. JAMA. 2020;
                   tion of 6 sodium oxybate REMS patents and 2 REMS patents
                                                                                      324(3):299-301. doi:10.1001/jama.2020.6611
                   each for lenalidomide, pomalidomide, and thalidomide.
                                                                                      2. Sarpatwari A, Avorn J, Kesselheim AS. Using a drug-safety tool to prevent
                                                                                      competition. N Engl J Med. 2014;370(16):1476-1478. doi:10.1056/NEJMp1400488
                   Discussion | REMS patenting was observed for one-fifth of REMS-    3. Feeley J, Bloomfield D. From nightmare drug to Celgene blockbuster,
                   covered small-molecule drugs and constituted one-third to          thalidomide is back. Bloomberg. August 22, 2016. Accessed January 18, 2024.
                   three-fourths of their patent portfolios. Generic entry oc-        https://www.bloomberg.com/news/articles/2016-08-22/from-nightmare-drug-
                                                                                      to-celgene-blockbuster-thalidomide-is-back#xj4y7vzkg
                   curred after expiration of the last expiring REMS patent for le-
                   nalidomide but a decade beforehand for alvimopan. REMS pat-        4. Robbins R. A drug company exploited a safety requirement to make money.
                                                                                      New York Times. February 28, 2023. Accessed January 18, 2024. https://www.
                   ents for alvimopan were not subject to challenges, while most      nytimes.com/2023/02/28/business/jazz-narcolepsy-avadel-patents.html
                   REMS patents for lenalidomide, pomalidomide, sodium oxy-           5. Approved risk evaluation and mitigation strategies (REMS). US Food and
                   bate, and thalidomide were, with a few invalidations. Thus,        Drug Administration. Accessed January 16, 2024. https://www.accessdata.fda.
                   the association of REMS patents with delaying generic entry        gov/scripts/cder/rems/index.cfm
                   has been variable.                                                 6. Vokinger KN, Kesselheim AS, Avorn J, Sarpatwari A. Strategies that delay
                        Study limitations included not being able to evaluate bio-    market entry of generic drugs. JAMA Intern Med. 2017;177(11):1665-1669. doi:10.
                                                                                      1001/jamainternmed.2017.4650
                   logics since they do not have the same system of listing their
                   patents with the FDA.5 REMS can also complicate generic
                   entry in other ways, such as when negotiations are needed          COMMENT & RESPONSE
                   to set up shared REMS between brand-name and generic
                   manufacturers.6 Since some REMS patents may contribute to          Resuscitative Endovascular Balloon Occlusion
                   delays in generic marketing for emerging REMS-covered              of the Aorta in Patients With Exsanguinating
                   drugs, to the detriment of patients and the health care sys-       Hemorrhage
                   tem, Congress should consider shielding generic manufactur-        To the Editor We are concerned about the results and interpre-
                   ers from REMS patent infringement claims.                          tation of the UK-REBOA randomized clinical trial.1 First, this
                                                                                      study population may have included cases that were un-
                   Ameet Sarpatwari, PhD, JD                                          suited for resuscitative endovascular balloon occlusion of
                   Sajeev Kohli, AB                                                   the aorta (REBOA). The median Abbreviated Injury Scale (AIS)
                   S. Sean Tu, PhD, JD                                                score for the thorax was 4 in both groups, suggesting the pres-
                   Aaron S. Kesselheim, MD, JD, MPH                                   ence of severe thoracic trauma. The use of REBOA in patients


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                          EXHIBIT 49
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   CENTER FOR DRUG EVALUATION AND RESEARCH

                             Approval Package for:

                            APPLICATION NUMBER:
                                 125514Orig1s014

Trade Name:         Keytruda

Generic or Proper   pembrolizumab
Name:
Sponsor:            Merck Sharp and Dohme, Corp.

Approval Date:      May 23, 2017

Indication:         KEYTRUDA is a programmed death receptor-1 (PD-1)­
                    blocking antibody indicated in:
                    Melanoma:
                       • for the treatment of patients with unresectable of metastatic
                         melanoma.
                    Non-Small Cell Lung Cancer (NSCLC):
                       • as a single agent for the first-line treatment of patients with
                         metastatic NSCLC whose tumors have high PD-L1
                         expression [(Tumor Proportion Score (TPS) ≥50%)] as
                         determined by an FDA-approved test, with no EGFR or
                         ALK genomic tumor aberrations.
                       • as a single agent for the treatment of patients with
                         metastatic NSCLC whose tumors express PD-L1 (TPS
                         ≥1%) as determined by an FDA-approved test, with
                         disease progression on or after platinum-containing
                         chemotherapy. Patients with EGFR or ALK genomic
                         tumor aberrations should have disease progression on
                         FDA-approved therapy for these aberrations prior to
                         receiving KEYTRUDA.
                       • in combination with pemetrexed and carboplatin, as first­
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                    line treatment of patients with metastatic nonsquamous
                    NSCLC. This indication is approved under accelerated
                    approval based on tumor response rate and progression-
                    free survival. Continued approval for this indication may
                    be contingent upon verification and description of clinical
                    benefit in the confirmatory trials.
               Head and Neck Squamous Cell Cancer (HNSCC)
                 • for the treatment of patients with recurrent or metastatic
                    HNSCC with disease progression on or after platinum-
                    containing chemotherapy.
                    This indication is approved under accelerated approval
                    based on tumor response rate and durability of response.
                    Continued approval for this indication may be contingent
                    upon verification and description of clinical benefit in the
                    confirmatory trials.
               Classical Hodgkin Lymphoma (cHL)
                 • for the treatment of adult and pediatric patients with
                    refractory cHL, or who have relapsed after 3 or more prior
                    lines of therapy.
                    This indication is approved under accelerated approval
                    based on tumor response rate and durability of response.
                    Continued approval for this indication may be contingent
                    upon verification and description of clinical benefit in the
                    confirmatory trials.
               Urothelial Carcinoma
                 • for the treatment of patients with locally advanced or
                    metastatic urothelial carcinoma who are not eligible for
                    cisplatin-containing chemotherapy. This indication is
                    approved under accelerated approval based on tumor
                    response rate and duration of response.
                    Continued approval for this indication may be contingent
                    upon verification and description of clinical benefit in
                    confirmatory trials.
                 • for the treatment of patients with locally advanced or
                    metastatic urothelial carcinoma who have disease
                    progression during or following platinum-containing
                    chemotherapy or within 12 months of neoadjuvant or
                    adjuvant treatment with platinum-containing
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                   chemotherapy.
               Microsatellite Instability-High Cancer
                 • for the treatment of adult and pediatric patients with
                   unresectable or metastatic, microsatellite instability-high
                   (MSI-H) or mismatch repair deficient
                      o solid tumors that have progressed following prior
                         treatment and who have no satisfactory alternative
                         treatment options, or
                      o colorectal cancer that has progressed following
                         treatment with a fluoropyrimidine, oxaliplatin, and
                         irinotecan.
                   This indication is approved under accelerated approval
                   based on tumor response rate and durability of response.
                   Continued approval for this indication may be contingent
                   upon verification and description of clinical benefit in the
                   confirmatory trials.
                 • Limitation of Use: The safety and effectiveness of
                   KEYTRUDA in pediatric patients with MSI-H central
                   nervous system cancers have not been established.
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  CENTER FOR DRUG EVALUATION AND RESEARCH

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Chemistry Review(s)                                                       X
Environmental Assessment
Pharmacology Review(s)
Statistical Review(s)                                                     X
Microbiology / Virology Review(s)
Clinical Pharmacology/Biopharmaceutics Review(s)                          X
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     CENTER FOR DRUG EVALUATION AND
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                         APPLICATION NUMBER:

                         125514Orig1s014


                    APPROVAL LETTER
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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES



                                                                                    Food and Drug Administration
                                                                                    Silver Spring MD 20993


          BLA 125514/S-14
                                                                            ACCELERATED APPROVAL

          Merck Sharp and Dohme, Corp.
          Attention: Nahid Latif
          Executive Director, Global Regulatory Affairs
          351 N. Sumneytown Pike
          P.O. Box 1000
          UG-2C029
          North Wales, PA 19454

          Dear Ms. Latif:

          Please refer to your supplemental Biologics License Application (sBLA) dated September 8,
          2016, and received September 8, 2016 submitted under section 351(a) of the Public Health
          Service Act for Keytruda (pembrolizumab) for injection 50 mg and for Keytruda
          (pembrolizumab) injection 100 mg/4 mL.

          We acknowledge receipt of your major amendment dated March 9, 2017, which extended the
          goal date by three months.

          This Prior Approval supplemental biologics application adds a new indication for the treatment
          of adult and pediatric patients with:
               unresectable or metastatic, microsatellite instability-high (MSI-H) or mismatch repair
                  deficient solid tumors that have progressed following prior treatment and who have no
                  satisfactory alternative treatment options, or
               metastatic, microsatellite instability-high (MSI-H) or mismatch repair deficient colorectal
                  cancer that has progressed following treatment with a fluoropyrimidine, oxaliplatin, and
                  irinotecan.

          This indication is approved under accelerated approval based on tumor response rate and
          durability of response. Continued approval for this indication may be contingent upon
          verification and description of clinical benefit in the confirmatory trials. The approval includes
          the following limitation of use: The safety and effectiveness of KEYTRUDA in pediatric
          patients with microsatellite instability-high central nervous system cancers has not been
          established.




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          APPROVAL & LABELING

          We have completed our review of this supplemental application, as amended. It is approved,
          effective on the date of this letter, for use as recommended in the enclosed, agreed-upon labeling
          text.

          WAIVER OF HIGHLIGHTS SECTION

          Please note that we have previously granted a waiver of the requirements of 21 CFR
          201.57(d)(8) regarding the length of Highlights of prescribing information.

          CONTENT OF LABELING

          As soon as possible, but no later than 14 days from the date of this letter, submit, via the FDA
          automated drug registration and listing system (eLIST), the content of labeling
          [21 CFR 601.14(b)] in structured product labeling (SPL) format, as described at
          http://www.fda.gov/ForIndustry/DataStandards/StructuredProductLabeling/default.htm, that is
          identical to the enclosed labeling text for the prescribing information and Medication Guide, and
          include the labeling changes proposed in any pending “Changes Being Effected” (CBE)
          supplements. Information on submitting SPL files using eLIST may be found in the guidance for
          industry titled “SPL Standard for Content of Labeling Technical Qs and As” at
          http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/U
          CM072392.pdf.

          The SPL will be accessible via publicly available labeling repositories.

          Also within 14 days, amend all pending supplemental applications that include labeling changes
          for this BLA, including pending “Changes Being Effected” (CBE) supplements, for which FDA
          has not yet issued an action letter, with the content of labeling [21 CFR 601.12(f)] in MS Word
          format that includes the changes approved in this supplemental application.

          ACCELERATED APPROVAL REQUIREMENTS

          Products approved under the accelerated approval regulations, 21 CFR 601.41, require further
          adequate and well-controlled studies/clinical trials to verify and describe clinical benefit. You
          are required to conduct such studies/clinical trials with due diligence. If postmarketing
          studies/clinical trials fail to verify clinical benefit or are not conducted with due diligence, we
          may, following a hearing in accordance with 21 CFR 601.43(b), withdraw this approval. We
          remind you of your postmarketing requirement specified in your submission dated May 17,
          2017. This requirement, along with required completion dates, is listed below.

          These postmarketing clinical trials are subject to the reporting requirements of 21 CFR 601.70:

          3213-1         Submit the final report, including datasets, from trials conducted to verify and
                         describe the clinical benefit of pembrolizumab 200 mg intravenously every three
                         weeks in patients with microsatellite instability high or mismatch repair deficient




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                         tumors including at least 124 patients with colorectal cancer enrolled in Merck-
                         initiated trials; at least 300 patients with non-colorectal cancer, including a
                         sufficient number of patients with prostate cancer, thyroid cancer, small cell lung
                         cancer; and ovarian cancer; and 25 children. In order to characterize response rate
                         and duration, patients will be followed for at least 12 months from the onset of
                         response.

                         Trial Completion:               September 2022
                         Final Report Submission:        March 2023

          Under 21 CFR 314.81(b)(2)(vii) and 314.81(b)(2)(viii) you should include a status summary of
          each requirement in your annual report to this BLA. The status summary should include
          expected summary completion and final report submission dates, any changes in plans since the
          last annual report, and, for clinical studies/trials, number of patients entered into each study/trial.

          Submit final reports to this BLA as a supplemental application. For administrative purposes, all
          submissions relating to this postmarketing requirement must be clearly designated “Subpart E
          Postmarketing Requirement(s).”

          REQUIRED PEDIATRIC ASSESSMENTS

          Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for new
          active ingredients, new indications, new dosage forms, new dosing regimens, or new routes of
          administration are required to contain an assessment of the safety and effectiveness of the
          product for the claimed indication(s) in pediatric patients unless this requirement is waived,
          deferred, or inapplicable.

          This product is appropriately labeled for use in all relevant pediatric populations. Therefore, no
          additional pediatric studies are needed at this time.

          POSTMARKETING REQUIREMENTS UNDER 505(o)

          Section 505(o)(3) of the Federal Food, Drug, and Cosmetic Act (FDCA) authorizes FDA to
          require holders of approved drug and biological product applications to conduct postmarketing
          studies and clinical trials for certain purposes, if FDA makes certain findings required by the
          statute.

          Since Keytruda was approved on September 4, 2015, we have become aware of the potential risk
          of cerebral edema in children with microsatellite high or mismatch repair deficient central
          nervous system tumors who received a programmed death receptor-1 (PD-1)-blocking antibody
          based on peer-reviewed biomedical literature. We consider this information to be “new safety
          information” as defined in section 505-1(b)(3) of the FDCA.

          We have determined that an analysis of spontaneous postmarketing adverse events reported
          under subsection 505(k)(1) of the FDCA will not be sufficient to assess the signal of a serious
          risk of cerebral edema.




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          Furthermore, the new pharmacovigilance system that FDA is required to establish under section
          505(k)(3) of the FDCA will not be sufficient to assess this serious risk.

          Finally, we have determined that only a clinical trial (rather than a nonclinical or observational
          study) will be sufficient to assess a signal of cerebral edema in children with microsatellite high
          or mismatch repair deficient central nervous system tumors who are exposed to Keytruda.

          Therefore, based on appropriate scientific data, FDA has determined that you are required to
          conduct the following:

          3213-2         Conduct a trial that will characterize the safety of pembrolizumab administered
                         intravenously at 2 mg/kg up to a maximum of 200 mg intravenously every three
                         weeks or to determine a reasonably safe dosage regimen in an adequate number of
                         children with primary central nervous system malignancies that are mismatch
                         repair deficient or microsatellite instability high. Submit a final report and
                         datasets for pediatric patients with primary CNS malignancies.

                         The timetable you submitted on May 17, 2017, states that you will conduct this
                         trial according to the following schedule:

                         Trial Completion:              September 2022
                         Final Report Submission:       March 2023

          REQUIRED POSTMARKETING CORRESPONDENCE UNDER 505(o)

          Submit the postmarketing final report to your BLA. Prominently identify the submission with
          the following wording in bold capital letters at the top of the first page of the submission, as
          appropriate: “Required Postmarketing Final Report Under 505(o)”, “Required
          Postmarketing Correspondence Under 505(o)”.

          Section 505(o)(3)(E)(ii) of the FDCA requires you to report periodically on the status of any
          study or clinical trial required under this section. This section also requires you to periodically
          report to FDA on the status of any study or clinical trial otherwise undertaken to investigate a
          safety issue. Section 506B of the FDCA, as well as 21 CFR 601.70 requires you to report
          annually on the status of any postmarketing commitments or required studies or clinical trials.

          FDA will consider the submission of your annual report under section 506B and 21 CFR 601.70
          to satisfy the periodic reporting requirement under section 505(o)(3)(E)(ii) provided that you
          include the elements listed in 505(o) and 21 CFR 601.70. We remind you that to comply with
          505(o), your annual report must also include a report on the status of any study or clinical trial
          otherwise undertaken to investigate a safety issue. Failure to submit an annual report for studies
          or clinical trials required under 505(o) on the date required will be considered a violation of
          FDCA section 505(o)(3)(E)(ii) and could result in enforcement action.




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          POSTMARKETING COMMITMENTS SUBJECT TO REPORTING REQUIREMENTS
          UNDER SECTION 506B

          We remind you of your postmarketing commitments:

          3213-3         Commitment to support the availability through an appropriate analytical and
                         clinical validation study using clinical trial data that will support labeling of an
                         immunohistochemistry based in vitro diagnostic device that is essential to the safe
                         and effective use of pembrolizumab for patients with tumors that are mismatch
                         repair deficient.

                         The timetable you submitted on May 18, 2017, states that you will support the
                         submission of a Premarket Approval (PMA) Application to FDA/CDRH
                         according to the following schedule:

                         Final Report Submission:                               June 2019

          3213-4         Commitment to support the availability through an appropriate analytical and
                         clinical validation study using clinical trial data that will support labeling of a
                         nucleic acid-based in vitro diagnostic device that is essential to the safe and
                         effective use of pembrolizumab for patients with tumors that are microsatellite
                         instability high.

                         The timetable you submitted on May 18, 2017, states that you will support the
                         submission of a Premarket Approval (PMA) Application to FDA/CDRH
                         according to the following schedule:

                         Final Report Submission:                               June 2019

          Submit all postmarketing final reports to this BLA. In addition, under 21 CFR 601.70 you
          should include a status summary of each commitment in your annual progress report of
          postmarketing studies to this BLA. The status summary should include expected summary
          completion and final report submission dates, any changes in plans since the last annual report,
          and, for clinical studies/trials, number of patients entered into each study/trial. All submissions,
          including supplements, relating to these postmarketing commitments should be prominently
          labeled “Postmarketing Commitment Protocol,” “Postmarketing Commitment Final
          Report,” or “Postmarketing Commitment Correspondence.”

          PROMOTIONAL MATERIALS

          Under 21 CFR 601.45, you are required to submit, during the application pre-approval review
          period, all promotional materials, including promotional labeling and advertisements, that you
          intend to use in the first 120 days following marketing approval (i.e., your launch campaign). If
          you have not already met this requirement, you must immediately contact the Office of
          Prescription Drug Promotion (OPDP) at (301) 796-1200. Please ask to speak to a regulatory
          project manager or the appropriate reviewer to discuss this issue.




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          As further required by 21 CFR 601.45, submit all promotional materials that you intend to use
          after the 120 days following marketing approval (i.e., your post-launch materials) at least 30
          days before the intended time of initial dissemination of labeling or initial publication of the
          advertisement. We ask that each submission include a detailed cover letter together with three
          copies each of the promotional materials, annotated references, and approved prescribing
          information (PI)/Medication Guide/patient PI (as applicable).

          Send each submission directly to:

                  OPDP Regulatory Project Manager
                  Food and Drug Administration
                  Center for Drug Evaluation and Research
                  Office of Prescription Drug Promotions (OPDP)
                  5901-B Ammendale Road
                  Beltsville, MD 20705-1266

          Alternatively, you may submit promotional materials for accelerated approval products
          electronically in eCTD format. For more information about submitting promotional materials in
          eCTD format, see the draft Guidance for Industry (available at:
          http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/U
          CM443702.pdf).

          REPORTING REQUIREMENTS

          We remind you that you must comply with reporting requirements for an approved BLA (in
          21 CFR 600.80 and in 21 CFR 600.81).

          If you have any questions, please call Ms. Sharon Sickafuse, Senior Regulatory Health Project
          Manager, at (301) 796-2320.

                                                     Sincerely,

                                                     {See appended electronic signature page}

                                                     Patricia Keegan, M.S.
                                                     Director
                                                     Division of Oncology Products 2
                                                     Office of Hematology and Oncology Products
                                                     Center for Drug Evaluation and Research


          ENCLOSURE:
            Content of Labeling




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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
     PATRICIA KEEGAN
     05/23/2017




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      CENTER FOR DRUG EVALUATION AND
                 RESEARCH

                         APPLICATION NUMBER:


                         125514Orig1s014

                              LABELING
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   HIGHLIGHTS OF PRESCRIBING INFORMATION                                                 o colorectal cancer that has progressed following treatment with
   These highlights do not include all the information needed to use                       a fluoropyrimidine, oxaliplatin, and irinotecan.
   KEYTRUDA safely and effectively. See full prescribing                                 This indication is approved under accelerated approval based on
   information for KEYTRUDA.                                                             tumor response rate and durability of response. Continued
                                                                                         approval for this indication may be contingent upon verification
                ®
   KEYTRUDA (pembrolizumab) for injection, for intravenous use                           and description of clinical benefit in the confirmatory trials. (1.6)
                 ®
   KEYTRUDA (pembrolizumab) injection, for intravenous use                              Limitation of Use: The safety and effectiveness of KEYTRUDA in
   Initial U.S. Approval: 2014                                                           pediatric patients with MSI-H central nervous system cancers
                                                                                         have not been established. (1.6)
   --------------------------- RECENT MAJOR CHANGES ---------------------------     ----------------------- DOSAGE AND ADMINISTRATION -----------------------
   Indications and Usage (1)                                        05/2017
                                                                                          Melanoma: 200 mg every 3 weeks. (2.2)
   Dosage and Administration (2)                                    05/2017
                                                                                          NSCLC: 200 mg every 3 weeks. (2.3)
   Warnings and Precautions (5)                                     05/2017
                                                                                          HNSCC: 200 mg every 3 weeks. (2.4)
   ----------------------------INDICATIONS AND USAGE ----------------------------         cHL: 200 mg every 3 weeks for adults; 2 mg/kg (up to 200 mg)
   KEYTRUDA is a programmed death receptor-1 (PD-1)-blocking                               every 3 weeks for pediatrics. (2.5)
   antibody indicated in:                                                                 Urothelial Carcinoma: 200 mg every 3 weeks. (2.6)
   Melanoma                                                                               MSI-H Cancer: 200 mg every 3 weeks for adults and 2 mg/kg (up
        for the treatment of patients with unresectable or metastatic
                                                                                           to 200 mg) every 3 weeks for children. (2.7)
         melanoma. (1.1)
                                                                                    Administer KEYTRUDA as an intravenous infusion over 30 minutes.
   Non-Small Cell Lung Cancer (NSCLC)
        as a single agent for the first-line treatment of patients with            --------------------- DOSAGE FORMS AND STRENGTHS ---------------------
         metastatic NSCLC whose tumors have high PD-L1 expression                         For injection: 50 mg lyophilized powder in single-dose vial for
         [(Tumor Proportion Score (TPS) ≥50%)] as determined by an                         reconstitution (3)
         FDA-approved test, with no EGFR or ALK genomic tumor                             Injection: 100 mg/4 mL (25 mg/mL) solution in a single-dose vial
         aberrations. (1.2)                                                                (3)
        as a single agent for the treatment of patients with metastatic
         NSCLC whose tumors express PD-L1 (TPS ≥1%) as determined                   ------------------------------- CONTRAINDICATIONS-------------------------------
         by an FDA-approved test, with disease progression on or after              None. (4)
         platinum-containing chemotherapy. Patients with EGFR or ALK
                                                                                    ----------------------- WARNINGS AND PRECAUTIONS -----------------------
         genomic tumor aberrations should have disease progression on
                                                                                          Immune-mediated Pneumonitis: Withhold for moderate, and
         FDA-approved therapy for these aberrations prior to receiving
                                                                                           permanently discontinue for severe, life-threatening or recurrent
         KEYTRUDA. (1.2)
                                                                                           moderate pneumonitis. (5.1)
        in combination with pemetrexed and carboplatin, as first-line
                                                                                          Immune-mediated Colitis: Withhold for moderate or severe, and
         treatment of patients with metastatic nonsquamous NSCLC.
                                                                                           permanently discontinue for life-threatening colitis. (5.2)
         This indication is approved under accelerated approval based on
         tumor response rate and progression-free survival. Continued                     Immune-mediated Hepatitis: Monitor for changes in hepatic
         approval for this indication may be contingent upon verification                  function. Based on severity of liver enzyme elevations, withhold or
         and description of clinical benefit in the confirmatory trials. (1.2)             discontinue. (5.3)
   Head and Neck Squamous Cell Cancer (HNSCC)                                             Immune-mediated Endocrinopathies (5.4):
        for the treatment of patients with recurrent or metastatic HNSCC                  o     Hypophysitis: Withhold for moderate and withhold or
         with disease progression on or after platinum-containing                                permanently discontinue for severe or life-threatening
         chemotherapy.                                                                           hypophysitis.
         This indication is approved under accelerated approval based on                   o     Thyroid disorders: Monitor for changes in thyroid function.
         tumor response rate and durability of response. Continued                               Withhold or permanently discontinue for severe or life-
         approval for this indication may be contingent upon verification                        threatening hyperthyroidism.
         and description of clinical benefit in the confirmatory trials. (1.3)             o     Type 1 diabetes mellitus: Monitor for hyperglycemia.
   Classical Hodgkin Lymphoma (cHL)                                                              Withhold KEYTRUDA in cases of severe hyperglycemia.
        for the treatment of adult and pediatric patients with refractory               Immune-mediated nephritis: Monitor for changes in renal function.
         cHL, or who have relapsed after 3 or more prior lines of therapy.                Withhold for moderate, and permanently discontinue for severe or
         This indication is approved under accelerated approval based on                  life-threatening nephritis. (5.5)
         tumor response rate and durability of response. Continued                       Infusion-related reactions: Stop infusion and permanently
         approval for this indication may be contingent upon verification                 discontinue KEYTRUDA for severe or life-threatening infusion
         and description of clinical benefit in the confirmatory trials. (1.4)            reactions. (5.7)
   Urothelial Carcinoma                                                                  Complications of allogeneic HSCT after KEYTRUDA: Monitor for
        for the treatment of patients with locally advanced or metastatic                hepatic veno-occlusive disease, grade 3-4 acute GVHD including
         urothelial carcinoma who are not eligible for cisplatin-containing               hyperacute GVHD, steroid-requiring febrile syndrome, and other
         chemotherapy. This indication is approved under accelerated                      immune-mediated adverse reactions. Transplant-related mortality
         approval based on tumor response rate and duration of response.                  has occurred. (5.8)
         Continued approval for this indication may be contingent upon                   Embryofetal toxicity: KEYTRUDA can cause fetal harm. Advise
         verification and description of clinical benefit in confirmatory trials.         females of reproductive potential of the potential risk to a fetus.
         (1.5)                                                                            (5.9)
        for the treatment of patients with locally advanced or metastatic          ------------------------------ ADVERSE REACTIONS ------------------------------
         urothelial carcinoma who have disease progression during or                Most common adverse reactions (reported in ≥20% of patients) were
         following platinum-containing chemotherapy or within 12 months             fatigue, pruritus, diarrhea, decreased appetite, rash, pyrexia, cough,
         of neoadjuvant or adjuvant treatment with platinum-containing              dyspnea, musculoskeletal pain, constipation, and nausea. (6.1)
         chemotherapy. (1.5)
   Microsatellite Instability-High Cancer                                           To report SUSPECTED ADVERSE REACTIONS, contact Merck
        for the treatment of adult and pediatric patients with unresectable        Sharp & Dohme Corp., a subsidiary of Merck & Co., Inc., at 1-877­
         or metastatic, microsatellite instability-high (MSI-H) or mismatch         888-4231 or FDA at 1-800-FDA-1088 or www.fda.gov/medwatch.
         repair deficient
                                                                                    ----------------------- USE IN SPECIFIC POPULATIONS -----------------------
         o solid tumors that have progressed following prior treatment and
                                                                                    Lactation: Discontinue nursing or discontinue KEYTRUDA. (8.2)
             who have no satisfactory alternative treatment options, or




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   See 17 for PATIENT COUNSELING INFORMATION and Medication
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       5.8 Complications of Allogeneic HSCT after KEYTRUDA     are not listed.
       5.9 Embryofetal Toxicity




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          FULL PRESCRIBING INFORMATION
          1     INDICATIONS AND USAGE
          1.1 Melanoma
          KEYTRUDA® (pembrolizumab) is indicated for the treatment of patients with unresectable or metastatic
          melanoma [see Clinical Studies (14.1)].

          1.2 Non-Small Cell Lung Cancer
          KEYTRUDA, as a single agent, is indicated for the first-line treatment of patients with metastatic non-
          small cell lung cancer (NSCLC) whose tumors have high PD-L1 expression [Tumor Proportion Score
          (TPS) ≥50%)] as determined by an FDA-approved test, with no EGFR or ALK genomic tumor aberrations
          [see Clinical Studies (14.2)].

          KEYTRUDA, as a single agent, is indicated for the treatment of patients with metastatic NSCLC whose
          tumors express PD-L1 (TPS ≥1%) as determined by an FDA-approved test, with disease progression on
          or after platinum-containing chemotherapy. Patients with EGFR or ALK genomic tumor aberrations should
          have disease progression on FDA-approved therapy for these aberrations prior to receiving KEYTRUDA
          [see Clinical Studies (14.2)].

          KEYTRUDA, in combination with pemetrexed and carboplatin, is indicated for the first-line treatment of
          patients with metastatic nonsquamous NSCLC [see Clinical Studies (14.2)]. This indication is approved
          under accelerated approval based on tumor response rate and progression-free survival. Continued
          approval for this indication may be contingent upon verification and description of clinical benefit in the
          confirmatory trials.

          1.3 Head and Neck Cancer
          KEYTRUDA is indicated for the treatment of patients with recurrent or metastatic head and neck
          squamous cell carcinoma (HNSCC) with disease progression on or after platinum-containing
          chemotherapy [see Clinical Studies (14.3)].

          This indication is approved under accelerated approval based on tumor response rate and durability of
          response. Continued approval for this indication may be contingent upon verification and description of
          clinical benefit in the confirmatory trials.

          1.4 Classical Hodgkin Lymphoma
          KEYTRUDA is indicated for the treatment of adult and pediatric patients with refractory classical Hodgkin
          lymphoma (cHL), or who have relapsed after 3 or more prior lines of therapy [see Clinical Studies (14.4)].

          This indication is approved under accelerated approval based on tumor response rate and durability of
          response. Continued approval for this indication may be contingent upon verification and description of
          clinical benefit in the confirmatory trials.




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          1.5 Urothelial Carcinoma
          KEYTRUDA is indicated for the treatment of patients with locally advanced or metastatic urothelial
          carcinoma who are not eligible for cisplatin-containing chemotherapy [see Clinical Studies (14.5)].

          This indication is approved under accelerated approval based on tumor response rate and duration of
          response. Continued approval for this indication may be contingent upon verification and description of
          clinical benefit in confirmatory trials.

          KEYTRUDA is indicated for the treatment of patients with locally advanced or metastatic urothelial
          carcinoma who have disease progression during or following platinum-containing chemotherapy or within
          12 months of neoadjuvant or adjuvant treatment with platinum-containing chemotherapy [see Clinical
          Studies (14.5)].

          1.6 Microsatellite Instability-High Cancer
          KEYTRUDA is indicated for the treatment of adult and pediatric patients with unresectable or metastatic,
          microsatellite instability-high (MSI-H) or mismatch repair deficient
               solid tumors that have progressed following prior treatment and who have no satisfactory
                 alternative treatment options, or
               colorectal cancer that has progressed following treatment with a fluoropyrimidine, oxaliplatin, and
                 irinotecan [see Clinical Studies (14.5)].

          This indication is approved under accelerated approval based on tumor response rate and durability of
          response. Continued approval for this indication may be contingent upon verification and description of
          clinical benefit in the confirmatory trials.

          Limitation of Use: The safety and effectiveness of KEYTRUDA in pediatric patients with MSI-H central
          nervous system cancers have not been established.
          2     DOSAGE AND ADMINISTRATION
          2.1 Patient Selection for Treatment of NSCLC
          Select patients for treatment of metastatic NSCLC with KEYTRUDA as a single agent based on the
          presence of positive PD-L1 expression [see Clinical Studies (14.2)]. Information on FDA-approved tests
          for the detection of PD-L1 expression in NSCLC is available at:
          http://www.fda.gov/CompanionDiagnostics.

          2.2 Recommended Dosage for Melanoma
          The recommended dose of KEYTRUDA is 200 mg administered as an intravenous infusion over
          30 minutes every 3 weeks until disease progression or unacceptable toxicity [see Clinical Studies (14.1)].

          2.3 Recommended Dosage for NSCLC
          The recommended dose of KEYTRUDA is 200 mg administered as an intravenous infusion over
          30 minutes every 3 weeks until disease progression, unacceptable toxicity, or up to 24 months in patients
          without disease progression [see Clinical Studies (14.2)].

          When administering KEYTRUDA in combination with chemotherapy, KEYTRUDA should be administered
          prior to chemotherapy when given on the same day [see Clinical Studies (14.2)]. See also the Prescribing
          Information for pemetrexed and carboplatin.

          2.4 Recommended Dosage for HNSCC
          The recommended dose of KEYTRUDA is 200 mg administered as an intravenous infusion over
          30 minutes every 3 weeks until disease progression, unacceptable toxicity, or up to 24 months in patients
          without disease progression [see Clinical Studies (14.3)].




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          2.5 Recommended Dosage for cHL
          The recommended dose of KEYTRUDA in adults is 200 mg administered as an intravenous infusion over
          30 minutes every 3 weeks until disease progression or unacceptable toxicity, or up to 24 months in
          patients without disease progression [see Clinical Studies (14.4)].

          The recommended dose of KEYTRUDA in pediatric patients is 2 mg/kg (up to a maximum of 200 mg),
          administered as an intravenous infusion over 30 minutes every 3 weeks until disease progression or
          unacceptable toxicity, or up to 24 months in patients without disease progression.

          2.6 Recommended Dosage for Urothelial Carcinoma
          The recommended dose of KEYTRUDA is 200 mg administered as an intravenous infusion over
          30 minutes every 3 weeks until disease progression or unacceptable toxicity, or up to 24 months in
          patients without disease progression [see Clinical Studies (14.5)].

          2.7 Recommended Dosage for MSI-H Cancer
          The recommended dose of KEYTRUDA in adults is 200 mg administered as an intravenous infusion over
          30 minutes every 3 weeks until disease progression, unacceptable toxicity, or up to 24 months in patients
          without disease progression [see Clinical Studies (14.5)].

          The recommended dose of KEYTRUDA in children is 2 mg/kg (up to a maximum of 200 mg),
          administered as an intravenous infusion over 30 minutes every 3 weeks until disease progression or
          unacceptable toxicity, or up to 24 months in patients without disease progression.

          2.8 Dose Modifications
          Withhold KEYTRUDA for any of the following:
             Grade 2 pneumonitis [see Warnings and Precautions (5.1)]
             Grade 2 or 3 colitis [see Warnings and Precautions (5.2)]
             Grade 3 or 4 endocrinopathies [see Warnings and Precautions (5.4)]
             Grade 4 hematological toxicity in cHL patients
             Grade 2 nephritis [see Warnings and Precautions (5.5)]
             Aspartate aminotransferase (AST) or alanine aminotransferase (ALT) greater than 3 and up to
               5 times upper limit of normal (ULN) or total bilirubin greater than 1.5 and up to 3 times ULN
             Any other severe or Grade 3 treatment-related adverse reaction [see Warnings and Precautions
               (5.6)]

          Resume KEYTRUDA in patients whose adverse reactions recover to Grade 0-1.

          Permanently discontinue KEYTRUDA for any of the following:
            Any life-threatening adverse reaction (excluding endocrinopathies controlled with hormone
               replacement therapy, or hematological toxicity in patients with cHL)
            Grade 3 or 4 pneumonitis or recurrent pneumonitis of Grade 2 severity [see Warnings and
               Precautions (5.1)]
            Grade 3 or 4 nephritis [see Warnings and Precautions (5.5)]
            AST or ALT greater than 5 times ULN or total bilirubin greater than 3 times ULN
               o For patients with liver metastasis who begin treatment with Grade 2 AST or ALT, if AST or ALT
                   increases by greater than or equal to 50% relative to baseline and lasts for at least 1 week
            Grade 3 or 4 infusion-related reactions [see Warnings and Precautions (5.7)]
            Inability to reduce corticosteroid dose to 10 mg or less of prednisone or equivalent per day within
               12 weeks
            Persistent Grade 2 or 3 adverse reactions (excluding endocrinopathies controlled with hormone
               replacement therapy) that do not recover to Grade 0-1 within 12 weeks after last dose of
               KEYTRUDA




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                 Any severe or Grade 3 treatment-related adverse reaction that recurs [see Warnings and
                  Precautions (5.6)]

          2.9 Preparation and Administration
          Reconstitution of KEYTRUDA for Injection (Lyophilized Powder)
             Add 2.3 mL of Sterile Water for Injection, USP by injecting the water along the walls of the vial and
               not directly on the lyophilized powder (resulting concentration 25 mg/mL).
             Slowly swirl the vial. Allow up to 5 minutes for the bubbles to clear. Do not shake the vial.
          Preparation for Intravenous Infusion
             Visually inspect the solution for particulate matter and discoloration prior to administration. The
               solution is clear to slightly opalescent, colorless to slightly yellow. Discard the vial if visible particles
               are observed.
             Dilute KEYTRUDA injection (solution) or reconstituted lyophilized powder prior to intravenous
               administration.
             Withdraw the required volume from the vial(s) of KEYTRUDA and transfer into an intravenous (IV)
               bag containing 0.9% Sodium Chloride Injection, USP or 5% Dextrose Injection, USP. Mix diluted
               solution by gentle inversion. The final concentration of the diluted solution should be between
               1 mg/mL to 10 mg/mL.
             Discard any unused portion left in the vial.

          Storage of Reconstituted and Diluted Solutions
          The product does not contain a preservative.
          Store the reconstituted and diluted solution from the KEYTRUDA 50 mg vial either:
             At room temperature for no more than 6 hours from the time of reconstitution. This includes room
                temperature storage of reconstituted vials, storage of the infusion solution in the IV bag, and the
                duration of infusion.
             Under refrigeration at 2°C to 8°C (36°F to 46°F) for no more than 24 hours from the time of
                reconstitution. If refrigerated, allow the diluted solution to come to room temperature prior to
                administration.

          Store the diluted solution from the KEYTRUDA 100 mg/4 mL vial either:
             At room temperature for no more than 6 hours from the time of dilution. This includes room
                temperature storage of the infusion solution in the IV bag, and the duration of infusion.
             Under refrigeration at 2°C to 8°C (36°F to 46°F) for no more than 24 hours from the time of dilution.
                If refrigerated, allow the diluted solution to come to room temperature prior to administration.

          Do not freeze.

          Administration
            Administer infusion solution intravenously over 30 minutes through an intravenous line containing a
              sterile, non-pyrogenic, low-protein binding 0.2 micron to 5 micron in-line or add-on filter.
            Do not co-administer other drugs through the same infusion line.
          3       DOSAGE FORMS AND STRENGTHS
                 For injection: 50 mg lyophilized powder in a single-dose vial for reconstitution
                 Injection: 100 mg/4 mL (25 mg/mL) solution in a single-dose vial
          4       CONTRAINDICATIONS
          None.




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          5     WARNINGS AND PRECAUTIONS
          5.1 Immune-Mediated Pneumonitis
          KEYTRUDA can cause immune-mediated pneumonitis, including fatal cases. Monitor patients for signs
          and symptoms of pneumonitis. Evaluate patients with suspected pneumonitis with radiographic imaging
          and administer corticosteroids (initial dose of 1 to 2 mg/kg/day prednisone or equivalent followed by a
          taper) for Grade 2 or greater pneumonitis. Withhold KEYTRUDA for moderate (Grade 2) pneumonitis, and
          permanently discontinue KEYTRUDA for severe (Grade 3), life-threatening (Grade 4), or recurrent
          moderate (Grade 2) pneumonitis [see Dosage and Administration (2.8) and Adverse Reactions (6.1)].

          Pneumonitis occurred in 94 (3.4%) of 2799 patients receiving KEYTRUDA, including Grade 1 (0.8%),
          Grade 2 (1.3%), Grade 3 (0.9%), Grade 4 (0.3%), and Grade 5 (0.1%) pneumonitis. The median time to
          onset was 3.3 months (range: 2 days to 19.3 months), and the median duration was 1.5 months (range:
          1 day to 17.2+ months). Sixty-three (67%) of the 94 patients received systemic corticosteroids, with 50 of
          the 63 receiving high-dose corticosteroids for a median duration of 8 days (range: 1 day to 10.1 months)
          followed by a corticosteroid taper. Pneumonitis occurred more frequently in patients with a history of prior
          thoracic radiation (6.9%) than in patients who did not receive prior thoracic radiation (2.9%). Pneumonitis
          led to discontinuation of KEYTRUDA in 36 (1.3%) patients. Pneumonitis resolved in 55 (59%) of the
          94 patients.

          5.2 Immune-Mediated Colitis
          KEYTRUDA can cause immune-mediated colitis. Monitor patients for signs and symptoms of colitis.
          Administer corticosteroids (initial dose of 1 to 2 mg/kg/day prednisone or equivalent followed by a taper)
          for Grade 2 or greater colitis. Withhold KEYTRUDA for moderate (Grade 2) or severe (Grade 3) colitis,
          and permanently discontinue KEYTRUDA for life-threatening (Grade 4) colitis [see Dosage and
          Administration (2.8) and Adverse Reactions (6.1)].

          Colitis occurred in 48 (1.7%) of 2799 patients receiving KEYTRUDA, including Grade 2 (0.4%), Grade 3
          (1.1%), and Grade 4 (<0.1%) colitis. The median time to onset was 3.5 months (range: 10 days to
          16.2 months), and the median duration was 1.3 months (range: 1 day to 8.7+ months). Thirty-three (69%)
          of the 48 patients received systemic corticosteroids, with 27 of the 33 requiring high-dose corticosteroids
          for a median duration of 7 days (range: 1 day to 5.3 months) followed by a corticosteroid taper. Colitis led
          to discontinuation of KEYTRUDA in 15 (0.5%) patients. Colitis resolved in 41 (85%) of the 48 patients.

          5.3 Immune-Mediated Hepatitis
          KEYTRUDA can cause immune-mediated hepatitis. Monitor patients for changes in liver function.
          Administer corticosteroids (initial dose of 0.5 to 1 mg/kg/day [for Grade 2 hepatitis] and 1 to 2 mg/kg/day
          [for Grade 3 or greater hepatitis] prednisone or equivalent followed by a taper) and, based on severity of
          liver enzyme elevations, withhold or discontinue KEYTRUDA [see Dosage and Administration (2.8) and
          Adverse Reactions (6.1)].

          Hepatitis occurred in 19 (0.7%) of 2799 patients receiving KEYTRUDA, including Grade 2 (0.1%),
          Grade 3 (0.4%), and Grade 4 (<0.1%) hepatitis. The median time to onset was 1.3 months (range: 8 days
          to 21.4 months), and the median duration was 1.8 months (range: 8 days to 20.9+ months). Thirteen
          (68%) of the 19 patients received systemic corticosteroids, with 12 of the 13 receiving high-dose
          corticosteroids for a median duration of 5 days (range: 1 to 26 days) followed by a corticosteroid taper.
          Hepatitis led to discontinuation of KEYTRUDA in 6 (0.2%) patients. Hepatitis resolved in 15 (79%) of the
          19 patients.

          5.4 Immune-Mediated Endocrinopathies
          Hypophysitis
          KEYTRUDA can cause hypophysitis. Monitor for signs and symptoms of hypophysitis (including
          hypopituitarism and adrenal insufficiency). Administer corticosteroids and hormone replacement as
          clinically indicated. Withhold KEYTRUDA for moderate (Grade 2) hypophysitis and withhold or



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          discontinue KEYTRUDA for severe (Grade 3) or life-threatening (Grade 4) hypophysitis [see Dosage and
          Administration (2.8) and Adverse Reactions (6.1)].

          Hypophysitis occurred in 17 (0.6%) of 2799 patients receiving KEYTRUDA, including Grade 2 (0.2%),
          Grade 3 (0.3%), and Grade 4 (<0.1%) hypophysitis. The median time to onset was 3.7 months (range:
          1 day to 11.9 months), and the median duration was 4.7 months (range: 8+ days to 12.7+ months).
          Sixteen (94%) of the 17 patients received systemic corticosteroids, with 6 of the 16 receiving high-dose
          corticosteroids. Hypophysitis led to discontinuation of KEYTRUDA in 4 (0.1%) patients. Hypophysitis
          resolved in 7 (41%) of the 17 patients.

          Thyroid Disorders
          KEYTRUDA can cause thyroid disorders, including hyperthyroidism, hypothyroidism and thyroiditis.
          Monitor patients for changes in thyroid function (at the start of treatment, periodically during treatment,
          and as indicated based on clinical evaluation) and for clinical signs and symptoms of thyroid disorders.
          Administer replacement hormones for hypothyroidism and manage hyperthyroidism with thionamides and
          beta-blockers as appropriate. Withhold or discontinue KEYTRUDA for severe (Grade 3) or life-threatening
          (Grade 4) hyperthyroidism [see Dosage and Administration (2.8) and Adverse Reactions (6.1)].

          Hyperthyroidism occurred in 96 (3.4%) of 2799 patients receiving KEYTRUDA, including Grade 2 (0.8%)
          and Grade 3 (0.1%) hyperthyroidism. The median time to onset was 1.4 months (range: 1 day to
          21.9 months), and the median duration was 2.1 months (range: 3 days to 15.0+ months). Hyperthyroidism
          led to discontinuation of KEYTRUDA in 2 (<0.1%) patients. Hyperthyroidism resolved in 71 (74%) of the
          96 patients.

          Hypothyroidism occurred in 237 (8.5%) of 2799 patients receiving KEYTRUDA, including Grade 2 (6.2%)
          and Grade 3 (0.1%) hypothyroidism. The median time to onset was 3.5 months (range: 1 day to
          18.9 months), and the median duration was not reached (range: 2 days to 27.7+ months). Hypothyroidism
          led to discontinuation of KEYTRUDA in 1 (<0.1%) patient. Hypothyroidism resolved in 48 (20%) of the
          237 patients. The incidence of new or worsening hypothyroidism was higher in patients with HNSCC
          occurring in 28 (15%) of 192 patients receiving KEYTRUDA, including Grade 3 (0.5%) hypothyroidism. Of
          these 28 patients, 15 had no prior history of hypothyroidism.

          Thyroiditis occurred in 16 (0.6%) of 2799 patients receiving KEYTRUDA, including Grade 2 (0.3%)
          thyroiditis. The median time of onset was 1.2 months (range: 0.5 to 3.5 months).

          Type 1 Diabetes mellitus
          KEYTRUDA can cause type 1 diabetes mellitus, including diabetic ketoacidosis, which have been
          reported in 6 (0.2%) of 2799 patients receiving KEYTRUDA. Monitor patients for hyperglycemia or other
          signs and symptoms of diabetes. Administer insulin for type 1 diabetes, and withhold KEYTRUDA and
          administer anti-hyperglycemics in patients with severe hyperglycemia [see Dosage and Administration
          (2.8) and Adverse Reactions (6.1)].

          5.5 Immune-Mediated Nephritis and Renal Dysfunction
          KEYTRUDA can cause immune-mediated nephritis. Monitor patients for changes in renal function.
          Administer corticosteroids (initial dose of 1 to 2 mg/kg/day prednisone or equivalent followed by a taper)
          for Grade 2 or greater nephritis. Withhold KEYTRUDA for moderate (Grade 2), and permanently
          discontinue KEYTRUDA for severe (Grade 3) or life-threatening (Grade 4) nephritis [see Dosage and
          Administration (2.8) and Adverse Reactions (6.1)].

          Nephritis occurred in 9 (0.3%) of 2799 patients receiving KEYTRUDA, including Grade 2 (0.1%), Grade 3
          (0.1%), and Grade 4 (<0.1%) nephritis. The median time to onset was 5.1 months (range: 12 days to
          12.8 months), and the median duration was 3.3 months (range: 12 days to 8.9+ months). Eight (89%) of
          the 9 patients received systemic corticosteroids, with 7 of the 8 receiving high-dose corticosteroids for a




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          median duration of 15 days (range: 3 days to 4.0 months) followed by a corticosteroid taper. Nephritis led
          to discontinuation of KEYTRUDA in 3 (0.1%) patients. Nephritis resolved in 5 (56%) of the 9 patients.

          5.6 Other Immune-Mediated Adverse Reactions
          KEYTRUDA can cause other clinically important immune-mediated adverse reactions. These immune-
          mediated reactions may involve any organ system.

          For suspected immune-mediated adverse reactions, ensure adequate evaluation to confirm etiology or
          exclude other causes. Based on the severity of the adverse reaction, withhold KEYTRUDA and
          administer corticosteroids. Upon improvement to Grade 1 or less, initiate corticosteroid taper and
          continue to taper over at least 1 month. Based on limited data from clinical studies in patients whose
          immune-related adverse reactions could not be controlled with corticosteroid use, administration of other
          systemic immunosuppressants can be considered. Resume KEYTRUDA when the immune-mediated
          adverse reaction remains at Grade 1 or less following corticosteroid taper. Permanently discontinue
          KEYTRUDA for any Grade 3 immune-mediated adverse reaction that recurs and for any life-threatening
          immune-mediated adverse reaction [see Dosage and Administration (2.8) and Adverse Reactions (6.1)].

          The following clinically significant, immune-mediated adverse reactions occurred in less than 1% (unless
          otherwise indicated) of 2799 patients treated with KEYTRUDA: arthritis (1.5%), exfoliative dermatitis,
          bullous pemphigoid, rash (1.4%), uveitis, myositis, Guillain-Barré syndrome, myasthenia gravis, vasculitis,
          pancreatitis, hemolytic anemia, and partial seizures arising in a patient with inflammatory foci in brain
          parenchyma. In addition, myelitis and myocarditis were reported in other clinical trials, including cHL, and
          post-marketing use.

          5.7 Infusion-Related Reactions
          KEYTRUDA can cause severe or life-threatening infusion-related reactions, including hypersensitivity and
          anaphylaxis, which have been reported in 6 (0.2%) of 2799 patients receiving KEYTRUDA. Monitor
          patients for signs and symptoms of infusion-related reactions including rigors, chills, wheezing, pruritus,
          flushing, rash, hypotension, hypoxemia, and fever. For severe (Grade 3) or life-threatening (Grade 4)
          infusion-related reactions, stop infusion and permanently discontinue KEYTRUDA [see Dosage and
          Administration (2.8)].

          5.8 Complications of Allogeneic HSCT after KEYTRUDA
          Immune-mediated complications, including fatal events, occurred in patients who underwent allogeneic
          hematopoietic stem cell transplantation (HSCT) after being treated with KEYTRUDA. Of 23 patients with
          cHL who proceeded to allogeneic HSCT after treatment with KEYTRUDA on any trial, 6 patients (26%)
          developed graft-versus-host-disease (GVHD), one of which was fatal, and 2 patients (9%) developed
          severe hepatic veno-occlusive disease (VOD) after reduced-intensity conditioning, one of which was fatal.
          Cases of fatal hyperacute GVHD after allogeneic HSCT have also been reported in patients with
          lymphoma who received a PD-1 receptor blocking antibody before transplantation. These complications
          may occur despite intervening therapy between PD-1 blockade and allogeneic HSCT. Follow patients
          closely for early evidence of transplant-related complications such as hyperacute GVHD, severe
          (Grade 3 to 4) acute GVHD, steroid-requiring febrile syndrome, hepatic VOD, and other immune-
          mediated adverse reactions, and intervene promptly.

          5.9 Embryofetal Toxicity
          Based on its mechanism of action, KEYTRUDA can cause fetal harm when administered to a pregnant
          woman. Animal models link the PD-1/PD-L1 signaling pathway with maintenance of pregnancy through
          induction of maternal immune tolerance to fetal tissue. If this drug is used during pregnancy, or if the
          patient becomes pregnant while taking this drug, apprise the patient of the potential hazard to a fetus.
          Advise females of reproductive potential to use highly effective contraception during treatment with
          KEYTRUDA and for 4 months after the last dose of KEYTRUDA [see Use in Specific Populations (8.1,
          8.3)].




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          6     ADVERSE REACTIONS
          The following adverse reactions are discussed in greater detail in other sections of the labeling.
             Immune-mediated pneumonitis [see Warnings and Precautions (5.1)].
             Immune-mediated colitis [see Warnings and Precautions (5.2)].
             Immune-mediated hepatitis [see Warnings and Precautions (5.3)].
             Immune-mediated endocrinopathies [see Warnings and Precautions (5.4)].
             Immune-mediated nephritis and renal dysfunction [see Warnings and Precautions (5.5)].
             Other immune-mediated adverse reactions [see Warnings and Precautions (5.6)].
             Infusion-related reactions [see Warnings and Precautions (5.7)].

          6.1 Clinical Trials Experience
          Because clinical trials are conducted under widely varying conditions, adverse reaction rates observed in
          the clinical trials of a drug cannot be directly compared to rates in the clinical trials of another drug and
          may not reflect the rates observed in practice.

          The data described in the WARNINGS AND PRECAUTIONS section reflect exposure to KEYTRUDA in
          2799 patients in three randomized, open-label, active-controlled clinical trials (KEYNOTE-002,
          KEYNOTE-006, and KEYNOTE-010), which enrolled 912 patients with melanoma and 682 patients with
          NSCLC, and one single-arm trial (KEYNOTE-001) which enrolled 655 patients with melanoma and
          550 patients with NSCLC. In addition, these data reflect exposure to KEYTRUDA in a non-randomized,
          open-label, multi-cohort trial (KEYNOTE-012) which enrolled 192 patients with HNSCC and 241 cHL
          patients in two non-randomized, open-label trials (KEYNOTE-013 and KEYNOTE-087). Across all
          studies, KEYTRUDA was administered at doses of 2 mg/kg intravenously every 3 weeks, 10 mg/kg
          intravenously every 2 weeks, 10 mg/kg intravenously every 3 weeks, or 200 mg intravenously every
          3 weeks. Among the 2799 patients, 41% were exposed for 6 months or more and 21% were exposed for
          12 months or more.

          The data described in this section were obtained in five randomized, open-label, active-controlled clinical
          trials (KEYNOTE-002, KEYNOTE-006, KEYNOTE-010, KEYNOTE-021, and KEYNOTE-045) in which
          KEYTRUDA was administered to 912 patients with melanoma, 741 patients with NSCLC, and
          542 patients with urothelial carcinoma, and three non-randomized, open-label trials (KEYNOTE-012,
          KEYNOTE-087, and KEYNOTE-052) in which KEYTRUDA was administered to 192 patients with
          HNSCC, 210 patients with cHL, and 370 patients with urothelial carcinoma. In these trials, KEYTRUDA
          was administered at 2 mg/kg every 3 weeks, 200 mg every 3 weeks, or 10 mg/kg every 2 or 3 weeks.

          Melanoma
          Ipilimumab-Naive Melanoma
          The safety of KEYTRUDA for the treatment of patients with unresectable or metastatic melanoma who
          had not received prior ipilimumab and who had received no more than one prior systemic therapy was
          investigated in Study KEYNOTE-006. KEYNOTE-006 was a multicenter, open-label, active-controlled trial
          where patients were randomized (1:1:1) and received KEYTRUDA 10 mg/kg every 2 weeks (n=278) or
          KEYTRUDA 10 mg/kg every 3 weeks (n=277) until disease progression or unacceptable toxicity or
          ipilimumab 3 mg/kg every 3 weeks for 4 doses unless discontinued earlier for disease progression or
          unacceptable toxicity (n=256) [see Clinical Studies (14.1)]. Patients with autoimmune disease, a medical
          condition that required systemic corticosteroids or other immunosuppressive medication; a history of
          interstitial lung disease; or active infection requiring therapy, including HIV or hepatitis B or C, were
          ineligible.

          The median duration of exposure was 5.6 months (range: 1 day to 11.0 months) for KEYTRUDA and
          similar in both treatment arms. Fifty-one and 46% of patients received KEYTRUDA 10 mg/kg every 2 or
          3 weeks, respectively, for ≥6 months. No patients in either arm received treatment for more than one
          year.



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          The study population characteristics were: median age of 62 years (range: 18 to 89 years), 60% male,
          98% White, 32% had an elevated lactate dehydrogenase (LDH) value at baseline, 65% had M1c stage
          disease, 9% with history of brain metastasis, and approximately 36% had been previously treated with
          systemic therapy which included a BRAF inhibitor (15%), chemotherapy (13%), and immunotherapy (6%).

          In KEYNOTE-006, the adverse reaction profile was similar for the every 2 week and every 3 week
          schedule, therefore summary safety results are provided in a pooled analysis (n=555) of both
          KEYTRUDA arms. Adverse reactions leading to permanent discontinuation of KEYTRUDA occurred in
          9% of patients. Adverse reactions leading to discontinuation of KEYTRUDA in more than one patient
          were colitis (1.4%), autoimmune hepatitis (0.7%), allergic reaction (0.4%), polyneuropathy (0.4%), and
          cardiac failure (0.4%). Adverse reactions leading to interruption of KEYTRUDA occurred in 21% of
          patients; the most common (≥1%) was diarrhea (2.5%). The most common adverse reactions (reported in
          at least 20% of patients) were fatigue and diarrhea. Table 1 and Table 2 summarize the incidence of
          selected adverse reactions and laboratory abnormalities that occurred in patients receiving KEYTRUDA.

             Table 1: Selected* Adverse Reactions Occurring in ≥10% of Patients Receiving KEYTRUDA in
                                                   KEYNOTE-006

                                                               KEYTRUDA                              Ipilimumab
                                                     10 mg/kg every 2 or 3 weeks
                                                                    n=555                               n=256
                                                                  †
                        Adverse Reaction             All Grades            Grade 3-4        All Grades          Grade 3-4
                                                         (%)        I          (%)              (%)       I        (%)
                        General Disorders and Administration Site Conditions
                           Fatigue                        28          I        0.9               28        I       3.1
                        Skin and Subcutaneous Tissue Disorders
                                  ‡
                           Rash                           24          I        0.2               23        I       1.2
                                    §
                           Vitiligo                       13          I         0                 2        I        0
                        Musculoskeletal and Connective Tissue Disorders
                           Arthralgia                     18          I        0.4               10        I       1.2
                           Back pain                      12          I        0.9                7        I       0.8
                        Respiratory, Thoracic and Mediastinal Disorders
                           Cough                          17          I         0                 7        I       0.4
                           Dyspnea                        11          I        0.9                7        I       0.8
                        Metabolism and Nutrition Disorders
                           Decreased appetite             16          I        0.5               14        I       0.8
                        Nervous System Disorders
                           Headache                       14          I        0.2               14        I       0.8
                        * Adverse reactions occurring at same or higher incidence than in the ipilimumab arm
                        †
                           Graded per NCI CTCAE v4.0
                        ‡
                           Includes rash, rash erythematous, rash follicular, rash generalized, rash macular, rash maculo­
                           papular, rash papular, rash pruritic, and exfoliative rash.
                        §
                           Includes skin hypopigmentation

          Other clinically important adverse reactions occurring in ≥10% of patients receiving KEYTRUDA were
          diarrhea (26%), nausea (21%), and pruritus (17%).




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              Table 2: Selected* Laboratory Abnormalities Worsened from Baseline Occurring in ≥20% of
                              Melanoma Patients Receiving KEYTRUDA in KEYNOTE-006

                                                                       KEYTRUDA                      Ipilimumab
                                                                   10 mg/kg every 2 or
                                                                        3 weeks
                                                                           ‡
                                      †                         All Grades    Grades 3-4      All Grades     Grades 3-4
                    Laboratory Test
                                                                     %            %                %             %
                    Chemistry
                       Hyperglycemia                                  45            4.2             45             3.8
                       Hypertriglyceridemia                           43            2.6             31             1.1
                       Hyponatremia                                   28            4.6             26              7
                       Increased AST                                  27            2.6             25             2.5
                       Hypercholesterolemia                           20            1.2             13              0
                    Hematology
                       Anemia                                         35            3.8             33             4.0
                       Lymphopenia                                    33             7              25              6
                    * Laboratory abnormalities occurring at same or higher incidence than in ipilimumab arm
                    †
                       Each test incidence is based on the number of patients who had both baseline and at least one on-
                       study laboratory measurement available: KEYTRUDA (520 to 546 patients) and ipilimumab (237 to
                       247 patients); hypertriglyceridemia: KEYTRUDA n=429 and ipilimumab n=183; hypercholesterolemia:
                       KEYTRUDA n=484 and ipilimumab n=205.
                    ‡
                       Graded per NCI CTCAE v4.0

          Other laboratory abnormalities occurring in ≥20% of patients receiving KEYTRUDA were increased
          hypoalbuminemia (27% all Grades; 2.4% Grades 3-4), increased ALT (23% all Grades; 3.1% Grades 3­
          4), and increased alkaline phosphatase (21% all Grades, 2.0% Grades 3-4).

          Ipilimumab-Refractory Melanoma
          The safety of KEYTRUDA in patients with unresectable or metastatic melanoma with disease progression
          following ipilimumab and, if BRAF V600 mutation positive, a BRAF inhibitor, was evaluated in Study
          KEYNOTE-002. KEYNOTE-002 was a multicenter, partially blinded (KEYTRUDA dose), randomized
          (1:1:1), active-controlled trial in which 528 patients received KEYTRUDA 2 mg/kg (n=178) or 10 mg/kg
          (n=179) every 3 weeks or investigator’s choice of chemotherapy (n=171), consisting of dacarbazine
          (26%), temozolomide (25%), paclitaxel and carboplatin (25%), paclitaxel (16%), or carboplatin (8%) [see
          Clinical Studies (14.1)]. The trial excluded patients with autoimmune disease, severe immune-related
          toxicity related to ipilimumab, defined as any Grade 4 toxicity or Grade 3 toxicity requiring corticosteroid
          treatment (greater than 10 mg/day prednisone or equivalent dose) for greater than 12 weeks; medical
          conditions that required systemic corticosteroids or other immunosuppressive medication; a history of
          interstitial lung disease; or an active infection requiring therapy, including HIV or hepatitis B or C.

          The median duration of exposure to KEYTRUDA 2 mg/kg every 3 weeks was 3.7 months (range: 1 day to
          16.6 months) and to KEYTRUDA 10 mg/kg every 3 weeks was 4.8 months (range: 1 day to 16.8 months).
          The data described below reflect exposure to KEYTRUDA 2 mg/kg in 36% of patients exposed to
          KEYTRUDA for ≥6 months and in 4% of patients exposed for ≥12 months. In the KEYTRUDA 10 mg/kg
          arm, 41% of patients were exposed to KEYTRUDA for ≥6 months and 6% of patients were exposed to
          KEYTRUDA for ≥12 months.

          The study population characteristics were: median age of 62 years (range: 15 to 89 years), 61% male,
          98% White, 41% with an elevated LDH value at baseline, 83% with M1c stage disease, 73% received two
          or more prior therapies for advanced or metastatic disease (100% received ipilimumab and 25% a BRAF
          inhibitor), and 15% with history of brain metastasis.

          In KEYNOTE-002, the adverse reaction profile was similar for the 2 mg/kg dose and 10 mg/kg dose,
          therefore summary safety results are provided in a pooled analysis (n=357) of both KEYTRUDA arms.
          Adverse reactions resulting in permanent discontinuation occurred in 12% of patients receiving



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          KEYTRUDA; the most common (≥1%) were general physical health deterioration (1%), asthenia (1%),
          dyspnea (1%), pneumonitis (1%), and generalized edema (1%). Adverse reactions leading to interruption
          of KEYTRUDA occurred in 14% of patients; the most common (≥1%) were dyspnea (1%), diarrhea (1%),
          and maculo-papular rash (1%). The most common adverse reactions (reported in at least 20% of
          patients) of KEYTRUDA were fatigue, pruritus, rash, constipation, nausea, diarrhea, and decreased
          appetite.

          Table 3 summarizes the incidence of adverse reactions occurring in at least 10% of patients receiving
          KEYTRUDA.

             Table 3: Selected* Adverse Reactions Occurring in ≥10% of Patients Receiving KEYTRUDA in
                                                   KEYNOTE-002
                                                                                                                   †
                                                                      KEYTRUDA                      Chemotherapy
                                                                 2 mg/kg or 10 mg/kg
                                                                    every 3 weeks
                                                                        n=357                           n=171
                                                                          ‡
                        Adverse Reaction                       All Grades     Grade 3-4 All Grades            Grade 3-4
                                                                   (%)            (%)           (%)              (%)
                        General Disorders and Administration Site Conditions
                            Pyrexia                                 14            0.3             9              0.6
                            Asthenia                                10            2.0             9              1.8
                        Skin and Subcutaneous Tissue Disorders
                            Pruritus                                28             0              8               0
                                  §
                            Rash                                    24            0.6             8               0
                        Gastrointestinal Disorders
                           Constipation                             22            0.3            20              2.3
                           Diarrhea                                 20            0.8            20              2.3
                           Abdominal pain                           13            1.7            8               1.2
                        Respiratory, Thoracic and Mediastinal Disorders
                            Cough                                   18             0             16               0
                        Musculoskeletal and Connective Tissue Disorders
                            Arthralgia                              14            0.6            10              1.2
                        * Adverse reactions occurring at same or higher incidence than in chemotherapy arm
                        †
                           Chemotherapy: dacarbazine, temozolomide, carboplatin plus paclitaxel, paclitaxel, or carboplatin
                        ‡
                           Graded per NCI CTCAE v4.0
                        §
                           Includes rash, rash erythematous, rash generalized, rash macular, rash maculo-papular, rash
                           papular, and rash pruritic

          Other clinically important adverse reactions occurring in patients receiving KEYTRUDA were fatigue
          (43%), nausea (22%), decreased appetite (20%), vomiting (13%), and peripheral neuropathy (1.7%).




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                 Table 4: Selected* Laboratory Abnormalities Worsened from Baseline Occurring in ≥20% of
                              Melanoma Patients Receiving KEYTRUDA in KEYNOTE-002

                                                                      KEYTRUDA                       Chemotherapy
                                                               2 mg/kg or 10 mg/kg every
                                                                       3 weeks
                                                                          ‡
                                   †                           All Grades        Grades 3-4     All Grades    Grades 3-4
                 Laboratory Test
                                                                    %                %               %            %
                 Chemistry
                    Hyperglycemia                                     49                  6            44               6
                    Hypoalbuminemia                                   37                 1.9           33              0.6
                    Hyponatremia                                      37                  7            24              3.8
                    Hypertriglyceridemia                              33                  0            32              0.9
                    Increased Alkaline Phosphatase                    26                 3.1           18              1.9
                    Increased AST                                     24                 2.2           16              0.6
                    Bicarbonate Decreased                             22                 0.4           13               0
                    Hypocalcemia                                      21                 0.3           18              1.9
                    Increased ALT                                     21                 1.8           16              0.6
                 *  Laboratory abnormalities occurring at same or higher incidence than in chemotherapy arm.
                 †
                    Each test incidence is based on the number of patients who had both baseline and at least one on-study
                    laboratory measurement available: KEYTRUDA (range: 320 to 325 patients) and chemotherapy (range: 154
                    to 161 patients); hypertriglyceridemia: KEYTRUDA n=247 and chemotherapy n=116; bicarbonate decreased:
                    KEYTRUDA n=263 and chemotherapy n=123.
                 ‡
                    Graded per NCI CTCAE v4.0

          Other laboratory abnormalities occurring in ≥20% of patients receiving KEYTRUDA were anemia (44% all
          Grades; 10% Grades 3-4) and lymphopenia (40% all Grades; 9% Grades 3-4).

          NSCLC
          Previously Treated NSCLC
          The safety of KEYTRUDA was investigated in Study KEYNOTE-010, a multicenter, open-label,
          randomized (1:1:1), active-controlled trial, in patients with advanced NSCLC who had documented
          disease progression following treatment with platinum-based chemotherapy and, if positive for EGFR or
          ALK genetic aberrations, appropriate therapy for these aberrations. A total of 991 patients received
          KEYTRUDA 2 mg/kg (n=339) or 10 mg/kg (n=343) every 3 weeks or docetaxel (n=309) at 75 mg/m2
          every 3 weeks. Patients with autoimmune disease, medical conditions that required systemic
          corticosteroids or other immunosuppressive medication, or who had received more than 30 Gy of thoracic
          radiation within the prior 26 weeks were ineligible.

          The median duration of exposure to KEYTRUDA 2 mg/kg every 3 weeks was 3.5 months (range: 1 day to
          22.4 months) and to KEYTRUDA 10 mg/kg every 3 weeks was 3.5 months (range 1 day to 20.8 months).
          The data described below reflect exposure to KEYTRUDA 2 mg/kg in 31% of patients exposed to
          KEYTRUDA for ≥6 months. In the KEYTRUDA 10 mg/kg arm, 34% of patients were exposed to
          KEYTRUDA for ≥6 months.

          The study population characteristics were: median age of 63 years (range: 20 to 88), 42% age 65 years
          or older, 61% male, 72% white and 21% Asian, 8% with advanced localized disease, 91% with metastatic
          disease, and 15% with history of brain metastases. Twenty-nine percent received two or more prior
          systemic treatments for advanced or metastatic disease.

          In KEYNOTE-010, the adverse reaction profile was similar for the 2 mg/kg and 10 mg/kg dose, therefore
          summary safety results are provided in a pooled analysis (n=682). Treatment was discontinued for
          adverse reactions in 8% of patients receiving KEYTRUDA. The most common adverse events resulting in
          permanent discontinuation of KEYTRUDA was pneumonitis (1.8%). Adverse reactions leading to
          interruption of KEYTRUDA occurred in 23% of patients; the most common (≥1%) were diarrhea (1%),
          fatigue (1.3%), pneumonia (1%), liver enzyme elevation (1.2%), decreased appetite (1.3%), and
          pneumonitis (1%).



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          Table 5 summarizes the adverse reactions that occurred in at least 10% of patients treated with
          KEYTRUDA.

             Table 5: Selected* Adverse Reactions Occurring in ≥10% of Patients Receiving KEYTRUDA in
                                                   KEYNOTE-010

                                                              KEYTRUDA                            Docetaxel
                                                                                                     2
                                                     2 or 10 mg/kg every 3 weeks            75 mg/m every 3 weeks
                                                                 n=682                                n=309
                                                               †                                    †
                        Adverse Reaction             All Grades        Grade 3-4         All Grades         Grade 3-4
                                                         (%)              (%)                (%)               (%)
                        Metabolism and Nutrition Disorders
                           Decreased appetite             25               1.5                23               2.6
                        Gastrointestinal Disorders
                           Nausea                         20               1.3                18               0.6
                           Constipation                   15               0.6                12               0.6
                           Vomiting                       13               0.9                10               0.6
                        Respiratory, Thoracic and Mediastinal Disorders
                           Dyspnea                        23               3.7                20               2.6
                           Cough                          19               0.6                14                0
                        Musculoskeletal and Connective Tissue Disorders
                           Arthralgia                     11               1.0                 9               0.3
                           Back pain                      11               1.5                 8               0.3
                        Skin and Subcutaneous Tissue Disorders
                                 ‡
                           Rash                           17               0.4                 8                0
                           Pruritus                       11                0                  3               0.3
                        * Adverse reactions occurring at same or higher incidence than in docetaxel arm
                        †
                           Graded per NCI CTCAE v4.0
                        ‡
                           Includes rash, rash erythematous, rash macular, rash maculo-papular, rash papular, and rash
                           pruritic

          Other clinically important adverse reactions occurring in patients receiving KEYTRUDA were fatigue
          (25%), diarrhea (14%), asthenia (11%) and pyrexia (11%).

              Table 6: Selected* Laboratory Abnormalities Worsened from Baseline Occurring in ≥20% of
                               NSCLC Patients Receiving KEYTRUDA in KEYNOTE-010

                                                                         KEYTRUDA                      Docetaxel
                                                                                                        2
                                                                     2 or 10 mg/kg every         75 mg/m every 3 weeks
                                                                           3 weeks
                                                                             ‡                            ‡
                                      †                           All Grades    Grades 3-4     All Grades      Grades 3-4
                    Laboratory Test
                                                                       %             %              %              %
                    Chemistry
                       Hyponatremia                                  32              8              27             2.9
                       Alkaline phosphatase increased                28             3.0             16             0.7
                       Aspartate aminotransferase increased          26             1.6             12             0.7
                       Alanine aminotransferase increased            22             2.7             9              0.4
                    *  Laboratory abnormalities occurring at same or higher incidence than in docetaxel arm.
                    †
                       Each test incidence is based on the number of patients who had both baseline and at least one on-
                       study laboratory measurement available: KEYTRUDA (range: 631 to 638 patients) and docetaxel
                       (range: 274 to 277 patients).
                    ‡
                       Graded per NCI CTCAE v4.0

          Other laboratory abnormalities occurring in ≥20% of patients receiving KEYTRUDA were hyperglycemia
          (44% all Grades; 4.1% Grades 3-4), anemia (37% all Grades; 3.8% Grades 3-4), hypertriglyceridemia
          (36% all Grades; 1.8% Grades 3-4), lymphopenia (35% all Grades; 9% Grades 3-4), hypoalbuminemia
          (34% all Grades; 1.6% Grades 3-4), and hypercholesterolemia (20% all Grades; 0.7% Grades 3-4).




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          Previously Untreated Nonsquamous NSCLC, in Combination with Chemotherapy
          The safety of KEYTRUDA in combination with pemetrexed and carboplatin was investigated in a
          randomized (1:1) open-label cohort in Study KEYNOTE-021. Patients with previously untreated,
          metastatic nonsquamous NSCLC received KEYTRUDA 200 mg with pemetrexed and carboplatin (n=59),
          or pemetrexed and carboplatin alone (n=62). Patients with autoimmune disease that required systemic
          therapy within 2 years of treatment; a medical condition that required immunosuppression; or who had
          received more than 30 Gy of thoracic radiation within the prior 26 weeks were ineligible [see Clinical
          Studies (14.2)].

          The median duration of exposure to KEYTRUDA was 8 months (range: 1 day to 16 months). Sixty-eight
          percent of patients in the KEYTRUDA arm were exposed to KEYTRUDA 200 mg for ≥6 months. The
          study population characteristics were: median age of 64 years (range: 37 to 80), 48% age 65 years or
          older, 39% male, 87% White and 8% Asian, 97% with metastatic disease, and 12% with brain
          metastases.

          KEYTRUDA was discontinued for adverse reactions in 10% of patients. The most common adverse
          reaction resulting in discontinuation of KEYTRUDA (≥ 2%) was acute kidney injury (3.4%). Adverse
          reactions leading to interruption of KEYTRUDA occurred in 39% of patients; the most common (≥ 2%)
          were fatigue (8%), neutrophil count decreased (8%), anemia (5%), dyspnea (3.4%), and pneumonitis
          (3.4%).

          Table 7 summarizes the adverse reactions that occurred in at least 20% of patients treated with
          KEYTRUDA. KEYNOTE-021 was not designed to demonstrate a statistically significant difference in
          adverse reaction rates for pembrolizumab plus chemotherapy, as compared to chemotherapy alone, for
          any specified adverse reaction listed in Table 7.




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                        Table 7: Adverse Reactions Occurring in ≥20% of Patients in KEYNOTE-021

                                                                KEYTRUDA Pemetrexed                   Pemetrexed
                                                                       Carboplatin                    Carboplatin
                                                                          n=59                           n=62
                        Adverse Reaction                        All Grades*     Grade 3-4    All Grades         Grade 3-4
                                                                    (%)            (%)           (%)               (%)
                        General Disorders and Administration Site Conditions
                            Fatigue                                  71            3.4            50                0
                            Peripheral Edema                         22             0             18                0
                        Gastrointestinal Disorders
                           Nausea                                    68            1.7            56                0
                           Constipation                              51             0             37               1.6
                           Vomiting                                  39            1.7            27                0
                           Diarrhea                                  37            1.7            23               1.6
                        Skin and Subcutaneous Tissue Disorders
                                  †
                            Rash                                     42            1.7            21               1.6
                            Pruritus                                 24             0            4.8                0
                            Alopecia                                 20             0            3.2                0
                        Respiratory, Thoracic and Mediastinal Disorders
                            Dyspnea                                  39            3.4            21                0
                            Cough                                    24             0             18                0
                        Metabolism and Nutrition Disorders
                            Decreased Appetite                       31             0             23                0
                        Nervous System Disorders
                            Headache                                 31             0             16               1.6
                            Dizziness                                24             0             16                0
                            Dysgeusia                                20             0             11                0
                        Psychiatric Disorders
                            Insomnia                                 24             0             15                0
                        Infections and Infestations
                            Upper respiratory tract infection        20             0            3.2                0
                        Musculoskeletal and Connective Tissue Disorders
                            Arthralgia                               15             0             24               1.6
                        * Graded per NCI CTCAE v4.0
                        †
                            Includes rash, rash generalized, rash macular, rash maculo-papular, and rash pruritic.




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                                       Table 8: Laboratory Abnormalities Worsened from
                                         Baseline in ≥20% of Patients in KEYNOTE-021

                                                                  KEYTRUDA Pemetrexed                     Pemetrexed
                                                                      Carboplatin                         Carboplatin

                                                                              †
                                                                 All Grades         Grades 3-4     All Grades     Grades 3-4
                 Laboratory Test*
                                                                      %                 %               %             %
                 Chemistry
                    Hyperglycemia                                      74                9             61               5
                    Lymphocytes decreased                              53               23             60              28
                    Aspartate aminotransferase increased               51               3.5            46              1.7
                    Hypertriglyceridemia                               50                0             43               0
                    Alanine aminotransferase increased                 40               3.5            32              1.7
                    Creatinine increased                               34               3.4            19              1.7
                    Hyponatremia                                       33                5             35              3.5
                    Hypoalbuminemia                                    32                0             31               0
                    Hypocalcemia                                       30                5             19              1.7
                    Hypokalemia                                        29                5             22              1.7
                    Hypophosphatemia                                   29                5             24              11
                    A kaline phosphatase increased                     28                0              9               0
                 Hematology
                    Hemoglobin decreased                               83               17             84              19
                    Neutrophils decreased                              47               14             43               8
                    Platelets decreased                                24                9             36              10
                 *  Each test incidence is based on the number of patients who had both baseline and at least one on-study
                    laboratory measurement available: KEYTRUDA pemetrexed carboplatin (range: 56 to 58 patients) and
                    pemetrexed carboplatin (range: 55 to 61 patients).
                 †
                    Graded per NCI CTCAE v4.0

          HNSCC
          Among the 192 patients with HNSCC enrolled in Study KEYNOTE-012, the median duration of exposure
          to KEYTRUDA was 3.3 months (range: 1 day to 27.9 months). Patients with autoimmune disease or a
          medical condition that required immunosuppression were ineligible for KEYNOTE-012. The median age
          of patients was 60 years (range: 20 to 84), 35% were age 65 years or older, 83% were male, 77% were
          White, 15% were Asian, and 5% were Black. Sixty-one percent of patients had two or more lines of
          therapy in the recurrent or metastatic setting, and 95% had prior radiation therapy. Baseline ECOG PS
          was 0 (30%) or 1 (70%) and 86% had M1 disease.

          KEYTRUDA was discontinued due to adverse reactions in 17% of patients. Serious adverse reactions
          occurred in 45% of patients receiving KEYTRUDA. The most frequent serious adverse reactions reported
          in at least 2% of patients were pneumonia, dyspnea, confusional state, vomiting, pleural effusion, and
          respiratory failure. The incidence of adverse reactions, including serious adverse reactions, was similar
          between dosage regimens (10 mg/kg every 2 weeks or 200 mg every 3 weeks); these data were pooled.
          The most common adverse reactions (occurring in ≥ 20% of patients) were fatigue, decreased appetite,
          and dyspnea. Adverse reactions occurring in patients with HNSCC were generally similar to those
          occurring in patients with melanoma or NSCLC, with the exception of increased incidences of facial
          edema (10% all Grades; 2.1% Grades 3-4) and new or worsening hypothyroidism [see Warnings and
          Precautions (5.4)].




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          cHL
          Among the 210 patients with cHL enrolled in Study KEYNOTE-087 [see Clinical Studies (14.4)], the
          median duration of exposure to KEYTRUDA was 8.4 months (range: 1 day to 15.2 months). KEYTRUDA
          was discontinued due to adverse reactions in 5% of patients, and treatment was interrupted due to
          adverse reactions in 26%. Fifteen percent (15%) of patients had an adverse reaction requiring systemic
          corticosteroid therapy. Serious adverse reactions occurred in 16% of patients. The most frequent serious
          adverse reactions (≥1%) included pneumonia, pneumonitis, pyrexia, dyspnea, graft versus host disease
          and herpes zoster. Two patients died from causes other than disease progression; one from GVHD after
          subsequent allogeneic HSCT and one from septic shock.

          Table 9 summarizes the adverse reactions that occurred in at least 10% of patients treated with
          KEYTRUDA.

                        Table 9: Adverse Reactions in ≥10% of Patients with cHL in KEYNOTE-087

                                                                                                   KEYTRUDA
                                                                                             200 mg every 3 weeks
                                                                                                     N=210
                          Adverse Reaction                                                 All Grades*     Grade 3
                                                                                               (%)           (%)
                          General Disorders and Administration Site Conditions
                                        †
                              Fatigue                                                             26           1.0
                              Pyrexia                                                             24           1.0
                          Respiratory, Thoracic and Mediastinal Disorders
                                      ‡
                              Cough                                                               24           0.5
                                          §
                              Dyspnea                                                             11           1.0
                          Musculoskeletal and Connective Tissue Disorders
                                                    ¶
                              Musculoskeletal pain                                                21           1.0
                              Arthralgia                                                          10           0.5
                          Gastrointestinal Disorders
                                          #
                              Diarrhea                                                            20           1.4
                              Vomiting                                                            15            0
                              Nausea                                                              13            0
                          Skin and Subcutaneous Tissue Disorders
                                    Þ
                              Rash                                                                20           0.5
                              Pruritus                                                            11            0
                          Endocrine Disorders
                              Hypothyroidism                                                      14           0.5
                          Infections and Infestations
                              Upper respiratory tract infection                                   13            0
                          Nervous System Disorders
                              Headache                                                            11           0.5
                                                      β
                              Peripheral neuropathy                                               10            0
                          * Graded per NCI CTCAE v4.0
                          †
                              Includes fatigue, asthenia
                          ‡
                              Includes cough, productive cough
                          §
                              Includes dyspnea, dyspnea exertional, wheezing
                          ¶
                              Includes back pain, myalgia, bone pain, musculoskeletal pain, pain in extremity,
                              musculoskeletal chest pain, musculoskeletal discomfort, neck pain
                          #
                              Includes diarrhea, gastroenteritis, colitis, enterocolitis
                          Þ
                              Includes rash, rash maculo-papular, drug eruption, eczema, eczema asteatotic,
                              dermatitis, dermatitis acneiform, dermatitis contact, rash erythematous, rash macular,
                              rash papular, rash pruritic, seborrhoeic dermatitis, dermatitis psoriasiform
                          β
                              Includes neuropathy peripheral, peripheral sensory neuropathy, hypoesthesia,
                              paresthesia, dysesthesia, polyneuropathy

          Other clinically important adverse reactions that occurred in less than 10% of patients on KEYNOTE-087
          included infusion reactions (9%), hyperthyroidism (3%), pneumonitis (3%), uveitis and myositis (1%
          each), myelitis and myocarditis (0.5% each).




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                         Table 10: Selected Laboratory Abnormalities Worsened from Baseline
                              Occurring in ≥15% of cHL Patients Receiving KEYTRUDA in
                                                    KEYNOTE-087
                                                                                             KEYTRUDA
                                                                                        200 mg every 3 weeks
                                                                                                   †
                         Laboratory Test*                                             All Grades        Grade 3-4
                                                                                          (%)              (%)
                         Chemistry
                                                   ‡
                            Hypertransaminasemia                                         34%              2%
                            Alkaline phosphatase increased                               17%              0%
                            Creatinine increased                                         15%             0.5%
                         Hematology
                            Anemia                                                       30%              6%
                            Thrombocytopenia                                             27%              4%
                            Neutropenia                                                  24%              7%
                         * Each test incidence is based on the number of patients who had both baseline and at
                            least one on-study laboratory measurement available: KEYTRUDA (range: 208 to
                            209 patients)
                         †
                            Graded per NCI CTCAE v4.0
                         ‡
                            Includes elevation of AST or ALT

          Hyperbilirubinemia occurred in less than 15% of patients on KEYNOTE-087 (10% all Grades, 2.4% Grade
          3-4).

          Urothelial Carcinoma
          Cisplatin Ineligible Patients with Urothelial Carcinoma
          The safety of KEYTRUDA was investigated in Study KEYNOTE-052, a single-arm trial that enrolled
          370 patients with locally advanced or metastatic urothelial carcinoma who were not eligible for cisplatin­
          containing chemotherapy. Patients with autoimmune disease or medical conditions that required systemic
          corticosteroids or other immunosuppressive medications were ineligible. Patients received KEYTRUDA
          200 mg every 3 weeks until unacceptable toxicity or either radiographic or clinical disease progression.
          The median duration of exposure to KEYTRUDA was 2.8 months (range: 1 day to 15.8 months).

          The most common adverse reactions (reported in at least 20% of patients) were fatigue, musculoskeletal
          pain, decreased appetite, constipation, rash and diarrhea. KEYTRUDA was discontinued due to adverse
          reactions in 11% of patients. Eighteen patients (5%) died from causes other than disease progression.
          Five patients (1.4%) who were treated with KEYTRUDA experienced sepsis which led to death, and three
          patients (0.8%) experienced pneumonia which led to death. Adverse reactions leading to interruption of
          KEYTRUDA occurred in 22% of patients; the most common (≥1%) were liver enzyme increase, diarrhea,
          urinary tract infection, acute kidney injury, fatigue, joint pain, and pneumonia. Serious adverse reactions
          occurred in 42% of patients. The most frequent serious adverse reactions (≥2%) were urinary tract
          infection, hematuria, acute kidney injury, pneumonia, and urosepsis.

          Immune-related adverse reactions that required systemic glucocorticoids occurred in 8% of patients, use
          of hormonal supplementation due to an immune-related adverse reaction occurred in 8% of patients, and
          5% of patients required at least one steroid dose ≥ 40 mg oral prednisone equivalent.

          Table 11 summarizes the incidence of adverse reactions occurring in at least 10% of patients receiving
          KEYTRUDA.




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                 Table 11: Adverse Reactions Occurring in ≥10% of Patients Receiving KEYTRUDA in
                                                  KEYNOTE-052

                                                                             KEYTRUDA
                                                                       200 mg every 3 weeks
                                                                               N=370
                          Adverse Reaction                     All Grades*                 Grades 3 – 4
                                                                    (%)                        (%)
                          All Adverse Reactions                      96                         49
                          Blood and Lymphatic System Disorders
                          Anemia                                     17                          7
                          Gastrointestinal Disorders
                          Constipation                               21                         1.1
                                     †
                          Diarrhea                                   20                         2.4
                          Nausea                                     18                         1.1
                                           ‡
                          Abdominal pain                             18                         2.7
                                         §
                          Elevated LFTs                              13                         3.5
                          Vomiting                                   12                          0
                          General Disorders and Administration Site Conditions
                                   ¶
                          Fatigue                                    38                          6
                          Pyrexia                                    11                         0.5
                          Weight decreased                           10                          0
                          Infections and Infestations
                          Urinary tract                              19                          9
                          infection
                          Metabolism and Nutrition Disorders
                          Decreased appetite                         22                         1.6
                          Hyponatremia                               10                         4.1
                          Musculoskeletal and Connective Tissue Disorders
                                                #
                          Musculoskeletal pain                       24                         4.9
                          Arthralgia                                 10                         1.1
                          Renal and Urinary Disorders
                          Blood creatinine                           11                         1.1
                          increased
                          Hematuria                                  13                         3.0
                          Respiratory, Thoracic, and Mediastinal Disorders
                          Cough                                      14                          0
                          Dyspnea                                    11                         0.5
                          Skin and Subcutaneous Tissue Disorders
                                Þ
                          Rash                                       21                         0.5
                          Pruritis                                   19                         0.3
                          Edema peripheral                           14                         1.1
                          *
                              Graded per NCI CTCAE v4.0
                          †
                             Includes diarrhea, colitis, enterocolitis, gastroenteritis, frequent bowel
                             movements
                          ‡
                             Includes abdominal pain, pelvic pain, flank pain, abdominal pain lower,
                             tumor pain, bladder pain, hepatic pain, suprapubic pain, abdominal
                             discomfort, abdominal pain upper
                          §
                             Includes autoimmune hepatitis, hepatitis, hepatitis toxic, liver injury,
                             transaminases increased, hyperbilirubinemia, blood bilirubin increased,
                             alanine aminotransferase increased, aspartate aminotransferase
                             increased, hepatic enzymes increased, liver function tests increased
                          ¶
                             Includes fatigue, asthenia
                          #
                             Includes back pain, bone pain, musculoskeletal chest pain,
                             musculoskeletal pain, myalgia, neck pain, pain in extremity, spinal pain
                          Þ
                             Includes dermatitis, dermatitis bullous, eczema, erythema, rash, rash
                             macular, rash maculo-papular, rash pruritic, rash pustular, skin reaction,
                             dermatitis acneform, seborrheic dermatitis, palmar-plantar
                             erythrodysesthesia syndrome, rash generalized




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          Previously Treated Urothelial Carcinoma
          The safety of KEYTRUDA for the treatment of patients with locally advanced or metastatic urothelial
          carcinoma with disease progression following platinum-containing chemotherapy was investigated in
          Study KEYNOTE-045. KEYNOTE-045 was a multicenter, open-label, randomized (1:1), active-controlled
          trial in which 266 patients received KEYTRUDA 200 mg every 3 weeks or investigator’s choice of
          chemotherapy (n=255), consisting of paclitaxel (n=84), docetaxel (n=84) or vinflunine (n=87) [see Clinical
          Studies (14.5)]. Patients with autoimmune disease or a medical condition that required systemic
          corticosteroids or other immunosuppressive medications were ineligible. The median duration of
          exposure was 3.5 months (range: 1 day to 20 months) in patients who received KEYTRUDA and
          1.5 months (range: 1 day to 14 months) in patients who received chemotherapy.

          KEYTRUDA was discontinued due to adverse reactions in 8% of patients. The most common adverse
          reaction resulting in permanent discontinuation of KEYTRUDA was pneumonitis (1.9%). Adverse
          reactions leading to interruption of KEYTRUDA occurred in 20% of patients; the most common (≥1%)
          were urinary tract infection (1.5%), diarrhea (1.5%), and colitis (1.1%). The most common adverse
          reactions (occurring in at least 20% of patients who received KEYTRUDA) were fatigue, musculoskeletal
          pain, pruritus, decreased appetite, nausea and rash. Serious adverse reactions occurred in 39% of
          KEYTRUDA-treated patients. The most frequent serious adverse reactions (≥2%) in KEYTRUDA-treated
          patients were urinary tract infection, pneumonia, anemia, and pneumonitis.

          Table 12 summarizes the incidence of adverse reactions occurring in at least 10% of patients receiving
          KEYTRUDA. Table 13 summarizes the incidence of laboratory abnormalities that occurred in at least 20%
          of patients receiving KEYTRUDA.




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                 Table 12: Adverse Reactions Occurring in ≥10% of Patients Receiving KEYTRUDA in
                                                  KEYNOTE-045

                                                                      KEYTRUDA                       Chemotherapy*
                                                                200 mg every 3 weeks
                                                                        n=266                              n=255
                                                                          †                                †
                        Adverse Reaction                       All Grades    Grade 3-4        All Grades        Grade 3-4
                                                                   (%)          (%)               (%)              (%)
                        Gastrointestinal Disorders
                           Nausea                                        21            1.1          29              1.6
                           Constipation                                  19            1.1          32              3.1
                                      ‡
                           Diarrhea                                      18            2.3          19              1.6
                           Vomiting                                      15            0.4          13              0.4
                           Abdominal pain                                13            1.1          13              2.7
                        General Disorders and Administration Site Conditions
                                    §
                           Fatigue                                       38            4.5          56              11
                           Pyrexia                                       14            0.8          13              1.2
                        Infections and Infestations
                           Urinary tract infection                       15            4.9          14              4.3
                        Metabolism and Nutrition Disorders
                           Decreased appetite                            21            3.8          21              1.2
                        Musculoskeletal and Connective Tissue Disorders
                                                  ¶
                           Musculoskeletal pain                          32            3.0          27              2.0
                        Renal and Urinary Disorders
                                        #
                           Hematuria                                     12            2.3           8              1.6
                        Respiratory, Thoracic and Mediastinal Disorders
                                   Þ
                           Cough                                         15            0.4           9               0
                                      ß
                           Dyspnea                                       14            1.9          12              1.2
                        Skin and Subcutaneous Tissue Disorders
                           Pruritus                                      23             0            6              0.4
                                 à
                           Rash                                          20            0.4          13              0.4
                        * Chemotherapy: paclitaxel, docetaxel, or vinflunine
                        †
                            Graded per NCI CTCAE v4.0
                        ‡
                            Includes diarrhea, gastroenteritis, colitis, enterocolitis
                        §
                            Includes asthenia, fatigue, malaise lethargy
                        ¶
                            Includes back pain, myalgia, bone pain, musculoskeletal pain, pain in extremity, musculoskeletal
                            chest pain, musculoskeletal discomfort, neck pain
                        #
                            Includes blood urine present, hematuria, chromaturia
                        Þ
                            Includes cough, productive cough
                        ß
                            Includes dyspnea, dyspnea exertional, wheezing
                        à
                            Includes rash maculo-papular, rash genital rash, rash erythematous, rash papular, rash pruritic,
                            rash pustular, erythema, drug eruption, eczema, eczema asteatotic, dermatitis contact, dermatitis
                            acneiform, dermatitis, seborrhoeic keratosis, lichenoid keratosis




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                Table 13: Laboratory Abnormalities Worsened from Baseline Occurring in ≥20% of Urothelial
                             Carcinoma Patients Receiving KEYTRUDA in KEYNOTE-045

                                                                      KEYTRUDA                       Chemotherapy
                                                                 200 mg every 3 weeks
                                                                         †                                  †
                                                              All Grades      Grades 3-4       All Grades       Grades 3-4
                 Laboratory Test*
                                                                   %              %                 %               %
                 Chemistry
                    Glucose increased                              52                8                60                7
                    Hemoglobin decreased                           52               13                68               18
                    Lymphocytes decreased                          45               15                53               25
                    A bumin decreased                              43               1.7               50               3.8
                    Sodium decreased                               37                9                47               13
                    A kaline phosphatase increased                 37                7                33               4.9
                    Creatinine increased                           35               4.4               28               2.9
                    Phosphate decreased                            29                8                34               14
                    Aspartate aminotransferase increased           28               4.1               20               2.5
                    Potassium increased                            28               0.8               27                6
                    Calcium decreased                              26               1.6               34               2.1
                 *  Each test incidence is based on the number of patients who had both baseline and at least one on-study
                    laboratory measurement available: KEYTRUDA (range: 240 to 248 patients) and chemotherapy (range: 238
                    to 244 patients); phosphate decreased: KEYTRUDA n=232 and chemotherapy n=222.
                 †
                    Graded per NCI CTCAE v4.0

          6.2 Immunogenicity
          As with all therapeutic proteins, there is the potential for immunogenicity. Trough levels of pembrolizumab
          interfere with the electrochemiluminescent (ECL) assay results; therefore, a subset analysis was
          performed in the patients with a concentration of pembrolizumab below the drug tolerance level of the
          anti-product antibody assay. In clinical studies in patients treated with pembrolizumab at a dose of
          2 mg/kg every 3 weeks, 200 mg every 3 weeks, or 10 mg/kg every 2 or 3 weeks, 26 (2.0%) of
          1289 evaluable patients tested positive for treatment-emergent anti-pembrolizumab antibodies. Among
          the 26 patients who tested positive for treatment emergent anti-pembrolizumab antibodies, only 4 patients
          were tested for neutralizing antibodies and one was positive. There was no evidence of an altered
          pharmacokinetic profile or increased infusion reactions with anti-pembrolizumab binding antibody
          development.

          The detection of antibody formation is highly dependent on the sensitivity and specificity of the assay.
          Additionally, the observed incidence of antibody (including neutralizing antibody) positivity in an assay
          may be influenced by several factors including assay methodology, sample handling, timing of sample
          collection, concomitant medications, and underlying disease. For these reasons, comparison of incidence
          of antibodies to KEYTRUDA with the incidences of antibodies to other products may be misleading.
          8     USE IN SPECIFIC POPULATIONS
          8.1 Pregnancy
          Risk Summary
          Based on its mechanism of action, KEYTRUDA can cause fetal harm when administered to a pregnant
          woman. In animal models, the PD-1/PD-L1 signaling pathway is important in the maintenance of
          pregnancy through induction of maternal immune tolerance to fetal tissue [see Data]. Human IgG4
          (immunoglobulins) are known to cross the placenta; therefore, pembrolizumab has the potential to be
          transmitted from the mother to the developing fetus. There are no available human data informing the risk
          of embryo-fetal toxicity. Apprise pregnant women of the potential risk to a fetus.

          In the U.S. general population, the estimated background risk of major birth defects and miscarriage in
          clinically recognized pregnancies is 2-4% and 15-20%, respectively.




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          Data
          Animal Data
          Animal reproduction studies have not been conducted with KEYTRUDA to evaluate its effect on
          reproduction and fetal development, but an assessment of the effects on reproduction was provided. A
          central function of the PD-1/PD-L1 pathway is to preserve pregnancy by maintaining maternal immune
          tolerance to the fetus. Blockade of PD-L1 signaling has been shown in murine models of pregnancy to
          disrupt tolerance to the fetus and to result in an increase in fetal loss; therefore, potential risks of
          administering KEYTRUDA during pregnancy include increased rates of abortion or stillbirth. As reported
          in the literature, there were no malformations related to the blockade of PD-1 signaling in the offspring of
          these animals; however, immune-mediated disorders occurred in PD-1 knockout mice. Based on its
          mechanism of action, fetal exposure to pembrolizumab may increase the risk of developing immune-
          mediated disorders or of altering the normal immune response.

          8.2 Lactation
          Risk Summary
          It is not known whether KEYTRUDA is excreted in human milk. No studies have been conducted to
          assess the impact of KEYTRUDA on milk production or its presence in breast milk. Because many drugs
          are excreted in human milk, instruct women to discontinue nursing during treatment with KEYTRUDA and
          for 4 months after the final dose.

          8.3 Females and Males of Reproductive Potential
          Contraception
          Based on its mechanism of action, KEYTRUDA can cause fetal harm when administered to a pregnant
          woman [see Warnings and Precautions (5.9) and Use in Specific Populations (8.1)]. Advise females of
          reproductive potential to use effective contraception during treatment with KEYTRUDA and for at least
          4 months following the final dose.

          8.4 Pediatric Use
          There is limited experience with KEYTRUDA in pediatric patients. In a study, 40 pediatric patients
          (16 children ages 2 years to less than 12 years and 24 adolescents ages 12 years to 18 years) with
          advanced melanoma, lymphoma, or PD-L1 positive advanced, relapsed, or refractory solid tumors were
          administered KEYTRUDA 2 mg/kg every 3 weeks. Patients received KEYTRUDA for a median of 3 doses
          (range 1-17 doses), with 34 patients (85%) receiving KEYTRUDA for 2 doses or more. The
          concentrations of pembrolizumab in pediatric patients were comparable to those observed in adult
          patients at the same dose regimen of 2 mg/kg every 3 weeks.

          The safety profile in these pediatric patients was similar to that seen in adults treated with
          pembrolizumab; toxicities that occurred at a higher rate (≥15% difference) in pediatric patients when
          compared to adults under 65 years of age were fatigue (45%), vomiting (38%), abdominal pain (28%),
          hypertransaminasemia (28%) and hyponatremia (18%).

          Efficacy for pediatric patients with cHL or MSI-H cancers is extrapolated from the results in the respective
          adult populations [see Clinical Studies (14.4, 14.5)].

          8.5 Geriatric Use
          Of 3991 patients with melanoma, NSCLC, HNSCC, cHL or urothelial carcinoma who were treated with
          KEYTRUDA in clinical studies, 46% were 65 years and over and 16% were 75 years and over. No overall
          differences in safety or effectiveness were observed between elderly patients and younger patients.
          10    OVERDOSAGE
          There is no information on overdosage with KEYTRUDA.




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          11    DESCRIPTION
          Pembrolizumab is a humanized monoclonal antibody that blocks the interaction between PD-1 and its
          ligands, PD-L1 and PD-L2. Pembrolizumab is an IgG4 kappa immunoglobulin with an approximate
          molecular weight of 149 kDa.

          KEYTRUDA for injection is a sterile, preservative-free, white to off-white lyophilized powder in single-dose
          vials. Each vial is reconstituted and diluted for intravenous infusion. Each 2 mL of reconstituted solution
          contains 50 mg of pembrolizumab and is formulated in L-histidine (3.1 mg), polysorbate 80 (0.4 mg), and
          sucrose (140 mg). May contain hydrochloric acid/sodium hydroxide to adjust pH to 5.5.

          KEYTRUDA injection is a sterile, preservative-free, clear to slightly opalescent, colorless to slightly yellow
          solution that requires dilution for intravenous infusion. Each vial contains 100 mg of pembrolizumab in
          4 mL of solution. Each 1 mL of solution contains 25 mg of pembrolizumab and is formulated in: L-histidine
          (1.55 mg), polysorbate 80 (0.2 mg), sucrose (70 mg), and Water for Injection, USP.
          12    CLINICAL PHARMACOLOGY
          12.1 Mechanism of Action
          Binding of the PD-1 ligands, PD-L1 and PD-L2, to the PD-1 receptor found on T cells, inhibits T cell
          proliferation and cytokine production. Upregulation of PD-1 ligands occurs in some tumors and signaling
          through this pathway can contribute to inhibition of active T-cell immune surveillance of tumors.
          Pembrolizumab is a monoclonal antibody that binds to the PD-1 receptor and blocks its interaction with
          PD-L1 and PD-L2, releasing PD-1 pathway-mediated inhibition of the immune response, including the
          anti-tumor immune response. In syngeneic mouse tumor models, blocking PD-1 activity resulted in
          decreased tumor growth.

          12.2 Pharmacodynamics
          Based on dose/exposure efficacy and safety relationships, there are no clinically significant differences in
          efficacy and safety between pembrolizumab doses of 200 mg or 2 mg/kg every 3 weeks in patients with
          melanoma or NSCLC.

          12.3 Pharmacokinetics
          The pharmacokinetics (PK) of pembrolizumab was characterized using a population PK analysis with
          concentration data collected from 2841 patients with various cancers who received pembrolizumab doses
          of 1 to 10 mg/kg every 2 weeks or 2 to 10 mg/kg every 3 weeks. Pembrolizumab clearance (CV%) is
          approximately 21% lower [geometric mean, 196 mL/day (41%)] at steady state than that after the first
          dose [249 mL/day (38%)]; this decrease in clearance with time is not considered clinically important. The
          geometric mean value (CV%) for volume of distribution at steady state is 6.0 L (21%) and for terminal
          half-life (t1/2) is 22 days (32%).

          Steady-state concentrations of pembrolizumab were reached by 16 weeks of repeated dosing with an
          every 3-week regimen and the systemic accumulation was 2.2-fold. The peak concentration (Cmax), trough
          concentration (Cmin), and area under the plasma concentration versus time curve at steady state (AUCss)
          of pembrolizumab increased dose proportionally in the dose range of 2 to 10 mg/kg every 3 weeks.

          Specific Populations: The following factors had no clinically important effect on the CL of pembrolizumab:
          age (range: 15 to 94 years), sex, race (94% White), renal impairment (eGFR greater than or equal to
          15 mL/min/1.73 m2), mild hepatic impairment (total bilirubin less than or equal to upper limit of normal
          (ULN) and AST greater than ULN or total bilirubin between 1 and 1.5 times ULN and any AST), or tumor
          burden. There is insufficient information to determine whether there are clinically important differences in
          the CL of pembrolizumab in patients with moderate or severe hepatic impairment. Pembrolizumab
          concentrations with weight-based dosing at 2 mg/kg every 3 weeks in pediatric patients (2 to 17 years)
          are comparable to those of adults at the same dose.




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          13    NONCLINICAL TOXICOLOGY
          13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
          No studies have been performed to test the potential of pembrolizumab for carcinogenicity or
          genotoxicity.

          Fertility studies have not been conducted with pembrolizumab. In 1-month and 6-month repeat-dose
          toxicology studies in monkeys, there were no notable effects in the male and female reproductive organs;
          however, most animals in these studies were not sexually mature.

          13.2 Animal Toxicology and/or Pharmacology
          In animal models, inhibition of PD-1 signaling resulted in an increased severity of some infections and
          enhanced inflammatory responses. M. tuberculosis-infected PD-1 knockout mice exhibit markedly
          decreased survival compared with wild-type controls, which correlated with increased bacterial
          proliferation and inflammatory responses in these animals. PD-1 knockout mice have also shown
          decreased survival following infection with lymphocytic choriomeningitis virus (LCMV). Administration of
          pembrolizumab in chimpanzees with naturally occurring chronic hepatitis B infection resulted in two out of
          four animals with significantly increased levels of serum ALT, AST, and GGT, which persisted for at least
          1 month after discontinuation of pembrolizumab.
          14    CLINICAL STUDIES
          14.1 Melanoma
          Ipilimumab-Naive Melanoma
          The safety and efficacy of KEYTRUDA were evaluated in Study KEYNOTE-006 (NCT01866319), a
          randomized (1:1:1), open-label, multicenter, active-controlled trial. Patients were randomized to receive
          KEYTRUDA at a dose of 10 mg/kg every 2 weeks or 10mg/kg every 3 weeks as an intravenous infusion
          until disease progression or unacceptable toxicity or to ipilimumab 3 mg/kg every 3 weeks as an
          intravenous infusion for 4 doses unless discontinued earlier for disease progression or unacceptable
          toxicity. Patients with disease progression could receive additional doses of treatment unless disease
          progression was symptomatic, was rapidly progressive, required urgent intervention, occurred with a
          decline in performance status, or was confirmed at 4 to 6 weeks with repeat imaging. Randomization was
          stratified by line of therapy (0 vs. 1), ECOG PS (0 vs. 1), and PD-L1 expression (≥1% of tumor cells
          [positive] vs. <1% of tumor cells [negative]) according to an investigational use only (IUO) assay. Key
          eligibility criteria were unresectable or metastatic melanoma; no prior ipilimumab; and no more than one
          prior systemic treatment for metastatic melanoma. Patients with BRAF V600E mutation-positive
          melanoma were not required to have received prior BRAF inhibitor therapy. Patients with autoimmune
          disease; a medical condition that required immunosuppression; previous severe hypersensitivity to other
          monoclonal antibodies; and HIV, hepatitis B or hepatitis C infection, were ineligible. Assessment of tumor
          status was performed at 12 weeks, then every 6 weeks through Week 48, followed by every 12 weeks
          thereafter. The major efficacy outcome measures were overall survival (OS) and progression-free survival
          (PFS; as assessed by blinded independent central review (BICR) using Response Evaluation Criteria in
          Solid Tumors [RECIST v1.1]). Additional efficacy outcome measures were overall response rate (ORR)
          and response duration.

          A total of 834 patients were randomized: 277 patients to the KEYTRUDA 10 mg/kg every 3 weeks arm,
          279 to the KEYTRUDA 10 mg/kg every 2 weeks arm, and 278 to the ipilimumab arm. The study
          population characteristics were: median age of 62 years (range: 18 to 89 years), 60% male, 98% White,
          66% had no prior systemic therapy for metastatic disease , 69% ECOG PS of 0, 80% had PD-L1 positive
          melanoma, 18% had PD-L1 negative melanoma, and 2% had unknown PD-L1 status using the IUO
          assay, 65% had M1c stage disease, 68% with normal LDH, 36% with reported BRAF mutation-positive
          melanoma, and 9% with a history of brain metastases. Among patients with BRAF mutation-positive
          melanoma, 139 (46%) were previously treated with a BRAF inhibitor.




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          The study demonstrated statistically significant improvements in OS and PFS for patients randomized to
          KEYTRUDA as compared to ipilimumab (Table 14 and Figure 1).

                                           Table 14: Efficacy Results in KEYNOTE-006

                                                           KEYTRUDA                KEYTRUDA               Ipilimumab
                                                         10 mg/kg every          10 mg/kg every          3 mg/kg every
                                                            3 weeks                 2 weeks                 3 weeks
                                                             n=277                   n=279                   n=278
                   OS
                     Deaths (%)                           92 (33%)                85 (30%)                 112 (40%)
                     Hazard ratio* (95% CI)           0.69 (0.52, 0.90)       0.63 (0.47, 0.83)                --­
                     p-Value (stratified log-rank)          0.004                  <0.001                      --­
                   PFS by BICR
                     Events (%)                          157 (57%)               157 (56%)                 188 (68%)
                     Median in months (95% CI)          4.1 (2.9, 6.9)          5.5 (3.4, 6.9)           2.8 (2.8, 2.9)
                     Hazard ratio* (95% CI)           0.58 (0.47, 0.72)       0.58 (0.46, 0.72)                --­
                     p-Value (stratified log-rank)         <0.001                  <0.001                      --­
                   Best overall response by BICR
                     ORR (95% CI)                       33% (27, 39)            34% (28, 40)              12% (8, 16)
                         Complete response rate              6%                      5%                       1%
                         Partial response rate               27%                     29%                      10%
                   *    Hazard ratio (KEYTRUDA compared to ipilimumab) based on the stratified Cox proportional hazard
                        model


          Among the 91 patients randomized to KEYTRUDA 10 mg/kg every 3 weeks with an objective response,
          response durations ranged from 1.4+ to 8.1+ months. Among the 94 patients randomized to KEYTRUDA
          10 mg/kg every 2 weeks with an objective response, response durations ranged from 1.4+ to 8.2 months.




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                                Figure 1: Kaplan-Meier Curve for Overall Survival in KEYNOTE-006*
                                          100   -jiiii.~:;;.-_-=-- - - - - - - - - - - - - - - - - - - - - - - ,
                                           90

                                           80

                                           70




                                           30

                                           20
                                                                Treatment arm
                                                                KEYTRUOA 10 mg/kg every 2 weeks
                                           10                   KEYTRUDA 10 mg/kg every 3 weeks
                                                                ipilimumab



                                                            4             8          12           16           20          24
                                                                               Time in Months
           Number at Risk
           KEYTRUDA 10 mg/kg every 2 weeks: 279             249          221         202          176          156          44            0
           KEYTRUDA 10 mg/kg every 3 weeks: 277             251          215          184         174          156          43            0
           ipilimumab:                          278         213          170          145         122          110          28            o
           *based on the final analysis with an additional follow-up of 9 months (total of 383 deaths as pre-specified in the protocol)

          /pilimumab-Refractory Melanoma
          The safety and efficacy of KEYTRUDA were evaluated in Study KEYNOTE-002 (NCT01704287), a
          multicenter, randomized (1:1:1), active-controlled trial. Patients were randomized to receive one of two
          doses of KEYTRUDA in a blinded fashion or investigator's choice chemotherapy. The treatment arms
          consisted of KEYTRUDA 2 mg/kg or 10 mg/kg intravenously eve~ 3 weeks or investigator's choice of any
          of the following chemotherapy regimens: dacarbazine 1000 mg/m intravenously every 3 weeks (26% ),
          temozolomide 200 mg/m2 orally once daily for 5 days every 28 days (25%), carboplatin AUC 6
          intravenously plus paclitaxel 225 mg/m2 intravenously every 3 weeks for four cycles then carboplatin AUC
          of 5 plus paclitaxel 175 mg/m2 every 3 weeks (25%), paclitaxel 175 mg/m2 intravenously every 3 weeks
          (16%), or carboplatin AUC 5 or 6 intravenously every 3 weeks (8%). Randomization was stratified by
          ECOG performance status (0 vs. 1), LOH levels (normal vs. elevated [:::110% ULN]) and BRAF V600
          mutation status (wild-type [WT] or V600E). The trial included patients with unresectable or metastatic
          melanoma with progression of disease; refractory to two or more doses of ipilimumab (3 mg/kg or higher)
          and, if BRAF V600 mutation-positive, a BRAF or MEK inhibitor; and disease progression within 24 weeks
          following the last dose of ipilimumab. The trial excluded patients with uveal melanoma and active brain
          metastasis. Patients received KEYTRUDA until unacceptable toxicity; disease progression that was
          symptomatic, was rapidly progressive, required urgent intervention, occurred with a decline in
          performance status, or was confirmed at 4 to 6 weeks with repeat imaging; withdrawal of consent; or
          physician's decision to stop therapy for the patient. Assessment of tumor status was performed at
          12 weeks after randomization, then every 6 weeks through week 48, followed by every 12 weeks
          thereafter. Patients on chemotherapy who experienced progression of disease were offered KEYTRUDA.
          The major efficacy outcomes were progression-free survival (PFS) as assessed by BICR per RECIST




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          v1.1 and overall survival (OS). Additional efficacy outcome measures were confirmed overall response
          rate (ORR) as assessed by BICR per RECIST v1.1 and duration of response.

          The treatment arms consisted of KEYTRUDA 2 mg/kg (n=180) or 10 mg/kg (n=181) every 3 weeks or
          investigator’s choice chemotherapy (n=179). Among the 540 randomized patients, the median age was
          62 years (range: 15 to 89 years), with 43% age 65 or older; 61% male; 98% White; and ECOG
          performance score was 0 (55%) and 1 (45%). Twenty-three percent of patients were BRAF V600
          mutation positive, 40% had elevated LDH at baseline, 82% had M1c disease, and 73% had two or more
          prior therapies for advanced or metastatic disease.

          The study demonstrated a statistically significant improvement in PFS for patients randomized to
          KEYTRUDA as compared to control arm (Table 15). There was no statistically significant difference
          between KEYTRUDA 2 mg/kg and chemotherapy or between KEYTRUDA 10 mg/kg and chemotherapy
          in the OS analysis in which 55% of the patients who had been randomized to receive chemotherapy had
          crossed over to receive KEYTRUDA.

                                            Table 15: Efficacy Results in KEYNOTE-002

                                                               KEYTRUDA                 KEYTRUDA                 Chemotherapy
                                                              2 mg/kg every            10 mg/kg every
                                                                 3 weeks                  3 weeks
                                                                  n=180                    n=181                     n=179
                 Progression-Free Survival
                   Number of Events, n (%)                        129 (72%)                   126 (70%)            155 (87%)
                   Progression, n (%)                             105 (58%)                   107 (59%)            134 (75%)
                   Death, n (%)                                    24 (13%)                    19 (10%)             21 (12%)
                   Median in months (95% CI)                     2.9 (2.8, 3.8)              2.9 (2.8, 4.7)       2.7 (2.5, 2.8)
                   P Value (stratified log-rank)                    <0.001                      <0.001                  --­
                   Hazard ratio* (95% CI)                      0.57 (0.45, 0.73)          0.50 (0.39, 0.64)             --­
                                    †
                 Overall Survival
                   Deaths (%)                                     123 (68%)                   117 (65%)            128 (72%)
                   Hazard ratio* (95% CI)                      0.86 (0.67, 1.10)          0.74 (0.57, 0.96)             --­
                                                                                                       ‡
                   p-Value (stratified log-rank)                     0.117                      0.011                   --­
                   Median in months (95% CI)                   13.4 (11.0, 16.4)          14.7 (11.3, 19.5)      11.0 (8.9, 13.8)
                 Objective Response Rate
                   ORR (95% CI)                                  21% (15, 28)                25% (19, 32)           4% (2, 9)
                      Complete response rate                          2%                          3%                   0%
                      Partial response rate                           19%                         23%                  4%
                 *    Hazard ratio (KEYTRUDA compared to chemotherapy) based on the stratified Cox proportional hazard
                      model
                 †
                      With additional follow-up of 18 months after the PFS analysis
                 ‡
                      Not statistically significant compared to multiplicity adjusted significance level of 0.01




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                        Figure 2: Kaplan-Meier Curve for Progression-Free Survival in KEYNOTE-002
                                                                             100                                                           Treatment arm

                                                                              90                                                    KEYTRUDA 10 mg/kg every 3 weeks

                                                                                                                                    KEYTRUDA 2 mg/kg every 3 weeks
                                                                              80




                                             Progression-Free Survival (%)
                                                                                                                                    Chemotherapy
                                                                              70

                                                                              60

                                                                              50

                                                                              40

                                                                              30

                                                                              20

                                                                              10

                                                                               0
                                                                                   0         2     4           6              8    10              12          14
                                                                                                             Time in Months
                        Number at Risk
                        KEYTRUDA 10 mg/kg:                                         181       158   82          55             39   15              5            1
                        KEYTRUDA 2 mg/kg:                                          180       153   74          53             26    9              4            2
                        Chemotherapy:                                              179       128   43          22             15    4              2            1



          Among the 38 patients randomized to KEYTRUDA 2 mg/kg with an objective response, response
          durations ranged from 1.3+ to 11.5+ months. Among the 46 patients randomized to KEYTRUDA
          10 mg/kg with an objective response, response durations ranged from 1.1+ to 11.1+ months.

          14.2 Non-Small Cell Lung Cancer
          First-line treatment of metastatic NSCLC as a single agent
          Study KEYNOTE-024 (NCT02142738) was a randomized, multicenter, open-label, active-controlled trial
          in patients with metastatic NSCLC, whose tumors had high PD-L1 expression [tumor proportion score
          (TPS) of 50% or greater] by an immunohistochemistry assay using the PD-L1 IHC 22C3 pharmDx Kit,
          and had not received prior systemic treatment for metastatic NSCLC. Patients with EGFR or ALK
          genomic tumor aberrations; autoimmune disease that required systemic therapy within 2 years of
          treatment; a medical condition that required immunosuppression; or who had received more than 30 Gy
          of radiation in the thoracic region within the prior 26 weeks of initiation of study were ineligible.
          Randomization was stratified by ECOG performance status (0 vs. 1), histology (squamous vs.
          nonsquamous), and geographic region (East Asia vs. non-East Asia). Patients were randomized (1:1) to
          receive KEYTRUDA 200 mg intravenously every 3 weeks or investigator’s choice of any of the following
          platinum-containing chemotherapy regimens:
                                        2
           Pemetrexed 500 mg/m every 3 weeks and carboplatin AUC 5 to 6 mg/mL/min every 3 weeks on
               Day 1 for 4 to 6 cycles followed by optional pemetrexed 500 mg/m2 every 3 weeks for patients with
               nonsquamous histologies;
           Pemetrexed 500 mg/m2 every 3 weeks and cisplatin 75 mg/m2 every 3 weeks on Day 1 for 4 to
               6 cycles followed by optional pemetrexed 500 mg/m2 every 3 weeks for patients with nonsquamous
               histologies;
           Gemcitabine 1250 mg/m2 on days 1 and 8 and cisplatin 75 mg/m2 every 3 weeks on Day 1 for 4 to
               6 cycles;
           Gemcitabine 1250 mg/m2 on Days 1 and 8 and carboplatin AUC 5 to 6 mg/mL/min every 3 weeks on
               Day 1 for 4 to 6 cycles;
           Paclitaxel 200 mg/m2 every 3 weeks and carboplatin AUC 5 to 6 mg/mL/min every 3 weeks on Day 1
               for 4 to 6 cycles followed by optional pemetrexed maintenance (for nonsquamous histologies).

          Treatment with KEYTRUDA continued until RECIST 1.1-defined progression of disease as determined by
          an independent radiology committee, unacceptable toxicity, or for up to 24 months. Treatment could
          continue beyond disease progression if the patient was clinically stable and was considered to be deriving


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          clinical benefit by the investigator. Patients randomized to chemotherapy were offered KEYTRUDA at the
          time of disease progression.

          Assessment of tumor status was performed every 9 weeks. The main efficacy outcome measure was
          PFS as assessed by a blinded independent central radiologists’ (BICR) review according to RECIST 1.1.
          Additional efficacy outcome measures were OS and ORR as assessed by the BICR according to
          RECIST 1.1.

          A total of 305 patients were randomized: 154 patients to the KEYTRUDA arm and 151 to the
          chemotherapy arm. The study population characteristics were: median age of 65 years (range: 33 to 90),
          54% age 65 or older; 61% male; 82% white and 15% Asian; 65% ECOG performance status of 1; 18%
          with squamous and 82% with nonsquamous histology and 9% with history of brain metastases. A total of
          66 patients in the chemotherapy arm received KEYTRUDA at the time of disease progression.

          The trial demonstrated a statistically significant improvement in PFS for patients randomized to
          KEYTRUDA as compared with chemotherapy. Additionally, a pre-specified interim OS analysis at
          108 events (64% of the events needed for final analysis) also demonstrated statistically significant
          improvement of OS for patients randomized to KEYTRUDA as compared with chemotherapy. Table 16
          summarizes key efficacy measures for KEYNOTE-024.

                                        Table 16: Efficacy Results in KEYNOTE-024

                            Endpoint                                  KEYTRUDA                Chemotherapy
                                                                     200 mg every
                                                                       3 weeks
                                                                        n=154                      n=151
                            PFS
                             Number (%) of patients with                 73 (47%)                116 (77%)
                             event
                             Median in months (95% CI)               10.3 (6.7, NR)             6.0 (4.2, 6.2)
                             Hazard ratio* (95% CI)                              0.50 (0.37, 0.68)
                             p-Value (stratified log-rank)                            <0.001
                            OS
                             Number (%) of patients with                 44 (29%)                 64 (42%)
                             event
                             Median in months (95% CI)                     NR                      NR
                                                                         (NR, NR)               (9.4, NR)
                              Hazard ratio* (95% CI)                            0.60 (0.41, 0.89)
                                                                                           †
                              p-Value (stratified log-rank)                          0.005
                            Objective Response Rate
                              ORR (95% CI)                            45% (37, 53)             28% (21, 36)
                                 Complete response rate                    4%                        1%
                                 Partial response rate                    41%                       27%
                              p-Value (Miettinen-Nurminen)                           0.001
                              Median duration of response in               NR                        6.3
                              months (range)                          (1.9+, 14.5+)            (2.1+, 12.6+)
                            *    Based on the stratified Cox proportional hazard model
                            †
                                 P-value is compared with 0.0118 of the allocated alpha for this interim
                                 analysis.
                            NR = not reached




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                            Figure 3: Kaplan-Meier Curve for Overall Survival in KEYNOTE-024
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                                      80

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                                ~
                                G>    40
                               6
                                      30


                                      20
                                                              Tr eatment arm
                                                              KEYTRUOA
                                      10                      Chemotherapy

                                       0 ....................................,....,............,....,.....,.....,.....,.
                                           0                   3                  6                  9                 12   15    18     21
                                                                                         Time in Months
                        Number at Risk
                        KEYTRUDA:      154                   136                121                 82                 39   11     2     0

                        Chemotherapy: 151                    123                106                 64                 34   7            0


          First-line treatment of metastatic nonsquamous NSCLC in combination with pemetrexed and carboplatin
          The efficacy of KEYTRUDA was investigated in patients enrolled in an open-label, multicenter, multi-
          cohort study, Study KEYNOTE-021 (NCT02039674); the efficacy data are limited to patients with
          metastatic nonsquamous NSCLC randomized within a single cohort (Cohort G1 ). The key eligibility
          criteria for this cohort were locally advanced or metastatic nonsquamous NSCLC, regardless of tumor
          PD-L 1 expression status, and no prior systemic treatment for metastatic disease. Patients with
          autoimmune disease that required systemic therapy within 2 years of treatment; a medical condition that
          required immunosuppression; or who had received more than 30 Gy of thoracic radiation within the prior
          26 weeks were ineligible. Randomization was stratified by PD-L 1 tumor expression (TPS <1% vs. TPS
          ~1 %). Patients were randomized (1:1) to one of the following treatment arms:
                                                                  2
               •    KEYTRUDA 200 mg, pemetrexed 500 mg/m , and carboplatin AUC 5 mg/ml/min intravenously
                    on Day 1 of each 21 -day cycle for 4 cycles followed by KEYTRUDA 200 mg intravenously every
                    3 weeks. KEYTRUDA was administered prior to chemotherapy on Day 1.
                                            2
               •    Pemetrexed 500 mg/m and carboplatin AUC 5 mg/ml/min intravenously on Day 1 of each
                    21-day cycle for 4 cycles.
          At the investigator's discretion, maintenance pemetrexed 500 mg/m2 every 3 weeks was permitted in both
          treatment arms.

          Treatment with KEYTRUDA continued until RECIST 1.1-defined progression of disease as determined by
          blinded independent central review (BICR), unacceptable toxicity, or a maximum of 24 months.
          Administration of KEYTRUDA was permitted beyond RECIST-defined disease progression if the patient
          was clinically stable and deriving clinical benefit as determined by the investigator.

           Patients on chemotherapy were offered KEYTRUDA as a single agent at the time of disease progression.

          Assessment of tumor status was performed every 6 weeks through Week 18 and every 9 weeks
          thereafter. The major efficacy outcome measure was objective response rate (ORR) as assessed by


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          BICR using RECIST 1.1. Additional efficacy outcome measures were progression-free survival (PFS) as
          assessed by BICR using RECIST 1.1, duration of response, and overall survival (OS).

          A total of 123 patients were randomized: 60 patients to the KEYTRUDA and chemotherapy arm and 63 to
          the chemotherapy arm. The study population characteristics were: median age of 64 years (range: 37 to
          80); 48% age 65 or older; 39% male; 87% White and 8% Asian; ECOG performance status of 0 (41%)
          and 1 (56%); 97% had metastatic disease; and 12% had brain metastases. Thirty-six percent had tumor
          PD-L1 expression TPS <1%; no patients had sensitizing EGFR or ALK genomic aberrations. A total of 20
          (32%) patients in the chemotherapy arm received KEYTRUDA at the time of disease progression and 12
          (19%) additional patients received a checkpoint inhibitor as subsequent therapy.

          In Cohort G1 of KEYNOTE-021, there was a statistically significant improvement in ORR in patients
          randomized to KEYTRUDA in combination with pemetrexed and carboplatin compared with pemetrexed
          and carboplatin alone (see Table 17).

                                   Table 17: Efficacy Results in Cohort G1 of KEYNOTE-021

                        Endpoint                                KEYTRUDA Pemetrexed                Pemetrexed
                                                                    Carboplatin                    Carboplatin
                                                                       n=60                           n=63
                        Overall Response Rate
                          Overall Response Rate                              55%                            29%
                          (95% CI)                                         (42, 68)                       (18, 41)
                            Complete Response                                 0%                             0%
                            Partial Response                                 55%                            29%
                          p-value*                                                        0.0032
                        Duration of Response
                                                     †
                          % with duration ≥ 6 months                         93%                            81%
                          Range (months)                                1.4+ to 13.0+                  1.4+ to 15.2+
                        PFS
                          Number of events (%)                            23 (38%)                       33 (52%)
                            Progressive Disease                           15 (25%)                       27 (43%)
                            Death                                          8 (13%)                        6 (10%)
                          Median in months (95% CI)                     13.0 (8.3, NE)                8.9 (4.4, 10.3)
                                       ‡
                          Hazard ratio (95% CI)                                      0.53 (0.31, 0.91)
                                  §
                          p-value                                                         0.0205
                        *    Based on Miettinen-Nurminen method stratified by PD-L1 status (TPS <1% vs. TPS ≥1%).
                        †
                             Based on Kaplan-Meier estimation
                        ‡
                             Based on the Cox proportional hazard model stratified by PD-L1 status (TPS <1% vs. TPS
                             ≥1%).
                        §
                             Based on the log-rank test stratified by PD-L1 status (TPS <1% vs. TPS ≥1%).
                        NE = not estimable

          Exploratory analyses for ORR were conducted in subgroups defined by the stratification variable, PD-L1
          tumor expression (TPS <1% and TPS ≥1%). In the TPS <1% subgroup, the ORR was 57% in the
          KEYTRUDA-containing arm and 13.0% in the chemotherapy arm. In the TPS ≥1% subgroup, the ORR
          was 54% in the KEYTRUDA-containing arm and 38% in the chemotherapy arm.




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          Previously treated NSCLC
          The efficacy of KEYTRUDA was investigated in Study KEYNOTE-010 (NCT01905657), a randomized,
          multicenter, open-label, active-controlled trial conducted in patients with metastatic NSCLC that had
          progressed following platinum-containing chemotherapy, and if appropriate, targeted therapy for EGFR or
          ALK genomic tumor aberrations. Eligible patients had PD-L1 expression TPS of 1% or greater by an
          immunohistochemistry assay using the PD-L1 IHC 22C3 pharmDx Kit. Patients with autoimmune disease;
          a medical condition that required immunosuppression; or who had received more than 30 Gy of thoracic
          radiation within the prior 26 weeks were ineligible. Randomization was stratified by tumor PD-L1
          expression (PD-L1 expression TPS ≥50% vs. PD-L1 expression TPS=1-49%), ECOG performance scale
          (0 vs. 1), and geographic region (East Asia vs. non-East Asia). Patients were randomized (1:1:1) to
          receive KEYTRUDA 2 mg/kg intravenously every 3 weeks, KEYTRUDA 10 mg/kg intravenously every
                                                          2
          3 weeks or docetaxel intravenously 75 mg/m every 3 weeks until unacceptable toxicity or disease
          progression. Patients randomized to KEYTRUDA were permitted to continue until disease progression
          that was symptomatic, rapidly progressive, required urgent intervention, occurred with a decline in
          performance status, or confirmation of progression at 4 to 6 weeks with repeat imaging or for up to
          24 months without disease progression.

          Assessment of tumor status was performed every 9 weeks. The main efficacy outcome measures were
          OS and PFS as assessed by the BICR according to RECIST 1.1 in the subgroup of patients with TPS
          ≥50% and the overall population with TPS ≥1%. Additional efficacy outcome measures were ORR and
          response duration in the subgroup of patients with TPS ≥50% and the overall population with TPS ≥1%.

          A total of 1033 patients were randomized: 344 to the KEYTRUDA 2 mg/kg arm, 346 patients to the
          KEYTRUDA 10 mg/kg arm, and 343 patients to the docetaxel arm. The study population characteristics
          were: median age 63 years (range: 20 to 88), 42% age 65 or older; 61% male; 72% White and
          21% Asian; 66% ECOG performance status 1; 43% with high PD-L1 tumor expression; 21% with
          squamous, 70% with nonsquamous, and 8% with mixed, other or unknown histology; 91% metastatic
          (M1) disease; 15% with history of brain metastases; and 8% and 1% with EGFR and ALK genomic
          aberrations, respectively. All patients had received prior therapy with a platinum-doublet regimen, 29%
          received two or more prior therapies for their metastatic disease.

          Tables 18 and 19 summarize key efficacy measures in the subgroup with TPS 50% population and in all
          patients, respectively. The Kaplan-Meier curve for OS (TPS 1%) is shown in Figure 4.




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                Table 18: Efficacy Results of the Subgroup of Patients with TPS ≥50% in KEYNOTE-010

                   Endpoint                                KEYTRUDA                KEYTRUDA                 Docetaxel
                                                                                                                 2
                                                          2 mg/kg every          10 mg/kg every          75 mg/m every
                                                             3 weeks                3 weeks                  3 weeks
                                                              n=139                  n=151                    n=152
                   OS
                     Deaths (%)                               58 (42%)            60 (40%)                   86 (57%)
                     Median in months (95% CI)             14.9 (10.4, NR)    17.3 (11.8, NR)            8.2 (6.4, 10.7)
                     Hazard ratio* (95% CI)               0.54 (0.38, 0.77)  0.50 (0.36, 0.70)                  --­
                     p-Value (stratified log-rank)             <0.001              <0.001                       --­
                   PFS
                     Events (%)                               89 (64%)            97 (64%)                  118 (78%)
                     Median in months (95% CI)              5.2 (4.0, 6.5)      5.2 (4.1, 8.1)            4.1 (3.6, 4.3)
                     Hazard ratio* (95% CI)               0.58 (0.43, 0.77)  0.59 (0.45, 0.78)                  --­
                     p-Value (stratified log-rank)             <0.001              <0.001                       --­
                   Objective response rate
                          †
                     ORR (95% CI)                           30% (23, 39)        29% (22, 37)                8% (4, 13)
                     p-Value (Miettinen-Nurminen)              <0.001              <0.001                       --­
                     Median duration of response in              NR                  NR                         8.1
                     months (range)                         (0.7+, 16.8+)       (2.1+, 17.8+)              (2.1+, 8.8+)
                   *    Hazard ratio (KEYTRUDA compared to docetaxel) based on the stratified Cox proportional hazard
                        model
                   †
                        All responses were partial responses
                   NR = not reached


                  Table 19: Efficacy Results of All Randomized Patients (TPS 1%) in KEYNOTE-010

                   Endpoint                                KEYTRUDA                KEYTRUDA                 Docetaxel
                                                                                                                 2
                                                          2 mg/kg every          10 mg/kg every          75 mg/m every
                                                             3 weeks                3 weeks                  3 weeks
                                                              n=344                  n=346                    n=343
                   OS
                     Deaths (%)                              172 (50%)           156 (45%)                  193 (56%)
                     Median in months (95% CI)             10.4 (9.4, 11.9)   12.7 (10.0, 17.3)           8.5 (7.5, 9.8)
                     Hazard ratio* (95% CI)               0.71 (0.58, 0.88)   0.61 (0.49, 0.75)                 --­
                     p-Value (stratified log-rank)             <0.001              <0.001                       --­
                   PFS
                     Events (%)                              266 (77%)           255 (74%)                  257 (75%)
                     Median in months (95% CI)              3.9 (3.1, 4.1)      4.0 (2.6, 4.3)            4.0 (3.1, 4.2)
                     Hazard ratio* (95% CI)               0.88 (0.73, 1.04)   0.79 (0.66, 0.94)                 --­
                     p-Value (stratified log-rank)              0.068               0.005                       --­
                   Objective response rate
                          †
                     ORR (95% CI)                           18% (14, 23)        19% (15, 23)                9% (7, 13)
                     p-Value (Miettinen-Nurminen)              <0.001              <0.001                       --­
                     Median duration of response in              NR                  NR                        6.2
                     months (range)                         (0.7+, 20.1+)       (2.1+, 17.8+)              (1.4+, 8.8+)
                   *    Hazard ratio (KEYTRUDA compared to docetaxel) based on the stratified Cox proportional hazard
                        model
                   †
                        All responses were partial responses
                   NR = not reached




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                       Figure 4: Kaplan-Meier Curve for Overall Survival in all Randomized Patients in
                                                 KEYNOTE-010 (TPS ~1%)

                              100                                                     Treatment a.rm
                                                                                      KEYTRUDA 2 mgll<g
                               90                                                     KEYTRUDA 10 mg/kg
                                                                                      Docetaxel
                               80
                       l 10
                       .;;
                       -~
                        c::
                            60
                        ::,
                       (/)     50
                                                                             1•1111■ I           I
                       ~  40
                       Q)                                                  Ill 1■111111                II
                       0 30
                               20                                                I■    II
                               10
                                0
                                    0     5             10            15               20                   25
                                                    Time in Months
           Number at Risk
           KEYTRUDA 2 mg/kg:        344   259           115           49                12                  0
           KEYTRUDA 10 mg/kg: 346         255           124           56                6                   0
           Oocetaxet                343   212           79            33                                    0


          14.3 Head and Neck Cancer
          The efficacy of KEYTRUDA was investigated in Study KEYNOTE-012 (NCT01848834), a multicenter,
          non-randomized, open-label, multi-cohort study that enrolled 174 patients with recurrent or metastatic
          HNSCC who had disease progression on or after platinum-containing chemotherapy administered for
          recurrent or metastatic HNSCC or following platinum-containing chemotherapy administered as part of
          induction, concurrent, or adjuvant therapy. Patients with active autoimmune disease, a medical condition
          that required immunosuppression, evidence of interstitial lung disease, or ECOG PS :::2 were ineligible.

          Patients received KEYTRUDA 10 mg/kg every 2 weeks (n=53) or 200 mg every 3 weeks (n=121 ) until
          unacceptable toxicity or disease progression that was symptomatic, was rapidly progressive, required
          urgent intervention, occurred with a decline in performance status, or was confirmed at least 4 weeks
          later with repeat imaging. Patients without disease progression were treated for up to 24 months.
          Treatment with pembrolizumab could be reinitiated for subsequent disease progression and administered
          for up to 1 additional year. Assessment of tumor status was performed every 8 weeks. The major efficacy
          outcome measures were ORR according to RECIST 1.1, as assessed by blinded independent central
          review, and duration of response.

          Among the 174 patients, the baseline characteristics were median age 60 years (32% age 65 or older);
          82% male; 75% White, 16% Asian, and 6% Black; 87% had M1 disease; 33% had HPV positive tumors;
          63% had prior cetuximab; 29% had an ECOG PS of O and 71% had an ECOG PS of 1; and the median
          number of prior lines of therapy administered for the treatment of HNSCC was 2.

          The ORR was 16% (95% Cl : 11, 22) with a complete response rate of 5%. The median follow-up time
          was 8.9 months. Among the 28 responding patients, the median duration of response had not been
          reached (range 2.4+ to 27.7+ months), with 23 patients having responses of 6 months or longer. The
          ORR and duration of response were similar irrespective of dosage regimen (10 mg/kg every 2 weeks or
          200 mg every 3 weeks) or HPV status.




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          14.4 Classical Hodgkin Lymphoma
          The efficacy of KEYTRUDA was investigated in 210 patients with relapsed or refractory cHL, enrolled in a
          multicenter, non-randomized, open-label study (KEYNOTE-087; NCT02453594). Patients with active,
          non-infectious pneumonitis, an allogeneic HSCT within the past 5 years (or greater than 5 years but with
          symptoms of GVHD), active autoimmune disease, a medical condition that required immunosuppression,
          or an active infection requiring systemic therapy were ineligible for the trial. Patients received KEYTRUDA
          at a dose of 200 mg every 3 weeks until unacceptable toxicity or documented disease progression, or for
          up to 24 months in patients that did not progress. Disease assessment was performed every 12 weeks.
          The major efficacy outcome measures (ORR, CRR, and duration of response) were assessed by blinded
          independent central review according to the 2007 revised International Working Group (IWG) criteria.

          Among the 210 patients, the baseline characteristics were: median age of 35 years (range: 18 to 76), 9%
          age 65 or older; 54% male; 88% White; 49% had an ECOG performance status (PS) of 0 and 51% had
          an ECOG PS of 1. The median number of prior lines of therapy administered for the treatment of cHL was
          4 (range 1 to 12). Fifty-eight percent were refractory to the last prior therapy, including 35% with primary
          refractory disease and 14% whose disease was chemo-refractory to all prior regimens. Sixty-one percent
          of patients had undergone prior auto-HSCT, 83% had received prior brentuximab vedotin and 36% of
          patients had prior radiation therapy.

          Efficacy results for KEYNOTE-087 are summarized in Table 20.

                                            Table 20: Efficacy Results in KEYNOTE-087

                                                                                KEYNOTE-087*
                                     Endpoint                                        N=210
                                     Overall Response Rate
                                       ORR %, (95% CI)                           69% (62, 75)
                                         Complete Remission                           22%
                                         Partial Remission                            47%
                                     Response Duration
                                                                                                 †
                                       Median in months (range)                11.1 (0.0+, 11.1)
                                     *   Median follow-up time of 9.4 months
                                     †
                                         Based on patients (n=145) with a response by independent review

          14.5 Urothelial Carcinoma
          Cisplatin Ineligible Patients with Urothelial Carcinoma
          The efficacy of KEYTRUDA was investigated in Study KEYNOTE-052 (NCT02335424), a multicenter,
          open-label, single-arm trial in 370 patients with locally advanced or metastatic urothelial carcinoma who
          were not eligible for cisplatin-containing chemotherapy. The trial excluded patients with autoimmune
          disease or a medical condition that required immunosuppression.

          Patients received KEYTRUDA 200 mg every 3 weeks until unacceptable toxicity or disease progression.
          Patients with initial radiographic disease progression could receive additional doses of treatment during
          confirmation of progression unless disease progression was symptomatic, was rapidly progressive,
          required urgent intervention, or occurred with a decline in performance status. Patients without disease
          progression could be treated for up to 24 months. Tumor response assessments were performed at
          9 weeks after the first dose, then every 6 weeks for the first year, and then every 12 weeks thereafter.
          The major efficacy outcome measures were ORR according to RECIST 1.1 as assessed by independent
          radiology review and duration of response.

          In this trial, the median age was 74 years, 77% were male, and 89% were White. Eighty-seven percent
          had M1 disease, and 13% had M0 disease. Eighty-one percent had a primary tumor in the lower tract,
          and 19% of patients had a primary tumor in the upper tract. Eighty-five percent of patients had visceral
          metastases, including 21% with liver metastases. Reasons for cisplatin ineligibility included: 50% with
          baseline creatinine clearance of <60 mL/min, 32% with ECOG performance status of 2, 9% with ECOG 2



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          and baseline creatinine clearance of <60 mL/min, and 9% with other reasons (Class III heart failure,
          Grade 2 or greater peripheral neuropathy, and Grade 2 or greater hearing loss). Ninety percent of
          patients were treatment naïve, and 10% received prior adjuvant or neoadjuvant platinum-based
          chemotherapy.

          The median follow-up time for 370 patients treated with KEYTRUDA was 7.8 months (range 0.1 to
          20 months). Efficacy results are summarized in Table 21.

                                       Table 21: Efficacy Results in KEYNOTE-052

                                                Endpoint                     KEYTRUDA
                                                                        200 mg every 3 weeks
                                                                               n=370
                                  Objective Response Rate
                                    ORR (95% CI)                            29% (24, 34)
                                      Complete Response Rate                   7%
                                      Partial Response Rate                    22%
                                  Duration of Response
                                    Median in months (range)                     NR
                                                                            (1.4+, 17.8+)
                                  +   Denotes ongoing
                                  NR = not reached

          Previously Treated Urothelial Carcinoma
          The efficacy of KEYTRUDA was evaluated in Study KEYNOTE-045 (NCT02256436), a multicenter,
          randomized (1:1), active-controlled trial in patients with locally advanced or metastatic urothelial
          carcinoma with disease progression on or after platinum-containing chemotherapy. The trial excluded
          patients with autoimmune disease or a medical condition that required immunosuppression.

          Patients were randomized to receive either KEYTRUDA 200 mg every 3 weeks (n=270) or investigator’s
          choice of any of the following chemotherapy regimens all given intravenously every 3 weeks (n=272):
          paclitaxel 175 mg/m2 (n=84), docetaxel 75 mg/m2 (n=84), or vinflunine 320 mg/m2 (n=87). Treatment
          continued until unacceptable toxicity or disease progression. Patients with initial radiographic disease
          progression could receive additional doses of treatment during confirmation of progression unless
          disease progression was symptomatic, was rapidly progressive, required urgent intervention, or occurred
          with a decline in performance status. Patients without disease progression could be treated for up to
          24 months. Assessment of tumor status was performed at 9 weeks after randomization, then every
          6 weeks through the first year, followed by every 12 weeks thereafter. The major efficacy outcomes were
          OS and PFS as assessed by BICR per RECIST 1.1. Additional efficacy outcome measures were ORR as
          assessed by BICR per RECIST 1.1 and duration of response.

          Among the 542 randomized patients, the study population characteristics were: median age 66 years
          (range: 26 to 88), 58% age 65 or older; 74% male; 72% White and 23% Asian; 42% ECOG status of 0
          and 56% ECOG performance status of 1; and 96% M1 disease and 4% M0 disease. Eighty-seven
          percent of patients had visceral metastases, including 34% with liver metastases. Eighty-six percent had
          a primary tumor in the lower tract and 14% had a primary tumor in the upper tract. Fifteen percent of
          patients had disease progression following prior platinum-containing neoadjuvant or adjuvant
          chemotherapy. Twenty-one percent had received 2 or more prior systemic regimens in the metastatic
          setting. Seventy-six percent of patients received prior cisplatin, 23% had prior carboplatin, and 1% were
          treated with other platinum-based regimens.

          Table 22 and Figure 5 summarize the key efficacy measures for KEYNOTE-045. The study demonstrated
          statistically significant improvements in OS and ORR for patients randomized to KEYTRUDA as
          compared to chemotherapy. There was no statistically significant difference between KEYTRUDA and



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          chemotherapy with respect to PFS. The median follow-up time for this trial was 9.0 months (range: 0.2 to
          20.8 months).
                                                     Table 22: Efficacy Results in KEYNOTE-045

                                                                                       KEYTRUDA                          Chemotherapy
                                                                                  200 mg every 3 weeks
                                                                                         n=270                                    n=272
                        OS
                          Deaths 1%)                                                   155 {57%)                    179 {66%)
                          Median in months (95% Cl)                                  10.3 (8.0 11.8)              7.4 (6.1 8.3)
                          Hazard ratio* (95% Cl)                                                   0.73 (059 0.91)
                          o-Value /stratified lon-rankl                                                 0.004
                        PFS bvBICR
                          Events(%)                                                        218 (81%)                          219 (81%)
                          Median in months 195% Cll                                       2.1 12.0 2.2)                      3.3 12.3 3.5)
                          Hazard ratio* (95% Cll                                                          0.98 (0.81 1.19)
                          o-Value (stratified loo-rank)                                                         0.833
                        Obiective Response Rate
                          ORR (95% Cll                                21% (16 27)                     11% (8 16)
                             Complete Response Rate                        7%                             3%
                             Partial Resoonse Rate                        14%                             8%
                             0-Value /Miettinen-Nurminen l                              0.002
                             Median duration of response in                NR                             4.3
                             months lranael                           (1.6+ 15.6+)                   (1.4+ 15.4+)
                        •   Hazard ratio (KEYTRUDA compared to chemotherapy) based on the stratified Cox proportional
                            hazard model
                        +   Denotes ongoing
                        NR = not reached


                                Figure 5: Kaplan-Meier Curve for Overall Survival in KEYNOTE-045
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                                    'o
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                                    :::
                                    (1J
                                        60
                                    .2:
                                     ~
                                     ::,
                                    (/)    50
                                    ~
                                    g? 40
                                    0
                                           30

                                            20
                                                            Treatment arm
                                                            KEYTRUDA
                                            10              Chemotherapy

                                            0
                                                 0    2       4      6      8       10       12     14       16     18       20      22      24
                                                                             Time in Months
                             Number at Risk
                             KEYTRUOA:      270       226    194    169     147     131       87    54        27    13        4      0       0
                             Chemotherapy: 272        232     171   138     109     89        55    27        14    3         0      0       0




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          14.6 Microsatellite Instability-High Cancer
          The efficacy of KEYTRUDA was evaluated in patients with MSI-H or mismatch repair deficient (dMMR),
          solid tumors enrolled in one of five uncontrolled, open-label, multi-cohort, multi-center, single-arm trials.
          Patients with active autoimmune disease or a medical condition that required immunosuppression were
          ineligible across the five trials. Patients received either KEYTRUDA 200 mg every 3 weeks or
          KEYTRUDA 10 mg/kg every 2 weeks. Treatment continued until unacceptable toxicity or disease
          progression that was either symptomatic, rapidly progressive, required urgent intervention, or occurred
          with a decline in performance status. A maximum of 24 months of treatment with KEYTRUDA was
          administered. For the purpose of assessment of anti-tumor activity across these 5 trials, the major
          efficacy outcome measures were ORR as assessed by blinded independent central radiologists’ (BICR)
          review according to RECIST 1.1 and duration of response.

                                                                Table 23: MSI-H Trials

          Study            Design and Patient Population          Number of     MSI-H/dMMR         Dose            Prior therapy
                                                                  patients      testing
                            prospective, investigator-                                                             CRC: ≥ 2 prior
                             initiated                            28 CRC                                             regimens
          KEYNOTE-016                                                                              10 mg/kg
                            6 sites                                            local PCR or IHC                    Non-CRC: ≥1 prior
          NCT01876511                                                                              every 2 weeks
                            patients with CRC and other          30 non-CRC                                         regimen
                             tumors
                                                                                                                   Prior
                            prospective international multi-                                                      fluoropyrimidine,
          KEYNOTE-164                                                                              200 mg every
                             center                               61            local PCR or IHC                   oxaliplatin, and
          NCT02460198                                                                              3 weeks
                            CRC                                                                                   irinotecan +/- anti-
                                                                                                                   VEGF/EGFR mAb
                            retrospectively identified
          KEYNOTE-012        patients with PD-L1-positive                                          10 mg/kg
                                                                  6             central PCR                        ≥1 prior regimen
          NCT01848834        gastric, bladder, or triple-                                          every 2 weeks
                             negative breast cancer
                            retrospectively identified
          KEYNOTE-028        patients with PD-L1-positive                                          10 mg/kg
                                                                  5             central PCR                        ≥1 prior regimen
          NCT02054806        esophageal, biliary, breast,                                          every 2 weeks
                             endometrial, or CRC
                            prospective international multi-
                             center enrollment of patients                      local PCR or IHC
                             with MSI-H/dMMR non-CRC                            (central PCR for
          KEYNOTE-158                                                                              200 mg every
                            retrospectively identified           19            patients in rare                   ≥1 prior regimen
          NCT02628067                                                                              3 weeks
                             patients who were enrolled in                      tumor non-CRC
                             specific rare tumor non-CRC                        cohorts)
                             cohorts
          Total                                                   149
          CRC = colorectal cancer
          PCR = polymerase chain reaction
          IHC = immunohistochemistry

          A total of 149 patients with MSI-H or dMMR cancers were identified across the five clinical trials. Among
          these 149 patients, the baseline characteristics were: median age 55 years (36% age 65 or older);
          56% male; 77% White, 19% Asian, 2% Black; and ECOG PS 0 (36%) or 1 (64%). Ninety-eight percent of
          patients had metastatic disease and 2% had locally advanced, unresectable disease. The median
          number of prior therapies for metastatic or unresectable disease was two. Eighty-four percent of patients
          with metastatic CRC and 53% of patients with other solid tumors received two or more prior lines of
          therapy.

          The identification of MSI-H or dMMR tumor status for the majority of patients (135/149) was prospectively
          determined using local laboratory-developed, polymerase chain reaction (PCR) tests for MSI-H status or
          immunohistochemistry (IHC) tests for dMMR. Fourteen of the 149 patients were retrospectively identified
          as MSI-H by testing tumor samples from a total of 415 patients using a central laboratory developed PCR




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          test. Forty-seven patients had dMMR cancer identified by IHC, 60 had MSI-H identified by PCR, and 42
          were identified using both tests.

          Efficacy results are summarized in Table 24.

                             Table 24: Efficacy Results for Patients with MSI-H/dMMR Cancer

                                    Endpoint                                           n=149
                                    Objective response rate
                                      ORR (95% CI)                                39.6% (31.7, 47.9)
                                        Complete response rate                           7.4
                                        Partial response rate                           32.2
                                    Response duration
                                        Median in months (range)                   NR (1.6+, 22.7+)
                                        % with duration ≥6 months                       78%
                                   NR = not reached

                                              Table 25: Response by Tumor Type

                                                                          Objective response rate           DOR range
                                                           N               n (%)            95% CI            (months)
                   CRC                                     90            32 (36%)        (26%, 46%)        (1.6+, 22.7+)
                   Non-CRC                                 59            27 (46%)        (33%, 59%)        (1.9+, 22.1+)
                      Endometrial cancer                   14            5 (36%)         (13%, 65%)        (4.2+, 17.3+)
                      Biliary cancer                       11            3 (27%)          (6%, 61%)       (11.6+, 19.6+)
                      Gastric or GE junction cancer         9             5 (56%)        (21%, 86%)        (5.8+, 22.1+)
                      Pancreatic cancer                    6             5 (83%)        (36%, 100%)         (2.6+, 9.2+)
                      Small intestinal cancer              8             3 (38%)          (9%, 76%)         (1.9+, 9.1+)
                      Breast cancer                         2             PR, PR                             (7.6, 15.9)
                      Prostate cancer                       2             PR, SD                                9.8+
                      Bladder cancer                        1                NE
                      Esophageal cancer                     1                PR                               18.2+
                      Sarcoma                               1                PD
                      Thyroid cancer                        1                NE
                      Retroperitoneal adenocarcinoma        1                PR                               7.5+
                      Small cell lung cancer                1                CR                               8.9+
                      Renal cell cancer                     1                PD
                   CR = complete response
                   PR = partial response
                   SD = stable disease
                   PD = progressive disease
                   NE = not evaluable

          16    HOW SUPPLIED/STORAGE AND HANDLING
          KEYTRUDA for injection (lyophilized powder): carton containing one 50 mg single-dose vial (NDC 0006­
          3029-02).

          Store vials under refrigeration at 2°C to 8°C (36°F to 46°F).

          KEYTRUDA injection (solution): carton containing one 100 mg/4 mL (25 mg/mL), single-dose vial
          (NDC 0006-3026-02)

          Store vials under refrigeration at 2°C to 8°C (36°F to 46°F) in original carton to protect from light. Do not
          freeze. Do not shake.
          17    PATIENT COUNSELING INFORMATION
          Advise the patient to read the FDA-approved patient labeling (Medication Guide).
           Inform patients of the risk of immune-mediated adverse reactions that may require corticosteroid
             treatment and interruption or discontinuation of KEYTRUDA, including:



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                 Pneumonitis: Advise patients to contact their healthcare provider immediately for new or
                  worsening cough, chest pain, or shortness of breath [see Warnings and Precautions (5.1)].
               Colitis: Advise patients to contact their healthcare provider immediately for diarrhea or severe
                  abdominal pain [see Warnings and Precautions (5.2)].
               Hepatitis: Advise patients to contact their healthcare provider immediately for jaundice, severe
                  nausea or vomiting, or easy bruising or bleeding [see Warnings and Precautions (5.3)].
               Hypophysitis: Advise patients to contact their healthcare provider immediately for persistent or
                  unusual headache, extreme weakness, dizziness or fainting, or vision changes [see Warnings
                  and Precautions (5.4)].
               Hyperthyroidism and Hypothyroidism: Advise patients to contact their healthcare provider
                  immediately for signs or symptoms of hyperthyroidism and hypothyroidism [see Warnings and
                  Precautions (5.4)].
               Type 1 Diabetes Mellitus: Advise patients to contact their healthcare provider immediately for
                  signs or symptoms of type 1 diabetes [see Warnings and Precautions (5.4)].
               Nephritis: Advise patients to contact their healthcare provider immediately for signs or symptoms
                  of nephritis [see Warnings and Precautions (5.5)].
             Advise patients to contact their healthcare provider immediately for signs or symptoms of infusion-
              related reactions [see Warnings and Precautions (5.7)].
             Advise patients of potential risk of post-transplant complications [see Warnings and Precautions
              (5.8)].
             Advise patients of the importance of keeping scheduled appointments for blood work or other
              laboratory tests [see Warnings and Precautions (5.3, 5.4, 5.5)].
             Advise females that KEYTRUDA can cause fetal harm. Instruct females of reproductive potential to
              use highly effective contraception during and for 4 months after the last dose of KEYTRUDA [see
              Warnings and Precautions (5.9) and Use in Specific Populations (8.1, 8.3)].
             Advise nursing mothers not to breastfeed while taking KEYTRUDA and for 4 months after the final
              dose [see Use in Specific Populations (8.2)].



                  Manufactured by: Merck Sharp & Dahme Corp., a subsidiary of
          ❖ MERCK&CO.,INC., Whitehouse Station, NJ 08889, USA
          U.S. License No. 0002

          For KEYTRUDA for injection, at:
          MSD International GmbH,
          County Cork, Ireland

          For KEYTRUDA injection, at:
          MSD Ireland (Carlow)
          County Carlow, Ireland
          For patent information: www.merck.com/product/patent/home.html

          The trademarks depicted herein are owned by their respective companies.

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          uspi-mk3475-iv-1705f011




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                                                      MEDICATION GUIDE
                                ®
                   KEYTRUDA (key-true-duh)                                       KEYTRUDA® (key-true-duh)
                       (pembrolizumab)                                               (pembrolizumab)
                         for injection                                                   injection
   What is the most important information I should know about KEYTRUDA?
   KEYTRUDA is a medicine that may treat certain cancers by working with your immune system. KEYTRUDA can cause
   your immune system to attack normal organs and tissues in any area of your body and can affect the way they work.
   These problems can sometimes become serious or life-threatening and can lead to death.
   Call or see your doctor right away if you develop any symptoms of the following problems or these symptoms get
   worse:

   Lung problems (pneumonitis). Symptoms of pneumonitis may include:
    shortness of breath
    chest pain
    new or worse cough

   Intestinal problems (colitis) that can lead to tears or holes in your intestine. Signs and symptoms of colitis may
   include:
    diarrhea or more bowel movements than usual
    stools that are black, tarry, sticky, or have blood or mucus
    severe stomach-area (abdomen) pain or tenderness

   Liver problems (hepatitis). Signs and symptoms of hepatitis may include:
    yellowing of your skin or the whites of your eyes
    nausea or vomiting
    pain on the right side of your stomach area (abdomen)
    dark urine
    feeling less hungry than usual
    bleeding or bruising more easily than normal

   Hormone gland problems (especially the thyroid, pituitary, adrenal glands, and pancreas). Signs and symptoms
   that your hormone glands are not working properly may include:
    rapid heart beat
    weight loss or weight gain
    increased sweating
    feeling more hungry or thirsty
    urinating more often than usual
    hair loss
    feeling cold
    constipation
    your voice gets deeper
    muscle aches
    dizziness or fainting
    headaches that will not go away or unusual headache

   Kidney problems, including nephritis and kidney failure. Signs of kidney problems may include:
    change in the amount or color of your urine

   Problems in other organs. Signs of these problems may include:
    rash
    changes in eyesight
    severe or persistent muscle or joint pains
    severe muscle weakness
    low red blood cells (anemia)
    shortness of breath, irregular heartbeat, feeling tired, or chest pain (myocarditis)

   Infusion (IV) reactions, that can sometimes be severe and life-threatening. Signs and symptoms of infusion reactions
   may include:
    chills or shaking

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      shortness of breath or wheezing                 #: 19536
      itching or rash
      flushing
      dizziness
      fever
      feeling like passing out
   Complications of stem cell transplantation that uses donor stem cells (allogeneic) after treatment with
   KEYTRUDA. These complications can be severe and can lead to death. Your doctor will monitor you for signs of
   complications if you are an allogeneic stem cell transplant recipient.
   Getting medical treatment right away may help keep these problems from becoming more serious.
   Your doctor will check you for these problems during treatment with KEYTRUDA. Your doctor may treat you with
   corticosteroid or hormone replacement medicines. Your doctor may also need to delay or completely stop treatment with
   KEYTRUDA, if you have severe side effects.
   What is KEYTRUDA?
   KEYTRUDA is a prescription medicine used to treat:
      a kind of skin cancer called melanoma that has spread or cannot be removed by surgery (advanced melanoma).
      a kind of lung cancer called non-small cell lung cancer (NSCLC).
        KEYTRUDA may be used alone when your lung cancer:
           o has spread (advanced NSCLC) and,
           o tests positive for “PD-L1” and,
                as your first treatment if you have not received chemotherapy to treat your advanced NSCLC and your
                    tumor does not have an abnormal “EGFR” or “ALK” gene,
               or
                you have received chemotherapy that contains platinum to treat your advanced NSCLC, and it did not
                    work or it is no longer working, and
                if your tumor has an abnormal “EGFR” or “ALK” gene, you have also received an EGFR or ALK inhibitor
                    medicine and it did not work or is no longer working.
        KEYTRUDA may be used with the chemotherapy medicines pemetrexed and carboplatin as your first treatment
           when your lung cancer:
           o has spread (advanced NSCLC) and
           o is a type of lung cancer called “nonsquamous”.
      a kind of cancer called head and neck squamous cell cancer (HNSCC) that:
           o has returned or spread and
           o you have received chemotherapy that contains platinum and it did not work or is no longer working.
      a kind of cancer called classical Hodgkin lymphoma (cHL) in adults and children when:
           o you have tried a treatment and it did not work or
           o your cHL has returned after you received 3 or more types of treatment.
      a kind of bladder and urinary tract cancer called urothelial carcinoma. KEYTRUDA may be used when your bladder or
       urinary tract cancer:
           o has spread or cannot be removed by surgery (advanced urothelial cancer) and,
           o you are not able to receive chemotherapy that contains a medicine called cisplatin, or
           o you have received chemotherapy that contains platinum, and it did not work or is no longer working.
      a kind of cancer that is shown by a laboratory test to be a microsatellite instability-high (MSI-H) or a mismatch repair
       deficient (dMMR) solid tumor. KEYTRUDA may be used in adults and children to treat:
             o cancer that has spread or cannot be removed by surgery (advanced cancer), and
             o has progressed following treatment, and you have no satisfactory treatment options, or
             o you have colon or rectal cancer, and you have received chemotherapy with fluoropyrimidine, oxaliplatin, and
                 irinotecan but it did not work or is no longer working.
       It is not known if KEYTRUDA is safe and effective in children with MSI-H cancers of the brain or spinal cord (central
       nervous system cancers).




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   What should I tell my doctor before receiving KEYTRUDA?
   Before you receive KEYTRUDA, tell your doctor if you:
    have immune system problems such as Crohn’s disease, ulcerative colitis, or lupus
    have had an organ transplant
    have lung or breathing problems
    have liver problems
    have any other medical problems
    are pregnant or plan to become pregnant
      o KEYTRUDA can harm your unborn baby.
      o Females who are able to become pregnant should use an effective method of birth control during and for at least
          4 months after the final dose of KEYTRUDA. Talk to your doctor about birth control methods that you can use
          during this time.
      o Tell your doctor right away if you become pregnant during treatment with KEYTRUDA.
      are breastfeeding or plan to breastfeed.
       o It is not known if KEYTRUDA passes into your breast milk.
       o Do not breastfeed during treatment with KEYTRUDA and for 4 months after your final dose of KEYTRUDA.
   Tell your doctor about all the medicines you take, including prescription and over-the-counter medicines, vitamins, and
   herbal supplements.
   Know the medicines you take. Keep a list of them to show your doctor and pharmacist when you get a new medicine.
   How will I receive KEYTRUDA?
    Your doctor will give you KEYTRUDA into your vein through an intravenous (IV) line over 30 minutes.
    KEYTRUDA is usually given every 3 weeks.
    Your doctor will decide how many treatments you need.
    Your doctor will do blood tests to check you for side effects.
    If you miss any appointments, call your doctor as soon as possible to reschedule your appointment.
   What are the possible side effects of KEYTRUDA?
   KEYTRUDA can cause serious side effects. See “What is the most important information I should know about
   KEYTRUDA?”
   Common side effects of KEYTRUDA when used alone include: feeling tired, itching, diarrhea, decreased appetite, rash,
   fever, cough, shortness of breath, pain in muscles, bones or joints, constipation, and nausea.
   In children, feeling tired, vomiting and stomach-area (abdominal) pain, and increased levels of liver enzymes and
   decreased levels of salt (sodium) in the blood are more common than in adults.
   These are not all the possible side effects of KEYTRUDA. For more information, ask your doctor or pharmacist.
   Tell your doctor if you have any side effect that bothers you or that does not go away.
   Call your doctor for medical advice about side effects. You may report side effects to FDA at 1-800-FDA-1088.

   General information about the safe and effective use of KEYTRUDA
   Medicines are sometimes prescribed for purposes other than those listed in a Medication Guide. If you would like more
   information about KEYTRUDA, talk with your doctor. You can ask your doctor or nurse for information about KEYTRUDA
   that is written for healthcare professionals. For more information, go to www.keytruda.com.

   What are the ingredients in KEYTRUDA?
   Active ingredient: pembrolizumab
   Inactive ingredients:
   KEYTRUDA for injection: L-histidine, polysorbate 80, and sucrose. May contain hydrochloric acid/sodium hydroxide.
   KEYTRUDA injection: L-histidine, polysorbate 80, sucrose, and Water for Injection, USP.
                                                                                       For KEYTRUDA for injection, at:
                                                                                       MSD International GmbH, County Cork, Ireland
                                                                                       For KEYTRUDA injection, at:
                                                                                       MSD Ireland (Carlow), County Carlow, Ireland
           Manufactured by: Merck Sharp &Dahme Corp., asubsidiary of                   U.S. License No. 0002
       tj MERCK&CO.,IMC., Whitehouse Station, NJ 08889, USA                            For patent information: www.merck.com/product/patent/home.html
                                                                                       Copyright © 2014-2017 Merck Sharp & Dohme Corp., a subsidiary of Merck & Co.,
                                                                                       Inc.
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                                                                                       usmg-mk3475-iv-1705r010
   This Medication Guide has been approved by the U.S. Food and Drug Administration.                                                                Revised: May 2017




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     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                     APPLICATION NUMBER:


                         125514Orig1s014

                   SUMMARY REVIEW
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                                                #: 19539



                                    Division Director Summary Review

              Date                        Ma 23, 2017
              From                        Patricia Kee au, M.D.
              Sub·ect                     Division Director Summru Review
                                          BLA 125514/S-014

              Date of Submission
              Date of Ma· or Amendment    March 9, 2017
              PDUFA Goal Date             June 8, 2017
              Proprietary Name/           Keytrnda/
              Established S      Name      embrolizumab
              Dosage Forms / Strength     For injection: 100 mg/4 mL in single-use vials.
                                          Injection: 50 m in sinole use vials
                                                                                                     (b) (4)
              Proposed Indication         KEYTRUDA is indicated for the treatment of



                                          This indication is approved under accelerated approval based
                                          on tumor response rate and durability of response. Continued
                                          approval for this indication may be contingent upon
                                          verification and description of clinical benefit in the
                                          confnmato1 trials
              Approved Indication         for the treatment of adult and pediatric patients with:
                                          • uuresectable or metastatic, microsatellite instability-high
                                              or mismatch repair deficient solid tumors that have
                                              progressed following prior treatment and who have 110
                                              satisfacto1y alternative treatment options or
                                          • colorectal cancer that has progressed following treatment
                                              with a fluoropyriinidine, oxaliplatin, and irinotecan [see
                                              Clinical Studies (14.5)].

                                          This indication is approved under accelerated approval based
                                          on tumor response rate and durability of response. Continued
                                          approval for this indication may be contingent upon
                                          verification and description of clinical benefit in the
                                          confmnato1 trials.
              Action:




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              Material Reviewed/Consulted
              OND Action Package, including:                                 Names of discipline reviewers
              Regulatory Health Project Manager Review                       Sharon Sickafuse
              Medical Officer Review                                         Leigh Marcus
              Statistical Review                                             Weishi Yuan
              CMC Review/OBP Review                                          Mark Paciga
              Clinical Pharmacology Review                                   Brian Furmanski & Hongshan Li
              OPDP                                                           Nicholas Senior
              OSI                                                            Lauren Iacono-Connors
              CDTL Review                                                    Steve Lemery
              Patient Labeling Team                                          Sharon R. Mills
                        OND=Office of New Drugs
                        OPDP=Office of Prescription Drug Promotion
                        CDTL=Cross-Discipline Team Leader
                        OSE= Office of Surveillance and Epidemiology
                        DMEPA=Division of Medication Error Prevention and Analysis
                        OSI=Office of Scientific Investigations
                        DRISK=Division of Risk Management




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                                 Division Directory Summary Review


              1.        Introduction
              This efficacy supplements sought approval under the provisions of 21 CFR 601.41
              (accelerated approval) for pembrolizumab (Keytruda; Merck, Sharp & Dohme Corp. (Merck))
              for the proposed indication of
                                                                                            (b) (4)




              Pembrolizumab, a humanized, programmed death receptor-1 (PD-1)-blocking monoclonal
              antibody, was approved on September X, 2014, and is currently approved for the treatment of
              the following cancers: patients with unresectable or metastatic melanoma, metastatic; PD-L1-
              positive, non-small cell lung cancer; recurrent or metastatic head and neck squamous cell
              carcinoma; adult and pediatric patients with refractory classical Hodgkin lymphoma (cHL) or
              who have relapsed after 3 or more prior lines of therapy: and patients with locally advanced or
              metastatic urothelial carcinoma who are not eligible for cisplatin-containing chemotherapy or
              with disease progression disease progression during or following platinum-containing
              chemotherapy or within 12 months of neoadjuvant or adjuvant treatment with platinum-
              containing chemotherapy.

              Merck requested approval of pembrolizumab for the treatment of tumors arising in any
              primary site, where there is evidence in the tumor of impaired DNA repair, as detected by
              protein expression by immunohistochemistry (IHC) of four mismatch repair (MMR) proteins
              (MLH1/MSH2/MSH6/PMS2) or by detection of 3 to 5 tumor microsatellite loci using a
              polymerase chain reaction (PCR) assay.

              Data supporting this approval was derived by pooling data from patients with metastatic,
              previously treated, solid tumors, enrolled in five single-arm, multicenter trials and selected for
              inclusion in the pooled dataset based on MSI-H or dMMR tumor testing. The studies differed
              in eligibility criteria [(pre-specified requirement for MSI-H or dMMR tumor vs. pre-specified
              testing for PD-L1 status/retrospective testing for MSI-H or dMMR); extent of prior therapy(≥
              1 prior line of therapy vs. specified prior treatment regimens for a specific cancer type );
              primary cancer (limited to colorectal cancer vs. multiple primary cancers)], use of local vs.
              central laboratory to determine MSI-H/dMMR status, pembrolizumab dosage regimen (10
              mg/kg every 2 weeks vs. 200 mg every 3 weeks). Based on discussions with FDA,
              approximately 150 patients were to be assessed for overall response rate (ORR) by an
              independent review committee according to RECIST v1.1, with adequate duration of follow-
              up to characterize duration of response. The goal of the analysis was to estimate the point
              estimate for ORR and articulate 95% confidence intervals.

              The database contained 149 patients, the median age was 55 years, 56% were male, and
              77% were White, 19% Asian, 2% Black. The majority (98%) had metastatic disease at study
              entry; 60% had colorectal cancer and of the 40% with non-colorectal cancers, the most
              common primary cancers in descending order were: endometrial cancer (24%), biliary tract


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              cancer (19%), gastric or gastroesophageal cancers (15%), small intestinal cancers (13%), and
              pancreatic cancers (10%). The median number of prior lines of therapies administered for the
              treatment of metastatic or unresectable disease was 2, with 84% of patients with metastatic
              colorectal cancer and 53% of patients with other solid tumors ≥2 prior lines of therapy. Across
              all 149 patients, 40% (n=60) had tumors identified as MSI-H using a PCR-based assay, 32%
              (n=47) had tumors identified as dMMR using an IHC assay, and 28% (n=42) were determined
              to be eligible for inclusion using both assays. For 91% (135/149) of the population, the
              presence of MSI-H or dMMR was determined prior to study entry based on local laboratory
              assessment.

              In the pooled dataset of 149 patients, the ORR was 39.6% (95% confidence intervals (CI):
              31.7, 47.9) with 78%of responding patients experiencing a duration of response of more than 6
              months. The ORR was similar among patients with colorectal cancers [ORR 36% (95% CI:
              26, 46) and non-colorectal cancers [ORR 46% (95% CI: 33, 59)]. Based on updated efficacy
              and safety data submitted in a major amendment, the median duration of response was not
              estimable; however, 78% of responding patients had response durations of ≥ 6 months. While
              there was a dose-related, numerically higher response rate for the subgroup of patients
              receiving pembrolizumab 10 mg/kg every 2 weeks as compared to 200 mg every 3 weeks,
              interpretation of this difference was confounded by differential follow-up (shorter follow-up in
              studies using the 200 mg dosage regimen) and possible differences across studies with regard
              to patient characteristics (e.g., primary tumor type, proportion of patients with ECOG PS 1,
              number of prior lines of therapy) as well as unknown factors. In light of the relatively flat
              exposure-response curve across multiple disease-specific indications, a dosage regimen of 200
              mg every 3 weeks was included in product labeling.

              There were no new safety signals observed in this patient population; no updates were made to
              Sections 5 and 6 of the package insert based on the extensive prior safety experience and
              single arm nature of these studies.

              Four major issues were considered during review of this supplement:
               Whether the presence of MSI-H or dMMR in tumors predicted similar efficacy across
                 different primary tumors, such that this phenotype identified a “tissue agnostic” phenotype
                 sufficient to identify patients who will derive similar benefit (overall response rate of
                 sufficient magnitude and durability) from treatment with pembrolizumab;
               Whether one or more companion diagnostic devices were required to select the indicated
                 patient population in order to ensure safe and effective use of pembrolizumab; and
               Whether the observed differences in response rate observed in subgroups defined by the
                 pembrolizumab dosage regimen administered provided evidence of a differential dose-
                 response relationship.
               Extrapolation of the efficacy results to pediatric patients with MSI-H cancers.




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              2.         Background
              Indicated Population and Available Therapy
              There is insufficient information to accurately characterize the incidence of the indicated
              population, patients with MSI-H or dMMR across all solid tumors; however, the most detailed
              assessment was provided by Moffitt database.1 .



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                        10.°"




              In the retrospective screening of 415 patients with available tumor samples enrolled
              KEYNOTE-012, KEYNOTE-028, or rare-tumor cohorts in the KEYNOTE-158-studies, the
              incidence of MSI-H or dMMR tumors was 3.4% (95% CI: 1.9, 5.6).

              Based on published literature2, patients with MSI-H or MMR-deficient colorectal cancers
              appear to have a more favorable prognosis than MSS (microsatellite stable) colorectal cancers;
              the extent to which this holds true in patients receiving third-line therapy for metastatic disease
              is unclear. The indication being sought is limited to patients with MSI-H/dMMR cancers that
              are both metastatic and have progressed following standard treatment. In general, this
              population would be considered to have no FDA-approved therapy. Since the two most
              common cancers in this pooled dataset were colorectal and endometrial cancers, a summary of
              the outcomes with potentially available treatments are summarized below, for context.

              Available therapies for the treatment of patients with metastatic colorectal cancer who have
              been previously treated with fluoropyrimidine-, oxaliplatin- and irinotecan-based
              chemotherapy include the following drugs:

              Regorafenib was approved September 27, 2012, for the treatment of patients with metastatic
              colorectal cancer (CRC) who have been previously treated with fluoropyrimidine-, oxaliplatin-

              1 Figure 6: Moffitt Cancer Center database estimates of MSI-H frequency (BLA 125514/S-014)
              2 Journal of Clinical Oncology 23, no. 3 (January 2005) 609-618.




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              and irinotecan-based chemotherapy, an anti-VEGF therapy, and, if KRAS wild type, an anti-
              EGFR therapy. This approval was based on demonstration of improved overall survival [HR
              0.77 (0.64, 0.94); p=0.01], supported by an improvement in progression-free survival (PFS)
              [HR 0.49 (0.42, 0.58)], in an international, multi-center, randomized (2:1), double-blind,
              placebo-controlled trial enrolling 760 patients with previously treated metastatic colorectal
              cancer. The overall response rate (ORR) with regorafenib was 1% (5/505).

              Trifluridine/tipiracil was approved on September 22, 2015 for the treatment of patients with
              metastatic colorectal cancer (CRC) who have been previously treated with fluoropyrimidine-,
              oxaliplatin- and irinotecan-based chemotherapy, an anti-VEGF therapy, and, if KRAS wild
              type, an anti-EGFR therapy. This approval was based on demonstration of a clinically
              important and statistically significant improvement in overall survival [hazard ratio (HR) 0.68
              (95% confidence interval (CI): 0.58, 0.81); p<0.001], supported by an improvement in PFS
              [HR 0.47 (95% CI: 0.40, 0.55); p<0.001], in a randomized, placebo-controlled trial conducted
              in 800 patients. The ORR to with trifluridine/tipiracil was 1.5% (8/534).

              Metastatic endometrial cancer

              Megestrol acetate is the only drug that is FDA- approved for the treatment of endometrial
              cancer. The approved indication is states “Megace is indicated for the palliative treatment of
              advanced carcinoma of the endometrium (i.e., recurrent, inoperable, or metastatic disease). It
              should not be used in lieu of currently accepted procedures such as surgery, radiation, or
              chemotherapy.” The basis for this approval is not described in product labeling.

              The NCCN Practice Guidelines3 make the following recommendations for hormonal therapy
              and chemotherapy for the treatment of recurrent or metastatic endometrial cancer based on
              Category 2A evidence (based upon lower-level evidence, there is uniform NCCN consensus
              that the intervention is appropriate):

              Hormonal therapy, consisting of megestrol alternating with tamoxifen, progestational agents,
              aromatase inhibitors, and tamoxifen, “may be used for lower grade endometrioid histologies
              only, preferably in patients with small tumor volume or an indolent growth pace.”

              Multi-agent chemotherapy regimens (carboplatin/paclitaxel, cisplatin/doxorubicin, and
              cisplatin/doxorubicin/paclitaxel) are preferred, if tolerated. Single agent chemotherapeutic
              options may include cisplatin, carboplatin, doxorubicin, liposomal doxorubicin, and
              paclitaxel). Bevacizumab may be considered for use in patients who have progressed on prior
              cytotoxic chemotherapy. Reported response rates with single agent chemotherapies ranges
              from 31-81% with short duration of response. Reported response rates with first-line
              combination chemotherapy, e.g., carboplatin and paclitaxel, range from 40-62%.

              However for patients progressing following first line chemotherapy, treatment options are
              limited to investigational and off-label therapies with responses of generally less than 20%,



              3 https://www.nccn.org/professionals/physician_gls/pdf/uterine_blocks.pdf




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              with the exception of a reports of temsirolimus plus bevacizumab (ORR 24%) and everolimus
              plus letrozole (ORR 32%).4

              Pre-Submission Regulatory History
              The clinical investigation and FDA interactions for pembrolizumab for the treatment of
              patients with MSI-H or dMMR metastatic solid tumors were conducted primarily under IND
              123482, submitted to FDA on November 21, 2014 for the investigation of pembrolizumab for
              the treatment of various gastrointestinal malignancies. As noted below, clinical studies
              supporting this application were also discussed under INDs 110080 and 127548.

              On May 12, 2015, a Type B meeting was held to discuss the adequacy of the design of
                 Protocol KEYNOTE (KN)-164 entitled “A Phase IIB Study of Pembrolizumab (MK-3475)
                 as Monotherapy in Subjects with Unresectable Locally Advanced or Metastatic
                 Microsatellite Instability-High Colorectal Adenocarcinoma” to support an expanded
                 indication for pembrolizumab
                                                                                               (b) (4)




                  The proposed development program was based on the preliminary results of the
                  KEYNOTE-016 trial, entitled, “A Phase 2 Study of MK-3475 in Patients with
                  Microsatellite Unstable (MSI) Tumors,” which is an investigator-initiated multi-
                  institutional study conducted by Johns Hopkins University. The preliminary results were
                  that 4 of 10 (40%; 95% CI: 12, 74) “evaluable” patients with metastatic MSI-H colorectal
                  cancer, 5 of 7 (71%; 95% CI: 29, 96) “evaluable patients with MSI-H non-colorectal
                  cancers but none of 18 patients with microsatellite stable (MSS) colorectal cancer achieved
                  RECIST-defined responses. Key agreements reached:
                   FDA agreed that an ORR that exceeded that observed with regorafenib in patients with
                      metastatic colorectal cancer who had progressed following at least two lines of
                      approved standard therapies, which must include fluoropyrimidine, oxaliplatin,
                      irinotecan, bevacizumab and cetuximab or panitumumab (if KRAS wild type), if
                      approved in the respective country, could support accelerated approval for patients with
                      MSI-H colorectal cancer.
                   FDA recommended that KN-164 be designed to rule out an ORR of <15% based on the
                      lower bound of the 95% confidence interval around the observed response rate. FDA
                      agreed that in the population to be studied,
                                                                                                          (b) (4)




                       FDA encouraged Merck to enroll patients with MSI-H small intestinal cancer and other
                        gastrointestinal malignancies in a dedicated protocol in order to expedite development
                        of pembrolizumab for these patient populations.

              On July 10, 2015, a meeting was held between FDA and Merck under IND 110080 to discuss
                 the design of KEYNOTE-158, a study that was initially intended to enroll patients across
                 ten different primary tumors based on PD-1 tumor expression, microsatellite instability, or
                 a specific gene expression profile signature (using Nanostring-based RNA analysis). The



              4 The Lancet 387: 1094-1108, 2016. https://doi.org/10.1016/S0140-6736 (15)00130-0




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                  meeting package indicated that Merck would use the Promega MSI Analysis System to
                  identify patients as MSI-H in KEYNOTE-158.

              On September 29, 2015, under new IND 127548, Merck requested FDA’s agreement with a


                 -
                 proposal to
                                                                                                            (b) (4)


                         . On October 27, 2015, FDA responded by email that the Agency did not agree with
                 the proposal based on                                                          . FDA stated that
                                                                                        (b) (4)


                 an alternative to central testing would be required to ensure the same reagents, protocol, and
                 result reporting are used at all testing sites. On February 16, 2016, Merck submitted an
                 amendment to IND 127548 containing a proposal stating that MSI-H testing could be
                 performed using IHC or one of two specific PCR assays. Merck stated that the case report
                 forms would collect information about methodology used to identify MSI-H status,
                 including reagents, assay protocols, and results.

              On October 29, 2015, FDA granted Breakthrough Therapy designation for pembrolizumab for
                 the treatment of patients with microsatellite instability high (MSI-H) metastatic colorectal
                 cancer.

              On November 30, 2015, FDA issued an Agreed Initial Pediatric Study Plan for pembrolizumab
                                                                                                         (b) (4)




                                                                                                                   .

              On April 15, 2016, a teleconference was held at FDA’s request to discuss the update provided
                 by Merck on their development program in MSI-H colorectal and non-colorectal cancers,
                 in order to facilitate development of pembrolizumab for the Breakthrough Therapy
                 designated program. Merck stated that based on rapid enrollment, with a 3 week-interval
                 between the 40th subject and the 61st patient enrolled, they planned to include the entire
                 study population of 61 subjects in the interim analysis on or around July 15, 2016. Merck
                 said at the time of submission of the planned efficacy supplement, the application would
                 contain efficacy data from approximately 90 patients with metastatic, MSI-H colorectal
                 cancer and 60 patients with metastatic, MSI-H, non-colorectal cancer patients, however the
                 maturity of response data for the latter group was not certain. FDA stated that the most
                 important data would be the response information, including a central review of scans,
                 given the extensive information available regarding the safety of pembrolizumab. FDA
                 advised that the Agency would consider a proposal for a “tissue-agnostic” indication for
                 refractory, metastatic cancers, but noted that this likely require discussion with CDER’s
                 Office of Medical Policy.

              On July 13, 2016, a pre-sBLA meeting was held to discuss the content of the planned efficacy
                 supplement intended to support a new indication for the treatment of patients with
                 unresectable or metastatic microsatellite instability-high (MSI-H) cancers with disease
                 progression following prior therapy.

              On August 1, 2016, FDA granted Breakthrough Therapy designation for pembrolizumab for
                 the treatment of patients with unresectable or metastatic non-colorectal MSI-H-positive



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                   cancers who have disease progression on or who have no satisfactory alternative
                   treatments.

              Submission Regulatory History
              On September 8, 2016, BLA 125514/S-014 was submitted.

              On February 13, 2017, FDA met with Merck to discuss concerns regarding an apparent dose-
                 response relationship suggesting greater efficacy with the 10 mg/kg every 2 week regimen
                 as compared with the 200 mg every 3 weeks dosage regimen. Merck proposed submission
                 of additional data supporting Merck’s proposed dosage regimen of 200 mg every 3 weeks.

              On March 8, 2017, a major amendment was submitted (received March 9, 2017), containing:
                 additional follow-up for duration of response for patients enrolled in the KEYNOTE-164
                 and KEYNOTE-158 studies, new clinical data for 65 patients MSI-H/dMMR solid tumors
                 who received the 200 mg dosage regimen of pembrolizumab; and additional justification
                 for the proposed dosage regimen of 200 mg every 3 weeks as compared with 10 mg/kg
                 every 3 weeks.


              3.        CMC
              There are no outstanding CMC issues that preclude approval. The CMC information submitted
              in this supplement was limited to information regarding the drug product administered across
              these trials and a request for waiver from the assessment of categorical exclusion. The claim of
              categorical exclusion from the environmental assessment was accepted and the quality
              reviewer determined that the investigational pembrolizumab drug product used in these studies
              was comparable for to the marketed product.

              The supplement did not propose use with a companion diagnostic test for identification of
              MSI-H or dMMR tumor status. The Division consulted the Center for Devices and Radiologic
              Health regarding use of laboratory developed test for determination of MSI-H and dMMR
              tumor status, for which regulatory discretion has been exercised and pre-market applications
              have not been required. Dr. Donna Roscoe (CDRH) stated that during the Office of Medical
              Policy meeting that there are a variety of tests for dMMR (immunohistochemistry (IHC)) and
              MSI-H (PCR-based) used in the community. These tests are primarily laboratory developed
              tests (LDTs) and that the major concerns with these LDTs are false-positives in IHC tests for
              dMMR and false-negatives in PCR tests for MSI-H. The College of American Pathology
              conducted an assessment of MSI-H testing performance across104 laboratories in 2012, where
              a “correct” result was considered the consensus result of the laboratories. Using this criterion,
              the College of American Pathology stated that the “correct” result was obtained in >95% of
              cases. Despite this, there remains uncertainty regarding the performance characteristics across
              all laboratories which may be performing these tests, including whether performance
              characteristics may differ by primary cancer. Given these uncertainties, agreed-upon
              postmarketing studies will be conducted to assess and establish the performance characteristics
              of MSI-H and dMMR tests.



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              4.        Nonclinical Pharmacology/Toxicology
              Not applicable.


              5.        Clinical Pharmacology/Pharmacogenomics
              I concur with the conclusions reached by the clinical pharmacology reviewers that there are no
              outstanding clinical pharmacology issues that preclude approval.

              The supplement contained following clinical pharmacology information:

                  A pooled comparative analysis of pembrolizumab exposure and clearance across multiple
                   tumor types was conducted.

                  A pooled comparative analysis of the immunogenicity rate of pembrolizumab across
                   multiple tumor types was submitted.

              The population pharmacokinetic parameters were comparable between patients with MSI-H
              cancers (n=79) and patients in which the MSI-H status was unknown ((n=2189). The
              population exposure of 200 mg Q3W was numerically higher than 2 mg/kg Q3W dose, but
              significantly lower than 10 mg/kg Q2W and Q3W doses. This factor was considered in the
              interpretation of the efficacy results in which the ORR is consistently higher across trials for
              the 10 mg/kg Q2W regimen [69 patients; ORR 51% (95% CI: 38, 63)] than the 200 mg Q3W
              regimen [80 patients; ORR 21% (95% CI: 17, 37)]. Based on this difference, the
              pharmacology reviewers also reviewed prior submissions in which the effects on survival
              among randomized, dose-ranging studies were noted to favor the higher dose.

              FDA discussed this issue with Merck in February 2017 and requested that Merck provide
              additional data to support the proposed dosage regimen of 200 mg every 3 weeks. In their
              response, Merck noted that the duration of follow-up was unequal across studies. In
              KEYNOTE-016, -012, and -028, the median duration of follow-up was ≥6 months, whereas in
              KEYNOTE-164 and -158, the median duration of follow-up was <6 months in the original
              submission. Therefore, in the major amendment, updated information was provided for
              KEYNOTE-164 and -158; the duration of follow-up was extended to ≥54 weeks (from ≥27
              weeks in the original submission) and ≥36 weeks (from ≥18 weeks in the original submission),
              respectively. With additional follow-up, the response rate increased modestly among patients
              receiving pembrolizumab 200 mg every 3 weeks [ORR 30.0% (95% CI: 20, 41)]; however, the
              ORR with the 10 mg/kg every 2 week regimen remained numerically higher.

              The clinical pharmacology reviewers initially recommended that the recommended dose be 10
              mg/kg every 2 weeks, with reductions to “as low as” 200 mg every 3 weeks based on patient
              tolerability and safety, given the consistently higher ORR. However, after internal discussion
              and review of data contained in the major amendment, as well as a re-assessment of survival




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              information in randomized, dose-ranging trials, the clinical pharmacology team made the
              following recommendations:

                       Both the 2 mg/kg Q3W and 10 mg/kg Q2W dosing regimens should be available for
                        the treatment of MSI-H patients given the effectiveness of both regimens and
                        incremental benefit of the higher dose. Since no baseline patient-specific factors are
                        identified to determine which starting regimen should be recommended. In the absence
                        of identified baseline factors, OCP recommends the starting dose regimen be left to the
                        discretion of the practitioner without explicit recommendations in labeling.

                       Further evaluation of accumulating data to determine whether both dose regimens
                        should be made available for approved indications including melanoma and NSCLC.

              The clinical review team did not concur with this recommendation for the reasons discussed in
              Section 7 of this review.



              6.        Clinical Microbiology
              Not applicable.


              7.        Clinical/Statistical-Efficacy
              The data from one clinical study site enrolling 20 patients in Cohort A of Study KEYNOTE-
              016 were inspected. No significant deviations were noted and the data were deemed reliable in
              support of this efficacy supplement.

              Based upon agreements with Merck prior to submission, FDA agreed to review a pooled
              dataset comprising data from patients enrolled in multiple clinical trials, four of which were
              sponsored by Merck and one conducted by a sponsor investigator, in which all patients with
              adequate follow-up for assessment of response and response duration were evaluated for
              response by an independent review committee, masked to investigator assessment of response.
              Response was based on RECIST v1.1, in which all responses were required to have confirmed
              durability of at least 4 weeks.

              Key details of the differences in trial design are summarized below, which included
              differences in dosage regimen, timing and method of identification of MSI-H/dMMR solid
              tumors, and eligibility criteria with regard to presence of PD-L1 overexpression. For patients
              who were determined at the time of enrollment to have MSI-H/dMMR tumors (Studies
              KEYNOTE-016, KEYNOTE-164, and MSI-H/dMMR positive tumor cohorts within
              KEYNOTE-158), that determination was made primarily on laboratory developed tests,
              whereas for patients with MSI-H/dMMR tumors identified through retrospective of available
              tumor (Studies KEYNOTE-012, KEYNOTE-028, and rare-tumor cohorts within KEYNOTE-
              158), the determination was made based on central testing.


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                                  Overview of Clinical Studies Comprising Efficacy Dataset
              Study               Design and Patient              Number of     MSI-H/dMMR       Dose       Prior therapy
                                  Population                      patients      testing
                                                                                                             CRC: ≥ 2 prior
                                                                  28 CRC
                                   prospective, investigator-                                   10 mg/kg     regimens
              KEYNOTE-016                                                       local PCR or
                                    initiated, multi-center                                      every       Non-CRC: ≥1
              NCT01876511                                         30 non-       IHC
                                   CRC and other tumors                                         2 weeks      prior regimen
                                                                  CRC
                                                                                                            Prior
                                   prospective international                                    200 mg     fluoropyrimidine,
              KEYNOTE-164                                                       local PCR or
              NCT02460198
                                    multi-center                  61                             every      oxaliplatin, and
                                                                                IHC
                                   CRC                                                          3 weeks    irinotecan +/- anti-
                                                                                                            VEGF/EGFR mAb
                                   retrospectively identified.
                                    PD-L1-positive, MSI-                                         10 mg/kg
              KEYNOTE-012
              NCT01848834
                                    H/dMMR gastric, bladder,      6             central PCR      every      ≥1 prior regimen
                                    or triple-negative breast                                    2 weeks
                                    cancers
                                   retrospectively identified
                                    PD-L1-positive, MSI-                                         10 mg/kg
              KEYNOTE-028
              NCT02054806
                                    H/dMMR esophageal,            5             central PCR      every      ≥1 prior regimen
                                    biliary, breast,                                             2 weeks
                                    endometrial, or CRC
                                   prospective, multi-center                   local PCR or
                                    MSI-H/dMMR non-CRC                          IHC              200 mg
              KEYNOTE-158
              NCT02628067          retrospectively identified    19 `          central PCR      every      ≥1 prior regimen
                                    MSI-H/dMMR rare, non-                       for rare tumor   3 weeks
                                    CRC tumors                                  non-CRC
              Total                                               149
              CRC = colorectal cancer
              PCR = polymerase chain reaction
              IHC = immunohistochemistry


              Results
              There were 149 patients identified with MSI-H or dMMR solid tumors across five clinical
              trials, which comprise the pooled efficacy dataset.

              In this supplement, Merck used the terms microsatellite instability-high (MSI-H) and MMR-
              deficient interchangeably, stating that “tumors are classified as MSI-H (including MMR-
              deficient) when expression of at least 1 of 4 MMR proteins is not detectable by IHC, or when
              at least 2 allelic size shifts among 3 to 5 analyzed microsatellite markers are detected by PCR.”
              As support for pooling data across the study population, regardless of the test used for
              identification of patients, Merck cites the NCCN guidelines regarding screening of patients
              with colorectal cancer, which state that “IHC for MMR and PCR for MSI are different assays
              measuring the same biological effect” because “patients determined to have defective MMR
              status are biologically the same population as those with MSI-H status.”

              For 91% (135/149) of the population, the presence of MSI-H or dMMR was determined prior
              to study entry based on local laboratory assessment a polymerase chain reaction (PCR) tests to
              detect MSI-H or immunohistochemistry (IHC) tests to detect dMMR. The remaining 14
              patients (9%) in the pooled dataset were identified retrospectively in a central laboratory by
              screening available tumor samples from 415 patients enrolled in the KEYNOTE-012,


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              KEYNOTE-028, or rare-tumor cohorts in the KEYNOTE-158-studies. The incidence of MSI-
              H or dMMR tumors identified retrospectively was 3.4% (95% CI: 1.9, 5.6) across the three
              trials.

              The baseline characteristics of the pooled dataset are a median age 55 years (36% were 65
              years or older); 56% male; 77% White, 19% Asian, 2% Black; and ECOG PS 0 (36%) or 1
              (64%); 98% had metastatic disease and 2% had locally advanced, unresectable disease at study
              entry. With regard to underlying primary cancer, 60% of the population had colorectal cancer.
              Of the remaining 40% (59 patients) with non-colorectal cancers, the most common primary
              cancers in descending order were: endometrial cancer (24%), biliary tract cancer (19%),
              gastric or gastroesophageal cancers (15%), small intestinal cancers (13%), and pancreatic
              cancers (10%). The median number of prior lines of therapies administered for the treatment of
              metastatic or unresectable disease was 2; 84% of patients with metastatic colorectal cancer and
              53% of patients with other solid tumors ≥2 prior lines of therapy. Among the 149 patients in
              the pooled efficacy dataset, 40% (n=60) had tumors identified as MSI-H using a PCR-based
              assay, 32% (n=47) had tumors identified as dMMR using an IHC assay, and 28% (n=42) were
              determined to be eligible for inclusion using both assays.

              The overall response rates and duration of response for the pooled population and by primary
              cancer are summarized in the following tables:


                                           Efficacy Results for Pooled Dataset
                         Endpoint                                                 n=149
                         Overall response rate
                           ORR                                                    39.6%
                           (95% CI)                                             (31.7, 47.9)
                             Complete response rate                                 7.4
                             Partial response rate                                 32.2
                         Response duration
                             Response Duration (range in months)                1.6+, 22.7+
                             % with duration ≥6 months                             78%
                        NR = not reached




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                                           Efficacy Results by Primary Cancer
                                                       Number of          Response Rate         Response Duration
               Primary Cancer
                                                        Patients             (95% CI)            (range in months)

                                                                            36% (32/90)
               Colorectal Cancers                            90                                     1.6+, 22.7+
                                                                              (26, 46)

                                                                            46% (27/59)
               Non-Colorectal Cancers                        59                                     1.9+, 22.1+
                                                                              (33, 59)

                                                                             36% (5/14)
                 Endometrial cancer                          14                                     4.2+, 17.3+
                                                                              (13, 65)

                                                                             27% (3/11)
                 Biliary cancer                              11                                    11.6+, 19.6+
                                                                               (6, 61)

                                                                                 56% (5/9)
                 Gastric or GE junction cancer               9                                      5.8+, 22.1+
                                                                                  (21, 86)

                                                                                 38% (3/9)
                 Small intestinal cancer                     8                                       1.9+, 9.1+
                                                                                  (9, 76)

                                                                                 83% (5/6)
                 Pancreatic cancer                           6                                       2.6+, 9.2+
                                                                                 (36, 100)
                 Breast cancer                               2                    PR, PR              7.6, 15.9
                 Prostate cancer                             2                    PR, SD                9.8+
                 Bladder cancer                              1                      NE
                 Esophageal cancer                           1                      PR                  18.2+
                 Sarcoma                                     1                      PD
                 Thyroid cancer                              1                      NE
                 Retroperitoneal adenocarcinoma              1                      PR                  7.5+
                 Small cell lung cancer                      1                      CR                  8.9+
                 Renal cell cancer                           1                      PD



              The key question raised by this application is whether the presence of MSI-H/dMMR
              represents a unique biomarker that predicts response to pembrolizumab and is consistent in
              this predictability across tumor types. Features associated with MSI-H/dMMR that are
              common across primary cancers include increased lymphocytic infiltration and an increased
              mutational tumor burden with non-synonymous mutations. Both of these factors have been
              identified as correlating with an increased likelihood of response to checkpoint inhibitors in
              tumors that have not been assessed for MSI-H or dMMR. For example, the primary cancers
              first identified as responsive to checkpoint inhibitors, melanoma and non-small cell lung
              cancer, are also cancers with the highest mutational burdens. Merck presented data from



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              Studies KEYNOTE-012 and -028, involving 110 patients with 20 different primary cancers in
              which the likelihood of response was greater in those with a higher mutational burden.

                                                                        KN012 and 028;
                                                                      N=110; 20 tumor types


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                                                                          BOR, Central Review



              Similar results were observed in specific primary cancers, as displayed below.

                                 Melanoma                                                                             Head & Neck Cancer
                           (KN 001, 002 and 006; N=118)                                                          (KN012 B and B2 cohorts; N=63)


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              Merck also presented data indicating that the higher ORR observed in patients with MSI-H
              tumors as compared to the ORR in patients with microsatellite stable (MSS) tumors, did not
              appear to be the result of a higher PD-L1 tumor expression score for MSI-H tumors compared
              with MSS tumors.



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                        ORR:     18%      50%        2%        50%    9%       43%       8%      57%         33%       36%     100%

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                                       KN012                KN028           KN059            KN158       KN158K           KN001

                                                                              MSI status
              Based on the similarity common histologic feature of tumor infiltration and high mutational
              burden across MSI-H tumors and absence of an alternative explanation for the higher response
              rates seen in MSI-H vs. non-MSI-H tumors, specifically, differences in PD-L1 tumor
              expression, I concur that the biomarker of MSI-H/dMMR across primary cancers appears to
              identify a specific subpopulation of patients with cancer who are likely to derive clinical
              benefit from pembrolizumab, as requested in the proposed indication.

              With regard to dosing, I concur with the clinical review team that the observed differences in
              ORR by dosage regimen are not compelling, based on cross-study comparisons where the
              differences observed may reflect differences in the study populations (including unknown
              factors) and chance. I also concur that dose-related differences in response may be present but
              cannot be addressed outside of a randomized trial comparing dosage regimens. Further, the
              recommendation is not consistent with prior recommendations based on relatively flat
              exposure: response and exposure: toxicity relationships observed in other trials; however, a
              more comprehensive investigation of these effects involving multiple rather than within an
              individual randomized, dose-ranging trial may be more informative. One specific concern
              with this approach is to determine the extent to which other factors (specifically PD-L1 tumor



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              expression) may play a role in the dose-response relationship in specific primary cancers,
              which may not be a factor in MSI-H/dMMR solid tumors. Pending further elucidation of this
              relationship to determine if 10 mg/kg every 2 weeks is actually superior to 200 mg every 3
              weeks, I concur with the decision of the clinical review team that the Merck’s proposed dosage
              regimen is both safe and effective.


              8.        Safety
              Size of the database: The characterization of the most serious adverse drug reactions of
              pembrolizumab were evaluated in 2799 pembrolizumab-treated patients, of whom 41% were
              exposed to pembrolizumab for ≥ 6 months and 21% were exposed to pembrolizumab for ≥ 12
              months, which was revised as part of previous supplemental approvals. The most common
              adverse reactions of pembrolizumab were evaluated in 5 randomized trials enrolling 2195
              pembrolizumab-treated patients and 3 single arm trials enrolling 772 pembrolizumab-treated
              patients. This clinical experience in these supplements was adequate to characterize the safety
              for both dosage regimens (10 mg/kg every 3 weeks and 200 mg every 3 weeks) in randomized,
              controlled clinical trials. Thus, the limited size of the safety database in this supplement was
              not of concern as the adverse reaction profile of pembrolizumab is known.

              Major safety concerns related to labeling: The serious adverse reactions of pembrolizumab
              resulting from pembrolizumab are autoimmune reactions against healthy organs and tissues.
              The most commonly affected organs are the endocrine system, colon, lungs, and liver. With
              the exception of immune-related endocrinopathies, which are generally not reversible and
              require hormone replacement due to loss of endocrine function, immune-related adverse
              reactions of other organs can be reversed with termination of pembrolizumab if mild and high-
              dose corticosteroids with or without additional immunosuppression if moderate or more
              severe. No unexpected serious adverse reactions were observed in patients with MSI-
              H/dMMR solid tumors.

              Postmarketing data: In published literature, there are limited reports of outcomes in children
              with congenital mismatch repair deficiency syndromes who received checkpoint inhibitors for
              treatment of primary CNS tumors. While activity was observed in two patients, a third
              experienced neurologic deterioration and death, possibly attributable to lymphocytic tumor
              infiltration. Given the very limited experience, and in light of the potential for benefit,
              additional studies were required to further assess the safe use of pembrolizumab in this setting.

              REMS
              I concur with the clinical review team that no new safety signals were identified and the risk:
              benefit profile in the indicated population did not require REMS to ensure safe and effective
              use in this population.

              PMRs and PMCs
              A required PMR under 21 CFR 601.41 was required to further characterize the clinical benefit
              of pembrolizumab in adults with common solid tumors (e.g., breast cancer, prostate cancer)
              with MSI-H/dMMR and in pediatric patients with MSI-H/dMMR solid tumors.


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              A required PMR under 505(o) was required to further characterize the safety in pediatric
              patients MSI-H/dMMR, primary CNS tumors.


              9.        Advisory Committee Meeting
              This efficacy supplement was not referred to the Oncologic Drugs Advisory Committee since
              the safety profile is acceptable for the indicated population and the trial design and endpoint
              are similar to prior accelerated approvals. However, use of a biomarker to define the indicated
              population is novel and use of this approach was discussed with the Office of Medical Policy
              (OMP) on February 24, 2017. The OMP agreed that the rationale for a “tissue agnostic”
              population was supported by the data provided by Merck.


              10. Pediatrics
              The Pediatric Review Committee (PeRC) confirmed their agreement
                                                                                                          (b) (4)


                                                                                                         in
              the Agreed Initial Pediatric Study Plan (iPSP) during the meeting held on April 19, 2017. At
              the time of this review, the proposed indication had been modified to
                                                                                                         (b) (4)




              The clinical review team considered that MSI-H/dMMR solid tumors do occur in children,
              particularly those with Lynch syndrome or with rare congenital bi-allelic genetic defects, and
              extended the indication to these patients by extrapolation of the efficacy in adults to children
              with MSI-H/dMMR tumors. The recommended dose in children was based on the results of
              studies in pediatric patients (previously reviewed by FDA under the supplement supporting
              approval in classic Hodgkin lymphoma) characterizing a reasonably safe dose in children less
              than 12 years of age and the predicted pharmacokinetics in adolescents (i.e., same as in adult
              population with the recommended adult dose).
              The only caveat to this extrapolation was the specific situation of CNS malignancies with mis-
              match repair deficiencies which are more likely to occur in children. The potential risks of
              lymphocytic infiltration (the suspected cause of “tumor flare” with these immunologic agents)
              occurring in a closed space are likely to increase the risk of herniation. Recent published
              reports of both responses and patient death in three pediatric patients support the potential for
              this risk. Thus, pending additional clinical experience, FDA requested that product labeling
              carry a limitation of use for this population pending the results of further studies, which will be
              conducted under postmarketing requirements.



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              11. Other Relevant Regulatory Issues
              There are no other unresolved relevant regulatory issues.



              12. Labeling

                 Physician labeling
                   Indication and Usage: the proposed indication and usage was modified to include
                     pediatric patients with MSI-H/dMMR solid tumors and revised to clarify the indication
                     with regard to colorectal cancer, comprising 60% of the study population. In addition, a
                     limitation of use was added for pediatric primary CNS cancers with MSI-H/dMMR,
                     based on published reports of a fatality in this setting, possibly resulting from
                     lymphocytic infiltration. It is anticipated that this limitation of use may be revised
                     when additional data are obtained in this population in required postmarketing trials.
                   Dosage and Administration: The recommended in adults, as proposed by Merck, was
                     retained; however, recommended doses for adolescents and for pediatric patients less
                     than 12 years of age were added, based on results of pharmacokinetic assessments in
                     pediatric patients previously reviewed under the supplement supporting approval of
                     classic Hodgkin lymphoma.
                   Warnings and Precautions: Subsection 5.6 (other Immune-Mediated Adverse
                     Reactions) was modified to include the sentence “These immune-mediated reactions
                     may involve any organ system.” This addition was to clarify for prescribers that
                     reactions other than those listed in this section may occur with pembrolizumab.
                   Adverse Reactions: Adverse reactions observed in the pooled efficacy population were
                     not included in the adverse reaction section given the extensive safety experience with
                     pembrolizumab and the single arm nature of the “trial” which precluded a comparison
                     against background events attributable to underlying disease.
                   Use in Specific Populations: The pediatric use subsection was edited for brevity and
                     clarity. In addition, the extrapolation of efficacy data for MSI-H/dMMR solid tumors
                     in adults to pediatric patients was described.
                   Clinical Pharmacology: Updated to include the results of the most recent population
                     pharmacokinetic analysis, which incorporated data from patients with MSI-H/dMMR
                     solid tumors.
                   Clinical Studies: Revised to provide greater detail regarding the design of the five
                     clinical studies contributing patients to the pooled population, tabular results for the
                     pooled population and data by primary cancer type. The latter is provided for
                     information to prescribers but is not intended to suggest differences in ORR by primary
                     cancers.

                 Patient labeling/Medication guide: The Medication Guide was modified to reflect the new
                  indication




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              13. Decision/Action/Risk Benefit Assessment

                 Regulatory Action: Approval

                 Risk Benefit Assessment
                  Unresectable, locally advanced or metastatic cancers that have progressed following two or
                  more available therapies have a poor prognosis, regardless of primary cancer and, with few
                  exceptions, will have 5-year survival rates of less than 10%. In this supplement, 84% of
                  patients with metastatic colorectal cancer and 53% of patients with other solid tumors had
                  received two or more prior lines of therapy. With available treatment for the most common
                  cancers in this population, overall response rates with available therapy are low (1% with
                  regorafenib and 1.5% with trifluridine/tipiracil for third-line treatment of colorectal cancer
                  and 24-32% with MTOR-based chemotherapy as second-line treatment of endometrial
                  cancer).

                  In the pooled dataset of 149 patients, the ORR was 39.6% (95% confidence intervals (CI):
                  31.7, 47.9) with 78%of responding patients experiencing a duration of response of more
                  than 6 months. The ORR was similar among patients with colorectal cancers [ORR 36%
                  (95% CI: 26, 46) and non-colorectal cancers [ORR 46% (95% CI: 33, 59)]. The point
                  estimates for response rates and response durations far exceed that expected with available
                  and commonly accepted third-line chemotherapeutic options. The risks of pembrolizumab
                  are acceptable in light of the magnitude and durability of response. At this time, I concur
                  with the clinical review team that there is insufficient evidence to state that the higher
                  dosage regimen employed (10 mg/kg every 2 weeks) provides superior results to the lower
                  dosage regimen (200 mg every 3 weeks) based on the differences across studies with
                  regard to patient population (e.g., ECOG status, extent of prior treatment, and potential
                  unknown confounding factors) and follow-up for observation of responses. This question
                  should be re-assessed across the totality of the randomized, dose-ranging trials in all
                  cancers to determine the extent, if any, of a dose-response relationship. However, data
                  obtained in studies where response may also be driven by other factors (i.e., presence or
                  extent of PD-L1 tumor expression) may not be relevant for this population, where MSI-
                  H/dMMR appears to be the strongest predictive factor for response.

                 Recommendation for Postmarketing Risk Evaluation and Mitigation Strategies
                  In concur with the findings of the clinical review team that, in light of the agreed-upon
                  labeling which includes a limitation of use for pediatric patients with MSI-H/dMMR
                  central nervous system cancers, risk evaluation and mitigation strategies (REMS) are not
                  required for this new indication for pembrolizumab, which has been marketed without
                  REMS since 2014.

                 Recommendation for other Postmarketing Requirements (PMR) and Commitments (PMC)
                  Given the relatively limited clinical experience with treatment of patients with MSI-
                  H/dMMR solid tumors other than metastatic colorectal cancer and endometrial cancer, a



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                  post-marketing commitment was required to further verify and characterize the efficacy
                  (ORR and duration of response) of pembrolizumab across MSI-H/dMMR tumors arising in
                  other primary sites, including primary tumors occurring primarily in pediatric patients.
                  Therefore, FDA will require the following PMR under the provisions of 21 CFR 601.41.

                  3213-1 Submit the final report, including datasets, from trials conducted to verify and
                         describe the clinical benefit of pembrolizumab 200 mg intravenously every three
                         weeks in patients with microsatellite instability high or mismatch repair deficient
                         tumors including at least 124 patients with colorectal cancer enrolled in Merck-
                         initiated trials; at least 300 patients with non-colorectal cancer, including a
                         sufficient number of patients with prostate cancer, thyroid cancer, small cell lung
                         cancer; and ovarian cancer; and 25 children. In order to characterize response rate
                         and duration, patients will be followed for at least 12 months from the onset of
                         response.

                  A PMR will also be required under the provisions of 505(o) to investigate the safe use of
                  pembrolizumab for the treatment of patients with MSI-H/dMMR, central nervous system
                  tumors that have progressed following accepted standard of care. This primary tumor site
                  presents unique risks based on its location in an enclosed space (cranium/spinal column)
                  and the potential for serious, potentially fatal adverse reactions due to lymphocytic
                  infiltration resulting in an increase in tumor volume.

                  3213-2 Conduct a trial that will characterize the safety of pembrolizumab administered
                         intravenously at 2 mg/kg up to a maximum of 200 mg intravenously every three
                         weeks or to determine a reasonably safe dosage regimen in an adequate number of
                         children with primary central nervous system malignancies that are mismatch repair
                         deficient or microsatellite instability high. Submit a final report and datasets for
                         pediatric patients with primary CNS malignancies.

                  Finally, two agreed-upon PMCs will be conducted to develop and support approval of
                  analytically valid tests for identification of patients with MSI-H or dMMR solid tumors.
                  While the study population in several of the trials were enrolled based on commercially
                  available, laboratory-developed tests (LDTs), the use of such tests has been by the medical
                  community has been evaluated primarily in colorectal cancer, based on current practice
                  guidelines.

                  3213-3 Commitment to support the availability through an appropriate analytical and
                         clinical validation study using clinical trial data that will support labeling of an
                         immunohistochemistry based in vitro diagnostic device that is essential to the safe
                         and effective use of pembrolizumab for patients with tumors that are mismatch
                         repair deficient.

                  3213-4 Commitment to support the availability through an appropriate analytical and
                         clinical validation study using clinical trial data that will support labeling of a
                         nucleic acid-based in vitro diagnostic device that is essential to the safe and




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                          effective use of pembrolizumab for patients with tumors that are microsatellite
                          instability high.




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     signature.
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     /s/
     ----------------------------------------------------
     PATRICIA KEEGAN
     05/23/2017




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                          125514Orig1s014

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                                                Officer/Employee List
                                                 BLA 125514/S-14

               The following officers or employees of FDA participated in the decision to approve this
               supplement and consented to be identified:

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              Cross Discipline Team Leader Review                                                                 Supplement 14, BLA-125514



                                               Cross-Discipline Team Leader Review

              Date                                                 22 May2017
              From                                                 Steven Lemerv, M.D., M.H.S.
              Subject                                              Cross-Discipline Team Leader Review
              BLA#                                                 Supplement 14, BLA-125514
              Aoolicant                                            Merck & Co., Inc. (Merck)
              Date of Submission                                   8 Sep 2016
              PDUFA Goal Date                                      8 Mar 2017 (June 9, 2017, following major amendment)
              Proprietary Name/
                                                                   Keytrnda / pembrolizumab
              Established Name
              Prooosed Dosin!?: Re!!:imen                          200 m~ intravenously every three weeks
                                                                                                                                                    (b) (4)
                                                                                                                                                          J
              Proposed Indication(s)                               •                                        I
              Recommended:                                         Accelerated avvroval


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              1. Introduction
              FDA received Supplement 14 to Biologics License Application (BLA) 125514 from Merck on
              8 Sep 2016 requesting marketing authorization (accelerated approval) for pembrolizumab


              -
              (Keytruda)
                                                                                                          (b) (4)


                        The proposal was based on the results of data obtained from patients enrolled in one
              of five clinical trials.

              This will be the first application approved for the treatment of patients independent of cancer
              type and based solely on the identification of a biomarker within that patient’s tumor. Testing
              for microsatellite instability (i.e., microsatellite instability-high or MSI-H) or mismatch repair
              deficiency (MMRd) will likely now occur in all patients with cancer and this testing (in
              patients with cancers outside of colorectal or endometrial cancer) will be performed because of
              the therapy approved as part of this application.

              Disclaimer: Any data or information described below that Merck does not own (for example,
              summary data from other drugs or literature reports) is included for descriptive purposes
              only. This information was not necessary to make a decision regarding this application.

              2. Background
              This section of the review will focus on the pertinent regulatory topics related to this
              submission (sBLA), with the exception of the clinical data supporting the site agnostic
              indication (Section 7), pembrolizumab dosing regimen (Section 7), and the risk-benefit
              assessment (Section 13).

              2.1 Does the biology of microsatellite instability / deficient mismatch repair
              support a site or tissue agnostic indication?
              Molecular characterization of MSI-H/MMRd cancers
              A deficiency in the DNA mismatch repair (MMRd) pathway is associated with microsatellite
              instability and an increased number of somatic mutations in MSI-H tumors compared to
              microsatellite stable (MSS) tumors.1-5 In general, MSI-H/MMRd occurs in the setting of loss
              of function of one or more of the mismatch repair proteins (MLH1, MSH2, MSH6, or PMS2).6
              In colon cancer, the MSI-H phenotype is generally associated with MLH1 promotor
              hypermethylation or with mutations in one or more of the mismatch repair genes [e.g., as can
              occur in Lynch syndrome (a hereditary condition that increases one’s risk for cancer)].6
              Rarely, deletions of 3’ exons of TACSTD1 (EPCAM) can result in inactivation of MSH2 and
              the development of Lynch syndrome.7,8

              Most hypermutated colorectal cancer tumors are MMRd with the remainder associated with
              POLE mutations (which can also test positive for MSI-H).2 Like colon cancer, MSI-H/MMRd
              gastric and endometrial cancers have an increased rate of somatic mutations.9,10 Furthermore,
              in an analysis of gliomas in patients with biallelic mismatch repair deficiency (a highly
              penetrant childhood cancer syndrome), mutational load was markedly elevated as compared to




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              sporadic pediatric gliomas, other brain tumors, melanoma, lung cancer, or even microsatellite
              unstable gastrointestinal cancers. 11

              The following figmes, copied from manuscripts by Ludmil Alexandrov (Nature, 2013) and
              Bert Vogelstein (Science, 2013), show tumor types with the highest mutational loads. Both
              lung cancer and melanoma (tumors for which anti-PD-1 chugs are approved) have high
              mutational loads (likely related to smoking and UV exposme, respectively). 12•13 The figure
              below (red box added by this author) shows the mutational prevalence across different tumors.
              Although the figure did not specify which tumors were MSI-H, there clearly is a subset of
              patients with uterine, gastric, and colorectal adenocarcinoma with increased somatic mutations
              (suggesting MSI-H). Furthe1more, the repo1i by Dr. Alexanch·ov described a unique signature
              with ve1y large nmnbers of substitutions and small indels, consistent with microsatellite
              instability at nucleotide repeats in subsets of patients with colorectal, uterine, liver, kidney,
              prostate, esophageal, and pancreatic cancers. 13

              Figure 1: Somatic mutations across human cancer types (copied from Alexandrov et al.,
              2013




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              Figure 2 (below) shows that patients with MSI-H/MMRd colorectal cancer have a higher
              mutational load compared to patients with lung cancer or melanoma (two indications for which
              pembrolizumab is cmTently approved).




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              Figure 2: Mutational load by cancer type (copied from Vogelstein et al., 2013)



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              Increased neoantigen load/burden is postulated as the link between hypermutability and
              potential for susceptibility to immunotherapy because some of the mutations can lead to
              tumor-specific neoantigens. Non-clinical studies have shown how these tumor-specific
              neoantigens appear to be important targets of the immune system and that checkpoint
              inhibition can result in a functional T-cell attack against these neoantigen targets.14,15 Data
              from MSI-H leukemia/lymphoma cell lines suggest that peptides caused by frameshift
              mutations due to microsatellite instability can result in tumor-specific antigens.16 Earlier
              research found that unique peptides from missense mutations can be presented in unique HLA
              epitopes.17 The algorithm described in the report predicted that approximately one new epitope
              would be generated for every 10 mutations [this may be an underestimate because the research
              did not assess all candidate major histocompatibility complex (MHC) molecules].17
              Mathematically, this research would predict that MSI-H tumors would generally have more
              neoantigens than corresponding MSS tumors (acknowledging that some tumors including
              melanoma and lung cancer have a high neoantigen burden due to other causes).

              Additional scientific data supports the link between response to checkpoint inhibition and
              MSI-H/MMRd status. Howitt et al., found an approximate eight fold higher neoantigen load in
              patients with endometrial cancer who were MSI-H as compared to microsatellite-stable tumors
              (the highest mutational load was in patients with POLE tumors).18 MSI-H/MMRd colorectal
              cancers also harbor an increased neoantigen load.19 Despite the presence of neo-antigens,
              cancer cells may escape from the immune system through one or more checkpoints including
              the programmed death-ligand 1 (PD1/PD-L1) system. Howitt et al., found higher numbers of
              CD3+ and CD8+ tumor-infiltrating lymphocytes (TILs) in MSI-H tumors. Llosa et al., found


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              that the immune microenvironment of DNA repair-deficient MSI colorectal cancer cells
              contained a strong Th1 and CTL component not found in most other DNA repair-sufficient
              (MSS) tumors; however, multiple checkpoints including PD-1 and PD-L1 were highly
              upregulated in MSI-H tumors relative to MSS tumors.20

              The link between MSI-H/MMRd and response to checkpoint inhibition was first identified at
              Johns Hopkins University following an early assessment of checkpoint inhibition in patients
              with colorectal cancer across two clinical trials. Only one patient out of 33 responded in these
              two trials.5,21,22 The authors hypothesized that this patient had MSI-H CRC with a high
              mutation burden based on data that the responding tumors up to that date (melanoma and lung
              cancer) had a high mutation burden.5 This hypothesis was correct, and this patient with MSI-
              H/MMRd colorectal cancer experienced a complete response for at least three years (to
              nivolumab).5,23 Based on this data, the investigators at Johns Hopkins initiated a clinical trial
              (KEYNOTE-016 or KN16) assessing the effects of pembrolizumab in patients with MSI-
              H/MMRd cancer.5

              Analyses of clinical data in other settings suggest a link between mutation and neoantigen
              burden and sensitivity to checkpoint inhibitors. Rizvi et al., found higher response rates and
              progression free survival (PFS) following pembrolizumab treatment in two independent
              cohorts of patients with non-small cell lung cancer (NSCLC) with higher non-synonymous
              mutation burden and with a higher neoantigen burden (efficacy was also correlated with DNA
              repair pathway mutations in this study).24 A different study of tumor tissue from patients (in
              discovery and validation cohorts) with melanoma treated with a CTLA-4 inhibitor (a different
              checkpoint pathway inhibitor) suggested that neoantigen burden was associated with clinical
              benefit (but not sufficient to predict benefit) to CTLA-4 inhibition.25 An earlier investigation
              of 100 patients with melanoma treated with a CTLA-4 inhibitor also identified an association
              between mutational load (and neoantigen load) and clinical benefit.26 Finally, mutation load
              has been positively correlated with response in patients with locally advanced or metastatic
              urothelial carcinoma treated with an anti PD-L1 checkpoint inhibitor.27,28

              Merck, based on their own data, also identified an association between mutation load and
              response to pembrolizumab across tumor types. The following plot (Figure 3) of data from
              patients with different tumor types enrolled in KN12 or KN28 (n=110) show that responses
              appear more likely to occur in patients with a higher non-synonymous mutational load. High
              mutational load is not the sole predictor for response; however, there may be a mutation
              threshold where a response is less likely to occur (similar analyses were provided by Merck
              across 118 patients enrolled in melanoma studies and in 63 patients enrolled in a specific head
              and neck cohort of KN12). Reasons for lack of response despite high mutational load may be
              related to lack of MHC restriction of the specific antigens or to other immune system-related
              factors.15 Preliminary Merck data suggest that an “inflamed” tumor microenvironment may be
              an additional factor related to response (with PD-L1 positivity being one marker of an
              inflamed environment).




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              Figure 3: Mutation load compared to best response (KN12 and 28)


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              *copied from Merck’s submission

              In Merck’s supportive analyses of TCGA (The Cancer Genome Atlas) data, there appeared to
              be a low correlation between an 18 gene “inflammation” signature and high mutation load (or
              MSI-H status). Merck provided this data to show that mutational load/MSI-H appears
              independent of inflammation or PD-L1 expression.

              Figure 4: Mutational load versus gene expression profile signature based on TCGA, pan
              cancer data (N=5884)
                                                                             GEP (18-gene)-sig
                                                                             PD-L 1 RNA expression
                                                                             WES #mutations >= 100
                                                                             MSl-h assessment
              *Green on the left is considered T-cell “non-inflamed”; right is considered T-cell “inflamed”; figure copied from
              Merck’s submission

              Data submitted by Merck (Figure 5) appear to show that although patients with MSI-H/MMRd
              tumors can have PD-L1-positive disease, that most patients have lower levels of expression
              and responses have been observed in patients with very low PD-L1 levels (including patients
              with PD-L1 levels less than 1%).




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              Figure 5: PD-L1 expression in patients with MSI-H tumors
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                                                                                MSI status
              *copied from Merck’s submission; filled in circles represent responders [for KN001, PD-L1 measured by tumor
              proportion score (TPS); for other protocols by combined positive score (CPS)]

              Merck’s summary data across trials appeared to show that MSI-H/MMRd was a better
              predictor for response than PD-L1 (when assessed at the 1% cut-off). Prevalence of MSI-H is
              lower across tumors compared to PD-L1-positivity (at the 1% cut-off using Merck’s assay).
              Across five trials [KN1, KN12, KN28, KN59, and KN158 (excluding 18 patients in a
              dedicated MSI-H cohort)], 712 patients had test results for both MSI-H and PD-L1 (CPS or
              TPS). Of these patients, the prevalence of MSI-H was 3% whereas the prevalence of PD-L1
              positivity was 63%. Merck stated that the positive predictive value (PPV) for MSI-H for
              response was 52% whereas the PPV was 15% for PD-L1-positive disease.

              Histopathological characterization of MSI-H/MMRd tumors
              MSI-H/MMRd tumors across cancer types appear to share histopathological features in
              addition to having shared molecular features (i.e., high mutation and neoantigen burden).
              Multiple studies have demonstrated increased lymphocytes in MSI-H/MMRd colorectal cancer
              tumors29-32 and that histopathologic features were similar in MSI-H/MMRd tumors
              irrespective of whether the tumors arose sporadically (e.g., through MLH-1 hypermethylation)
              or as part of the Lynch Syndrome.30 In addition to being more frequently diagnosed on the
              right side of the colon, other histopathological findings of MSI-H/MMRd colorectal cancer
              (CRC) include medullary-type histology and poor differentiation.29-31

              Like colorectal cancer, reports of MSI-H/MMRd endometrial cancer describe poor
              differentiation, medullary-type patterns, and increased tumor-infiltrating lymphocytes (TILs).33
              Increased lymphocytic infiltrates have also been identified in diverse MSI-H/MMRd tumor-
              types including pancreatic cancer34 where medullary/poorly differentiated tumors have been
              described35; gastric cancer (which is typically intestinal type)36,37; ampullary cancer38,39; breast
              cancer40; and prostate cancer41. Poor differentiation has been described in MSI-H ovarian
              cancer.42


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              In summary, common molecular-biological characteristics exist among different MSI-
              H/MMRd tumors. Such common features among MSI-H/MMRd tumors underscore the
              rationale as to why a checkpoint inhibitor is expected to benefit patients with MSI-H/MMRd
              tumors irrespective of tumor histology. This strong biological rationale supporting the role of
              MSI-H/MMRd in immunotherapy has been elucidated through decades of scientific
              investigation.43 The scientific work related to mutation burden, neo-antigens, and immune
              response has been replicated across different tumor types and laboratory groups. This
              replication markedly strengthens conclusions based upon the work. Furthermore, the response
              rates (described below) across different tumor types further support an approval action
              agnostic of tumor type.

              Other immunologic factors beyond MSI-H/MMRd (or neoantigen burden) may contribute to
              the likelihood of whether a patient responds to treatment with pembrolizumab. Merck
              submitted exploratory (early) summary data in the sBLA regarding immunological factors that
              may be predictive for response, and data regarding an “inflamed phenotype” detected by
              NanoString methodology has been presented in public meetings.44,45 Immunological factors
              may play a role if some differences are observed in ORR (or other outcomes) following
              pembrolizumab treatment in patients with MSI-H/MMRd tumors across different tumor types
              or lines of therapy. As such, although it would be unexpected for quantitative differences to
              exist among tumors, subtle qualitative differences may exist (e.g., minor differences in
              response among refractory CRC versus other tumors) that could be influenced by prior
              treatment affecting immune function or other immune system-tumor interactions.

              2.2 Does the therapeutic context of pembrolizumab treatment among MSI-
              H/MMRd cancers support an (accelerated) approval action?
              Frequency of MSI-H/MMRd tumors and natural history of MSI-H/MMRd tumors
              Merck provided the following estimates (Figure 6) of the percentage of MSI-H cancers from a
              Moffitt Cancer Center database. These estimates, however, may not reflect the frequency of
              MSI-H/MMRd cancers in the metastatic setting. For example, literature suggests that the rate
              of MSI-H/MMRd in patients with Stage II or III CRC is approximately 15%46; however, the
              prevalence of MSI-H/MMRd in the metastatic setting is approximately 5%.47 Similarly, other
              studies have shown that the rate of MSI-H/MMRd CRC is higher in Stage II disease compared
              with Stage III disease (22 versus 12%).48

              Estimates of rates of MSI-H/MMRd in other tumors is largely based on data obtained from
              patients who have undergone curative resection. For example, the 22% rate of MSI-H/MMRd
              in patients with gastric cancer described in the TCGA network database was obtained from
              primary gastric adenocarcinoma samples in patients who had not received any prior
              chemotherapy or radiation.9 An Asian Cancer Research Group analysis of gastric cancer
              tumors found that the incidence of MSI-H appeared lower in advanced stage tumors: 14 of 30
              (47%) Stage Ib tumors were MSI-H versus 26/97 (27%) for stage II; 19/96 (20%) for stage III;
              and 9/77 (12%) for stage IV.49

              Limited data exist regarding MSI-H/MMRd in the metastatic setting for endometrial cancer. In
              one study investigating microsatellite instability in patients with endometrial carcinoma at


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              Washington University, 70 out of 229 tumors (~30%) were MSI-H; however, fewer MSI-H
              cases were observed in advanced stage tumors (FIGO Stage III or IV) with 9 of 53 advanced
              stage tumors (17%) being MSI-H.50 Only one of 15 patients (6%) with FIGO Stage IV disease
              had a MSI-H-positive cancer.50

              Figure 6: Moffitt database estimates of MSI-H frequency (copied from Merck’s
              submission)
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              Published data regarding the natural history of MSI-H/MMRd colorectal cancer
              Multiple studies, including meta-analyses have reported that MSI-H/MMRd represents a
              favorable prognostic marker in patients with colorectal cancer. Specifically, meta-analyses
              have described an association for improved overall survival (OS) and disease free survival
              (DFS) among patients with MSI-H disease.51 Data, however, appear to show that this effect is
              restricted to patients diagnosed with early-stage disease and that the rate of tumor recurrence
              may be lower in these patients with early-stage MSI-H/MMRd tumors.52

              Outcomes data are more limited in the metastatic setting. Early reports either indicated that
              MSI-H/MMRd had no effect or conferred a favorable prognosis in patients with metastatic
              disease; however, the number of patients with metastatic disease in these reports was
              limited.53-55 Conversely, Koopman et al., 2009, published a subgroup analysis of survival in
              patients with advanced (unresectable) CRC by MMR status who received treatment in the
              CAIRO trial of the Dutch Colorectal group. The trial identified 18 out of 515 (3.5%) evaluable
              patients with mismatch repair deficient tumors.56 Acknowledging the small size of the
              subgroup, estimated median OS was approximately 18 months for patients with MMR-
              proficient tumors versus less than 10 months for patients with MMRd tumors (Figure 7
              below).56




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              Figure 7: KM curves by MMR status in a subgroup analysis of the CAIRO trial (copied
              from Dr. Koo man et al., 2009
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              In a larger, retrospective, pooled analysis of 3,063 patients treated across four first-line trials of
              therapy in the metastatic setting, 153 patients (or approximately 5%) were found to have MSI-
              H/MMRd tumors. 47 In the pooled dataset, median estimated PFS and OS appeared worse for
              patients with MSI-H/MMRd tumors compared with MSS/MMRp (mismatch repair proficient)
              tumors [HR, 1.33; 95% confidence inte1val (CI), 1.12-1.57 and HR, 1.35; 95% CI, 1.13-1.61,
              respectively)]. 47 The figure below shows Kaplan-Meier (KM) cmves for PFS and OS across
              four subgroups by MMRd and BRAF status (BRAF is a known adverse prognostic factor in
              patients with metastatic CRC).

              Figure 8: Pooled PFS and OS results by MSI-H/MMRd (and BRAF) status (copied from
              Venderbosch et al., 2014
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              In another smaller study, 55 patients with MSI-H metastatic colorectal cancer were identified
              out of 870 patients who underwent MSI testing at one of two centers.57 Median survival from
              diagnosis of metastatic disease was 15.4 months (20.2 months from the date of original
              diagnosis).57 The authors concluded that MSI-H does not appear to confer an improved
              outcome in the metastatic setting when compared to historical data. Nevertheless, median
              survival of patients who underwent metastasectomy in this cohort was longer (33.8 months).57
              Longer survival post metastasectomy (compared to survival in patients without oligometastatic
              disease), irrespective of MSI status, is expected based on clinical data in patients with CRC.58
              A report from the Mayo Clinic described similar findings based on a case-control study of 75
              patients with MSI-H metastatic CRC and 75 matched controls with MSS metastatic CRC.59

              Natural history of previously-treated metastatic colon cancer (3rd or greater-line setting),
              unselected for MSI-H/MMRd status
              Outcomes data are available in unselected (for MSI-H/MMRd status) patients with metastatic
              CRC who received prior oxaliplatin, irinotecan, fluoropyrimidine, anti-VEGF, and anti-EGFR
              (if RAS wild-type) therapy. In a randomized clinical trial of patients receiving TAS-102,
              patients in the TAS-102 arm lived for a median of 7.1 months versus 5.3 months in patients
              who received placebo (HR 0.68; 95% CI, 0.58 to 0.81; p < 0.001).60,61 Median estimated PFS
              was 2 months and the objective response rate was 1.5% for patients in the TAS-102 arm.
              Efficacy results were similar in the randomized clinical trial supporting the approval of
              regorafenib. Median overall survival was 6.4 months in the regorafenib arm versus 5.0 months
              in the placebo arm. Median estimated PFS was 2.0 months in the regorafenib arm and the
              objective response rate was 1% (HR 0.77; 95% CI, 0.64, 0.94; p = 0.0102).62,63

              Overall survival was assessed in a randomized non-inferiority clinical trial of cetuximab versus
              panitumumab in patients with KRAS exon 2 wild-type metastatic CRC who received prior
              irinotecan, oxaliplatin, and a fluoropyrimidine. Approximately 25% of the population received
              prior bevacizumab. Median estimated survival was 10.4 months for patients who received
              cetuximab versus 10 months in patients who received panitumumab.64 Response rates across
              both arms were approximately 20%; however, per the published report, duration of response in
              both arms was less than 6 months (3.8 months for panitumumab versus 5.4 months for
              cetuximab).64 An additional factor in (historical) comparisons of EGFR-inhibitors versus PD-1
              inhibition in patients with MSI-H/MMRd CRC relates to sidedness of the patients’ tumors. As
              stated above, MSI-H/MMRd tumors are more commonly located on the right side of the colon;
              however, survival of patients with right sided tumors appeared shorter in cetuximab-treated
              patients compared to patients who received bevacizumab in a subgroup analysis of
              CALGB/SWOG 80405 (a large cooperative group trial).65 Although there are limitations to
              post hoc subgroup analyses, similar results have been described in other studies.66-69 Current
              guidelines for the treatment of colon cancer now state that “these and other data suggest that
              cetuximab and panitumumab confer little if any benefit to patients with metastatic colorectal
              cancer if the primary tumor originated on the right side.”70

              In summary, available data suggest that patients with metastatic CRC who have received
              irinotecan, fluoropyrimidine, and oxaliplatin-based chemotherapy have a poor prognosis,
              irrespective of MSI-H/MMRd status, and that response rates are low with TAS-102 and



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              regorafenib (standard available therapies). Although EGFR inhibitors (in patient who had not
              received prior EGFR inhibitors) resulted in higher response rates in patients with RAS wild-
              type tumors, durability of response was limited and the effect of EGFR inhibition may be
              blunted in patients with right sided tumors (the majority of patients with MSI-H/MMRd
              mCRC). Based on these data and the data supporting the use of pembrolizumab (generally in
              the third or greater-line settings) in patients with metastatic CRC (see Section 7 below), it is
              appropriate to approve pembrolizumab in patients who have received prior irinotecan,
              fluoropyrimidine, and oxaliplatin-based chemotherapy. The response rates (and data on
              response duration) in this group of patients with MSI-H/MMRd CRC support a conclusion that
              pembrolizumab confers a meaningful advantage over available therapy.

              Natural history of MSI-H/MMRd endometrial cancer and previously-treated endometrial
              cancer
              The following summarizes recently published studies investigating outcomes in patients with
              MSI-H/MMRd endometrial cancer:
                 GOG conducted an analysis of patients with endometroid endometrial carcinomas and
                  assigned 1,024 tumors to one of four MMR classes.71 Approximately 36% of the patients
                  were considered as MSI-H/MMRd (either through mutation or epigenetic mechanisms).71
                  The paper stated that MMR status was not associated with outcomes on PFS or
                  endometrial cancer-specific survival; however univariate analysis suggested worse PFS for
                  women whose tumors had epigenetic defects conferring MMRd (but not MMR through
                  probable mutation).71 The investigation also found that MMR defects were associated with
                  clinical features that portend poor outcomes.71 Few patients (18) had stage IV disease in
                  this report, including only five with MMR defects.
                 A smaller Lithuanian study of 109 patients with endometrial cancer also did not find a
                  statistically significant relationship between MSI-H status and survival in patients with
                  endometrial cancer.72 Like the GOG study, the majority of patients had early stage disease
                  (~80% had Stage I) and only 4 had Stage IV disease.72
                 A Spanish study of 212 patients with endometroid endometrial carcinomas also found no
                  association between MMR deficiency and OS or PFS either as a whole or when analyzed
                  by stage [I, I/II or III/IV (18 patients had Stage IV disease)].73
                 In contrast, an earlier (2013) report stated that MMRd was associated with worse outcomes
                  in patients with Stage III or IV high-grade endometroid carcinomas (HGEC); however the
                  KM analyses were limited to 27 patients (12 MMRd) with Stage III or IV disease.74

              A 2013 meta-analysis of studies investigating the effects of MMRd on outcomes in
              endometrial cancer concluded that “the existing literature together with data from this review
              is inconclusive and show that no consistent association between MSI and clinical outcome can
              be ascertained as of yet in endometrial cancer.”75 The meta-analysis found differences in
              populations studied (e.g., endometroid histology versus all histologies), assessments for MSI-
              H/MMRd, study designs, and outcomes across studies.75

              Therapeutic options are limited in patients with endometrial cancer who have received prior
              cytotoxic chemotherapy for metastatic disease. Reported response rates have generally been



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              15% or less; however, one report described a 27% response rate for paclitaxel in the second-
              line setting.76 Nevertheless, in the paclitaxel report with the highest reported response rate
              (described in a treatment-evaluable population and not an ITT population), median duration of
              response was only 4.2 months and median overall survival was 10.3 months.77 Responses rates
              in the paclitaxel report were per the GOG response criteria and therefore may not have been
              comparable to other reports (and the pembrolizumab data) that used RECIST criteria.

              In summary, data on MSI-H/MMRd endometrial cancer in the metastatic setting are limited. I
              agree with the quoted comment above that “the existing literature together with data from this
              review is inconclusive and show that no consistent association between MSI and clinical
              outcome can be ascertained as of yet in endometrial cancer.” In unselected patients with
              previously treated metastatic endometrial cancer, survival is expected to be poor for most
              patients. There are no approved therapies in this setting and available therapies are generally
              based on uncontrolled single-arm studies. The therapy with the highest reported response rate
              in the second-line setting (paclitaxel) had limited durability of response and the responses may
              not be comparable to what would be observed in current practice (e.g., RECIST responses in
              an ITT or as-treated population).

              Natural history of MSI-H/MMRd gastric cancer
              Data regarding outcomes in patients with MSI-H/MMRd gastric cancer in the metastatic
              setting are limited. A recent report from Italy found that prognosis was favorable for patients
              with defective MMRd gastric cancer in the first-line metastatic setting; however, only 15 of
              the 103 patients had MMRd disease.78 Although MMR was reported to have a favorable
              prognosis, median survival of the 15 patients was only 14.2 months, and the KM curves
              showed that all 15 patients died within 20 months.78

              Figure 9: KM curves by MMR status, metastatic gastric cancer (copied from Giampieri
              et al., 2017)
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              Green" curve is "MMRd "

              A different Italian study of 472 patients with gastric cancer also concluded that MSI-H/MMRd
              was associated with better prognosis; however, most patients in this series underwent curative
              resection (i.e., 80% of the 111 patients with MSI-H/MMRd tumors underwent R0 resection)
              with only 9 (8.1%) patients with MSI-H/MMRd tumors having stage IV disease versus 77
              (21.3%) patients with MSS disease (survival of patients with stage IV disease was not
              described).79




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              Zhu at al. (2015) performed a meta-analysis of 8 studies that enrolled 1,976 patients with
              gastric cancer (431 were MSI-H/MMRd).80 The investigators found associations between
              MSI-H/MMRd (assessed using different numbers of microsatellite markers across studies) and
              fewer lymph node metastases and tumor histology (intestinal type). In the meta-analysis,
              patients with MSI-H tumors undergoing a surgical treatment strategy had improved survival
              compared to MSS gastric cancer.80 The paper did not describe the number of patients with
              metastatic disease enrolled across the studies; however, the number would be expected to be
              low given the primary treatment strategy for patients described in the meta-analysis.

              A larger meta-analysis of 5,438 patients (712 had MSI-H tumors) with gastric cancer also
              concluded that MSI-H was associated with a favorable prognosis (HR of 0.72 in a random
              effects model for OS); however, the meta-analysis found heterogeneity in the results of the
              studies, possibly related to differences in epidemiology or due to chemotherapy.81 A separate
              analysis (by many of the same authors) of 1,276 patients with Stage II or III gastric cancer
              suggested that the benefits of MSI-H (for prognosis) may be attenuated by chemotherapy.82
              Again, data regarding MSI-H was largely restricted to patients undergoing curative resection.

              In summary, it is difficult to articulate any conclusions regarding the natural history of patients
              with MSI-H/MMRd gastric cancer in the metastatic setting. MSI-H/MMRd may be a favorable
              prognostic marker in patients with completely resected gastric cancer; however, it is unclear if
              this effect persists in patients with metastatic gastric cancer.

              Natural history of previously-treated metastatic gastric cancer unselected for MSI-H/MMRd
              status
              Although data were limited regarding outcomes of patients with metastatic MSI-H/MMRd
              gastric cancer, survival of unselected (for MSI status) patients with previously-treated gastric
              cancer remains poor. Estimated median OS of patients who received ramucirumab, the drug
              most recently approved for gastric cancer was 5.2 months as a single agent or 9.6 months in
              combination with paclitaxel.83-85 The KM curves below show that virtually all patients in both
              trials had died by the second year on study. Although the estimated response rate was 28%
              when ramucirumab was administered in combination with paclitaxel, median duration of
              response was 4.4 months for this combination, indicating that response duration was generally
              limited.85




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              Figure 10: KM curves for OS in two trials of ramucirumab for the second-line treatment
              of gastric cancer (copied from Casak et al., 2015)
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              Natural history of MSI-H/MMRd in other cancers
              Data regarding the natural history of other cancers that are MSI-H/MMRd are limited or
              anectodal.

              Biliary tract cancers
              One report of 59 patients who underwent surgical resection for gall bladder cancer found that
              patients with MSI-H gall bladder cancer had an improved prognosis.86 There is lack of data,
              however, regarding patients with MSI-H/MMRd biliary tract cancers in the metastatic setting.
              Survival is poor in unselected (for MSI-H/MMRd) patients with biliary tract cancers. In the
              trial that established gemcitabine plus cisplatin as the standard of care for patients with
              previously untreated biliary tract cancers, median overall survival was 11.7 months in the 204
              patients who received cisplatin in combination with gemcitabine.87 Response rates and
              outcomes are worse in the second-line setting. A systemic review of 25 literature reports
              describing effects of various second-line therapies estimated that approximately 7.7% of
              patients respond with a reported mean overall survival of 7.7 months.88 The review concluded
              that there was insufficeint evidence to recommend any specific second-line therapy.88

              Ovarian cancer
              Limited data exist regarding the natural history of MSI-H/MMRd in patients with ovarian
              cancer. One report found prognosis to be worse for patients with MSI-H ovarian cancer (in
              early and late stage disease); however, the number of patients in the analysis was limited (n =
              26 for Stage III disease).42

              Pancreatic cancer
              One study, published in abstract form, assessed MSI-H/MMRd in 109 patients with pancreatic
              cancer.89 Although MSI-H-positivity was 25% or more in patients with Stages I to III
              pancreatic cancer, only 4% of patients with metastatic disease had MSI-H/MMRd tumors.89
              Reported median overall survival was 21.5 months in patients with MSI-H/MMRd disease
              compared to 20.0 months with microsatellite stable disease (the abstract did not provide stage-


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              specific survival).89 Survival in patients with metastatic pancreatic cancer (unselected for MSI-
              H/MMRd) in the second-line setting is poor. Median OS was 6.1 months in the randomized
              clinical trial supporting the use of liposomal irinotecan.90 OS was similar in patients
              randomized to the OFF (folinic acid, fluorouracil, oxaliplatin) regimen in the CONKO-003
              trial (median 5.9 months).91

              Small intestinal adenocarcinoma
              A Korean study identified the loss of expression of MLH1, MSH2 and MSH6 in 25 (13.0%),
              25 (13%) and 29 (15%) of 193 small intestinal carcinoma pathology specimens, respectively.92
              Loss of MSH2 expression was associated with retroperitoneal seeding and loss of MSH6
              expression was associated with a higher frequency of pancreas invasion and a lower frequency
              of peritumoral edema.92 The authors found no difference in OS in patients who were MMRd
              compared to patients who were MMRp.92

              Overall, data are limited in regards to the treatment and prognosis of (unselected) patients with
              small intestinal adenocarcinoma. For small intestinal adenocarcinoma, most data comes from
              retrospective case series or small uncontrolled studies.93 Data in the first-line metastatic setting
              indicate that survival generally appears to be less than two years (although even these
              retrospective reports may overestimate OS due to selection bias)93 and there is no known
              effective treatment for patients with previously treated small intestinal cancer.

              Summary of unmet medical need
              Although standard treatment regimens exist for most patients with advanced or metastatic
              solid tumor malignancies, such treatment generally is not curative and additional treatment is
              needed. In settings where no treatment is available, an argument can clearly be made across
              MSI-H/MMRd tumor types that treatment with pembrolizumab (with the outcomes described
              in Section 7 below) is better than available therapy. Such arguments could also be made in
              settings where the clinical effects of available therapy are modest. A review of the data in the
              sBLA submitted by Merck indicated that patients had received appropriate therapy prior to
              enrolling into the clinical trials.

              Unfortunately, limited data exist regarding outcomes for patients with MSI-H/MMRd tumors
              in the metastatic setting. Nevertheless, at least in the more common tumors that harbor MSI-
              H/MMRd (CRC and endometrial cancer), compelling evidence does not exist that MSI-
              H/MMRd confers a favorable prognosis in the metastatic setting. Due to limited numbers of
              patients with individual MSI-H/MMRd tumor types (outside of CRC or possibly gastric or
              endometrial cancer), due to lack of equipoise in settings without available therapies, and due to
              expected cross-over (if a clinical trial were conducted) it would not appear possible (or
              appropriate) to establish with certainty, i.e., a requirement to conduct a randomized controlled
              trial, that pembrolizumab clearly alters the overall survival of patients with these end-stage
              tumors. Nevertheless, the durable responses (described below) support a beneficial treatment
              effect and favorable risk-benefit profile of pembrolizumab in these patients with life
              threatening malignancies and unmet need.




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              2.3 How will patients with MSI-H/MMRd-positive tumors be identified and will a
              companion in vitro diagnostic test be needed?
              Current guidelines recommend that all patients with colorectal cancer undergo an assessment
              of their tumor for MSI-H/MMRd with either immunohistochemistry (IHC) for MMRd or
              polymerase chain reaction (PCR) for MSI-H.94,95 Further assessment for germline genetic
              testing (for Lynch syndrome) depends upon results observed in the initial tumor screening. For
              example, American Society of Clinical Oncology (ASCO) guidelines recommend testing for
              germline mutations if there is loss of MLH1/PMS2 and absence of a BRAF mutation or if
              MLH1 promotor methylation is not identified.95 Loss of other proteins (MSH2, MSH6, or
              PMS2) should result in germline genetic testing for the corresponding genes.95 Although
              treatment decisions have been made for years based on MSI-H/MMRd testing (e.g., initiating a
              cancer screening program in people with Lynch syndrome), an FDA-approved in vitro
              diagnostic test is not available in order to make these treatment decisions and different
              laboratory developed tests (LDTs) have been used to date.

              MMR testing generally involves an immunohistochemistry assessment for one of four MMR
              proteins: MLH1, MSH2, MSH6, and PMS2. Different PCR tests for MSI are available in the
              community and generally involve testing three to five tumor microsatellite loci (referenced
              from Merck’s submission).

              Differences in IHC and PCR exist regarding test results for certain rare subgroups of patients.
              For example, some patients with MSH6 germline mutations lack MSI (i.e., the tumors are
              microsatellite stable) when assessed via PCR due to a functional redundancy in the MMR
              system.96-98 There are also reports of rare patients with missense mutations (e.g., in MLH1 or
              MSH6) that produce non-functional proteins that stain positive (i.e., are deemed mismatch
              repair proficient) due to their presence when assessed by IHC; however, the tumors are MSI-H
              when assessed by PCR.96-98

              Reports have described prior chemoradiation as affecting IHC results for MMR. In one study,
              MSH6 was reported to decrease in (stain) intensity in patients whose tumors have been subject
              to chemoradiation in the neoadjuvant setting (i.e., patients with rectal cancer).99 Similar
              findings were described by a second group after neoadjuvant chemoradiation for rectal cancer;
              however, differences in IHC staining were not limited to MSH6.100

              Although variations between IHC and PCR may exist, in general, literature reports describe
              high concordance (e.g., > 95%) when the same lab or group assesses both IHC and PCR.101
              Reported problems with IHC include errors in immunohistochemistry misinterpretation or
              technical problems with staining, fixation, or processing.101 Additionally, false reads can occur
              due to staining variability within a tumor, especially if internal controls are not adequate.102
              For PCR, adequate tissue is required to perform the analysis, so discrepant results between
              tests could occur if there is tissue for the IHC test but inadequate tissue for PCR.

              One study assessed concordance between IHC and PCR in 157 patients with endometrial
              cancer with tissue available from a biobank repository. In this study, both MSI and MMR
              could be assessed in 89 patients.103 In all missing cases, there was insufficient tumor available
              for PCR testing (there was insufficient tumor for IHC testing in two cases).103 There were 6


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              discordant results among the 89 cases (>93% were concordant): one due to isolated MSH6 loss
              (see example above); two cases with MLH1 and PMS2 loss (due to hypermethylation) but
              MSI result of MSI-low; and three cases that were MSI-H by PCR but all MMR proteins were
              present by IHC.103 Although not described in the report, POLD and POLE mutations have
              been reported to be potential causes of unexplained MSI-H results in patients with endometrial
              cancers.104-106

              A combined assessment of MMR protein expression and MSI status was performed in 696
              patients (81%) enrolled in two endometrial cancer studies (PORTEC-1 and 2).107 The
              concordance rate between IHC and PCR in this study was approximately 94%.107 In this study,
              most discordant cases appeared related to loss of MMR protein expression and a MSS/MSI-L
              (microsatellite instability-low) phenotype which could be explained by MLH1 promoter
              methylation or variants of MMR proteins.107 Additionally, the investigators found that
              subclonal loss of MMR protein expression was generally associated with subclonal MSI
              within a microdissected area of tumor.107 Finally, in this study, there were two patients who
              were MSI-H who had retained expression of all four MMR proteins. These two patients were
              subsequently determined to have POLE mutations.107

              Limited data are available in regards to testing results across different centers or hospitals
              (most of the above data were published by single groups representing academic medical
              centers). Different centers may use various testing platforms or methodologies. For example,
              certain commercially developed LDTs for MSI use seven markers including five
              mononucleotide repeat markers and two pentanucleotide repeat markers whereas the Bethesda
              panel interrogated three dinucleotide and two mononucleotide repeats.108 Other centers have
              reported tests with more markers109 and differences in sensitivity among tests have been
              described in the literature using different panels of markers.110

              To assess MSI-H testing performance across laboratories, College of American Pathology
              MSI-H proficiency test reports from 2005 to 2012 were summarized in one publication. A total
              of 104 laboratories participated in 2012, up from 42 in 2005.111 The “correct” result in the
              report was considered the consensus result of the laboratories. The number of laboratories
              using five markers increased from 63% in 2005 to 82% in 2012 [most (but not all) of the other
              laboratories used more than 5 markers].111 In 2012, 65% of the laboratories reported using a
              single commercially available LTD to assess for MSI-H.111 In general, “correct” analyses were
              reported in > 95% of laboratories, although differences existed among laboratories (which
              decreased over time) in tissue enrichment techniques (88% used such techniques in 2012)
              including microdissection or laser capture.111 The paper stated that MSI-H may not be detected
              if tumor cellularity is less than 20%.111

              In summary, PCR and IHC are different tests that are generally concordant but identify (even
              in the ideal scenario with 100% reproducible results) slightly different groups of patients.
              Patients with POLE or POLD mutations who are MSI-H might respond to checkpoint
              inhibition, even in the setting of negative IHC testing for MLH1, MSH2, MSH6, and PMS2.
              Conversely, it is unknown how an individual patient would respond to checkpoint inhibition
              whose tumor lacks MSH6 via IHC but is MSS by PCR; tumors from such patients may have a
              lower number of neoantigens and be less responsive. More difficult to interpret may be the



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              uncommon patient whose tumor is MMRd based on lack of staining to MLH1 and PMS2 (via
              hypermethylation) but MSI-L by PCR (e.g., these tumors may exhibit heterogeneity regarding
              MSI-H/MSI-L status).

              Next-generation sequencing (NGS) is also being evaluated as a diagnostic test for MSI-H with
              sensitivity listed as greater than 90% in published reports.112-116 A recent report from the
              Memorial Sloan Kettering Cancer Center compared IHC to a custom NGS 341-gene assay in
              224 patients with CRC. All (of 193) tumors with fewer than 20 mutations were scored as
              MMR-proficient by IHC. Twenty-eight of the 31 tumors with 20 or more mutations were
              MMRd by IHC; the three remaining tumors harbored POLE mutations.117 Challenges have
              been cited regarding NGS testing (compared to IHC) in that testing may require additional
              time, specialized resources, and different NGS panels may have different number of genes,
              techniques, and cut-offs for positive results (i.e., standardization does not exist).118
              Nevertheless, development of a reproducible, accurate, and clinically validated NGS test could
              be desirable, especially for patients with tumors that are already undergoing multiple
              diagnostic tests (e.g., ALK, EGFR, and ROS in lung cancer, or RAS and RAF for CRC). NGS
              may also allow for testing of circulating tumor or plasma cell-free DNA.119

              In practice, it is unlikely that patients will undergo testing with all modalities. As will be
              described in Section 7 below, response rates were similar irrespective of whether the patient
              was identified using either IHC or PCR (when conducted by highly experienced laboratories).
              Such results are expected given that >90% of patients have concordant results when assessed
              by IHC and PCR. If sufficient tissue is available, and the test is accurate (and reproducible),
              PCR may have (slightly) better performance characteristics by identifying the end result
              (higher mutational burden) of MMR deficiency as well as identifying patients who have a high
              mutation burden due to POLE or POLD mutations. IHC may continue to have a role in
              identifying patients; however, given that results can be obtained quickly and specialized
              equipment may not be needed. IHC may also be the only testing method available for some
              patients with limited tumor obtained at biopsy.

              FDA’s 2014 In Vitro Companion Diagnostic Devices Guidance states the following:

                        “When results from a diagnostic device are essential in patient treatment, health care
                        professionals must be able to rely on those results. Inadequate performance of an IVD
                        companion diagnostic device could have severe therapeutic consequences. Such a
                        device might fail analytically (e.g., by not accurately measuring the expression level of
                        a protein of interest), or clinically (e.g., by not identifying those patients at increased
                        risk for a serious adverse effect). Erroneous IVD companion diagnostic device results
                        could lead to withholding appropriate therapy or to administering inappropriate
                        therapy. Therefore, FDA believes that use of an IVD companion diagnostic device with
                        a therapeutic product raises important concerns about the safety and effectiveness of
                        both the IVD companion diagnostic device and the therapeutic product.”

              Consideration of whether a diagnostic device is essential for the proposed indication is
              complicated given the breadth of the proposed tissue-agnostic indication. For some
              indications, knowledge of MSI-H/MMRd status could be considered as complimentary, rather



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              than essential. Such examples include the indications for which pembrolizumab is already
              approved including lung cancer, melanoma, and head and neck cancer. Other tumors; however,
              appear not to respond to single-agent checkpoint inhibition in the absence of microsatellite
              instability. For these tumor types, such as pancreatic cancer or CRC, alternative therapies may
              exist that could provide benefit for these patients (e.g., regorafenib or TAS-102 for patients
              with CRC).

              FDA’s IVD Guidance states that “for a novel therapeutic product for which an IVD companion
              diagnostic device is essential for the safe and effective use of the product, the IVD companion
              diagnostic device should be developed and approved or cleared contemporaneously so that it
              will be available for use when the therapeutic product is approved.” Although FDA generally
              expects that the device be approved contemporaneously with the drug, FDA Guidance states
              that “if the benefits from the use of the therapeutic product are so pronounced as to outweigh
              the risks from the lack of an approved or cleared IVD companion diagnostic device, FDA does
              not intend to delay approval of changes to the labeling of the therapeutic product until the IVD
              companion diagnostic device is approved or cleared.” Given the clear therapeutic effect
              described below in patients with advanced life-threatening malignancies, I recommend
              approval of this efficacy supplement even though a companion IVD is not available to select
              patients with MSI-H/MMRd cancers for treatment with pembrolizumab. Merck has agreed to
              support the development of diagnostic assays consistent with and in support of the approved
              indication (with PMAs to be tentatively submitted in 2019). Although literature generally
              describes concordant results between tests and across centers, most of the literature comes
              from centers which are highly experienced in the testing and treatment of patients with MSI-
              H/MMRd cancers. Ultimately, having accurate and reproducible tests to identify patients
              across all localities, clinics, and hospitals will promote the public health to ensure that patients
              who have MSI-H/MMRd cancers can receive treatment with pembrolizumab whereas patients
              with MSS cancers can receive alternative treatment (or enroll into a clinical trial) if
              appropriate.

              2.4 How will Merck address accelerated approval post-marketing requirements?
              Randomized trials will be challenging to conduct in the tissue-agnostic setting. Given the
              number of tumor types with different natural histories, it would not be scientifically
              appropriate to “lump” all tumor types together into a single randomized trial. Although there is
              a common biology (e.g., increased neoantigen burden) among MSI-H/MMRd tumors, there
              will be differences among patients with different types of cancer that could influence response
              to therapy with pembrolizumab (e.g., the degree of immunosuppression related to previous
              cytotoxic chemotherapy).

              Accelerated approval offers the ability to bring drugs to the market earlier and could be
              granted if the drug effect provides a meaningful advantage over available therapy and
              demonstrates an effect on a surrogate endpoint that is reasonably likely to predict clinical
              benefit or on a clinical endpoint that can be measured earlier than irreversible morbidity or
              mortality that is reasonably likely to predict an effect on IMM or other clinical benefit (i.e. an
              intermediate clinical endpoint).120




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              When considering the data necessary for regular approval, the FDA considers the effect size
              observed in the specific population(s) and whether that effect supports regular approval. The
              FDA will need to consider whether it would be scientifically appropriate to require a
              randomized trial and whether patients would even elect to be randomized (e.g., is there
              equipoise?). Merck is conducting a randomized trial (KN-177) in the first-line metastatic
              colorectal cancer setting (with crossover allowed after progression on standard
              chemotherapy).121 The trial will assess PFS in patients with MSI-H/MMRd metastatic CRC
              receiving pembrolizumab versus investigator’s choice of standard-of-care chemotherapy (i.e.,
              FOLFOX or FOLFIRI-based chemotherapy).121 Although the trial will answer an important
              clinical question, it is unlikely that the trial will be adequately powered, especially in the
              setting of crossover, to assess whether pembrolizumab improves overall survival. Furthermore,
              given changes in standard treatment guidelines (which allow for the use of pembrolizumab or
              nivolumab in patients with MSI-H CRC)70 it is not realistic (and probably not ethical) that a
              trial could be conducted in the United States that prohibits cross-over. Although response may
              not be entirely predictive of effects on clinical benefit, checkpoint inhibitor therapy, including
              pembrolizumab, has demonstrated beneficial effects on OS with similar response rates in other
              tumor types.122-132

              The FDA granted regular approval to crizotinib for the treatment of ROS1-rearranged
              metastatic NSCLC, based on a high response rate (66%), duration of response of 18.3 months,
              and a favorable risk-benefit ratio with comparative clinical data also available from two
              randomized controlled trials in patients with ALK-positive NSCLC.133-135 A recently published
              review from the FDA summarized that in certain circumstances, particularly in rare cancer
              subsets when the drug has demonstrated safety and efficacy in other settings, ORR and
              duration of response have been used for regular approval.135 This application, with the
              observed (durable) effect on overall response rate (ORR) (including complete responses, see
              below) in very rare groups of patients (e.g., MSI-H/MMRd pancreatic cancer or biliary
              cancer), and with demonstrated safety and efficacy in other settings, highlights this approach.

              Although the proposed endpoint of ORR (which is an endpoint that is “other than survival or
              irreversible morbidity”) may support regular approval depending on the effect size and
              duration, additional data will provide data to verify and describe the ultimate clinical benefit in
              an expanded population.

              Granting accelerated approval allows for residual uncertainty to be addressed regarding the
              tissue-agnostic indication. Given the totality of data (scientific and clinical) submitted in this
              application, I believe that such an approach is appropriate rather than requiring a large number
              of additional patients to be enrolled in the pre-approval setting. Data submitted post-approval
              will allow for increased confidence in the data across multiple tumor types, some of which
              have not yet been studied. During the February 13, 2017, meeting between Merck and FDA,
              Merck provided the following table indicating that 416 patients have received pembrolizumab
              for MSI-H/MMRd tumors in clinical trials. In order to support regular approval, Merck
              proposed submitting data from these patients across at least 20 tumor types with at least 24
              months of follow-up.




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              Table 1: Enrollment of patients with MSI-H/MMRd tumors in Merck’s development
              program (copied from Merck’s submission)
                                                                  Enrollment by Trial (As of21-Dec-16and PersBLA)
                                 KN016A        KN164        KN016C           KN012            KN028            KN158     KN177       Total
                              Asof21- #Per Asof21- #Per Asof21-   #Per Asof21- #Per Asof21 - #Per Asof21 - #Per Asof21- #Per     Asof21- #Per
                              Dec-16 sBLA Dec-16 sBLA Dec-16      sBLA Dec-16 sBLA Dec-16 sBLA Dec-16 sBLA Dec-1 6 sBLA           Dec-16 sBLA
                                                                                                                                             (b) (4)




              I am generally supportive of Merck’s proposed post-marketing requirement (PMR)
              submission. There will be a limited number of patients with certain tumor types; however,
              when analyzed in aggregate, the overall pattern of responses should be sufficient to support the
              tissue-agnostic approach. The most common MSI-H/MMRd tumor types will each have 20 or
              more patients enrolled (except small bowel cancer with 18 patients, acknowledging that this is
              a rare cancer). Lack of a response in single enrolled patients with a tumor type (e.g., testicular
              or salivary gland tumor) would not necessarily indicate that other patients with that tumor type
              would be unresponsive.

              Ultimately, real world data may be useful in the unexpected scenario where there is a specific
              MSI-H/MMRd tumor type that may unresponsive to checkpoint inhibition.135,136 Such an
              approach, either through the accelerated approval PMR or through real world data could, if
              necessary, facilitate revisions to labeling (e.g., to include a limitation of use with a specific
              tumor-type). Nevertheless, I agree with the approach to grant accelerated approval with a PMR
              to obtain additional data on ORR and response durability given that pembrolizumab will be
              approved for patients, who in essence, have no effective available therapies and who would
              ultimately die of their malignancy.

              Merck has already enrolled the majority of patients in order to satisfy the PMR. Merck has
              agreed to enroll additional patients with prostate cancer, thyroid cancer, small cell lung cancer,


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              and ovarian cancer in order to further assess clinical effects in tumor types less commonly
              affected by microsatellite instability. Merck will also enroll children with MSI-H/MMRd
              cancers to further verify and describe the benefit of pembrolizumab across the entire spectrum
              of patients with MSI-H/MMRd cancers.

              2.5 Pediatric considerations
              Prior to submission of the sBLA, Merck and FDA reached agreement upon an initial pediatrics
              study plan (iPSP) (submitted on August 30, 2016) for MSI-H CRC. In the original sBLA
              submission for the tissue-agnostic indication,
                                                                                                   (b) (4)




              Based on the mechanism of action and dose comparability of pembrolizumab in adolescents
              versus adults, during the review of the application, DOP2 (Division of Oncology Products 2)
              proposed to label pembrolizumab for the treatment of patients with eligible MSI-H/MMRd
              cancers aged 12 years and older (e.g., adolescents and adults). FDA took a similar approach in
              the approval of avelumab (a PD-L1 inhibitor) for the treatment of patients (12 years of age and
              older) with metastatic Merkel cell carcinoma.137 FDA also published a review to support the
              derivation of adolescent dosing of drugs from data in adults and that 87 out of 92 products had
              identical adolescent and adult dosing.138

              Subsequent to the decision to approve pembrolizumab for the treatment of patients with
              eligible MSI-H/MMRd cancers aged 12 years and older, FDA approved (March 2017)
              pembrolizumab (accelerated approval) for the treatment of adult and pediatric patients with
              classical Hodgkin lymphoma.139 This approval provided for a dose to be used in children (2
              mg/kg, up to a maximum of 200 mg every three weeks). As part of this approval, Merck is
              conducting a post-marketing requirement to characterize the long-term safety of
              pembrolizumab in pre-pubertal patients. Commensurate with this approval in patients with
              classical Hodgkin’s lymphoma, FDA will also approve pembrolizumab for younger children
              with MSI-H/MMRd cancers; therefore, PREA requirements are satisfied. Based on the biology
              of MSI-H/MMRd malignancies, I would not expect quantitative differences in anti-tumor
              responses between adult and pediatric patients with MSI-H/MMRd cancers and therefore
              extrapolation would be appropriate. Although PREA is satisfied, Merck will study pediatric
              patients with advanced MSI-H/MMRd cancers as part of the Subpart E PMR in order to
              further verify and describe the clinical benefit of pembrolizumab.

              MSI-H/MMRd in pediatric cancer
              The overall incidence of MSI-H/MMRd cancers in pediatric patients is expected to be low.
              Merck estimates that fewer than 400 children per year will be diagnosed with advanced MSI-
              H/MMRd cancers in the U.S. based on the rates of MSI-H/MMRd across various adult tumors
              and based on the incidence rates of various malignancies in children.

              Most published reports of MSI-H/MMRd cancers in children involve reports of constitutional
              mismatch repair deficiency (CMMRD) or biallelic mismatch repair deficiency (BMMRD),


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              respectively. In one report, twelve of 24 patients with available GI screening data developed
              GI malignancies and GI cancers made up 40% of the malignancy diagnoses in the overall
              population with BMMRD.140 Patients without colorectal neoplasia had undergone a single
              baseline colonoscopy. Eight of the 24 patients developed 19 primary colorectal cancers and the
              age of the patients ranged from 8 to 25 years.140 Four patients also developed five small bowel
              cancers.140 The report recommended screening for CRC at age 3 to 5 and screening for small
              bowel adenocarcinoma at age 8.140

              A second report described a review of records from 31 French patients with CMMRD.141
              These 31 patients developed a total of 67 tumors including 22 brain tumors, 17 hematological
              malignancies and 3 sarcomas.141 The median age of onset until the first tumor was
              approximately 7 years.141

              A summary of 146 patients with CMMRD has also been reported. In the report, 139 patients
              developed 223 malignancies (with multiple synchronous colon cancers counted as one
              malignancy).142 A total of 81 brain/CNS tumors were identified in 78 patients including 34
              glioblastomas.142 The report stated that a total of 88 Lynch syndrome-associated malignancies
              were diagnosed in 59 patients (mostly CRC).142 Hematologic malignancies tended to occur in
              young patients (mean age 6 years) whereas the mean age at brain tumor diagnosis was 9 years
              and the mean age for Lynch Syndrome-associated tumors (e.g., CRC) was 17 years.142

              Development of pembrolizumab in children with cancer and in children with MSI-H/MMRd
              cancers
              Merck has investigated the effects of pembrolizumab in an ongoing dose finding and activity
              estimating trial (KN51) in patients with advanced melanoma or PD-L1-positive advanced,
              relapsed, or refractory solid tumors or lymphomas. As described during the 2016 International
              Society of Paediatric Oncology (SIOP) and ASCO meetings, KN51 is enrolling patients aged 6
              months to less than 18 years with advanced melanoma or with PD-L1-positive advanced,
              relapsed, or refractory solid tumors or lymphoma that is incurable and has progressed on prior
              therapy or for which standard therapy is either unavailable or inappropriate.143,144 Patients are
              also required to have measurable disease per RECIST v1.1 (or MIBG-positive for
              neuroblastoma), known tumor PD-L1 status using IHC (prescreening), and performance score
              ≥ 50 using Lansky Play Scale (aged ≤ 16 years old) or Karnofsky Scale (aged > 16 years).143
              The starting dose for the trial was 2 mg/kg every three weeks with dose escalation permitted if
              the 2 mg/kg dose was considered safe and if exposure at the starting dose was < 50% of the
              adult value.143

              During a face-to-face meeting with Merck held on February 13, 2017, Merck provided an
              update regarding the pediatric program which also allowed for potential investigation in
              patients with PD-L1-negative tumors. Merck stated that the recommended pediatric dose has
              been determined (2 mg/kg every three weeks) and that 83 patients had been enrolled. To
              support an assessement of pembrolizumab in children with MSI-H/MMRd cancers, Merck
              proposed enrolling a cohort of 25 pediatric patients with MSI-H/MMRd cancers (any solid
              tumor indication) via an amendment to KN51.




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              Given the clinical effects of pembrolizumab observed to date in adults with refractory MSI-
              H/MMRd solid tumors, I agree that pembrolizumab should be approved (for children with
              refractory metastatic cancers without alternative treatment options) prior to the completion of
              the enrollment of the pediatric MSI-H/MMRd cohort. Data regarding the effects on pre-
              pubertal children will be obtained via a PMR for Hodgkin lymphoma and in other patients
              enrolled in KN51. Data (reviewed in the classical Hodgkin lymphoma application) appear to
              show that the 2 mg/kg dose (every three weeks) in younger patients is comparable to exposure
              obtained with adult dosing regimens.143

              Overall, there may be some differences regarding the effects of pembrolizumab in adult and
              pediatric patients who are MSI-H/MMRd depending on the number of patients enrolled with
              CMMRD tumors who are, for example, more likely to develop CNS tumors. Case reports have
              been published regarding the effects of nivolumab (a different anti-PD-1 inhibitor) in patients
              with CMMRD-CNS tumors. One report described two siblings (with POLE mutations) with
              recurrent multifocal GBM refractory to standard therapy who responded to nivolumab.11 A
              different report; however, described severe cerebral edema in a 10 year old girl which was
              diagnosed after nivolumab administration.145 After hemiparesis improved and she was
              discharged on dexamethasone, she developed severe edema again after a second nivolumab
              infusion and she subsequently died.145 Autopsy revealed a large glioma which protruded 11.5
              by 9 by 2 cm from the craniectomy site and extended down to involve the midbrain and pons.
              There was some necrosis but no atypical inflammation noted on histopathology.145

              In order to assess the safety of pembrolizumab in children with MSI-H/MMRd primary CNS
              tumors, additional patients will be studied with these cancers as a (FDAAA) post-marketing
              requirement. Given the dismal prognosis of glioblastoma, it is reasonable to continue to study
              pembrolizumab in these patients, even with a possible risk of life threating cerebral edema. If
              the risk is real (it is difficult to ascertain causality or risk based on a single report), it will be
              worthwhile to ascertain whether any factors (e.g., tumor size or location) could mitigate this
              risk so that patients and parents can make an informed decision regarding therapy.

              2.6 Regulatory history
              The following summarizes the pertinent regulatory history and meetings held in support of this
              efficacy supplement.

              12 May 2015 (Type B): Merck submitted this meeting request to discuss KN164 to support
              accelerated approval of pembrolizumab for patients with MSI-H/MMRd CRC. During the
              meeting, Merck provided preliminary data from KN16 from 11 patients with MSI-H CRC, 21
              patients with MSS CRC, and 9 patients with MSI-H/MMRd non-CRC. No responses were
              observed in 18 evaluable patients with MSS CRC. Four of 10 evaluable patients with MSI-
              H/MMRd CRC responded and 5 of 7 patients with MSI-H/MMRd non-CRC responded. FDA
              stated that whether KN164 could support approval would depend on the magnitude of the
              response rate observed, duration of response, and the overall risk-benefit assessment. FDA
              recommended that Merck rule out at least a 15% response rate based on the lower bound of the
              95% confidence interval of the response rate.




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                                                                                                       (b) (4)




              FDA recommended that Merck consider allowing patients with HIV on HAART and an intact
              immune system to enroll into KN164. Additionally, FDA recommended that Merck enroll
              patients with (MSI-H/MMRd) small intestinal cancer and other gastrointestinal malignancies
              in a dedicated protocol to expedite development of pembrolizumab in these patient
              populations.

              10 Jul 2015 (Type B): FDA and Merck met to discuss the design of KN158 which included
              patients with non-colorectal tumors identified as MSI-H/MMRd.

              29 Oct 2015 (letter to Merck): FDA granted Breakthrough Therapy designation (BTD) to
              pembrolizumab for the treatment of patients with MSI-H metastatic colorectal cancer. FDA
              granted BTD based on Merck’s submission dated 03 Sep 2015 that contained data in both
              patients with CRC and non-CRC (whose tumors were MSI-H).
              11 Nov 2015 (letter to Merck): FDA provided agreement to a pediatric study plan that
                                                                   (b) (4)




              13 Jul 2016 (Type B, pre-sBLA): In the meeting package and in a 6 Jul 2016 update, Merck
              provided an update of the clinical data from patients with MSI-H/MMRd cancers. FDA stated
              that pending review of the data, the application could potentially support the approval of
              pembrolizumab for the treatment of patients with metastatic, MSI-H/MMRd cancers, agnostic
              of tumor type. FDA informed Merck that the Agency would consider accelerated approval as
              an option given that limited data would be available from patients with certain tumor types
              (e.g., prostate cancer). FDA acknowledged that challenges may exist in conducting
              randomized trials in certain groups of patients with MSI-H/MMRd tumors and would consider
              what data would be necessary to support regular approval during the review of the sBLA.

              During the meeting, to facilitate review of the data across trials, FDA requested submission of
              a single dataset containing demographic and response data. FDA also requested that Merck
              provide a discussion in the sBLA regarding the potential reason(s) for the differences in the
              response rates between KN16 and KN164 and whether it is scientifically appropriate to pool
              the data to provide an estimation of the ORR. FDA asked whether differences in dose could
              potentially account for the differences in ORR.

              1 Aug 2016 (letter to Merck): FDA granted BTD to pembrolizumab for the treatment of
              patients with unresectable or metastatic non-colorectal MSI-H/MMRd positive cancers who
              have disease progression on or who have no satisfactory alternative treatments.

              26 Oct 2016 (face to face Application Orientation Meeting): Merck provided an overview
              of the application including updated ORR and duration of response data from KN164 and
              KN158. Merck provided their justification for the 200 mg flat dose and information regarding
              MSI-H/MMRd testing methods. FDA and Merck held a discussion regarding revised pediatric



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              plans to address the tissue-agnostic indication and the submission of confinnato1y data in the
              post-approval setting.

              13 Feb 2017 (face to face meeting with Merck): Merck provided the following:
              •   Data regarding the biology ofMSI-H/MMRd indicating why MSI-HIMMRd is an
                  independent marker for response.
              •   Info1mation pertaining to proposals for post-approval pediatric and confinnato1y trials.
              •   Updated summaiy data from multiple clinical trials to supp01t their position that 200 mg is
                  a safe and effective dose for tl1e proposed indication. This included updated data from
                  KN164, KN158, KN59, and data from a French trial that investigated the effects of
                  pembrolizumab in six subjects.
              •   Summa1y PK data to suppo1t their position.
              FDA stated that Merck could submit this data in suppo11 ofFDA 's consideration regai·ding the
              Dosing and Administration section of product labeling; however, the totality of the
              info1mation (and data) would likely need to be reviewed under a major amendment. Merck
              acknowledged FDA' s position and planned to submit the data prior to the PDUFA deadline.

              13 Mar 2017 (letter to Merck): FDA issued a major amendment letter based on Merck's 8
              Mai· 2016 submission extending the user fee goal date until 9 Jun 2017.

              2. 7 Application history
              The following table summarizes the contents of amendments submitted to the BLA efficacy
              supplement.

              Table 2: BLA submission history
                   Date of
                               Purpose of Submission
                 Submission
                  8 Sep 2016        Submission of the efficacy supplement for MSI-H/MMRd cancers.
                                    Clarification of subject identifiers used in KNl 64 (submitted in response to an
                  11 Oct 2016       FDA info1mation request during a telephone conference with Merck on 26 Sep
                                    2016).
                                    Merck submitted datasets in Module 5.3.5.3, one containing tumor response
                  12 Oct 2016       data (with duration ofresponse) and one containing subject-level demographic
                                    infonnation. Merck also provided a revised sn1dy repo1t.
                                    Merck provided a response regarding inconsistencies identified by FDA
                  12 Oct 2016       between the CRFs and the datasets related to investigator assessments of
                                    immllile-related response critelia from KNl 6.
                                    Submission of conected patient CRFs following Merck's intenogation of the
                                    source of inconsistencies in CRFs in KN16 (compared to the datasets) as well as
                                    actions undertaken in order to fmther velify data from KN16. The 12 Oct 2016
                  2 Nov 2016
                                    and 2 Nov 2016 submissions were in response to an FDA information request
                                    dated 23 Sep 2016 and two telephone conferences between FDA review staff
                                    and Merck.




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                    Date of
                                    Purpose of Submission
                  Submission
                                    Response to an FDA infonnation request dated 7 Nov 2016 for demographic
                                    data, PK data (if available), and efficacy data including ORR results per visit,
                 14 Nov 2016
                                    OS, and PFS of patients with MSI-H/MMRd tumors in KN158, KN12, and
                                    KN28.
                                    Submission of revised labeling containing changes based on FDA approval of
                 16 Nov2016
                                    sBLAs S-8 and S-12.
                                    Based on a 7 Nov 2016 infonnation request, Merck submitted sensitivity
                 21 Nov2016         analyses to explore influences of patient characteristics, study design, and dmg
                                    exposure on ORR, PFS, and OS across sn1dies submitted to the sBLA.
                                    Merck provided the updated safety and efficacy reports to the sBLA with
                 23 Nov 2016        updated Modules 2.7.4 and 2.7.3. Merck also submitted updated datasets to
                                    SUPP0lt the repo1ts.
                                    Merck provided a case repo1t tabulation dataset package for KN158 in response
                 30 Nov 2016
                                    to a 7 Nov 2016 FDA info1mation request.
                                    Merck provided updated analyses pe1tinent to FDA's 7 Nov 2016 info1mation
                  6 Dec 2016        re.quest with data presented in the efficacy update repo1t submitted to FDA on
                                    23 Nov 2016.
                                                                                                               (b) (4)

                                                                                                            (b) (4)
                  16 Dec 2016
                                                                 JMerck stated that a new initial PSP will be
                                    submitted at a later date.
                                    Merck provided a response to a 7 Dec 2017 info1mation request regarding MSI-
                                    H/MMRd testing status; per-subject listings of prior lines of therapy from
                 22 Dec 2016
                                    patients in KN16C; and llllderlying cancer types of patients enrolled across
                                    Merck's clinical trials.
                                    In response to FDA's 21 Dec 2017 infonnation request, Merck provided an
                                    explorato1y analysis of ORR in patients with MSI-H/MMRd tumors by PD-Ll
                  11 Jan 2017
                                    sta.tus. Merck also provided a summary table of ORR by type of test used to
                                    select patients.
                                    To facilitate discussion regarding a Subpait E confinnato1y trial, FDA requested
                                    that Merck submit an update regarding the totality of patients emolled in the
                  18 Jan 2017       MSI-H/MMRd program (including number of patients enrolled with specific
                                    types of tumors). This ainendment to the sBLA provided an update of patient
                                    emollment.
                                    Merck provided a sununa1y of the known clinical effects of pembrolizumab
                                    ainong the predominant tumor types investigated in the MSI-H/MMRd
                  23 Jan 2017
                                    application (comparing the results in patients with MSI-H to patients with MSS
                                    tumors).
                                    Merck provided response rates in patients tested by IHC alone, PCR alone, and
                 22 Feb 2017        tested by both ICH and PCR. Merck also provided response rates sepai·ately
                                    across all patients, bv the 10 mg/kg dose, and bv the 200 mg flat dose.
                                    Merck provided slides presented dming the 13 Feb 2017 meeting between the
                  3 Mai· 2017       FDA and Merck and a White paper describing the relationship between PD-Ll
                                    expression and MSI-H/MMRd biomarkers.
                                    Merck provided a response to FDA's proposed Postmai·keting
                  7 Mar 2017        Requirements/Commitments and proposed milestone dates for each.




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                    Date of
                                    Purpose of Submission
                  Submission
                                    Merck provided their justification (including new data) as to why Merck
                                    believes the 200 mg flat dose is the approp1iate safe and effective dose. Merck
                  8 Mar 2017        also provided PBPK analysis datasets and their rationale to support their
                                    position that PD-1 is saturated at trough steady state concentrations of
                                    pembrolizmnab at doses of 200 mg eve1y three weeks.
                                    Merck provided updated datasets for KN158 and KN164 to suppo1t the updated
                 22 Mar2017
                                    ORR efficacy analvses.
                 24 Mar 2017        Merck orovided uodated labeling.
                                    Merck provided updated language and milestone dates for the PMCs to assess
                  2 May2017
                                    for MSI-H and MMRd.
                 15 Mav 2017        Merck submitted amended labeling following the aooroval of sBLA S-16.
                 16 May 2017        Merck submitted an amended Medication Guide.
                                    Based on an FDA information request dated 17 May 2017, Merck provided
                 18 May 2017        updated language and milestone dates for the PMCs to assess for MSI-H and
                                    MMRd.
                                    Merck submitted updated labeling following the approval of sBLAs S-17 and S-
                 22 May 2017
                                    18.
                                    Merck provided updated language and milestone dates for the Subpa1t E PMR
                 22 May 2017        and the PMR to assess safety in pediatric patients with p1imaiy CNS
                                    maliimancies.


              3.CMC
              Dr. Mark Paciga agreed with Merck's request for a categorical exclusion from the
              enviromnental assessment and that appropriate drng product supplies were used in the clinical
              trials.

              According to the CMC review, the drng substance (DS) used in certain clinical trials
                                                                          (b) (4)
              (including KNl 64) was manufactured at                              which is not approved for
              commercial release. According to the CMC review, Merck provided data from release testing,
              extended characterization studies, forced degradation studies and stability studies to
              demonstrate that this material is comparable to the licensed product (IND 11 0,080, SD# 1095),
              and that the drng product manufactured from the .(b) (4) DS is sufficiently representative of the
              commercial material for use in pivotal clinical studies.

              According to the CMC review, it was not clear whether the DS used to manufactme the dtug
              product (DP) in the pembrolizumab 50 mg/vial used in KN16 was manufactured at clinical
                (b) (4)
                        or licensed sites. However, given that the pembrolizumab dtug product manufactured
                        (b) (4)
              from.             DS is sufficiently representative of the commercial material, the use of these
              products was considered acceptable.

              4. Nonclinical Pharmacology/Toxicology
              This section is not applicable to this efficacy supplement.




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              5. Clinical Pharmacology
              OCP’s amended review, dated May 10, 2017, provided the following recommendations: (1)
              both the 2 mg/kg every three week and 10 mg/kg every two week dosing regimens should be
              available for the treatment of MSI-H patients given the effectiveness of both regimens and
              incremental benefit of the higher dose; and (2) further evaluation of accumulating data to
              determine whether both dose regimens should be made available for approved indications
              including melanoma and NSCLC. The OCP recommendations were based on comparisons of
              ORR across trials that administered different doses of pembrolizumab to patients and on
              analyses of results observed in patients with melanoma and lung cancer. This reviewer’s
              findings regarding dosing will be provided in Sections 7.2 and 7.3 of this review.

              6. Clinical Microbiology
              This section is not applicable to this efficacy supplement.

              7. Clinical/Statistical-Efficacy
              Dr. Leigh Marcus recommended accelerated approval of the sBLA, as amended, based on the
              safety and efficacy data submitted in the sBLA. The amended review completed on April 27,
              2017, recommended approval of the 200 mg dose administered every three weeks.

              Dr. Weishi (Vivian) Yuan concluded that based on the data and analyses described in the
              original sBLA (prior to the update), the results demonstrated a 35.6% ORR in pembrolizumab-
              treated patients. Dr. Yuan deferred the decision regarding the risk-benefit assessment to the
              clinical review team.

              This section of the CDTL review will focus on the demonstration of efficacy in the clinical
              trials submitted in support of this application. Given that this will be the first application
              approved for the treatment of patients based solely on a biomarker and independent of cancer
              type, given Breakthrough Therapy designation status, and given delayed responses to
              checkpoint inhibition observed in patients with MSI-H/MMRd cancers, FDA agreed during
              the pre-sBLA meeting that Merck could submit updated efficacy data (November 23, 2016,
              efficacy update) which included confirmation of patient responses (i.e., certain patients had
              unconfirmed responses in the initial sBLA submission which were subsequently confirmed
              with additional follow-up).

              FDA also accepted Merck’s submission of updated response data during the review of the
              sBLA in order to further assess whether dose affected outcomes in patients with MSI-
              H/MMRd tumors. This submission was received on March 8, 2017, and was reviewed as a
              major amendment to the sBLA.

              The efficacy review below will focus on the results of the November 23, 2016, efficacy update
              and the March 8, 2017, efficacy update.

              7.1 Background of clinical program
              The efficacy of pembrolizumab was evaluated in patients with MSI-H or MMRd solid tumors
              enrolled in one of five uncontrolled, open-label, multi-center, single-arm trials. The trials


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              enrolled 90 patients with MSI-HIMMRd CRC and 59 patients with other MSI-HIMMRd
              cancers.

              Patients received either pembrolizumab 200 mg eve1y 3 weeks or pembrolizumab 10 mg/kg
              eve1y 2 weeks until unacceptable toxicity, or disease progression that was symptomatic, was
              rapidly progressive, required urgent intervention, or occmTed with a decline in perfo1mance
              status. For regulatory pmposes, the major efficacy outcome in all trials was ORR as assessed
              by blinded independent central radiologists ' (BICR) review according to RECIST 1.1 and
              duration of response. The clinical trials also included investigator assessments of response and
              assessments of other endpoints including PFS and OS.

              Clinical data from the following five trials conducted in adult patients were submitted to the
              sBLA. For brevity, statistical considerations and common aspects of trial design (e.g., single
              aim design) will not be described below (refer to clinical and statistical reviews). Merck
              initiated all trials except for KN16.

              Table 3: Description of MSI-H/MlVIRd clinical trials
              Trial
                         Trial summary
              identifier
                         • Investigator-initiated (i.e., non-commercial), 6 site trial
                         • Population:
                             - (KNl 6A) patients with mCRC who received two or more lines of systemic
                                 therapy (n=28)
              KN16
                             - (KN16C) patients with other tumors who received at least one prior line of
                                 systemic therapy (n=30)
                         •   Dose:  10 mg/kg eve1y two weeks
                         • MSI-H/MMRd testing: local PCR or IHC
                         • Population: patients with mCRC who received prior oxaliplatin,
                             fl.uoropyrimidine, and irinotecan [with or without an anti-VEGF inhibitor and
              KN164          an EGFR inhibitor (if RAS wild-type)] (n=61)
                         •   Dose:  200 mg eve1y three weeks
                         • MSI-H/MMRd testing: local PCR or IHC
                         • Population: PD-LI-positive, previously treated patients with triple-negative
                             breast cancer, urothelial cancer, gastric cancer, or head and neck cancer
              KN12       • Dose: 10 mg/kg eve1y two weeks (for the 6 patients with MSI-H cancers)
                         • MSI-H/MMRd testing: retrospectively identified patients who were MSI-H
                             using a central PCR test (297 patients enrolled as of 8 Oct 2014; tissue
                             available from 96 patients for MSI-H testing; 6 were lVISI-H)
                         • Population: PD-LI-positive, previously treated patients enrolled in one of 20
                             disease-specific cohorts
              KN28       •   Dose:  10 mg/kg eve1y two weeks
                         • MSI-H/MMRd testing: retrospectively identified patients who were MSI-H
                             using a central PCR test (475 patients enrolled as of 20 Jllll 2016; tissue
                             available from 265 subjects; 5 were MSI-H)




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              Trial
                             Trial summary
              identifier
                             • Multi-coh01t trial with the following populations:
                                 -  Patients with MSI-H/MMRd tumors (other than CRC) assessed based on
                                     local testing (coh01t K)
                                 - Separate coho1ts of patients with one of 11 rare tumor types
              KN158          •   Dose: 200 mg eve1y three weeks
                             •   MSI-H/MMRd testing: local PCR or IHC for cohort K (n=l6) or central MSI-
                                 H PCR testing for patients enrolled in one of the disease specific cohorts (3 of
                                 54 patients with available tumor samples from biliaiy and endometrial cancer
                                 coho1ts tested positive for MSI-H).

              To snpp01t the risk/benefit assessment of the 200 mg eve1y three week pembrolizumab dosing
              regimen, Merck submitted efficacy data on March 8, 2017, from 58 additional patients from
              KN-158 with at least 18 weeks of follow-up (77 total subjects). Merck also submitted data
              from 7 patients with gastric cancer retrospectively identified as MSI-H using a central PCR-
              based test in Study KN59 . 146 KN59 is a clinical trial enrolling cohorts of patients with gastric
              cancer. Patients received 200 mg pembrolizumab eve1y three weeks in KN59. Merck also
              provided summaiy information from 6 patients (5 with CRC and one with small bowel cancer)
              enrolled in a French Tempora1y Authorization for Use (ATU) program. ATU is a French
              regulato1y provision that allows for treatment of patients prior to mai·keting authorization
              (compassionate use). 147 Tumor responses in the French program were assessed by
              investigators, and patients received 2 mg/kg pembrolizumab eve1y three weeks.

              Although not necessaiy to approve this application, in order to assess consistency of results
              with other publically available data, I will summarize data presented at the 2017
              Gastrointestinal Cancers Symposium (GI ASCO) that described the Mayo Clinic experience
              with pembrolizumab for the treatment of patients with MSI-HIMMRd CRC. 148 The Mayo
              Clinic repo1t retrospectively identified 17 patients with MSI-H/MMRd CRC who received
              pembrolizumab between May 2015 and September 2016 (all patients were included if they had
              MSI-H/MMRd mCRC and received pembrolizumab). Thiiteen of the 17 patients received at
              least two prior lines of therapy. All patients received 2 mg/kg eve1y three weeks except one
              patient who received 200 mg eve1y three weeks and one patient who received 10 mg/kg eve1y
              two weeks. The poster repo1t described responses detennined at the time of the first imaging
              assessment (response criteria were not specified). The poster rep01t also provided
              (uncontrolled) estimates of PFS and OS using Kaplan-Meier methodology. Other reports of
              responses to pembrolizumab in patients with MSI-H/MMRd cancers (including at the 200 mg
              dose) have been presented or published in the literature 149-151 ; however, because they ai·e
              limited to case reports (without deno1ninators) or include combination regimens, they will not
              be fmther discussed in this review.

              7.2 Efficacy results (Nov 2016 efficacy analysis and Mar 2017 efficacy update,
              limited to additional follow-up data from patients included in the November
              submission)
              A total of 149 patients with MSI-H or MMRd cancers were identified across five clinical
              trials. Among these 149 patients with MSI-H/MMRd cancers, the baseline characteristics


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              were: median age 55 years (36% age 65 or older); 44% female; 56% male; 77% White, 19%
              Asian, 2% Black; and ECOG PS O (36%) or 1 (64%). Ninety (60%) of the 149 patients had
              CRC with the remainder diagnosed with other tumor types (refer to efficacy results by tumor
              below). Ninety-eight percent of patients had metastatic disease and 2% had locally advanced,
              unresectable disease. Sixty-nine (46%) patients received pembrolizumab 10 mg/kg eve1y 2
              weeks while 80 (54%) patients received pembrolizumab 200 mg eve1y 3 weeks.

              The identification ofMSI-H or MMRd tumor status in the majority of patients (135/149) was
              prospectively dete1mined using local laborato1y-perf01med, investigational PCR tests for MSI-
              H status or IHC tests for MMRd status. Tumors from fomieen of the 149 patients were
              retrospectively identified as MSI-H by testing tumor samples from patients in three trials using
              a central laborato1y-developed PCR test. Forty-seven patients had MMRd cancer identified by
              IHC, 60 had MSI-H identified by PCR, and 42 were identified using both tests.

              Table 4 describes the independent radiology review (IRC)-dete1mined overall response rates
              by trial per RECIST 1.1. Differences in response rates across the five trials will be discussed in
              Section 7.3 below. Durable responses have been observed among patients with cancers which
              have historically demonstrated low response rates to chemotherapy (e.g., third or greater line
              CRC or previously treated pancreatic cancer). In addition, complete responses have been
              observed in some patients across the development program. Nine complete responses were
              described in the Nov 2016 clinical study repo1i. In the March efficacy update, an additional
              patient with CRC converted from a paitial response (PR) to a complete response (CR)
              (unconfmned) and two patients with non-CRC tumors emolled in KN 158 converted from PRs
              to CRs. Complete and durable radiographic disappearance of cancer in patients with heavily
              pre-treated solid tumors is unexpected and should represent a beneficial treatment effect in
              these patients.

              Table 4: !RC-assessed ORR results by trial
                                                                 ORR % (95%CI)              ORR% Update
              Trial/dose                            N
                                                                      (N=149)                   (N=149)
                                                                     Nov 2016                  Mar 2017
              KN16A (10 mg/kR)                      28            50.0 (30.6,69.4)             no update
              KN16C (10 mg/kg)                       30           46.7 (28.3,65.7)             no update
              KN012 (10 mg/kg;)                       6           50.0 (11.8, 88.2)            no update
              KN028 (10 mg/kg)                        5           80.0 (28.4, 99.5)            no update
              KN164 (200 mR)                         61           24.6 (14.5, 37.3)         27.9 (17.1, 40.8)
              KN158 (200 mg)                         19           31.6 (12.6, 56.6)         36.8 (16.2, 61.6)
              Overall                               149           37.6 (29.8, 45.9)         39.6 (31.1, 47.2)

              Table 4 shows that the response rate increased (modestly) in Studies KN164 and 158 with
              additional follow-up. Such an effect may occur because median time to response in patients
              with MSI-H/MMRd cancers is approximately three months. Among the 56 subjects with IRC-
              confumed CR or PR in the Nov 2016 analysis, median time to response was 2.7 months and
              ranged from 1.7 months to 8.4 months (one response was identified at 10.4 months in the
              Mai·ch update). The delayed conversion of PR to CR in KN158 also shows that responses may
              deepen over time.


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              Table 5 shows that responses have been observed across disparate tumor types supporting the
              hypothesis that MSI-H/MMRd can predict for response to immunotherapy regardless of the
              underlying malignancy. Given the limited number of patients, additional data will be obtained
              by Merck post approval to assess whether there are any unexpected findings related to tumor-
              treatment interactions. Nevertheless, durable responses have been observed in patients with
              late-line CRC, pancreatic cancer, and other tumors with a dismal prognosis and clear unmet
              medical need. Durable responses in such patients without available therapy (and with a
              favorable risk-benefit profile observed across other tumor types) could offer benefit and the
              prospect of improved outcomes.

              Table 5: Response rate by tumor type (Nov submission)
                                         N           Responses
                   GI cancers
              CRC                        90          30 (33%)
              Biliary/ampullary          11           3 (27%)
              Gastric/GEJ                 9           4 (44%)
              Pancreatic                  6           5 (83%)
              Small intestine             8           3 (38%)
              Esophageal                  1              PR
                Non GI cancers
              Endometrial                14           5 (36%)
              Breast                     2           2 (100%)
              Prostate                   2            1 (50%)
              Bladder                     1           Missing
              Sarcoma                     1              PD
              Thyroid                     1             NE
              Retroperitoneal             1              PR
              SCLC                        1              PR
              Renal                       1              PD

              In the March update, responses were also described in patients with bladder cancer, salivaiy
              gland cancer, and sarcoma.

              As indicated by Merck in a Febma1y 22, 2017, amendment to the sBLA, responses (response
              rate in parenthesis) were observed in-espective of whether patients were identified using
              immunohistochemistiy (36%), PCR (33%), or both (45%). Conclusions based on these
              differences in ORR ai·e limited, however, given the overall differences in ORR across the
              clinical ti·ials.

              Figure 11 shows that responses (for the 59 responding patients) appeai· durable following
              pembrolizumab treatment in patients with MSI-HIMMRd cancers. The median duration of
              response was not reached (with follow-up lasting up to 18 months); neve1theless, due to
              limited follow-up of patients in KN158 and KN164, additional data should be obtained to
              better characterize this endpoint. Response durability in the MSI-H/MMRd program, if



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              confirmed in the Subpart E PMR, would clearly be important and inconsistent with short
              durations of response historically observed with cytotoxic chemotherapy.

              Figure 11: KM curve for duration of response (Mar 2017 update, copied from Merck’s
              submission)
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              The KM curves in Figure 12 from KN164 and KN16A show that median OS has not been
              reached in patients with metastatic CRC treated with pembrolizumab (acknowledging limited
              follow-up of patients after about one year). OS observed to date is inconsistent with historical
              OS observed in unselected (for MSI-H/MMRd) patients with metastatic CRC treated in the
              third or greater line settings (where estimated median OS is 6 to 7 months). Although
              definitive conclusions regarding survival cannot be made in these cross-trial comparisons,
              results obtained to date appear encouraging, given that patients with metastatic MSI-H/MMRd
              CRC do not appear to have improved outcomes compared to unselected patients with
              metastatic CRC. Although apparent differences in exploratory analyses of ORR and PFS were
              observed across the two trials (Section 7.3), at this time, OS appeared similar between trials
              (acknowledging the limitations of these exploratory cross-trial comparisons and
              acknowledging the limited duration of follow-up).




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              Figure 12: KM curves for overall survival in patients with CRC (Mar 2017 update,
              copied from Merck’s submission)

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              For comparison, Figure 13 below shows the KM curves for OS for patients enrolled in KN16C
              and KN158 (non-colorectal cancer trials). Because patients enrolled in these trials had a
              variety of tumor types, and due to cross-trial comparisons with a limited number of patients,
              interpretation of the data is limited. Nevertheless, many of the patients enrolled in these trials
              had previously treated gastrointestinal cancers including gastric, pancreatic, and small
              intestinal cancers where survival is expected to be limited.




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              Figure 13: KM curves for overall survival in patients with other tumors (nonCRC) (Mar
              2017 update, copied from Merck’s submission)

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              7.3 Discussion regarding dose including efficacy results submitted in the 8 Mar
              2017 efficacy update
              OCP’s amended review, dated May 10, 2017, provided the following recommendations: (1)
              both the 2 mg/kg every three week and 10 mg/kg every two week dosing regimens should be
              available for the treatment of MSI-H patients given the effectiveness of both regimens and
              incremental benefit of the higher dose; and (2) further evaluation of accumulating data to
              determine whether both dose regimens should be made available for approved indications
              including melanoma and NSCLC. The amended clinical review recommended approval of the
              200 mg flat dose administered every three weeks (in adults, this dose is considered to result in
              clinical effects consistent with the 2 mg/kg dose).

              Although the 200 mg dose of pembrolizumab is described in labeling, off label prescribing of
              the 10 mg/kg (every two week) regimen would not be precluded based on this action
              (therefore, both regimens would remain available for the treatment of patients with MSI-
              H/MMRd cancers).

              The OCP recommendations were based on comparisons of ORRs across trials that
              administered different doses of pembrolizumab to patients and on analyses of results observed
              in patients with melanoma and lung cancer. The following paragraphs will describe the
              updated results submitted in the major efficacy update and my rationale for recommending the
              200 mg flat dose administered every three weeks. In summary, other explanations besides dose
              may account for cross-trial differences in ORR. These include differences in study
              populations, differences in study design, and chance (i.e., random “high” in an early study).




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              Overall response rates in the MSI-H/MMRd application
              Table 4 above shows that different response rates were observed in the different trials
              submitted to the sBLA. One of the possible explanations for this difference in response rates
              was due to differences in doses administered across trials. Table 6 shows that the 95%
              confidence intervals (Cls) did not appear to overlap based on data submitted in November
              when patients treated with the different doses were assessed for response. Nevertheless, these
              differences in response cannot be considered definitive because the groups of patients who
              received the two doses were not randomly allocated and therefore other reasons could
              potentially account for differences observed between doses.

              Table 6: ORR by dose Nov 2016 submission
                                                                    ORR200m
              n                   149                    69            80
              % and CI         38% 30, 46           51 % 38, 63     26% 17, 37

              As shown in Table 4 above, response rates have (modestly) increased over time in KN158 and
              KN164. Both studies administered the flat 200 mg dose to patients with MSI-H/MMRd
              cancers. Although the confidence intervals did not overlap in the November submission, the
              updated ORR oft.he 200 mg dose in the March submission is now 30% (20.3 to 41.3) with
              paiiially overlapping confidence inte1vals.

              New data submitted in the efficacy update
              In the efficacy update, Merck submitted data from additional patients emolled in KN158 with
              at least 18 weeks of follow-up. Although the confnmed ORR is 30%, nearly 40% of patients
              have experienced either a confnmed or an unconfnmed response. As observed previously in
              Merck' s MSI-H/MMRd development program, most patients conve1t from an unconfnmed to
              a confnmed response with additional follow-up (this is related to the delayed time to response
              obse1ved following pembrolizumab treatment in patients with MSI-H/MMRd tumors).

              In addition to the updated results from KN158, Merck submitted data from seven patients with
              gastric cancer identified as having MSI-H tumors who were emolled in KN59. Four of these
              seven patients with gastric cancer experienced a response to pembrolizumab at the 200 mg
              dose.

              Table 7.. N ew/up dated ORR results m
                                                  • Merek' s development p rogram
              Trial                            N               ORR
              KN158 (confirmed ORR)            77              30%
              KNISS (confirmed and
                                                    77              38%
              unconfirmed ORR)
              KN59 (gastric)                        7                57%
              ATU (2mg/kg)                     6 (5 colon)           33%

              Based on this updated data, it appeai·s that the largest differences in response rates in Merck's
              development program were observed in patients with CRC treated with the two different
              pembrolizumab dosing regimens. In patients with non-CRC tumors who received 10 mg/kg,
              the response rate was 47% in KN16C (n =30), 50% in KN12 (n=6), and 80% in KN28 (n=5).


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              In patients treated at the 200 mg dosing regimen, the response rate was 30 to 38% in KN158
              (n=77) (this response rate may increase over time with increased duration of follow-up) and
              57% in KN59 (n=7). Given the differences in enrolled tumor types across trials, these appear
              largely similar, presuming that the ORR in KN158 is confirmed to be close to 40%.
              Furthermore, patients identified in KN12 and KN28 were distinct from patients enrolled in
              other studies. Eligibility criteria for KN12 and KN28 required that patients have PD-L1-
              positive tumors; therefore, these patients had “double-positive” tumors for both PD-L1 and
              MSI-H/MMRd. PD-L1-positivity was not required in other trials and therefore patients’
              tumors could be either PD-L1-positive or negative.

              Exploratory analyses of outcomes between trials in patients with mCRC
              The ORR in patients with mCRC was 27.9% (95% CI: 17.1, 40.8) in the March 2017 update to
              the sBLA among 61 patients with mCRC in KN164 who received the 200 mg flat dosing
              regimen versus 50.0% (95% CI: 30.6, 69.4) in KN16A among 28 patients with mCRC who
              received the 10 mg/kg dosing regimen. Although OS appeared similar in the exploratory cross-
              trial comparison of OS (see Figure 12 above), the OCP review highlighted potential
              differences between KN164 and KN16 in progression free survival. The PFS KM curves,
              copied from Merck’s submission (and similar to KM curves presented in FDA reviews), are
              presented in Figure 14 below. The red boxes, inserted by this reviewer, show that there were
              more early censored observations in the KN16 trial. In my opinion, the curves for OS and PFS
              are difficult to interpret in regards to the effects of pembrolizumab in patients with MSI-
              H/MMRd tumors given that they represent effects observed in two different trials.
              Interestingly, exploratory PFS curves for patients enrolled in KN16C and KN158 (non-CRC)
              largely overlapped (they did not separate as they did in Figure 14); nevertheless, given
              differences in tumor types, conclusions based on the lack of separation of these curves are
              limited.

              Figure 14: KM curves for PFS in Studies KN16 and KN164

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              Differences between studies with a focus on CRC trials
              Differences existed between trials and populations that, in my opinion, limit conclusions based
              on dose effects. Most of the data regarding ORR at the IO mg/kg dose was derived from
              KNI 6, an investigator-initiated trial conducted at six sites, with the largest propo1iion of
              patients enrolled at Johns Hopkins University, a highly specialized refenal center. The
              remaining 11 patients were retrospectively identified from KN12 and KN28, and were both
              PD-LI -positive and MSI-H.

              KN16 versus KN164
              KN16 was an investigator-initiated study conducted at 6 sites including Johns Hopkins, the
              National Institutes of Health, and Stanford (with the highest proportion of patients enrolled at
              Johns Hopkins). Patients enrolled at such sites may differ, for example, in their ability to travel
              (e.g., based on tumor burden), financial resources, or in relation to being pre-screened and
              refened to a study site. KN164 was an international, industty-initiated tt-ial that enrolled
              patients at 21 centers across 9 countries. Although KN16 was not a single center study,
              literature repo1is have described larger treatment effects in single center studies compared to
              larger multi-center tt·ials. 152•153

              The following analyses show differences among patient populations enrolled in KN16 versus
              KN164. The number of patients who tested positive for MSI-H/MMRd based on IHC, PCR, or
              both, were 25%, 25%, and 50%, respectively in KN16 versus 37%, 42%, and 22%,
              respectively in KNI 64. The racial/ethnic background of patients enrolled in KNI 6A and 164
              also differed. KN16A enrolled 82% of patients who were White, 7% Black, 4% Asian, and 7%
              other or unknown whereas KN164 enrolled patients who were either White (69%) or Asian
              (31%). Additionally, one patient in KN164 was enrolled based on having a known gennline
              mutation in PMS2. The patient received pembrolizumab on study; however, subsequent
              analysis of the patient's tumor revealed that the tumor was MMRp (this constituted a protocol
              deviation and the patient developed progressive disease, without response, after Cycle 3).

              Differences existed among prior therapies received in the metastatic setting in KN16A and
              KNI 64 (Table 8) with a higher proportion of patients having received one or fewer lines of
              therapy in KN I 6A. An explorato1y analysis of ORR by line of therapy across both studies
              appears to show decreasing response rates in more heavily pre-tt·eated patients. Although
              definitive conclusions canuot be reached based on this analysis, it shows that factors unrelated
              to dose may have contt·ibuted to differences in response across t1·ials.

              Table 8: Number of prior treatment reidmens <KN16A versus KN164)
               Prior lines of therapy    %KN16A        %KN164      ORR based on line of
                (metastatic settin1?:)     (n=28)       (n=61)        theraov (n=89)
                          0                 3.6%           0                0
                          1                 25%          9.8%              46%
                          2                28.6%        45.9%              39%
                          3                  25%        21.3%              35%
                          4                 14.3%        8.2%              22%
                     5 or more              3.6%         14.8%             20%




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              In addition to differences in prior therapy among Studies KN164 and KN16A, there were also
              differences in the baseline size of tumors per RECIST 1.1 among patients enrolled in KN164
              and KN16A. Median tumor size was 98.7 mm (range 11.0 to 407.6) in KN164 (largest
              dimension among all studies) versus 83 mm (range 19.7 to 268.8) in KN16A. Although
              RECIST measurements are unlikely to capture overall tumor burden (e.g., it may not capture
              peritoneal burden), this analysis shows that tumor burden was probably higher in KN164
              compared to KN16A.

              Other data pertinent to dosing recommendations
              Data from the Mayo Clinic (a highly specialized referral center) were presented at the 2017
              Gastrointestinal Cancer Symposium.148 These data were not included in labeling given that the
              assessment was a retrospective review that did not describe IRC-assessed confirmed responses
              and because the data were not submitted to the sBLA. Nevertheless, these data suggest that
              response rates can differ by site (e.g., due to differences in patient populations). Seventeen
              patients with MSI-H/MMRd CRC received pembrolizumab: 15 at 2 mg/kg every three weeks
              (comparable to 200 mg every three weeks); 1 at 200 mg every three weeks; and 1 at 10 mg/kg
              every 2 weeks. The response table in the poster presentation indicated that one patient
              experienced a CR and 7 patients experienced a PR for an overall estimated response rate of
              47%. Because the poster did not indicate whether the patient at the 10 mg/kg dose experienced
              a response, the estimated response rate at one of the lower dosing regimens would be either
              44% or 50%. This reported response rate, with a lower dose regimen (2 mg/kg or 200 mg flat
              dose), was consistent with the response rate of 50% in patients with CRC treated in KN16A.
              Like KN16A, 30% of patients received fewer than 2 prior lines of therapy. Although not
              conclusive, these data provide further support that factors other than dose can influence
              response rates.

              Merck submitted exposure-response data from their two industry-initiated MSI-H/MMRd
              studies (KN 164 and KN158) that investigated the 200 mg every three week dosing regimen.
              Figure 15 shows that exposure did not appear to predict response in patients treated with the
              200 mg dosing regimen. While I agree that this analysis should not be considered as
              conclusive evidence that clinical effects of the lower dose regimen are the same as the effects
              of the higher dose regimen, it provides data that there is a lack of a compelling argument to
              mandate labeling with the higher dose regimen. Likewise, although PK modeling data
              predicting target saturation (i.e., that target saturation is consistently reached at the 200 mg
              every three week dose) were not conclusive, the data do not suggest a compelling rationale that
              increasing the dose will predict for a higher response.




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              Figure 15: Exposure-response analyses (for ORR) in patients treated with the 200 mg
              every three weeks dosing regimen (copied from Merck's submission and included in the
              OCP review)
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              Summa1y of dosing recommendations
              In Sllllllilaiy, differences in response rates existed across trials. Potential explanations for these
              differences include dose, differences in trial populations, differences in trial designs, or even
              chance (i.e. , random "high" in an early study). For comparison, as stated above, the response
              rates across trials of patients tested with IHC, PCR, or both tests were 36%, 33%, and 45%,
              respectively. Like dose, there are other factors that may account for these results independent
              of what tests were used. In parallel, I would not agree with a requirement that patients should
              undergo both tests prior to receiving pembroliZlllllab (given concordance rates between tests
              described in Section 2.3 above).

              The dosing regimen that Merck requested in the application was 200 mg eve1y three weeks.
              This is the same dosing regimen that the FDA approved for patients with melanoma, NSCLC,
              head and neck squamous cell carcinoma, classical Hodgkin's lymphoma, and is being further
              investigated in other Merck-sponsored studies. In the absence of compelling data (or new
              safety info1mation), I do not believe that the FDA has the authority to compel Merck to
              include a higher dose in labeling. Likewise, the FDA could recommend but could not require a
              sponsor to submit an efficacy supplement for a new condition of use for a dmg. In this
              application, compelling data did not exist that the higher dose provides better outcomes (i.e.,
              that there was an incremental benefit of the higher dose). Differences in effects were only
              observed across trials and not within trials, and could have been caused by other fact.ors
              including tumor burden or timing of treatment in the context of prior lines of therapy.

              The OCP review refened to analyses of clinical effects of different dosing regimens in trials of
              melanoma and lung cancer in suppo1t of the higher dose regimen in patients with MSI-
              HIMMRd cancers. These compai·isons (in Table 2 of the amended OCP S-14 review) of effects
              in the different dosing regimens were not statistically significant and therefore can be
              attributed to chance (i.e., there was insufficient evidence to reject the null hypothesis of a
              difference between aims/doses). Furthe1more, I would not agree with an argument. using a
              "meta-analytic" approach of combining data. from both studies to require the use of the higher
              dose. In general, the FDA would not agree with a sponsor using such an approach to salvage a




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              negative clinical trial; accordingly, the FDA should not use this approach to support a
              scientific argument regarding the efficacy of pembrolizumab.

              The FDA, including OCP, previously reviewed the data from melanoma and lung cancer trials
              and recommended 200 mg every three weeks as the dose to be described in product labeling.
              Data reviewed to support this dose included the overall clinical effects observed in these trials,
              dose-efficacy relationships, and exposure distributions between dosing regimens. FDA and
              OCP recommended the 200 mg every three week dose for S-13 and S-16, applications for
              melanoma and NSCLC that were reviewed and approved (on May 17, 2017 and May 10, 2017,
              respectively) during the review cycle for the MSI-H/MMRd application. Accordingly, it would
              be difficult for FDA to require a higher dose in patients with MSI-H/MMRd cancers based on
              differences in response rate observed across different single arm clinical trials, especially
              without requiring a higher dose in other tumors (noting that FDA previously reviewed the data
              and recommended the 200 mg flat dose regimen for every other indication).

              Ultimately, I acknowledge that absolute certainty may not exist regarding dose effects. As
              stated above, compelling evidence does not exist that would require the Agency to mandate a
              higher dose of pembrolizumab in this application. This issue was discussed during a meeting
              with OHOP/OCE management and clinical, statistical, and clinical pharmacology reviewers on
              April 21, 2017, where clinical and statistical management agreed that the higher dose could not
              be mandated based on the results submitted in this application.

              8. Safety
              Discussion of primary reviewer’s findings and conclusions
              Analyses of safety data in this application were limited by the lack of a control arm and by
              limitations of the database [safety datasets were limited to data from patients enrolled in
              KN16A and KN164 (n = 89)]. Nevertheless, the clinical review found that the safety profile of
              pembrolizumab in this application was consistent with the known safety profile of
              pembrolizumab described in product labeling. Immune-related adverse events including Grade
              3 pancreatitis, rash, and pemphigoid were observed. The rate of permanent discontinuation of
              pembrolizumab due to adverse events (AEs) was 5% in the MSI-H/MMRd safety population,
              which consisted of 2 subjects each from KN16A and KN164 (n=89). Anemia occurred more
              frequently in patients with colon cancer compared to the reference safety population; however,
              these results were difficult to interpret given the lack of a control arm.

              Adverse events were generally considered comparable between dosing regimens; however,
              more patients required dose modifications due to adverse events in patients receiving the 10
              mg/kg dosing regimen. In an analysis of KN16A versus KN164, a total of 60.7% of patients
              required temporary interruption of pembrolizumab due to an adverse event in the 10 mg/kg
              group compared with 21% who received the 200 mg flat dosing regimen. A total of 7.1% of
              patients in KN16A required discontinuation of pembrolizumab due to an adverse event
              compared to 3.3% in KN164. Conclusions based on these results are limited, however, because
              they are derived from cross trial comparisons with differences in overall exposure duration and
              differences in follow-up between trials.



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              9. Advisory Committee Meeting
              The highly durable response rates across multiple tumor types were considered sufficient to
              approve this application without discussion in an advisory committee (AC) meeting. Although
              not discussed during an AC meeting, this application raised unique policy issues that were
              discussed internally with OHOP/OCE and CDER leadership during OHOP/OCE and CDER
              Medical Policy Committee meetings, respectively.

              10. Pediatrics
              Refer to Section 2.5 above.

              11. Other Relevant Regulatory Issues
              11.1 Application Integrity Policy (AIP)
              The sBLA contained a statement signed by the Executive Director of Global Regulatory
              Affairs of Merck that certified that Merck did not and will not use, in any capacity, the
              services of any person debarred under Section 306 of the Federal Food, Drug and Cosmetic
              Act in connection with this application.

              11.2 Financial disclosures
              In accordance with 21 CFR 54, the Applicant submitted a list of trial investigators and
              financial disclosures (FDA Form 3454) for Studies KN164 and KN16. No investigator from
              either trial held a financial interest or arrangement requiring disclosure per the criteria
              described on Form 3454.

              It is unlikely that financial interests from other studies would have compromised the overall
              results submitted by Merck in the sBLA. The highest response rates were observed in KN16
              which was audited by Merck, inspected by FDA, and confirmed by Independent Radiology
              Review. Responses from other studies were also confirmed by Independent Radiology
              Review.

              11.3 GCP issues
              Merck included a statement in the sBLA that the clinical trials included in this application
              (KN16, KN12, KN28, KN164, KN158) were conducted in accordance with current standard
              research approaches with regard to the design, conduct, and analysis of trials including the
              archiving of essential documents. Merck also included a statement in the application that all
              trials were conducted following appropriate Good Clinical Practice standards and
              considerations for the ethical treatment of human subjects that were in place at the time the
              trials were performed.

              Section 3.1 of the clinical review described inconsistencies between certain data in case report
              forms (CRFs) and efficacy datasets from KN16. Upon closer inspection, these appeared
              limited to immune-related response criteria assessments and were in-part based on the design
              of the case report forms. Review of these inconsistencies found that most had no impact on the
              patient’s overall immune-related response assessment and that there was no systematic bias by
              the investigators in favor of treatment with pembrolizumab. These inconsistencies were


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              corrected in the sBLA and other data from this trial submitted to the sBLA appeared accurate
              and reflective of the CRFs (and source documentation based on the ORA/OSI inspections).

              I believe the primary efficacy results of KN16, the study with the highest response rates, to be
              reliable. To assess the validity of the efficacy data at the Johns Hopkins site, the FDA
              (ORA/OSI) conducted a site audit and found the data to be reliable. Furthermore, the primary
              results of KN16 were based on IRC assessment, which were largely consistent with
              investigator-assessed response determinations (ORR per RECIST was slightly higher in the
              IRC assessment). Finally, Merck also conducted a complete re-audit of the data from Johns
              Hopkins due to the minor inconsistencies in the implementation of the irRECIST criteria
              (which were reconciled following the audit and described in the clinical review).

              11.4 Other discipline consults

              11.4.1 DMPP
              The Division of Medical Policy Programs provided recommendations regarding the proposed
              Medication Guide. Final agreement regarding labeling is pending as of the completion of this
              review.

              11.4.2 OPDP
              OPDP provided advice regarding Section 14 of product labeling. Although OPDP expressed
              concern regarding the presentation of data in patient subsets based on tumor type, DOP2
              believed that inclusion of this data is necessary in order to provide information regarding the
              tissue agnostic indication. As such, DOP2 does not object to a treatment benefit being inferred
              in patients with different tumor types.

              12. Labeling
              This section of the review will focus on high-level issues regarding the labeling submitted by
              Merck. Numbering below is consistent with the applicable sections in product labeling.

              1.5. Indications and Usage: I agree with the recommendation to revise the indication
              statement to better describe the indication for which accelerated approval will be granted
              (which requires a meaningful advantage over available therapy). Because few patients achieve
              durable objective responses to regorafenib or TAS-102, it is appropriate to approve
              pembrolizumab for patients with mCRC who received prior fluoropyrimidine, oxaliplatin, and
              irinotecan therapy. For other tumor types, pembrolizumab will be approved for patients who
              progress following prior treatment and have no satisfactory alternative treatment options.
              Finally, the Division recommended a limitation of use for children with MSI-H/MMRd
              (primary) central nervous system tumors based on uncertainty regarding safety in this group of
              patients who have tumor in an enclosed space (pending further experience with PD-1
              inhibition in this group of patients).

              2.6. Dosage and Administration: I agree with the recommendation to provide dosing
              information for children with previously treated, metastatic MSI-H/MMRd cancers as unmet
              need exists in this group of patients. The appropriate dose of pembrolizumab for children was
              determined during the review of the classical Hodgkin’s lymphoma sBLA.


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                                                                                                       (b) (4)




              14. Clinical Studies: I agree with the recommendation to provide additional information
              regarding the clinical trials pertinent to this application. I also agree with the recommendation
              to provide results in patients with different tumor types. I acknowledge that this information
              may not be reliable in the assessment of results in individual tumor types (due to sample size);
              however, this information provides data regarding the breadth of patients enrolled with
              different tumor types and the justification to grant the site agnostic indication.

              13. Recommendations/Risk Benefit Assessment
              13.1 Recommended regulatory action
              I recommend (Subpart E) accelerated approval of this supplemental Biologics License
              Application based on substantial evidence of effectiveness that pembrolizumab can induce
              durable objective responses in patients with MSI-H/MMRd cancers. This evidence was
              observed in patients enrolled across multiple clinical trials and responses were confirmed by
              Independent Radiology Review.

              FDA has accepted response rate as an approval endpoint for solid tumor malignancies because
              such responses are not expected in the absence of anti-tumor therapy (in general, in the
              absence of therapy, tumors grow or remain stable rather than shrinking). Tumor responses
              were observed across different MSI-H/MMRd cancers and across multiple clinical trial sites
              within and outside of the United States.

              Importantly, I believe that the scientific and clinical evidence in this application supports the
              site agnostic approval, and FDA’s standards for accelerated approval have been met. This
              should not imply that a site agnostic approach would be appropriate for every drug that targets
              a specific biomarker that exists across different tumor types. Different resistance mechanisms
              or other factors that modify treatment effect across tumors will be identified for many
              biomarkers (e.g., BRAF)154; these resistance mechanisms may preclude a sponsor’s ability to
              develop a drug for a site-agnostic indication. Other factors including (but not limited to)
              treatment context (e.g., the need to administer a drug in combination with other drugs) may
              also limit a sponsor’s ability to develop a drug for a site agnostic indication.

              Refer to Section 2.4 above for a more in-depth discussion regarding the Subpart E approval
              and post-marketing requirements.

              13.2 Risk-benefit assessment
              Merck submitted this efficacy supplement (Supplement 14, BLA 125514) for pembrolizumab
              (trade name, Keytruda) which is to be indicated for the treatment of patients with unresectable
              or metastatic, microsatellite instability-high, or mismatch repair deficient, solid tumors


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              I recommend approval of this application under Subpart E (accelerated approval) pending
              agreement regarding final labeling and agreement regarding post-marketing commitments and
              requirements. This approval is based on the observation of durable objective responses in
              patients with MSI-H/MMRd tumors and the strong biological rationale supporting the site
              agnostic effects of pembrolizumab in patients with MSI-H/MMRd tumors which was
              described in Section 2.1 of this review.

              Unselected (for MSI-H/MMRd) patients with metastatic colorectal cancer who have
              previously received a fluoropyrimidine, oxaliplatin, and irinotecan clearly have a life-
              threatening disease and median survival of patients who receive third-line therapy (e.g., with
              TAS-102 or regorafenib) is expected to be six to seven months. Although there are limitations
              regarding the data describing the prognosis of patients with MSI-H/MMRd CRC in the
              metastatic setting, data appear to show that prognosis of these patients is not better, and may
              be worse, than unselected patients.

              Prognosis is also expected to be poor for most patients with previously-treated, metastatic,
              solid tumor malignancies including endometrial cancer, gastric cancer, small intestinal cancer,
              ampullary cancer, cholangiocarcinoma, and pancreatic cancer. Although data are limited
              regarding the prognostic effect of MSI-H/MMRd in the metastatic setting (See Section 2.2
              above), I believe that most patients with advanced solid tumor malignancies would be
              expected to die of their underlying cancers and unmet need exists for these patients.

              This application is being approved based on durable responses observed in 30 to 40% of
              patients across the MSI-H/MMRd development program. This reviewer acknowledges that
              response rate may not capture the full benefit of PD-1 inhibitors. Nevertheless, similar
              response rates with PD-1 inhibitors have translated into clinical benefit (on either PFS or OS)
              in other indications. In addition to partial shrinkage of tumors, some patients have experienced
              complete radiographic disappearance of their cancers. These patients, as long as tumor is
              undetectable, would no longer be expected to be symptomatic (or become symptomatic) due to
              tumors affecting nerves or other vital organs.

              Ultimately, I would expect PD-1 inhibition to become standard treatment in patients with
              previously-treated MSI-H/MMRd cancers (with testing of cancers for MSI-H/MMRd to
              become standard). Studies are ongoing to assess the effects of checkpoint inhibition in earlier
              line settings (e.g., KN177) in patients with CRC. Additional clinical trials may delineate
              whether patient-selection factors or combination strategies will play a role in the treatment of
              patients with MSI-H/MMRd cancers.

              The primary risks related to pembrolizumab involve the occurrence of immune-related
              toxicites. Adverse events in patients with MSI-H/MMRd cancers were largely consistent with



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              the known toxicity profile of pembrolizumab observed across Merck’s development program.
              Immune-related adverse events including Grade 3 pancreatitis, rash, and pemphigoid were
              observed. The rate of permanent discontinuation of pembrolizumab due to adverse events
              (AEs) was 5% in the MSI-H/MMRd safety population, which consisted of 2 subjects each
              from KN16A and KN164 (n=89).

              An additional risk related to the approval of this application involves the possibility that
              pembrolizumab could be unexpectedly ineffective for a specific tumor type. Based on the
              strong biological rationale, and the clinical results observed to date, I expect this risk to be
              low. This risk will be somewhat mitigated because pembrolizumab will receive accelerated
              approval for patients who have progressed following prior treatment and have no satisfactory
              alternative treatment options. Therefore, patients should not be forgoing effective therapies to
              receive pembrolizumab. Ultimately, this risk will be mitigated through the collection of
              additional data in the post-approval setting.

              Overall, the toxicity profile of pembrolizumab is considered acceptable when balancing the
              anti-tumor effects (e.g., durable responses) across different cancer types in patients with
              limited treatment options. Although randomized clinical trials investigating the effects of
              pembrolizumab in patients with MSI-H/MMRd tumors have not been completed, randomized
              controlled trials of pembrolizumab in other settings with high mutation burden (e.g.,
              melanoma and NSCLC) have been completed and have demonstrated a favorable risk-benefit
              profile. Physicians and patients will need to individually assess the risk-benefit profile of
              pembrolizumab to determine if treatment is appropriate for each patient.

              Consistent with other drugs intended for the treatment of patients with advanced cancer, risk
              will be managed through labeling (and a Medication Guide). A Risk Evaluation and Mitigation
              Strategy (REMS) is not needed to ensure that the benefits of pembrolizumab outweigh its
              risks. Although pembrolizumab can cause severe or serious toxicities, including serious
              immunological adverse reactions, pembrolizumab will be prescribed by oncologists who by
              training understand how to monitor, identify, and manage such toxicities. This approach is
              standard in the practice of medical oncology.

              13.3 Recommendation for postmarketing Risk Evaluation and Management
              Strategies
              The review teams did not identify any REMS as necessary prior to a marketing authorization
              for this supplemental Biologics License Application. Pembrolizumab will be prescribed by
              oncologists who are trained how to monitor, diagnose, and manage serious toxicities caused by
              anti-neoplastic drugs including immunotherapy. Standard practice in oncology dictates
              informed consent prior to prescribing or administering anti-neoplastic drugs.

              13.4 Recommendation for other postmarketing requirements and commitments
              Refer to Sections 2.4 and 2.5 of this review regarding the Subpart E PMR recommendations;
              to Section 2.5 for the requirement to further assess safety in children with MSI-H/MMRd
              primary CNS tumors; and Section 2.3 for the PMCs regarding the development of companion
              diagnostic tests to identify patients with MSI-H/MMRd cancers.



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              Cross Discipline Team Leader Review                             Supplement 14, BLA-125514


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     STEVEN J LEMERY
     05/22/2017




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                     APPLICATION NUMBER:

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                                                                                   (b) (4)




          Addendum
                                       CLINICAL REVIEW

                     Application Type sBLA
               Application Number(s) 125514/14
                 Priority or Standard Priority, Major Amendment

                    Submit Date(s) 8 March 2017
              Amended PDUFA Date 8 June 2017
                   Division / Office DOP2/OHOP

                        Reviewer Name(s)
                                  Leigh Marcus
                                  Steven Lemery, Team Leader
           Review Completion Date 26 April 2017

                        Established Name  Pembrolizumab (MK-3475)
                             Trade Name   Keytruda
                        Therapeutic Class Programmed death 1 (PD-1)
                                          receptor blocking antibody
                                Applicant Merck Sharp & Dohme Corp.

                           Formulation(s) 50 mg lyophilized powder in
                                          single-use vial for
                                          reconstitution
                                          100 mg liquid solution in a
                                          single-use vial



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          Leigh Marcus
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          Addendum
                        Dosing Regimen          200mg, intravenous every 3
                                                weeks
                                                                           (b) (4)

                           Indication(s)




               Intended Population(s)           Previously treated patients
                                                with MSI-H cancers




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          1 Recommendations/Risk Benefit Assessment

          1.1 Recommendation on Regulatory Action

          Based on the previously reviewed Supplemental Biologics License Application (sBLA)
          and the data included in the major amendment to this application, I recommend
          approval of pembrolizumab
                                                                                         (b) (4)




                        at a flat dose of 200mg every 3 weeks.

          1.2 Risk Benefit Assessment

          The benefit-risk assessment for this BLA was based on data from 5 non-randomized,
          open-label clinical trials, which in total enrolled 149 patients with advanced
          microsatellite instability-high (MSI-H), or mismatch repair deficient cancers (dMMR).
          MSI-H or dMMR were identified using polymerase chain reaction (PCR) or
          immunohistochemistry (IHC), respectively. Additional efficacy data with additional
          follow-up of the 149 patients with MSI-H cancer described in the major amendment and
          data from additional patients have demonstrated that 200 mg every 3 weeks is the
          appropriate dose of pembrolizumab that leads to clinically meaningful benefit over
          standard therapies in previously treated subjects with MSI-H cancer. The data from the
          major amendment demonstrate increasing consistency in overall response rates
          (ORRs) and an overlap in the ORR confidence intervals (CIs) between subjects treated
          at the 10 mg/kg every 2 weeks dose and those treated at the 200 mg Q3W dose.
          Progression-free survival (PFS) and overall survival (OS) comparisons by dose indicate
          overlapping CIs.

          There was uncertainty in the appropriate dose for the United States package insert
          (USPI) based on data from the original sBLA submitted 8 Sept 2016. The ORR and
          corresponding CIs overlapped between the trials in which pembrolizumab was
          administered 10mg/kg every 2 weeks versus 200mg every 3 weeks. Additional data
          including longer follow up duration was requested to facilitate whether dose had the
          primary effect on the difference in response, and which dose to approve for the USPI.
          Additionally, there were differences between studies and enrolled populations in the
          studies which could have also contributed to differences in effects between studies.

          Updated data was submitted in a major amendment including longer follow up from
          subjects on KN158 and KN164, and new data from French Autorisations Temporaires
          d’Utilisation (ATU), and 7 patients with gastric cancer from KN059.

          ORRs in both KN164 and KN158 have continued to increase with longer duration of
          follow-up. Two patients enrolled on KN164 with stable disease (SD) converted to partial


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          response (PR), and 1 subject with PR converted to an unconfirmed complete response
          (uCR). One patient enrolled in KN158 with SD converted into PR while 2 other patients
          converted from PR to CR. Taken together, in the current dataset which includes 5 trials,
          ORR increased from 37.6% (95% CI: 29.8-45.9) to 39.6% (95% CI: 31.7-47.9).

          1.3 Recommendations for Postmarket Requirements and Commitments

          1.3.1 Confirmatory Study
          Merck proposes that data from trial KN164 and data from trial KN158, with additional
          enrollment and extended duration of follow up (minimum follow-up of 12 months), will
          verify the durable clinical benefit and will constitute the confirmatory study to support
          regular approval of pembrolizumab, 200 mg every 3 weeks (Q3W), in previously treated
          subjects with MSI-H or dMMR cancer. KN158 protocol will be amended to enroll
          additional subjects into the MSI-H/dMMR cohort (Group K). As recommended by FDA,
          the trial will remain open until 20 subjects with each of the following common primary
          tumor types have been enrolled: prostate cancer, thyroid cancer, small cell lung cancer,
          and ovarian cancer. Enrollment of additional subjects with MSI-H biliary cancer, small
          intestinal cancer, and pancreatic cancer will continue until 20 subjects with each of
          these tumor types have also been enrolled. The Sponsor estimates that this will result in
          the enrollment of approximately 200 additional subjects with MSI-H cancer into KN158.

          The proposed confirmatory data package will therefore consist of KN158 trial data from
          approximately 310 (113 + approximately 200) subjects with non-colorectal cancer MSI-
          H cancer of at least 20 different histologic types and a minimum of 12 months of follow-
          up, all treated with pembrolizumab 200 mg Q3W. Milestones dates are for finalization of
          KN158 protocol amendment June, 2017, interim analysis results available November,
          2019, study completion date February, 2022, and final study report submission August,
          2022.

          1.3.2 Pediatric Post Marketing Requirement

          The proposed milestone dates are submission of MSI-H/dMMR amendment to Study
          KN-051 in September, 2017, study completion date January, 2022, and final study
          report submission June, 2022. The KN-051 trial was previously reviewed under the
          parent IND and subsequently is enrolling.

          According to the recently approved USPI for pembrolizumab for the treatment of
          Hodgkin’s lymphoma, the concentrations of pembrolizumab were comparable in adult
          and pediatric patients at the same dose level of 2 mg/kg every 3 weeks. The
          recommended dose of pembrolizumab in pediatric patients is 2 mg/kg (up to a
          maximum of 200 mg), administered as an intravenous infusion over 30 minutes every 3
          weeks until disease progression or unacceptable toxicity, or up to 24 months in patients
          without disease progression. The dose being administered in the pediatric trial, KN-051,
          is 2mg/kg every 3 weeks, and the applicant submitted a robust pediatric developmental


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          program. Based on the mechanism of action of pembrolizumamb, it would not be
          expected that response would differ in pediatric patients with MSI-H/dMMR tumors;
          therefore, it is reasonable to extrapolate the effects of pembrolizumab from adults to
          children. At this time, Merck is planning to enroll pediatric patients with MSI-H/dMMR
          tumors to confirm this effect. At this time the Division is considering whether to collect
          this data as a Subpart E PMR versus a PREA PMR (e.g., to collect additional safety
          data in children).

          1.3.3 In-vitro Diagnostic Device Post Marketing Commitment

          Merck has begun engagement with potential diagnostic partners to determine the
          feasibility of assay development and the timing for the submission of a premarket
          approval (PMA) application to CDRH to satisfy the post-marketing commitment is
          expected within 24 months after sBLA approval. Merck plans to submit Verification and
          Validation plans in March 2018 and submission of the PMA in March 2019. Refer to
          CDRH review for this PMC.


          2 Introduction and Regulatory Background

          2.1 Summary of Presubmission Regulatory Activity Related to Submission

          The sBLA was submitted on 8 Sept 2016 and the major amendment was submitted on 8
          March 2017. Refer to the original sBLA clinical review for full details of the regulatory
          history of this application.


          3 Significant Efficacy/Safety Issues Related to Other Review
            Disciplines

          3.1 Clinical Pharmacology

          The applicant submitted pharmacologic analyses including data from 8 randomized
          dose comparison studies of pembrolizumab in multiple tumor types across the clinical
          program showing a flat pembrolizumab dose-response relationship. Cumulatively, the
          trials included thousands (2000+) of patients with melanoma and non-small cell lung
          cancer with similar OS and PFS across doses and intervals.




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          4 Sources of Clinical Data
          The sBLA population consisted of 149 patients with MSI-H/dMMR cancers who were
          treated with pembrolizumab in studies KN016, KN012, KN028, KN164, and KN158. In
          the major amendment, the duration of follow-up was extended in KN164 from ≥27
          weeks in the Efficacy Update Report (EUR) dated 23-Nov-2016 to ≥54 weeks and in
          KN158 from ≥18 weeks in the EUR dated 23-Nov-2016 to ≥36 weeks. Updated efficacy
          information is not provided for Studies KN016, KN012, and KN028, for which sufficient
          durations of follow-up were presented in the sBLA.

          5 Review of Efficacy
          Efficacy data in 65 additional subjects with MSI-H cancer administered pembrolizumab
          at 200mg every 3 weeks: 58 new patients enrolled in KN158 and 7 patients with gastric
          cancer who received pembrolizumab in the third line (3L)+ setting from KN059, along
          with 6 patients from a French ATU (expanded access) program.

          5.1. Analysis of Primary Endpoint(s)

          Since the Efficacy Update Report, in KN164, which administered pembrolizumab at 200
          mg every 3 weeks, 2 subjects with stable disease (SD) converted to partial response
          (PR), which translates to an ORR increase in confirmed response by Independent
          Review Committee (IRC) from 24.6% to 27.9%. One subject with PR converted to
          complete response (CR), although CR confirmation is pending.

          In KN158, 1 subject with SD converted into PR, which translates to an ORR increase
          from 31.6% to 36.8%, while 2 (10.5%) other subjects converted from PR to CR. There
          were a total of 77 patients on KN158, (58 new patients enrolled) all of whom were
          administered pembrolizumab 200mg every 3 weeks, with ORR 29.9% (37.7% combined
          confirmed and unconfirmed).

          Using these updated data for the 149 subjects with MSI-H cancer presented in the
          sBLA, a nonrandomized comparison between subjects treated with pembrolizumab at
          10 mg/kg every 2 weeks and 200 mg every 3 weeks was performed. The pooled ORRs
          from studies which administered pembrolizumab at 10 mg/kg every 2 week dose and
          200 mg every 3 week dose were 50.7% (95% CI: 38.4-63.0) and 30.0% (95% CI: 20.3-
          41.3), respectively, and there was an overlap in the 95% CIs. The 2 different doses
          appear to have similar clinical outcomes as observed in ORR with overlapping CIs.

          REVIEWER’S COMMENT: The ORRs in both KN164 and KN158 have continued to
          increase with longer durations of follow-up. In addition, with longer durations of follow
          up, responses remain durable and only 1 subject in either study has developed disease
          progression, and the median durations of response continue to be not reached. Overall,



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          ORR across 5 trials increased from 37.6% (95% CI: 29.8-45.9) to 39.6% (95% CI: 31.7-
          47.9).

          5.2 Other Endpoints

          Specifically in regards to ORR by dose, there were 7 new subjects with MSI-H gastric
          cancer enrolled on KN059 and identified retrospectively by central PCR-based testing in
          which subjects who received ≥3 lines of prior therapy were treated with pembrolizumab
          200 mg Q3W with ORR 57%; 4 of the 7 subjects developed responses (1 CR, PRs).
          In addition, 6 patients with MSI-H/ dMMR cancers were treated in the French ATU
          program (5 colorectal cancer, 1 duodenal cancer; 2 mg/kg Q3W dose). Two
          Investigator-assessed unconfirmed responses were reported; ORR was 33%
          (investigator-assessed).

          5.3 Analysis of Clinical Information Relevant to Dosing Recommendations

          Potential explanations for the differences in the ORR (and PFS) between studies aside
          from dose include chance, difference in study populations and sites, and study design
          (refer to full clinical review). The flat dose of pembrolizumab 200mg every 3 weeks is
          safe and effective and is supported by data from a larger number of patients. There
          does not appear to be a compelling rationale at this time that would require labeling with
          the higher dose, especially noting that the data were collected from non-randomized
          single arm trials with limited patient numbers [as compared to the randomized reference
          population (includes patients with melanoma and non-small cell lung cancer)]. Therefore
          this reviewer recommends treating all patients in the above tissue-agnostic indication
          with 200mg every 3 weeks.

          6 Review of Safety
          Please defer to safety analyses documented in the original sBLA clinical review.




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     LEIGH J MARCUS
     04/26/2017

     STEVEN J LEMERY
     04/26/2017




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                                                                                   (b) (4)




                                       CLINICAL REVIEW

                     Application Type           sBLA
               Application Number(s)            125514/14
                 Priority or Standard           Priority

                           Submit Date(s)       8 Sept 2016
                         Received Date(s)       8 Sept 2016
                        PDUFA Goal Date         8 March 2017
                          Division / Office     DOP2/OHOP

                        Reviewer Name(s)        Leigh Marcus
                                                Steven Lemery, Team Leader
           Review Completion Date               14 Feb 2017

                        Established Name        Pembrolizumab (MK-3475)
                             Trade Name         Keytruda
                        Therapeutic Class       Programmed death 1 (PD-1)
                                                receptor blocking antibody
                                 Applicant      Merck Sharp & Dohme Corp.

                            Formulation(s)      50 mg lyophilized powder in
                                                single-use vial for
                                                reconstitution
                                                100 mg liquid solution in a
                                                single-use vial


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                        Dosing Regimen          200mg, intravenous every 3
                                                weeks
                                                                           (b) (4)

                           Indication(s)




               Intended Population(s)           Previously treated patients
                                                with MSI-H cancers




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          1 Recommendations/Risk Benefit Assessment

          1.1 Recommendation on Regulatory Action
          There is currently no microsatellite instability-high (MSI-H)-specific therapy for patients
          with MSI-H cancers who are managed using Standard of Care therapies. The majority
          of standard therapies for treating patients with metastatic cancer (including those with a
          higher prevalence of MSI-H cancer) are associated with poor clinical outcomes, and
          there is an unmet medical need in patients with advanced MSI-H cancer. The data
          presented in this application demonstrate a pembrolizumab treatment effect (200 mg
          every 3 weeks and 10 mg/kg every 2 weeks) that is reasonable likely to predict clinical
          benefit in patients with MSI-H cancer. Based on the extensive experience of
          pembrolizumab in other tumors, these effects on durable overall response rate (ORR) is
          associated with a favorable benefit/risk profile of pembrolizumab in patients with MSI-H
          cancer who have received previous therapy. Although this effect on durable ORR may
          be considered clinical benefit in and of itself (based on the unprecedented response
          duration in patients with previously treated metastatic cancer), residual uncertainty
          exists in regards to the extent of the effect across different possible tumor types. This
          residual uncertainty will be addressed through a post-marketing requirement to obtain
          additional data in patients with MSI-H cancer. Based on the data submitted to this sBLA
          and my review, I recommend approving pembrolizumab for the treatment of patients
          with MSI-H/dMMR cancers who have previously received therapy.

          REVIEWER’S NOTE: I recommend approval of this application; however, based on a
          13 Feb 2017 meeting with the applicant, additional information regarding dosing will be
          forthcoming. Therefore, the reader is referred to an addendum for details. Additionally,
          as a Division, we are further considering edits to the indication statement.
          1.2 Risk Benefit Assessment
          The benefit-risk assessment for this BLA was based on data from 5 non-randomized,
          open-label clinical trials, which in total enrolled 149 patients with advanced
          microsatellite instability-high (MSI-H), or mismatch repair deficient cancers (dMMR),
          MSI-H or dMMR were identified using polymerase chain reaction (PCR) or
          immunohistochemistry (IHC), respectively. The trials enrolled 89 patients with MSI­
          H/dMMR colorectal cancer (CRC) who progressed on or after at least 2 prior systemic
          cancer therapy regimens and 60 patients with other MSI-H/dMMR cancers (referred to
          as nonCRC, 15 different cancer types) who progressed on or after at least one prior
          systemic cancer therapy regimen. The primary efficacy population consisted of the 149
          subjects and the primary endpoint was overall response rate (ORR) assessed by
          blinded independent review committee (BICR) using RECIST criteria 1.1. Treatment
          with pembrolizumab occurred until unacceptable toxicity or disease progression that
          was symptomatic, was rapidly progressive, required urgent intervention, or occurred


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          with a decline in performance status. Patients without disease progression were treated
          for up to 24 months. Treatment with pembrolizumab could be reinitiated for subsequent
          disease progression and administered for up to 1 additional year.
          KEYNOTE016 was a single arm, activity finding trial in which data from subjects
          enrolled into 2 cohorts were submitted to the sBLA. KEYNOTE016A consisted of 28
          subjects with advanced MSI-H metastatic CRC who had received at least 2 prior
          therapy regimens, and KEYNOTE016C consisted of 30 subjects with advanced MSI-H
          nonCRC who had received at least 1 prior regimen. All subjects were identified as MSI­
          H prospectively and administered pembrolizumab 10 mg/kg every 2 weeks.
          KEYNOTE012 was a multi-cohort biomarker trial (programmed death ligand 1, [PD-L1])
          for subjects with advanced solid tumors that progressed on prior therapy or for which no
          standard therapy exists. Six subjects with MSI-H tumors were identified retrospectively
          and the dose of pembrolizumab that was administered was 10 mg/kg every 2 weeks.
          KEYNOTE028 was also a multicohort biomarker (PD-L1) trial for subjects with
          advanced solid tumors with the same eligibility criteria as KEYNOTE012, and 5 subjects
          were retrospectively identified as MSI-H and administered pembrolizumab 10mg/kg
          every 2 weeks. KEYNOTE158 was also a multicohort trial of rare tumors in which 16
          subjects were identified prospectively as MSI-H in cohort K, and 3 subjects were
          retrospectively identified as MSI-H in cohorts B and D for a total of 19 subjects who
          were administered pembrolizumab 200mg every 3 weeks. KEYNOTE164 is the
          prospective trial of subjects with CRC previously treated with fluoropyrimidine and
          oxaliplatin, fluoropyrimidine and irinotecan, with or without an antiVEGF/EGFR antibody
          as appropriate. Sixty-one subjects received pembrolizumab 200mg every 3 weeks.
          There were 56 responders from the 149 subjects across 5 trials. When assessed for
          efficacy with all tumor types pooled together, the subjects demonstrated a clinically
          meaningful ORR (pooled ORR=37.6%, confidence interval [CI] 29.8, 45.9). Fifty-two of
          the 56 responders were ongoing at the time of submission (range 1.6, 22.7 months),
          with a median duration of response that was not-reached (15.9 months, NE). The
          pooled ORR is better than demonstrated in clinical trials investigating treatment of
          patients with advanced cancers, as is the duration of response, which is improved
          compared to available therapies. The clinical significance and robustness of the primary
          ORR analysis were all supported by sensitivity analyses (refer to FDA biostatistical
          review).
          Overall, the safety profile of pembrolizumab appears to be acceptable relative to
          durable responses observed in patients with advanced, MSI-H or dMMR cancers. The
          rate of permanent discontinuation of pembrolizumab due to adverse events (AEs) was
          5% in the MSI-H safety population, which consisted of 2 subjects each from
          KEYNOTE016A and KEYNOTE164 (total N=89). This is less than the reference safety
          population (12%) which consists of 2799+ subjects with melanoma or non-small cell
          lung cancer (NSCLC) who have received pembrolizumab. The most common adverse
          drug events including laboratory abnormalities (occurring in ≥20% of patients or
          clinically significant) in patients with MSI-H cancers treated with pembrolizumab were
          fatigue, nausea, diarrhea, abdominal pain, vomiting, pyrexia, anemia (19%) arthralgia


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          (19%), and cough (18%). The incidence of Grades 3-5 events was similar in the MSI-H
          cancer population (48%) as compared to the reference safety population (45%) as well
          as the serious adverse events (39% vs. 37%, respectively in data submitted to original
          sBLA/Not the SUSAR). Adverse reactions occurring in patients with MSI H CRC were
          generally similar to those occurring in patients with melanoma or NSCLC. In both
          populations, deaths caused by AEs were similar (3% and 4%) in the MSI-H pooled
          safety population and reference safety population respectively. The overall safety profile
          was generally manageable.
          The principal strength of the application is the improved ORR and durability of the
          responses across multiple advanced tumor types that have had historically poor and
          limited treatment options. Responses were demonstrated in cancers that have
          previously been unresponsive to checkpoint inhibitors such as pancreas cancer.
          Weaknesses in this application include the uncertainty of the consistency of the results
          across multiple tissue histologies with the commonality that they are MSI-H, referred to
          as a “tissue agnostic” indication. Nevertheless, the data appear to support
          improvements in efficacy as measure by ORR in numerous cancer types (N=15)
          including for example CRC, endometrial, gastric, pancreas.
          Previously approved drugs in oncology have had cancer-specific indications such as for
          the treatment of patients with recurrent or metastatic squamous cell carcinoma of the
          head and neck (SCCHN) with disease progression on or after platinum based therapy,
          or if there is a target, for example metastatic non-small cell lung cancer (NSCLC) whose
          tumors are anaplastic lymphoma kinase (ALK)-positive as detected by an FDA-
          approved test. There has not been a drug approved by FDA for which there was no
          description of a type of cancer specified in the indication statement.
          The biologic rationale suggests that MSI-H cancer represents a unique, biomarker­
          identified disease with a common immunobiology, and that the mechanism of action of
          pembrolizumab, as a monoclonal antibody inhibitor of PD-L1, has activity across tumor
          types.
          MSI-H determination was made by PCR (polymerase chain reaction for MSI) performed
          centrally or locally, or IHC (immunohistochemistry for dMMR) performed locally, which
          the applicant suggest are assays measuring the same biological effect. PCR samples
          from some patients were tested from Promega to evaluate insertion or deletion of
          repeating units in the 5 mononucleotide repeat markers (BAT-25, BAT-26, MON0-27,
          NR-21, and NR-24). At least 2 MSI loci were required to demonstrate size shifts for a
          MSI-H positive result. Subjects were determined to be dMMR when expression of at
          least 1 of 4 MMR proteins was absent by IHC.
          Two distinct doses of pembrolizumab were administered among the 5 trials: 10 mg/kg
          every 2 weeks and 200mg every 3 weeks. The variability in dosing made it challenging
          to isolate the effect that different doses had on the efficacy outcome. The trials with
          pembrolizumab administered at 10 mg/kg every 2 weeks had more responders
          compared to trials with pembrolizumab administered at 200mg every 3 weeks (ORR


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          51%, 95% CI [38.4, 63] compared to 26%, 95% CI [17, 37.3]). Subjects from
          KEYNOTE016 and earlier clinical trials (KEYNOTE012 and KEYNOTE028) were
          administered the higher and more frequent dose of pembrolizumab. The confidence
          intervals do not overlap suggesting that the higher dose may be more effective.
          However, there are small numbers of subjects in the population submitted to the sBLA
          and uncertainty exists in regards to the dose effect given that the results did not come
          from randomized studies. Additionally the 10 mg/kg every 2 weeks dose was
          administered in trials that had longer duration of follow up, so the applicant suggested
          that the better ORR could be due to this factor (because late responses have been
          observed in patients with MSI-H tumors treated with pembrolizumab).
                                                                                                (b) (4)


                                                 . At the time of the completion of this review, there
          was no consensus to whether a PMC regarding dose would be feasible or required (and
          the applicant will submit new data to support the proposed 200 mg flat dose).
          REVIEWER’S NOTE: An addendum regarding recommendations for the dose will be
          forthcoming in response to data that will be submitted by applicant as discussed during
          a 13 Feb 2017 meeting.
          Pembrolizumab was relatively well tolerated in the MSI-H/dMMR subject population and
          the overall safety profile was largely consistent with the safety profile in the USPI. The
          totality of the data from the sBLA with 149 subjects across 5 clinical trials study shows a
          favorable benefit-risk. In conclusion, the submitted evidence meets the statutory
          evidentiary standard for accelerated approval. The observed durations of response are
          clinically meaningful when considering the intended patient population and currently
          available therapies. The clinical benefits outweigh the risks associated with
          pembrolizumab administered in the MSI-H/dMMR advanced cancer population identified
          during the review of this sBLA.
          1.3 Recommendations for Postmarket Risk Evaluation and Mitigation
          Strategies
          There are no safety issues identified at this time requiring Risk Evaluation and
          Mitigations Strategies (REMS).
          1.4 Recommendations for Postmarket Requirements and Commitments
          A clinical post-marketing requirement (PMR) is recommended to further assess efficacy
          and to support traditional approval. The applicant plans to fully accrue (proposed
          N=180) Cohort K of KEYNOTE158 with 24 months of follow up. An additional 63
          patients have accrued to KEYNOTE164 (Cohort B) with increased duration of follow up
          (minimum follow up of 24 months). The remainder of the MSI-H/dMMR trials remain
          open except for KEYNOTE012 and KEYNOTE028.
          To note, KEYNOTE177, entitled “A Phase III Study of Pembrolizumab (MK-3475) vs.
          Chemotherapy in Microsatellite Instability-High (MSI-H) or Mismatch Repair Deficient
          (dMMR) Stage IV Colorectal Carcinoma”, is already underway and as of 21 Dec 2016
          has enrolled 76 subjects. The primary endpoint is progression free survival (PFS) and
          secondary objective is overall survival (OS). Although this study can assess effects of


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          pembrolizumab in patients with MSI-H/dMMR CRC, it would not be able to assess the
          effects of pembrolizumab in patients with other tumors.
          As of 21 Dec 2016, 416 subjects have enrolled across the MSI-H/dMMR developmental



          pediatrics shortly.
                                                                                           -
          program. The applicant states that based on current enrollment rates, the confirmatory
          data package (proposed N=304) could be available in 2Q 2019. The applicant
                                     will submit their proposed plan for studying the drug in
                                                                                              (b) (4)




          2 Introduction and Regulatory Background
          2.1 Product Information
          Pembrolizumab is a humanized monoclonal antibody of the IgG4/kappa (IgG4) isotype
          that binds to programmed death 1 (PD-1) receptor and directly blocks the interaction
          between PD-1 and its ligands, PD-L1 and PD-L2. Pembrolizumab is supplied as a
          lyophilized powder in single-use vials for reconstitution and as a 100 mg liquid in single-
          use vials.
          2.2 Tables of Currently Available Treatments for Proposed Indications
          Colorectal Cancer
          According to Surveillance, Epidemiology and End Results (SEER) data accessed on 14
          October 2016 (http://seer.cancer.gov/statfacts/html/colorect.html), based on cases and
          deaths from 2009-13, the annual incidence rate of colorectal cancer (CRC) is,
          approximately 134,490 new cases of large bowel cancer, of which 95,270 are colon and
          the remainder rectal cancers. Approximately 49,190 Americans die of CRC each year,
          accounting for approximately 8 percent of all cancer deaths.[1] CRC is the third highest
          cause of death due to cancer in the U.S. At least 50% of patients develop metastases,
          and most patients with metastatic CRC are unresectable.[2]
          First- and second-line therapy of advanced or metastatic CRC usually consists of the
          administration of oxaliplatin or irinotecan in combination with leucovorin and fluorouracil.
          Monoclonal antibodies are added to these regimens (e.g., an anti-VEFG pathway drug
          or if RAS wild-type, an anti-EGFR antibody). With the exception of metastatic disease
          confined to the liver and completely resected, metastatic CRC is generally considered
          incurable and the aim of therapy is to prolong survival and improve quality of life. The
          standard of care is to administer chemotherapy in first-line until the disease progresses,
          recurs, or the toxicity of therapy is deemed intolerable or detrimental to the patient’s
          quality of life. Treatment of metastatic disease is a continuum of care, and if disease
          progresses during first-line treatment, treatment continues with a different
          chemotherapy regimen that has not been used before in that particular patient (for
          example, if a patient received an oxaliplatin-based regimen for first line, an irinotecan­
          based regimen may be used for the second-line treatment). For patients refractory to
          these agents, The National Comprehensive Cancer Network (NCCN) guideline version
          2.2016 accessed on 14 October 2016


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          (http://www.nccn.org/professionals/physician_gls/pdf/colon.pdf) recommend
          regorafenib, lonsurf, BSC, or participation in a clinical trial.
          Regorafenib and TAS-102 are approved for the treatment of patients with metastatic
          CRC who have been previously treated with fluoropyrimidine-, oxaliplatin- and
          irinotecan-based chemotherapy, an anti-VEGF therapy, and, if RAS wild type, an anti-
          EGFR therapy. However, due to the modest improvement in OS (less than 2 months)
          and side effect profile of both drugs, it is reasonable for an adequately consented
          patient to forgo this therapy in lieu of a clinical trial (or best supportive care). In the
          CORRECT trial, the activity of regorafenib noted a hazard ratio (HR) for OS of 0·77
          (95% CI 0·64–0·94; p=0·0052) and a median difference in OS of 1.4 months (6·4
          months with regorafenib vs 5·0 months with placebo). Objective responses were noted
          1% in CORRECT.[3] In RECOURSE trial for TAS-102, the median OS improved from
          5.3 months with placebo to 7.1 months with TAS-102, and the hazard ratio for death in
          the TAS-102 group versus the placebo group was 0.68 (95% CI, 0.58 to 0.81; P<0.001).
          Objective response rates of 1.6% with TAS-102 and 0.4% with placebo (P=0.29) were
          noted.[4]

          Microsatellite-instability High Colorectal Cancer
          CRC is a heterogeneous disease arising through different pathways including the
          chromosomal instability (CIN) pathway, the microsatellite instability high (MSI) pathway,
          and CpG island methylator phenotype (CIMP).[5] MSI is the molecular hallmark of
          mismatch repair deficiency, which results in high mutational load in MSI tumors and
          creates tumor specific neo-antigens, and highly activated T-helper-1 (Th1) and cytotoxic
          T-lymphocyte-rich (CTL) microenvironment within the tumor.[6,7] Microsatellite
          instability-high colorectal cancer (MSI-H-CRC) comprises approximately 15% of
          sporadic CRC and 5% of Stage IV CRC, whereas microsatellite stable (MSS) CRC
          comprises the remainder.[8]
          Prognosis of stage II MSI-H CRC appears favorable compared to MSI-S CRC; however,
          patients with MSI-H CRC (stage II) do not benefit from 5-FU-based adjuvant therapy.[9­
          11]. Although the prognosis of patients with stage II or III MSI-H CRC may be favorable,
          the prognosis of MSI-H Stage IV CRC patients appears similar to or may be worse than
          patients with MSS tumors. In one report, recurrent MSI-H CRC was associated with
          worse overall survival (when defined as the time between initial diagnosis and death
          (HR: 1.363) and when defined as the time between recurrence and death (HR:
          2.667).[12] The prognosis of patients with metastatic CRC who have progressed on all
          standard therapies generally is very poor.

          MSI-H non Colorectal Cancer
          Microsatellites are repetitive sequences distributed throughout the genome that consist
          of mono-, di-, or higher order nucleotide repeats such as (A)n or (CA)n. These
          sequences are more frequently copied incorrectly when deoxyribonucleic acid (DNA)


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          polymerases cannot bind efficiently to repair sequence errors that occur during DNA
          replication. Mismatch repair (MMR) proteins including MLH1, MSH2, MSH6 and PMS2
          are responsible for recognizing and correcting errors in mismatched nucleotides and
          insertions/deletions that result from DNA polymerase slippage when microsatellites are
          being replicated. The MSI-H phenotype is associated with defective MMR proteins and
          can occur as a result of a germline mutation in one of the MMR genes (e.g., Lynch
          syndrome) or through methylation of an MMR gene promoter. MSI-H cancer may be
          considered one unique set of cancers that share a common immunobiology
          characterized by a high mutational burden and tumor-specific nee-antigen load
          mediated by MSI and common defects in MMR.
          MSI-H/dMMR is observed in many types of cancers including CRC, gastric,
          endometrial, biliary, pancreatic, ovarian, prostate, and small intestinal cancers.
          According to results of the Moffitt cancer center database (results provided in the sBLA),
          overall, the prevalence of MSI-H/dMMR cancer is 2% to 5% across tumor histologies; it
          is more common in colorectal cancer, endometrial cancer, and gastric cancer). There is
          currently no MSI-H/dMMR-specific therapy for patients with MSI-H/dMMR cancer. Each
          subject with advanced cancer known to be MSI-H is managed using Standard of Care
          therapies. There are no approved available therapies for second line biliary, small
          bowel, or endometrial cancers. The majority of standard therapies for treating advanced
          cancers are associated with poor clinical outcomes, see Table 1.
          Table 1: Efficacy Outcomes in Randomized Trials for advanced cancers that
          might include MSI-H (common cancers included in this sBLA, modified from
          submission)
                           I ORR(%)            I DoR (months)       I PFS (months)         I OS (months)
          CRC
                     2L    I 11-21             I 6-7.6              I 4.5-6.9              I 11.1-17
                     3L    I 0.4-22            I 3.8-5.4            I 1.7-4.4              I 5-10.4
          Gastric
                     2L    I 7-28              I 2.8-4.4            I 2.3-4.4              I 3.6-9.6
           Biliary
                2L         I No randomized studies; no approved standard of care therapy
           Endometrial
                2L         I No randomized studies; no approved standard of care therapy

          For CRC, the approved standard of care therapies are described in detail above
          "colorectal cancer." For gastric cancer, in 2014 FDA approved ramucirumab as a single
          agent or in combination with paclitaxel, indicated for treatment of advanced gastric or
          gastro-esophageal junction adenocarcinoma, with disease progression on or after prior
          fluoropyrimidine-or platinum-containing chemotherapy. There are no randomized
          studies nor approved therapies for 2L+ biliary or endometrial caners. Note that the trials
          in the table above do not delineate which subjects were MSI-H/dMMR, if any.
          REVIEWER COMMENT: Treatments administered to patients with certain cancers such
          as endometrial and biliary cancer in the second-line and later settings are derived


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          primarily from small and uncontrolled trials, and clinical evidence from randomized trials
          is lacking. Therefore it is difficult to accurately measure a historical ORR for
          comparison. However, outcomes of patients with such tumors are generally poor and as
          such, unmet medical need exists for such patients.


          2.3 Availability of Proposed Active Ingredient in the United States
          Pembrolizumab is FDA approved for use for the following indications:

             Treatment of patients with unresectable or metastatic melanoma
             First-line treatment of patients with metastatic NSCLC whose tumors have high PD­
              L1 expression [tumor proportion score (TPS) ≥ 50%] as determined by an FDA-
              approved test, with no EGFR or ALK genomic tumor aberrations
             Treatment of patients with metastatic NSCLC whose tumors express PD-L1 (TPS ≥
              1%) as determined by an FDA-approved test, with disease progression on or after
              platinum-containing chemotherapy. Patients with EGFR or ALK genomic tumor
              aberrations should have disease progression on FDA-approved therapy for these
              aberrations (prior to receiving pembrolizumab)
             (Accelerated approval) Treatment of patients with recurrent head and neck
              squamous cell carcinoma (HNSCC) with disease progression on or after platinum-
              containing therapy

          2.4 Important Safety Issues With Consideration to Related Drugs
          The safety profile of pembrolizumab is well characterized. Similar to other drugs
          targeting the PD-1 pathway, such as nivolumab, or drugs such as ipilimumab targeting
          cytotoxic T-lymphocyte antigen (CTLA-4), which also function as a negative regulator of
          immune responses, severe or serious immune-mediated adverse reactions have been
          observed in patients treated with pembrolizumab.
          2.5 Summary of Presubmission Regulatory Activity Related to Submission
          Below is a list of key regulatory history that pertains to this sBLA.

          9 May 2013: Submission of KEYNOTE016: “Phase 2 Study of MK-3475 in Patients with
          Microsatellite Unstable (MSI) Tumors.”
          8 June 2015: Type B meeting minutes (held 12 May 2015)
          Discussion of KEYNOTE164 “A Phase IIB Study of Pembrolizumab (MK-3475) as
          Monotherapy in Subjects with Unresectable Locally Advanced or Metastatic
          Microsatellite Instability-High Colorectal Adenocarcinoma.” FDA recommended that
          Merck power the study to rule out a higher (e.g., at least 15%) lower bound of the 95%
          confidence interval of the response rate.



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          10 June 2015: Submission of KEYNOTE164: “A Phase II Study of Pembrolizumab (MK-
          3475) as Monotherapy in Subjects with Previously Treated Locally Advanced
          Unresectable or Metastatic (Stage IV) Microsatellite Instability-High Colorectal
          Carcinoma.”
          1 July 2015; 30 Nov 2015 iPSP for MSI-H CRC (submission; FDA agreement for MSI­
          H CRC).
          10 July 2015: New IND opened for KEYNOTE158.
          29 September 2015: Merck requested FDA’s agreement with a proposal to identify
          patients with MSI-H-tumors
                                                                                  (b) (4)


          KEYNOTE158: “A Clinical Trial of Pembrolizumab (MK-3475) Evaluating Predictive
          Biomarkers in Subjects with Advanced Solid Tumors.”
          27 October 27 2015, FDA responded by email that the Agency did not agree with the
          proposal based on                                                           . FDA stated that
                                                                              (b) (4)


          an alternative to central testing would be required to ensure the same reagents,
          protocol, and result reporting are used at all testing sites.
          16 February 2016, Merck submitted an amendment containing a proposal stating that
          MSI-H testing could be performed using IHC or one of two specific PCR assays. Merck
          stated that the case report forms would collect information about methodology used to
          identify MSI-H status, including reagents, assay protocols, and results.
          29 Oct 2015 Breakthrough Designation Therapy (BTD) granted for MSI-H CRC
          22 July 2016 Type B pre-sBLA meeting minutes (meeting 13 July 2016)
          FDA requested that a single dataset containing all demographic and tumor response
          data from all patients be submitted in the sBLA. Additionally, FDA requested that Merck
          provide clinical pharmacology datasets and population PK and exposure response
          analyses including results of Study KEYNOTE059 in support of the 200 mg every 3
          weeks regimen in patients with MSI-H cancer. FDA requested that Merck provide a
          discussion regarding the potential reason(s) for the discrepancies in the data between
          Studies KEYNOTE016 and KEYNOTE164 and whether it is scientifically appropriate to
          pool the data to provide an estimation of the ORR. The discussion should include
          whether there were any differences in MSI testing (e.g., was testing in Study
          KEYNOTE016 more specific), differences in enrolled populations, and any other factors
          deemed relevant. FDA requested that Merck provide a narrative summary of all patients
          who developed progression/recurrence limited to the central nervous system. FDA
          stated that the summary should include whether the patient had CNS imaging at
          baseline, what treatment the patient received for the CNS metastasis, whether the
          patient continue to receive pembrolizumab (and for how long), and any other
          information deemed relevant.
          1 Aug 2016 BTD granted for MSI-H cancer
          30 Aug 2016 iPSP for MSI-H cancers submission



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          REVIEWER’S COMMENT: MSI-H nonCRC does not have an agreed upon PSP.
          2.6 Other Relevant Background Information

          2.6.1 MSI-H testing

          In clinical oncology practice, current mismatch-repair/microsatellite-stability instability
          (MMR/MSI) testing with either an MMR protein immunohistochemical (IHC)-based
          assay or polymerase chain reaction (PCR)-based MSI loci testing is used mainly in the
          management of CRC, as recommended by the National Comprehensive Cancer
          Network (NCCN), European Society for Medical Oncology, and American Society of
          Clinical Oncology. According to NCCN, accessed on 14 October 2016
          (https://www.nccn.org/professionals/physician_gls/pdf/colon.pdf), either IHC-based
          testing or PCR-based testing has been utilized in clinical decision making because
          patients determined to have defective MMR status are biologically the same population
          as those with MSI-H status. Some comprehensive cancer centers perform IHC or MSI
          testing on all newly diagnosed CRC and endometrial cancers to determine which
          patients should have genetic testing for Lynch syndrome, a cancer predisposition
          syndrome.
          MMR- or MSI status is generally determined by examining either tumor 1) protein
          expression by immunohistochemistry of 4 MMR enzymes (MLH1/MSH2/MSH6/PMS2)
          or 2) 3-5 tumor microsatellite loci using PCR-based assay, or 3) both. Tumors were
          reportedly classified as MSI high when at least 2 allelic shifts among the 3-5 analyzed
          microsatellite markers were detected by PCR or dMMR if there is absence of at least 1
          of 4 mismatch repair proteins expression by IHC.

          3 Ethics and Good Clinical Practices
          3.1 Submission Quality and Integrity
          The amended submission was of adequate quality for the clinical review. Data in the
          datasets were determined to be acceptable for review through an audit of the case
          report forms (CRFs) versus the datasets in approximately 10% of patients in KN16.
          Initially, however, inconsistencies were noted between certain data in the CRFs and
          SDTM efficacy datasets in KEYNOTE016. Specifically, the inconsistencies were
          identified in the immune-related Response Criteria (irRC) for the investigator assessed
          efficacy endpoint at the time that the sBLA was submitted. Based on these
          inconsistencies, FDA contacted Merck via an information request dated 23 Sep 2016
          and held two telephone conferences dated 26 Sep 2016 and 4 Oct 2016.
          Based on these FDA observations, Merck amended their BLA on 12 Oct 2016 and 2
          Nov 2016. The amended BLA highlighted actions taken to address these
          inconsistencies.




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          Merck conducted an investigation, including a review by imaging experts, which
          included a full review of all available source documentation and CRF data from all 58
          subjects in Study KN016. Merck categorized their findings into four groups.

                 Incorrect implementation of imaging criteria: One error was related to
                  implementation of RECIST 1.1. This error was in reference to recording a new
                  lesion at week 12 instead of week 20; as such, this error would not have favored
                  pembrolizumab. Additional errors were noted affecting the (immune) response
                  determination of 3 patients at different specific time-points.
                 Incorrect dimensions were used in the irRC assessment in two patients. One had
                  no impact on the irRC assessment and one resulted in a patient who was
                  classified as progressive disease at week 20 to have stable disease at this time-
                  point.
                 Data entry errors for 11 patients were noted which had no impact on response
                  assessments.
                 Case report forms were not optimized for irRC (this potentially created some of
                  the issues related to irRC measurements).

          In summary, the audit determined that the inconsistencies (between CRFs and
          datasets) appeared to be isolated to irRC assessments in KN016 (with one exemption
          that did not reclassify a patient as a responder). These data errors in the original sBLA
          did not systematically improve the results for pembrolizumab treatment; therefore, the
          inconsistencies did not appear to be related to any attempts by the sponsor or
          investigator to affect the results in the application.
          Nevertheless, Merck corrected the patient CRFs and submitted these to the BLA on 2
          Nov 2016.
          REVIEWER COMMENT: The irRC is for exploratory analysis and does not have clinical
          significance to the primary efficacy endpoint for KEYNOTE016, which is independent
          central review using RECIST 1.1. This reviewer could not identify any issue that
          questioned the integrity of the submission. Other data evaluated from this trial appeared
          accurate and reflective of the CRFs and the overall assessment based on investigator
          RECIST 1.1 appeared accurate.
          3.2 Compliance with Good Clinical Practices
          The clinical trials included in the application (KEYNOTE016, KEYNOTE012,
          KEYNOTE028, KEYNOTE164, KEYNOTE158) contained a statement that they were
          conducted in accordance with current standard research approaches with regard to the
          design, conduct, and analysis of such trials including the archiving of essential
          documents (module 2, section 2.5 [Clinical Overview], page 15). All trials were
          conducted following appropriate Good Clinical Practice (GCP) standards and
          considerations for the ethical treatment of human subjects that were in place at the time
          the trials were performed.


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          An Office of Scientific Investigations (OSI) consult was requested for the clinical
          inspection of one trial site (Johns Hopkins). The site was selected based upon the site-
          specific efficacy data, and the patient enrollment at the site. This reviewer also used the
          JMP Clinical (version 6) tool to analyze for possible fraud at sites including searching for
          excessive patient visits on Saturday/Sundays or holidays, searching for patients with the
          same birthdates, or with blood pressures ending with the same value. The data was
          also queried for subjects that discontinued drug or study and frequency of adverse
          events (AE). No patterns questioning the data were identified in these analyses.
          Furthermore, OSI found the data from the Johns Hopkins site to be acceptable with a
          preliminary recommendation of NAI (no action indicated).
          3.3 Financial Disclosures
          In accordance with 21 CFR 54, the Applicant submitted a list of trial investigators
          (section 1.3.4, Tables 2 and 3) and financial disclosures (FDA form 3454) for Studies
          KEYNOTE164 and KEYNOTE016. No investigator from either study held financial
          interest or arrangements requiring disclosure per the criteria described on Form 2454.
          There were 2 investigators from KN16 that did not return the financial disclosure form
          (one Merck form not received and one Johns Hopkins form not received) and another
          investigator from KN164. The form did not specify investigator versus subinvestigator.

          4 Significant Efficacy/Safety Issues Related to Other Review
          Disciplines
          4.1 Chemistry Manufacturing and Controls
          See the FDA Chemistry Review from the original BLA submission. There were no
          significant safety or efficacy issues identified related to Chemistry, Manufacturing, and
          Controls (CMC).
          4.2 Clinical Microbiology
          See the FDA Microbiology Review from the original BLA submission. There were no
          significant safety or efficacy issues identified related to product quality from a
          microbiology standpoint.
          4.3 Preclinical Pharmacology/Toxicology
          See the FDA Pharmacology/Toxicology Review from the original BLA submission for full
          details.
          4.4 Clinical Pharmacology
          There were significant review issues regarding dose, specifically, 200mg IV every 3
          weeks at a flat dose versus 10 mg/kg IV every 2 weeks. For full details, see the FDA
          Clinical Pharmacology Review of the current sBLA submission.




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          4.4.1    Mechanism of Action

          Binding of the PD-1 ligands, PD-L1 and PD-L2, to the PD-1 receptor found on T cells,
          inhibits T cell proliferation and cytokine production. Upregulation of PD-1 ligands occurs
          in some tumors and signaling through this pathway can contribute to inhibition of active
          T-cell immune surveillance of tumors. Pembrolizumab is a monoclonal antibody that
          binds to the PD-1 receptor and blocks its interaction with PD-L1 and PD-L2, releasing
          PD-1 pathway-mediated inhibition of the immune response, including the anti-tumor
          immune response. In syngeneic mouse tumor models, blocking PD-1 activity resulted in
          decreased tumor growth.[13]
          The applicant submitted data on 13 Feb 2017 showing that measures of tumor antigen
          load/mutation burden and T-cell inflamed microenvironment have low correlation but are
          independently predictive. Recall that MSI-H and dMMR results in high mutational load in
          tumors, creating tumor specific neo-antigens, and a highly activated immune
          microenvironment within the tumor. High mutational load appears to predict responses
          in pembrolizumab across multiple tumor types.

          4.4.2    Pharmacodynamics

          See the FDA Clinical Pharmacology Review from the original BLA submission for
          general PD information.

          4.4.3    Pharmacokinetics

          See the FDA Clinical Pharmacology Review from the original BLA submission for
          general PK information. For the current submission, the Applicant proposed a fixed
          dosing regimen of 200 mg IV every 3 weeks. While pembrolizumab showed evidence of
          target engagement and objective evidence of tumor size reduction at all dose levels (1
          mg/kg, 3 mg/kg, and 10 mg/kg every 2 weeks) studied in the first-in-human trial of
          pembrolizumab, no maximum tolerated dose was identified. The Applicant states that in
          the pembrolizumab clinical program, flat dose-response and exposure-response
          relationships for efficacy were found in melanoma and NSCLC patients in the range of
          doses between 2 mg/kg and 10 mg/kg, and the Applicant suggested that clinical data at
          2 mg/kg every 3 weeks is on or near the plateau of the exposure-response curve
          achieving maximal clinical efficacy.
          The dose selected for study in KEYNOTE016 was the highest dose studied, 10 mg/kg
          every 2 weeks. The Applicant later selected the fixed dose of 200 mg every 3 weeks for
          KEYNOTE164, KEYNOTE158 and in later phase clinical trials based on simulations
          performed using the population PK model of pembrolizumab. Per the Applicant,
          according to this model the fixed dose of 200 mg every 3 weeks will: 1) provide
          exposures that are optimally consistent with those obtained with the 2 mg/kg every 3
          weeks dose, the 3 mg/kg and 10 mg/kg doses as well 2) maintain individual patient
          exposures in the exposure range established in melanoma as associated with maximal


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          efficacy response; and 3) maintain individual patient’s exposure in the exposure range
          established in melanoma that are well tolerated and safe.
          Based on population PK analysis, the exposure with pembrolizumab 200 mg every 3
          weeks is approximately 30% higher than with a 2 mg/kg every 3 weeks dosage
          regimen. The exposure with the 10 mg/kg every 2 weeks dosage regimen is
          approximately 4-fold higher than the exposure with the 200 mg every 3 weeks fixed
          dose. For specific details related to the fixed dosing regimen versus 10 mg/kg IV every
          2 weeks, see the FDA Clinical Pharmacology Review of the current sBLA submission.
          Also refer to the differences in clinical effects observed in the efficacy section of this
          review between the two different dosing regimens investigated in the MSI-H/dMMR
          development program.

          REVIEWER’S NOTE: There was a meeting on 13 Feb 2017 and data regarding
          recommended dose was discussed. The applicant plans to submit additional data to
          support the flat dose 200mg IV every 3 weeks. A discussion and recommendation
          regarding dose will be in an addendum to this review.

          5 Sources of Clinical Data
          5.1 Tables of Studies/Clinical Trials

          Table 2: Table of Clinical Trials of subject data submitted to sBLA
                                                       n of N (if     MSI-H
                Trial       Design/Eligibility                                 Dose         Tumor Types
                                                      applicable)      test

                        Single arm, activity                                             Endometrial 9
                        finding, 6 sites                              Prosp              Ampullary/biliary 7
                                                      28 CRC
               016      CRC: received ≥ 2 prior                       PCR     10mg/kg    Pancreatic 4
                                                      30 non
               (JHU)    therapy regimens                              IHC     q2w        Small bowel 4
                                                      CRC
                        nonCRC: ≥1 prior                              local              Gastric 3, sarcoma
                        therapy regimen                                                  Prostate, thyroid

                        Single arm,
                                                                      Prosp
                        multicenter, CRC: ≥1
                                                                      PCR     200mg
               164      prior therapy regimen         61                                 CRC
                                                                      IHC     q3w
                        fluoro+ox, fluoro+irino +/-
                                                                      local
                        anti-VEGF/EGFR mAb

                        Multi-Cohort PD-L1
                                                                      Retro
                        advanced solid tumors                                 10mg/kg    Gastric 4, breast
               012                                    6 of 297        PCR
                        failed prior tx, no std tx.                           q2w        Bladder
                                                                      local
                        Measurable dz.




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                        Multi-Cohort PD-L1
                        advanced solid tumors                         Retro              Esophageal,
                                                                              10mg/kg
               028      failed prior tx, no std tx,   5 of 475        PCR                Cholangio, breast
                                                                              q2w
                        std tx not appropriate.                       local              Endometrial, CRC
                        Measurable dz.
                        Multi-Cohort rare tumor
                                                      19 of 713
                        basket study advanced                         Both
                                                      (still
                        cancer. 1st line standard                     PCR     200mg      SCLC, gastric,
               158                                    enrolling at
                        tx has failed. (Prosp:                        IHC     q3w        pancreatic, SB
                                                      time of
                        Cohort K; Retro:Cohorts                       local
                                                      submission)
                        B,D)
               Total    5 trials                      149             60 subjects with nonCRC MSI-H tumors

          Key: Tx=therapy, Prosp=prospectively tested for MSI; Retro=retrospectively tested for MSI, SCLC=small
          cell lung cancer, std=standard, dz=disease

          5.2 Review Strategy
          The clinical review is based on the Clinical Study Reports (CSRs) for the pivotal studies,
          KEYNOTE016 “Phase 2 Study of MK-3475 in Patients with Microsatellite Unstable
          (MSI) Tumors,” and KEYNOTE164, “A Phase II Study of Pembrolizumab (MK-3475) as
          Monotherapy in Subjects with Previously Treated Locally Advanced Unresectable or
          Metastatic (Stage IV) Microsatellite Instability-High Colorectal Carcinoma,” outlined in
          Section 5.1, as well as the Integrated Summary of Safety (ISS), the Integrated
          Summary of Efficacy (ISE), the updated Summary of Clinical Efficacy (SCE), and the
          updated Summary of Clinical Safety (SCS) – Safety Update Report which has data from
          KEYNOTE012, KEYNOTE028, and KEYNOTE158. The data cut-off dates for the initial
          sBLA submission for KEYNOTE016 and KEYNOTE164 including the CSRs, ISS, ISE,
          and narratives were 19 Feb 2016 (16A), 13 Apr 2016 (16C), and 3 June 2016 (164).
          The data cut-off date for the updated safety and efficacy analyses of KEYNOTE158
          included in the updated SCE and SCS was 17 Aug 2016, and the data cut-off date for
          the updated efficacy analysis of KEYNOTE164 was 3 Aug 2016. Among the items
          reviewed were primary datasets (for baseline characteristics, efficacy, and toxicity)
          submitted by the Applicant, selected case report forms (CRFs), selected narratives, and
          a literature review of agents studied for the treatment of recurrent or metastatic CRC
          and MSI-H/dMMR cancers.
          REVIEWER COMMENT: There was 1 subject on KEYNOTE158 who had response
          confirmed on 18 Oct 2016, and 3 subjects on KEYNOTE164 who had responses
          confirmed on 23 Aug 2016, 12 Sept 2016, and 15 Sept 2016. FDA agreed to accept the
          data for unconfirmed responses from these four patients that were confirmed after the
          original cut-off date submitted in the sBLA.
          Using the primary patient data from the 5 clinical trials, the statistician confirmed the
          Applicant’s efficacy analyses; supplementary efficacy analyses were also conducted.
          The clinical reviewer confirmed the Applicant’s safety analyses of the pivotal and the
          supportive studies, conducting analyses of primary data using the MedDRA Adverse



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          Event Diagnostics (MAED) program. Methods used to perform analyses for specific
          issues (i.e., detailed assessment of a particular safety issue), are explained in the
          pertinent section of the review.
          The Review of Efficacy in Section 6 is focused primarily on the efficacy results of
          KEYNOTE016 and KEYNOTE164, and subjects with MSI-H (or dMMR) cancer from
          KEYNOTE012, KEYNOTE028, and KEYNOTE158.
          5.3 Discussion of Individual Studies/Clinical Trials

          5.3.1 KEYNOTE 016

          KEYNOTE016 (KN016) is an open label, activity finding, unblinded single arm trial that
          enrolled patients with MSI-H advanced cancers. Patients enrolled into the trial received
          pembrolizumab 10mg/kg intravenously every 2 weeks for up to 24 months. Three
          cohorts of subjects were enrolled to receive pembrolizumab: patients with MSI-H CRC
          who received at least 2 prior cancer therapy regimens (Cohort A); patients with MSI-H
          negative CRC and at least 2 prior cancer therapy regimens (Cohort B); and patients
          with MSI-H solid tumor malignancies other than CRC who received at least 2 prior
          cancer therapy regimens (Cohort C). The primary objectives were to determine the
          objective response rate (ORR) at 20 weeks in patients with MSI positive and negative
          colorectal adenocarcinoma, and MSI positive nonCRC adenocarcinoma, treated with
          pembrolizumab. Statistical considerations are outlined in 9.4.1 KEYNOTE 016.
          Evaluable patients were confirmed using the MSI Analysis System from Promega at
          Johns Hopkins which is a PCR based method used to detect microsatellite instability
          (MSI). Key inclusion criteria consisted of subjects with measureable disease, and
          subjects with CRC must have received or refused at least 2 prior cancer therapy
          regimens. Patients with other cancer types must have received or refused at least 1
          prior cancer therapy regimen. Notable for this investigator-initiated trial was that
          subjects with >50% of liver involvement were excluded from the study initially, but then
          the study was amended to align with the commercial-sponsored studies. See
          Appendices Section 9.4.1 KEYNOTE 016 for details on dose adjustments, delays,
          modifications for toxicity, and stopping rules.
          Treatment with pembrolizumab was to continue until confirmed radiologic progressive
          disease (PD), unacceptable toxicity, or completion of 24 months of study therapy.
          Protocol-specified reasons for early treatment discontinuation included: patient
          withdrawal of consent, unacceptable AE, no sign of disease stabilization in 7 months,
          need for > 2 dose delays due to the same toxicity as per Table 31: Dose Delay
          Guidelines for Pembrolizumab during KEYNOTE 016, intercurrent illness that prevents
          further administration of treatment, pregnancy, investigator decision to withdraw the
          patient, noncompliance with trial treatment or procedure requirements, or patient is lost
          to follow-up. In addition, discontinuation of treatment could be considered for patients
          who attained a confirmed complete response (CR), had been treated for at least 24
          weeks with pembrolizumab, and had at least two treatments with pembrolizumab


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          beyond the date when the initial CR was declared. If such a patient then experienced
          disease progression while off pembrolizumab therapy, that patient could be eligible for
          up to 1 year of additional treatment with pembrolizumab at the discretion of the
          investigator.
          Tumor imaging was obtained every 8 weeks from the first dose of study therapy and
          assessed based on Response Evaluation Criteria for Solid Tumors version 1.1 (RECIST
          1.1). If imaging was determined to show PD, tumor assessment was to be repeated ≥4
          weeks later in order to confirm PD, with the option of continuing treatment for clinically
          stable patients while awaiting confirmation of PD.
          Prestudy assessments were adequate. Physical exams and vital signs, performance
          status, laboratories, and ECG were performed every 14 days, and radiologic
          assessment was outlined as above. Study flow charts, abstracted from KEYNOTE016
          protocol, outlining the timing of procedures and evaluations were modified and are
          located in the appendices of this review (9.4.1 KEYNOTE 016), and are sufficient to
          assess for the clinical effects of pembrolizumab in terms of the effects on ORR and
          duration of response in this study.

          5.3.2 KEYNOTE 164

          KEYNOTE164 (KN164) is a multi-center, single-arm, open-label trial with 2 cohorts (A
          and B) both enrolling subjects with previously treated locally advanced, unresectable or
          metastatic MSI-H CRC. A total of 61 subjects were enrolled in Cohort A to evaluate the
          efficacy and safety of pembrolizumab in a subject population who had been previously
          treated with approved standard therapies. These approved therapies included
          fluoropyrimidine, oxaliplatin, and irinotecan with adjuvant chemotherapy counting as a
          line of therapy in amendment 164-01. Cohort B is enrolling subjects with metastatic
          MSI-High CRC previously treated with at least one line of systemic standard of care
          therapy: fluoropyrimidine +oxaliplatin or fluoropyrimidine + irinotecan +/- anti-
          VEGF/EGFR monoclonal antibody. Data from Cohort A was submitted to this sBLA to
          support accelerated approval.
          Subjects were to receive single agent pembrolizumab 200 mg IV every 3 weeks.
          Subjects are required to have at least one measureable lesion by Response Evaluation
          Criteria in Solid Tumors (RECIST 1.1). Subjects were evaluated every 9 weeks (with the
          first on-study imaging time point performed at 9 weeks and then every 9 weeks,
          thereafter). ORR per RECIST 1.1, as assessed by the independent radiologist review
          (IRC) was used as the primary efficacy endpoint. Statistical considerations are outlined
          in detail in the appendices (9.4.2 KEYNOTE 164).
          Key inclusion criteria were that subjects have histologically proven locally advanced
          unresectable or metastatic CRC (Stage IV) confirmed MSI-H or dMMR by submitting a
          blood sample and archival or newly obtained tumor tissue for central review by PCR or
          IHC, and have been previously treated with at least two lines of approved standard
          therapies, which must have included fluoropyrimidine, oxaliplatin, irinotecan,


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          bevacizumab and cetuximab or panitumumab (if KRAS wild type), if approved in the
          respective country. Treatment administered in the adjuvant setting could be counted as
          one line of therapy. Refer to Section 9.4.2 KEYNOTE 164 (of this review) for details on
          dose adjustments, delays, modifications for toxicity, and stopping rules
          The primary objective was overall response rate (ORR) of pembrolizumab administered
          as monotherapy, and secondary objectives were assessment of safety and tolerability;
          ORR per immune-related (irRECIST) by central radiologists’ review; Duration of
          Response (DOR), Disease Control Rate (DCR) and Progression-free Survival (PFS) per
          RECIST 1.1; and irRECIST assessed by central imaging vendor and Overall Survival
          (OS). All study subjects were evaluated every 9 weeks following the date of allocation
          until progression of disease was documented with radiologic imaging (computed
          tomography or magnetic resonance imaging) based on RECIST 1.1 by blinded central
          radiologists’ review.
          Patients were removed from study therapy for disease progression, unacceptable
          adverse event(s), intercurrent illness that prevents further administration of treatment,
          investigator’s decision to withdraw the subject, subject withdraws consent, pregnancy of
          the subject, noncompliance with trial treatment or procedure requirements, or the
          subject received 35 administrations/24 months of pembrolizumab.
          After the end of treatment, each subject was followed for 30 days for AE monitoring
          (SAE and ECI were collected for 90 days after the end of treatment or 30 days after the
          end of treatment if the subject initiated new anticancer therapy, whichever was earlier).
          Physical exams and vital signs, performance status, laboratories, and ECG were
          performed every 14 days, and radiologic assessment was outlined as above. Study flow
          charts, abstracted from 9.4.2 KEYNOTE 164 protocol, outlining the timing of procedures
          and evaluations, were modified and are located in the appendices of this review
          (Section 9.4.2 KEYNOTE 164), and are sufficient to assess for the clinical effects of
          pembrolizumab (in terms of the effects on ORR and safety) in this study.

          5.3.3 KEYNOTE 012

          KEYNOTE012 (NK012) is an open-label, multi-cohort trial of pembrolizumab
          monotherapy in subjects with advanced solid tumors expressing PD-L1. This trial
          enrolled subjects with (A) triple-negative breast cancer; (B/B2) HNSCC; (C) urothelial
          tract cancer; or (D) cancer of the stomach or gastroesophageal junction. Subjects were
          required at trial entry to have measurable disease by RECIST 1.1 for response
          assessment, and to have been previously treated with standard therapies. In Cohorts A,
          B, C, and D, subjects must have had a PD-L1 positive tumor as determined by IHC at a
          central laboratory. Subjects with PD-L1 positive and negative tumors were enrolled into
          Cohort B2, and the clinical activity in both groups of subjects was evaluated. Treatment
          in Cohorts A, B, C, and D was pembrolizumab 10 mg/kg every 2 weeks, and for Cohort
          B2 200 mg every 3 weeks. Tumor response was assessed every 8 weeks according to
          RECIST 1.1 by IRC. The primary efficacy endpoint, ORR, was based on IRC


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          assessments of response. MSI status was not used for biomarker-selected enrollment
          but was analyzed retrospectively in available tumor specimens using the PCR-based
          Promega MSI Analysis System v1.2. Ninety-six of the 297 patients (32%) had tumor
          tissue available for MSI-H/dMMR testing. The analysis of KEYNOTE012 efficacy data
          included these 6 subjects with MSI-H/dMMR cancer (four patients with gastric cancer,
          one patient with triple-negative breast cancer, and one patient with bladder cancer). The
          data cutoff date was 26-Apr-2016. All analyses were based on the ASaT population,
          defined as all subjects who received at least 1 dose of trial medication. See Section
          9.4.3 KEYNOTE 012 for the trial schema.

          5.3.4 KEYNOTE 028

          KEYNOTE028 (KN028) is an open-label, non-randomized, multicenter, multi-cohort (20)
          trial of pembrolizumab monotherapy in subjects with PD-L1 positive advanced solid
          tumors. Subjects were required at trial entry to have measurable disease as assessed
          per RECIST 1.1 criteria, and to have a malignancy that is incurable and with any of the
          following: (a) failed prior standard therapy, (b) no existing standard therapy, or (c)
          standard therapy was not considered appropriate by the subject and treating physician.
          Subjects received pembrolizumab 10mg/kg every 2 weeks. Tumor response was
          assessed every 8 weeks according to RECIST 1.1 for the first 6 months and every 12
          weeks thereafter. The primary efficacy endpoint, ORR, is based on IRC assessments of
          response. MSI status was not used for biomarker-selected enrollment and was
          analyzed retrospectively in available tumor specimens using the PCR-based Promega
          MSI Analysis System v1.2. Two hundred sixty-five of the 475 patients enrolled in this
          trial had tumor tissue available for MSI-H/dMMR testing. The analysis of KEYNOTE028
          efficacy data included 5 subjects with MSI-H/dMMR cancer. The data cutoff date was
          20-Jun-2016. All analyses were based on the ASaT population, defined as all subjects
          who received at least 1 dose of trial medication. See Section 9.4.4 KEYNOTE 028 for
          the trial schema.

          5.3.5 KEYNOTE 158

          KEYNOTE158 (KN158) is an open-label, non-randomized, multicenter, multi-cohort trial
          of pembrolizumab monotherapy in subjects with multiple types of advanced
          (unresectable and/or metastatic) rare cancers. The primary purpose of this trial is to
          assess the ORR of patients while on treatment with pembrolizumab based on RECIST
          1.1, as determined by independent central radiologic review. This trial is also evaluating
          the efficacy of pembrolizumab in subgroups defined by each of three prespecified
          primary biomarkers: IHC-based tumor PD-L1 expression, tumor Gene expression profile
          (GEP) RNA gene signature score, and MSI/dMMR status. Subjects are required at trial
          entry to have measurable disease as assessed per RECIST 1.1 criteria, and to have
          progressed on or after prior therapy. Subjects are treated with pembrolizumab 200 mg
          IV every 3 weeks. Tumor response is assessed every 9 weeks according to RECIST 1.1
          by IRC.


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          MSI-H/dMMR status was required specifically for enrollment into Group K and was
          prospectively analyzed by local IHC-based or PCR-based testing. For subjects enrolled
          into Groups A-J, retrospective testing of tumor tissue samples for MSI was performed
          using the PCR-based Promega MSI Analysis System v1.2. Of the 713 patients enrolled
          in this trial at the time of sBLA submission, 310 had tumor tissue available for MSI­
          H/dMMR testing, and 16 patients were prospectively identified as MSI-H/dMMR in
          Group K. Of the remaining 294 subjects, tumor samples from 54 subjects (Group B and
          D) were available for retrospective testing of MSI-H/dMMR and 3 subjects were
          identified at the data cut-off date. The analysis of KEYNOTE158 efficacy data in total
          included 19 subjects with MSI-H/dMMR cancer. The data cutoff date was 17-Aug-2016.
          See Section 9.4.5 KEYNOTE 158 for the trial schema.
          Table 3: Table of trials with subjects submitted to sBLA
           KN     Design/Eligibility/Pop      N    MSI-H      Dose           Prior therapy

                                             28
                                                                        CRC: received ≥ 2 prior
                       Single arm,          CRC    PCR          10
           016                                                            therapy regimens
                   prospective, 6 sites,     30     IHC       mg/kg
                                                                       nonCRC: ≥1 prior therapy
                      activity finding      non    Local       q2w
                                                                               regimen
                                            CRC


                    CRC, prospective                PCR
                                                             200mg    Prior fluoro+ox, fluoro+irino
           164       single arm, multi-      61      IHC
                                                              q3w     +/- anti-VEGF/EGFR mAb
                    center Merck trial              local


                   PD-L1 TNBC, gastric,
                                                   Retro        10
                     urothelial, H & N.                                  Previously treated; no
           012                                6     PCR       mg/kg
                    PDL1+. Measurable                                      standard therapy
                                                   central     q2w
                         disease.

                   Multi-disease cohorts           Retro        10
                                                                         Previously treated; no
           028     PD-L1+. Measurable         5     PCR       mg/kg
                                                                           standard therapy
                          disease.                 central     q2w

                   Prospective, MSI-H
                  multi-cohort rare tumor           PCR
                                                             200mg
           158        trial: Cohort K        19      IHC               ≥1 prior therapy regimen
                                                              q3w
                     Retrospective:                 local
                        Cohort B, D

          Total           5 trials           149
          Key: “Retro” (MSI-H) were identified retrospectively, KN=KEYNOTE trial number, PCR=polymerase chain
          reaction, IHC=immunohistochemistry, q3w=every 3 weeks, q2w=every 2 weeks, fluoro=fluorouracil,
          irino=irinotecan, ox=oxaliplatin.




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          REVIEWER COMMENT: The trials differed with respect to doses administered; MSI-
          H/dMMR testing; whether testing was prospective or retrospective; and prior therapies.
          All of the trials were single arm and non-randomized. Also See Table 2.

          6 Review of Efficacy
          Efficacy Summary
          6.1 Indication
          Merck proposed the following indication for pembrolizumab in the sBLA submission:
                                                                                            (b) (4)




                   ”

          6.1.1    Methods

          The primary efficacy population considered for this review consists of 149 pooled
          patients treated with pembrolizumab across 5 trials: KEYNOTE016, KEYNOTE012,
          KEYNOTE028, KEYNOTE158, KEYNOTE164 (see 5.3                     Discussion of Individual
          Studies/Clinical Trials). Subjects had either metastatic or locally advanced MSI­
          H/dMMR CRC or MSI-H/dMMR nonCRC. The results presented here are based on the
          data cut-off of used for KEYNOTE164 in the updated SCE (3-Aug 2016) and
          KEYNOTE158 (17-Aug 2016). All data presented for the 5 studies are based on
          confirmed responses as per IRC assessment using RECIST 1.1, unless otherwise
          noted. Demographic, tumor characteristics, and prior treatment data for both study
          populations are presented in Table 4.

          6.1.2    Demographics

          Demographics and disease characteristics of patients with CRC are described in Table
          4. The median age of patients with MSI-H/dMMR CRC (in the safety population, age 52)
          was lower than the median age of CRC in an unselected patient population with
          colorectal cancer in the United States (U.S.), age 69 in men and 79 in women,
          according to the American Cancer Society’s colorectal facts and figures from 2014­
          16.[14] This may, in part, be related to the younger age in which patients with Lynch
          syndrome are diagnosed with CRC. KRAS and BRAF status appeared similar between
          the two trials. More patients in KEYNOTE016 underwent testing with both PCR and
          IHC.
          All subjects had metastatic or advanced disease in both studies. There were more
          Asian patients enrolled on KEYNOTE164 (31%) as this study had sites in Asia (Country
          distribution: U.S. 8, Spain 6, N. Korea 11, Japan 7, Israel 5, Germany 7, France 11,
          Belgium 4, Australia 2), compared with KEYNOTE16A (4%) which only had sites in the


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          U.S. (Portland, Oregon; Stanford, California; Pittsburgh, Pennsylvania, National Cancer
          Institute: Bethesda, Maryland; Baltimore, Maryland, Columbus, Ohio). KEYNOTE16A
          also enrolled more patients with ECOG PS1 (ECOG 1: 82% vs ECOG 0: 18%)
          compared to KEYNOTE164 ECOG 1:0 (52%:48%). There was one subject enrolled who
          received no prior treatment for CRC in the metastatic setting on KEYNOTE016A.
          However, this subject received 5-FU plus oxaliplatin as a neo-adjuvant therapy and 5­
          FU plus irinotecan plus bevacizumab as an adjuvant therapy. However, the subject
          experienced disease progression within 1 month after the last dose of the adjuvant
          therapy.

          Table 4: Demographic and Baseline Characteristics of CRC population
                                              KEYNOTE 016
              Demographic Baseline                               KEYNOTE 164
                                                Cohort A
                 Characteristics
                                                  N=28                N=61
               Age       Mean (range)           51 (24-75)          54 (21-84)
                           Median                   49                  53
                                             Count         %    Count         %
                             ≥ 65 years        8           29    19           31
                             < 65 years       20           71    42           69
            Age Group
                         65 <= Age <75         7           25    15           25
                             ≥ 75 years        1            4     4            7
                                        F     13           47    25           41
               Sex
                                        M     15           54    36           59
                                  Asian        1            4    19           31
                                  Black        2            7     0            0
              Race
                                  White       23           82    42           69
                                  Other        1            4     0            0
                           Hispanic Or
                                               1           4      1           2
                                 Latino
             Ethnicity    Not Hispanic
                                               27         96     54          89
                              Or Latino
                          Not Reported          0          0      3           5
                                        0       5         18     29          48
            ECOG PS
                                        1      23         82     32          52
                                   None         1          4      0           0
                                 1st line       7         25      6          10
               Prior            2nd line        8         29     28          46
             therapy             3rd line       7         25     13          21
                                 4th line       4         14      5           8
                               ≥ 5th line       1          4      9          15
                                 Mutant        11         39     16          26
             KRAS^
                             Wild Type         17         61     38          62




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                                             KEYNOTE 016
              Demographic Baseline                                    KEYNOTE 164
                                               Cohort A
                 Characteristics
                                                   N=28                     N=61
                                Mutant                                 3            5
              NRAS$                                NA
                             Wild Type                                25           41
                                Mutant        3            11          9           15
              B Raf          Wild type       16            57         28           46
                         Undetermined         9            32         24           39
                                   PCR       21            75         39           64
                                    IHC      19*           68         38           62
              MSI-H         Both tests       12*           43         16           26
                            MSI-H total
                                              28          100         60#          98
                           (either test)
           Metastatic
                            Stage 4            28          100        61        100
             disease
          ADSL datasets for KEYNOTE Cohort 16A and KEYNOTE 164 were assessed using JMP.
          ^KRAS only was assessed in KEYNOTE016A; Both KRAS^ and NRAS$ were assessed in KEYNOTE164.
          *For KEYNOTE 016A: IHC was tested in 21 subjects and positive (High) in 19; Therefore both MSI tests
          were performed in 14 subjects but only high in 12 subjects.
          #One subject had “Negative” MSI in ADSL dataset, however “Positive” PCR.



          In study KEYNOTE164, one patient had a history of metastatic CRC and a known
          PMS2 germline mutation N335S. Upon recognition that the presence of a germline
          mutation in PMS2 gene alone did not satisfy the biomarker requirement for the study,
          the site performed IHC of the 4 MMR enzymes on an archived paraffin tumor sample.
          The results showed nuclear expression for MLH1, weak; MSH2, MSH6, and PMS2
          positive. There was no evidence for MSI-H per the institutional pathologist. During the
          same period of time, the subject’s first on-study radiographic assessment demonstrated
          progressive disease after Cycle 3. The subject was discontinued from study treatment
          due to malignant neoplasm progression.
          Per protocol, the MSI status was to be determined by examining either protein
          expression by IHC of 4 MMR enzymes (MLH1/MSH2/MSH6/PMS2) or 3-5 tumor
          microsatellite loci using PCR-based assay, respectively, and tumors were classified as
          MSI high when at least 2 allelic shifts among the 3-5 analyzed microsatellite markers
          were detected by PCR or absence of at least 1 of 4 mismatch repair proteins expression
          was detected by IHC.
          Seventy-five percent (75%) of subjects enrolled on KEYNOTE016A had MSI-H tested
          by PCR and 43% had MSI-H identified by both PCR and IHC while only 26% utilized
          both tests and was MSI-H on KEYNOTE164. See Table 5 for details.
          Table 5: Demographics of pooled MSI-H population vs. reference safety
          population
                                                          MSI-H                          Reference safety
                                                        N=89; n (%)                       N=2799; n (%)


                                                            30
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          Gender
                -   Male                                    51 (57)                        1659 (59)
                -   Female                                  38 (43)                        1140(41)
          Age
                -   Median (range)                      52 (21-84)                         62(15-94)
                -   2: 65 v.o.                           27 (30)                           1212 (43)
           Race
                -   White                                   65 (73)                        2474 (88)
                -   Asian                                   20 (22)                         233 (8)
                -   African American                         2 (2)                          48 (2)
                -   Other                                    2 (2)                           44 (2)
           ECOG
                -   0                                        34 (38)                       1446 (52)
                -   1                                        55 (62)                       1347 (48)
          Geographic region
             -   U.S.                                       36 (40)                        1250 (45)
             -   Ex- U.S.                                   53 (60)                        1549 (55)

          Subjects were younger in the MSI-H/dMM R population (median 52 years of age) as
          compared to the reference safety population (median 62 years of age), and there were
          a few sites open in Asia, which explains why the Asian population is of higher frequency
          in the MSI-H/dMMR population.
          REVIEWER COMMENT: Demographic data was reviewed and was consistent with the
          sBLA. Note that the applicant assessed MS/ status by test performed (PCR vs IHC or
          both) for the safety population with 13-14% of subjects having both PCR and IHC
          performed.

          6.1.3         Subject Disposition

          Subjects were followed for an adequate amount of time, for example, in
          KEYNOTE016A, median follow-up at the data cut-off date of 19 Feb 2016 was 10
          months (range, 0.7 to 26.3 months).The disposition of subjects in the 5 trials are
          described in the summary table below based on data submitted to the sBLA (Table 6).
          Table 6: Subject disposition across 5 trials in MSI-H cancers
           KEYNOTE Trial                01 6A*     016C           012          028        164            158
                                       N=28 (%)   N=30 (%)       N=6 (%)     N=S (%)    N=61 (%)       N=19 (%)
          Study
                                     19 Feb       13 Apr            26Apr    20 Jun                     17 Aug
          discontinuation and                                                          3 Aug 2016
                                      2016         2016              2016     2016                       2016
          cut off date
          Death                                                                          9 (15)         2 (11)
          Lost to follow-up                                                               1 (2)           -
                        I Treatment discontinuation
          Patients who
                                      8 (29)     12* (40)           4 (67)    2 (40)     27 (44)        8 (42)
          discontinued treatment
          Administrative
          decision                       -           -                 -        -         3 (5)           -
          Adverse event                1 (4)         -                 -        -         4 (7)         4 (21)
          Death                        1 (4)         -                 -        -           -             -


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          KEYNOTE Trial             016A*       016C         012          028          164             158
                                   N=28 (%)    N=30 (%)     N=6 (%)      N=5 (%)     N=61 (%)        N=19 (%)
          Disease progression
          (clinical and
                                      5 (18)    10 (33)        3 (50)     1 (20)      18 (30)         4 (21)
          radiological
          progression)
          Consent withdrawal           1 (4)      1 (3)        1 (17)     1 (20)        2 (3)            -
                        I Continuation/Completion
          Continue                   18 (64)    17 (57)          -        3 (60)
                                                                                      34 (56)         11 (58)
          Complete                     2 (7)      1 (3)        2 (33)       -
          *One subject on KEYNOTE16C discontinued treatment for “clinical response” that was a CR.
          Protocol deviations were identified in 1 subject (4%) on KEYNOTE16A due to a thyroid
          panel not completed per protocol, but this subject was not excluded from the analysis.
          In KEYNOTE164, 32 major protocol deviations were identified in 61 subjects. Only one
          major deviation was considered clinically relevant per the applicant in whom MSI-H was
          not confirmed per protocol in 1 subject (see details in 6.1.2 Demographics).
          For KEYNOTE164, a major protocol deviation was defined as any protocol deviation
          that significantly/adversely impacted the completeness, accuracy and/or reliability of the
          trial data or that significantly/adversely affected a subject's rights, safety or well-being.
          Major deviations were defined based on subject protections described in the protocol
          and included protocol specific deviations based on the trial design, critical procedures,
          trial data, and the planned analyses of trial data. Minor protocol deviations, which were
          considered unlikely to impact the subject’s safety/rights or negatively affect the quality of
          their trial data, were not included in the CSR.
          Informed consent violations were identified for 13 subjects; however, all signed an
          informed consent (1 signed an incorrect version of the informed consent, 11 did not sign
          an updated informed consent version in a timely manner, 1 signed but did not date the
          informed consent). Thirteen subjects did not satisfy all inclusion/exclusion criteria (10
          had screening labs not performed and/or performed outside required window, 1 did not
          have MSI-H status confirmed as described above, 1 had prior chemotherapy within 14
          days prior to pembrolizumab initiation, and 1 received steroid within 7 days of
          pembrolizumab initiation); 5 subjects had a serious adverse event (SAE) or event of
          clinical interest (ECI) not reported in a timely manner within 24 hours; and 1 subject took
          disallowed concomitant medication.
          Most of the discontinuations were due to disease progression. Taken together, there
          were 9 AEs attributable to treatment discontinuation across all patients (note that this
          does not include KEYNOTE16C as no data was submitted in the sBLA).
          REVIEWER COMMENT: Duration of follow-up (median >8 months) was adequate. The
          protocol violations do not appear to affect the overall integrity of the trials.

          6.1.4    Analysis of Primary Endpoint(s)




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          The primary endpoint for the clinical review of this application is the confirmed ORR by
          RECIST 1.1 as assessed by independent central radiology review in the ASaT
          population of 149 patients treated with pembrolizumab across 5 clinical trials
          (KEYNOTE012, KEYNOTE016, KEYNOTE028, KEYNOTE158, KEYNOTE164) with
          MSI-H/dMMR metastatic, locally advanced CRC and nonCRC.
          There were 56 patients with responses per RECIST 1.1, resulting in an ORR of 37.6%
          (95% CI: 29.8, 45.9). This included 9 CR (6%) and 47 PR (31.5%). See Table 7 for
          details.
          Table 7: ORR Analysis Results (with permission from FDA biostatistical review)
                                                    N (%)                     95 % CI
           Patients in Efficacy
           Analysis                               149 (100)
           CR+PR (%)                              56 (37.6)                  (29.8, 45.9)
             CR                                    9 (6.0)
             PR                                   47 (31.5)
             SD                                   36 (24.2)
             PD                                   47 (24.5)
             NE                                    7 (4.7)
             Non-CR/Non-PD                         1 (0.7)
             Missing                               2 (1.3)
          Responses were demonstrated in patients with almost all types of MSI-H/dMMR cancer
          (N=15) enrolled across the 5 trials except 4: thyroid, kidney, bladder, sarcoma; although
          only single subjects had been enrolled in these 4 cohorts. See table below.
          Table 8: ORR by Tumor type across all trials
                                       Response
                                  N                  95% of ORR                   DOR
                                        (ORR)
          GI Tumor
                BILIARY           11    3 (27%)      (6.0%, 61.0%)             (11.6, 19.6)
             COLORECTAL           90   30 (33%)     (23.7%, 44.1%)              (1.6, 22.7)
               GASTRIC             8    4 (50%)     (15.7%, 84.3%)              (2.0, 22.1)
             PANCREATIC            6    5 (83%)     (35.9%, 99.6%)               (2.0, 9.1)
          SMALL INTESTINAL         8    3 (38%)      (8.5%, 75.5%)               (1.9, 6.2)
             ESOPHAGEAL            1       PR                                 18.2, on-going
             GE JUNCTION           1       PD
          Non-GI Tumor
            ENDOMETRIAL           14    5 (36%)     (12.8%, 64.9%)               (1.9, 17.3)
                BREAST             2    PR, PR                              7.6, 15.9, on-going
              PROSTATE             2    PR, SD                                 9.8, on-going
               BLADDER             1    Missing
              SARCOMA              1       PD
               THYROID             1       NE
          RETROPERITONEAL          1       PR                                 2.1, on-going



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           SMALL CELL LUNG                 1               PR                                                         2.2, on-going
             RENAL CELL                    1               PD
          Key: GE=Gastroesophageal tumor, PR=partial response; PD=progressive disease; NE=non-evaluable
          REVIEWER COMMENT: Responses were demonstrated in cancers that have
          previously been unresponsive to checkpoint inhibitors such as pancreas cancer. Some
          of the tumors are only represented by 1 or 2 patients; therefore and the results may not
          be representative of that particular tumor type.

          6.1.5         Analysis of Secondary Endpoints(s)

          Duration of response (DoR) is considered a key secondary endpoint for this clinical
          review. The median time to response was 2.7 months (range 1.7 to 8.4 months). The
          median of the duration of responses was not reached and ranged from 1.6 to 22.7
          months. For these 56 subjects, 52 (93%) responses were ongoing. DOR longer than 6
          months was reported in 29 subjects, 51.8% of 56 subjects who responded based on
          observed data (some patients had not yet had their response followed for six months).
          Two subjects had completed the pre-specified treatment duration of 2 years and were
          being followed without further pembrolizumab treatment.

          Figure 1: Kaplan Meier curve of Duration of Response

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            ...
            0
            c..

                  0.2




                  0.0
                         56           40       29          18          12         11

                         0            3        6           9           12         15            18

                                                    Duration of Response (Months)



          6.1.6         Other Endpoints

          Not applicable.


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          6.1.7    Subpopulations

          A sensitivity analysis was performed to identify the influence of patient characteristics,
          study conduct, and drug exposure on the objective response rate (ORR), PFS and OS
          across Studies KEYNOTE016, KEYNOTE012, KEYNOTE028, KEYNOTE158,
          KEYNOTE164.
          Table 9: ORR Subgroup Analyses
           Subgroup            N         Response (ORR)      95% CI of ORR       DOR Range
           < 65                96           37 (39%)         (28.8%, 49.0%)       (1.6, 22.7)
           >= 65               53           19 (36%)         (23.1%, 50.2%)       (1.9, 19.3)
           Female              66           27 (41%)         (29.0%, 53.7%)       (1.9, 19.6)
           Male                83           29 (35%)         (24.8%, 46.2%)       (1.6, 22.7)
           Non-White           34           15 (44%)         (27.2%, 62.1%)       (1.6, 22.1)
           White              115           41 (36%)         (26.9%, 45.1%)       (1.9, 22.7)
           Asia                23            7 (30%)         (13.2%, 52.9%)       (1.9, 22.1)
           USA                 73           36 (49%)         (37.4%, 61.3%)       (1.6, 22.7)
           Western             53           13 (25%)         (13.8%, 38.3%)       (2.0, 15.9)


          REVIEWER COMMENT: At first glance, the analyses show that younger patients (<65
          years of age) had a higher response rate, male and female patients have comparable
          response rates, non-white patients had a higher response rate as well as patients from
          the U.S. However, the population had limited subjects numbers (N=149) compared to
          the reference (N=2799) enrolled across 5 non-randomized trials.
          Clinically, there is no evidence to indicate an influence of patient characteristics, study
          conduct, or drug exposure on the efficacy of pembrolizumab in patients with MSI-
          H/dMMR cancer.
          ORR was also evaluated by study, and presented in the table below:
          Table 10: ORR Subgroup Analysis by Study
           Subgroup           N        Response (ORR)       95% CI of ORR       DOR Range
           KN012               6           3 (50%)          (11.8%, 88.2%)       (7.6, 22.1)
           KN016-A            28          14 (50%)          (30.6%, 69.4%)       (1.6, 20.9)
           KN016-C            30          14 (47%)          (28.3%, 65.7%)       (1.9, 19.6)
           KN028               5           4 (80%)          (28.4%, 99.5%)      (15.9, 22.7)
           KN158              19           6 (32%)          (12.6%, 56.6%)        (1.9, 2.2)
           KN164              61          15 (25%)          (14.5%, 37.3%)        (2.0, 8.1)

          Consistent anti-cancer activity was observed between subjects with GI (CRC, small
          bowel, gastro-esophageal junction, pancreas) and non-GI MSI-H cancer (see Table 8).
          For subjects with MSI-H GI and MSI-H non-GI cancer, the ORRs based on assessment
          by IRC using RECIST 1.1 were 36.8% and 41.7%, respectively, see Table 11.



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          Table 11: ORR in GI and non-GI tumors (modified from submission)
                                      GI Tumors                Non-GI Tumors                      Total
              Response                 (N=125)                    (N=24)                         (N=149)
              Evaluation
                                 n (%)         95% CI         n (%)       95% CI           n (%)       95% CI
          Complete Response
          (CR)                   6 (4.8)     (1.8, 10.2)     3 (12.5)    (2.7, 32.4)       9 (6.0)   (2.8, 11.2)
          Partial Response
                                                                           (12.6,
          (PR)                  40 (32.0)    (23.9, 40.9)    7 (29.2)                    47 (31.5)   (24.2, 39.7)
                                                                           51.1)
          Objective
          Response                                                         (22.1,
                                46 (36.8)    (28.4, 45.9)    10 (41.7)                   56 (37.6)   (29.8, 45.9)
          (CR+PR)                                                          63.4)

          Note: Based on confirmed response per IRC except for KN164 and KN158 (based on confirmed and
          unconfirmed response per IRC). 7 subjects with non-evaluable assessments: 2 subjects in KN016-A,
          3 subjects in KN016-C, and 2 subjects in KN164 without a post-baseline assessment. There are 2
          subjects with no assessment: 1 subject in KN012 and 1 subject in KN158 who discontinued the trial
          prior to the first post-baseline assessment.

          6.1.8    Analysis of Clinical Information Relevant to Dosing Recommendations

          Sixty-nine subjects were administered pembrolizumab 10mg/kg every 2 weeks in this
          sBLA (6 from KN012, 5 from KN028, 28 from KN016A, 30 from KN016C) while eighty
          subjects were administered 200 mg every 3 weeks (19 from KN158, 61 from KN164).
          Taken together, there were 51% responders for subjects administered pembrolizumab
          at 10mg/kg every 2 weeks and there were 26% responders with administration of
          pembrolizumab 200 mg every 3 weeks. The CI for the response rates do not overlap
          (see Table 12).
          Table 12: ORR by Dose for sBLA
                                      10 mg/kg every 2 weeks              200 mg every 3 weeks
                  Dose
                                                 N=69                                  N=80

             Responders (%)                    35 (51%)                             21 (26%)

             95% CI of ORR                  (38.4%, 63.0%)                    (17.0%, 37.3%)

                  DOR                          (1.6, 22.7)                          (1.9, 8.1)



          REVIEWER COMMENT: The CIs of the ORR do not overlap between the different
          doses (10 mg/kg every 2 weeks versus 200mg every 3 weeks). As such, a difference in
          treatment effect may exist between the two doses. Nevertheless, uncertainty exists
          given that patients were enrolled at different sites and there may have been differences
          among patients enrolled. Although uncertainty exists, the Johns Hopkins study (10


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          mg/kg) appeared to have consistently high response rates across the study sites.
          Additionally, inspection of the Johns Hopkins site appeared to confirm the efficacy
          findings at the site. Finally, the response rate among the patients enrolled in KN012 and
          KN028 were consistent with the results in KN016 (although the patients in KN012 and
          KN028 were retrospectively identified).
          Whether or not a higher dose leading to a better ORR applies to the general population
          is discussed elsewhere (refer to risk:benefit). Furthermore, even if the difference in ORR
          was true, uncertainty would remain as to whether this difference would translate into
          differences in other clinical outcomes. A meeting was held 13 Feb 2017 and the
          applicant will submit further data supporting the flat dose of 200mg IV every 3 weeks.
          See addendum to this review for details.

          6.1.9    Discussion of Persistence of Efficacy and/or Tolerance Effects

          A discussion of tolerance effects is not applicable to this review.


          7 Review of Safety
          Safety Summary


          7.1 Methods

          7.1.1    Studies/Clinical Trials Used to Evaluate Safety

          For a discussion of the review strategy for this sBLA, see Section 5.2     Review
          Strategy. This reviewer confirmed the Applicant’s safety analyses of KEYNOTE016A
          and KEYNOTE164, conducting analyses of per patient incidence rates of AEs from
          primary data using the MAED program. Patient narratives were reviewed for
          KEYNOTE012, KEYNOTE028, and KEYNOTE158. Note that for KEYNOTE164 and
          KEYNOTE158, the datasets used for the safety review were the initial datasets
          submitted to the sBLA, and not the SCS – Safety Update Report. Safety data was
          briefly reviewed in the SCS and appeared to be in line with pooled data from previous
          studies, so safety assessments for this study are based on the CSR and datasets with a
          cut-off date of 19 Feb 2016 for KEYNOTE016A and 3 June 2016 for KEYNOTE164.
          In this review, major safety results (Section 7.3 Major Safety Results) are presented for
          KEYNOTE016A and KEYNOTE164, unless otherwise noted. Pooled safety data, as
          reported by the Applicant, from 2799 clinical trial patients with NSCLC (treated in
          KEYNOTE001 and 010) or melanoma (treated in KEYNOTE001, 002, and 006),
          referred to as “pooled melanoma and NSCLC population” is considered to represent the
          known safety profile of pembrolizumab and is used for purposes of comparison in this
          review.


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          REVIEWER COMMENT: As agreed upon in the pre-sBLA meeting, patient narratives
          were submitted but not granular subject level safety data from KEYNOTE016C,
          KEYNOTE012, KEYNOTE028, or KEYNOTE158. Note that the data from
          KEYNOTE158 is relatively immature and KEYNOTE012 and 028 would have provided
          data from only a limited number of patients. Based on the vast safety experience of
          pembrolizumab in other uses, it is not expected that safety datasets from these limited
          numbers of patients would have contributed substantive new information, especially
          after reviewing summary safety information in the submission.

          7.1.2    Categorization of Adverse Events

          The severity of adverse events was documented using Common Terminology Criteria
          for Adverse Event, NCI-CTCAE version 4.0. The MedDRA 19.0 dictionary was used to
          code adverse event data. Listings provided by the Applicant included all AEs occurring
          from Day 1 through 30 days after the last dose of pembrolizumab, serious AEs (SAEs)
          occurring from Day 1 through 90 days after the last dose of pembrolizumab, and AEs
          resulting in death.

          7.1.3    Pooling of Data Across Studies/Clinical Trials to Estimate and Compare
                   Incidence

          As discussed with Merck during the pre-sBLA meeting held 22 July 2016, FDA and
          Merck agreed that safety analyses from KEYNOTE016 cohort A and KEYNOTE164
          compared to the combined reference safety information from studies KN001, KN002,
          KN006, and KN010, would enable the safety evaluation of the proposed sBLA. In this
          submission (see Section 7.3      Major Safety Results) safety datasets for studies
          KEYNOTE016A and KEYNOTE164 were analyzed. The studies used for the reference
          safety database have been previously analyzed by FDA and the comparative tables will
          use the pooled reference data as provided in the submission.

          7.2 Adequacy of Safety Assessments

          7.2.1    Overall Exposure at Appropriate Doses/Durations and Demographics of
                   Target Populations

          For KEYNOTE016A (10 mg/kg), the mean number of weeks on therapy was 44.18
          (range 2-103.1; median 38.5), and the mean number of doses administered was 20.1
          (range 2-49; median 18.5). The majority of patients (75%) were exposed for ≥ 6 months
          (18 patients were still on treatment at the time of data cut-off).
          For KEYNOTE164 (200mg flat dose), according to the applicant after an updated
          summary of safety was submitted for KEYNOTE164 with an additional 9 week follow-up
          (cut off 3-August 2016), the median number of days on therapy was 160.11 ± 78.69



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          days (range: 1 day to 283 days), with 32 subjects (52.5%) receiving pembrolizumab for
          greater than 6 months.
          Extensive safety information is available related to the use of pembrolizumab at similar
          or higher doses for other indications, including the approved melanoma, NSCLC, and
          HNSCC indications.

          7.2.2    Explorations for Dose Response

          The exposure with the 10 mg/kg every 2 weeks dosage regimen is approximately 5-fold
          higher than the exposure with the 200 mg every 3 weeks fixed dose (see Section 4.4.3
                 Pharmacokinetics of this review). The ORRs observed using the two dosage
          regimens are different with confidence intervals that do not overlap (although this
          reviewer acknowledges that uncertainty exists in regards to dose effect given that the
          results did not come from randomized studies). Also see the FDA Clinical
          Pharmacology review and Section 6.1.8 Analysis of Clinical Information Relevant to
          Dosing Recommendations of this review. A meeting was held 13 Feb 2017 and the
          applicant will submit further data supporting the flat dose of 200mg IV every 3 weeks.
          See addendum to this review for details.

          7.2.3    Special Animal and/or In Vitro Testing

          See the FDA Pharmacology/Toxicology Review from the original BLA submission.

          7.2.4    Routine Clinical Testing

          The tests conducted as part of routine clinical testing and the frequency of such testing
          are detailed in the Study Flow Charts included in Sections 9.4 Supplemental information
          of this review. The safety assessment methods and time points described in the
          protocols appear adequate for the population, disease, and indication being
          investigated.

          7.2.5    Metabolic, Clearance, and Interaction Workup

          See the FDA Clinical Pharmacology review for details.

          7.2.6    Evaluation for Potential Adverse Events for Similar Drugs in Drug Class

          Similar to other drugs targeting the PD-1 pathway, such as nivolumab, immune
          mediated adverse reactions have been observed in patients treated with
          pembrolizumab. The safety information submitted by the Applicant includes evaluating
          of adverse events of special interested (AEOSI), which includes immune-mediated AEs
          (irAEs) and infusion reactions. These are discussed in Section 7.3.5     Submission
          Specific Primary Safety Concerns




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          7.3 Major Safety Results
          The safety analyses were performed for all treated patients enrolled in KEYNOTE016
          Cohort A with a data cutoff date of 19 Feb 2016, and KEYNOTE164 with a data cutoff
          date of 3 Jun 2016. The primary safety data for pembrolizumab in subjects with MSI­
          H/dMMR cancer provided in this application are from 89 pooled subjects enrolled in
          KN016 (cohort A) and KN164 (cohort A). The safety data in MSI-H/dMMR subjects were
          evaluated relative to safety data from a pooled population of 2799 patients with NSCLC
          or melanoma from the All Subjects as Treated populations of KN001, KN002, KN006,
          and KN010 named the “reference” safety population.
          For KEYNOTE016A, the safety population included 28 patients. All patients received
          pembrolizumab 10 mg/kg IV every 2 weeks. AEs were reported in all patients. The
          applicant states that due to limitations in data base conversion (the study was an
          investigator-initiated study not initially intended for marketing that was conducted and
          the data managed by the Sidney Kimmel Comprehensive Cancer Center at Johns
          Hopkins School of Medicine), analyses involving laboratory tests, vital signs, and other
          physical observations were not reported. Table 13 summarizes the major safety results.
          Table 13: KEYNOTE 16A: Summary of Major Safety Results
                                                      N=28 (%)
          Subjects who experienced an AE              28 (100)
          Subjects who experienced a Grade 1-2 AE      27 (96)
          Subjects who experienced a Grade 3-4 AE      13 (46)
          Subjects who experienced an SAE              14 (50)
          Deaths reported as an AE                     4 (14)
          For KEYNOTE164, the safety population included 61 patients. All patients received
          pembrolizumab 200 mg IV every 2 weeks. AEs were reported in 60 patients. Table 14
          summarizes the major safety results.
          Table 14: KEYNOTE164 Summary of Major Safety Results
                                                      N=61 (%)
          Subjects who experienced an AE               60 (98)
          Subjects who experienced a Grade 1-2 AE      57 (93)
          Subjects who experienced a Grade 3-4* AE     28 (46)
          Subjects who experienced an SAE              23 (38)
          Deaths related to an AE                       2 (3)
          As summarizes in Table 15, there are no significant differences between the MSI­
          H/dMMR safety population and the reference safety populations in terms of the overall
          major safety results.
          Table 15: Comparison of major safety results, MSI-H pooled safety data and
          Pembrolizumab reference safety population
                                                  MSI-H              Reference safety*
                                                N=89; n (%)           N=2799; n (%)
          Incidence AEs                           88 (99)                2727 (98)
          Grade 3-5 AEs                           43 (48)                1272 (45)
          SAEs                                    35 (39)                1041 (37)



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                                                       MSI-H                  Reference safety*
                                                    N=89; n (%)                 N=2799; n (%)
          Deaths related to AE                          3 (3)                      110 (4)
          Dose modification due to AE                 33 (37)                      884 (32)
          Dose discontinued due to AE                   4 (4)                      334 (12)
          *Reference safety population consists of subjects with melanoma and non-small cell lung cancer
          (NSCLC) who have been treated with pembrolizumab

          REVIEWER COMMENT: The overall incidence rates of AEs and the type of toxicities
          were similar to the published incidence rates of pembrolizumab and were previously
          reviewed by FDA in separate efficacy supplements. There was an updated summary of
          safety for KEYNOTE164 with data cut-off 3 Aug 2016 that did not differ significantly
          from the safety assessments listed here.

          7.3.1    Deaths

          For KEYNOTE016A, of the four deaths reported in the safety dataset, one patient died
          of Trousseau syndrome (Day 277 on study), one patient died due to malnutrition (Day
          249 on study), and one patient died due to aspiration pneumonia (Day 21 on study), all
          considered to be due to the patient’s underlying disease condition. The fourth patient
          had disease progression, which should have not been reported as an AE.
          For KEYNOTE164, there were two deaths reported as an AE: a 32 year old patient who
          died of disease progression and a 49 year old patient who died because of aspiration
          (Day 6 of treatment) while experiencing vomiting. The applicant states that there was a
          suspicion of ruptured tumor involving the abdominal wall at baseline. A total of 8 deaths
          are reported in the study; 6 patients had progressive disease, and one subject opted for
          euthanasia (after withdrawal of consent).
          In summary, in the pooled MSI-H/dMMR population, there were 3 deaths related to an
          AE (3%) and in the reference safety database, there were 110 (4%).
          REVIEWER COMMENT: The incidence of death due to AEs in the MSI-H/dMMR cancer
          population (3%) is similar to the reference safety population (4%). Review of the details
          of these deaths does not raise any new safety concerns relative to the safety profile of
          pembrolizumab reflected in the current USPI (see additional reviewer comments in this
          section).

          7.3.2    Nonfatal Serious Adverse Events

          For KEYNOTE16A, there were 33 serious adverse events (SAEs) in 14 patients. Grade
          1-2 SAEs (one of each) were abdominal pain, acute kidney injury, arthritis,
          cerebrovascular accident, device malfunction, drug withdrawal syndrome, dyspnea,
          malnutrition, pleuritic pain, pyrexia, skin disorder, and stent malfunction. None of these
          were life-threatening and all patients recovered; there is no data for the need of
          hospitalization.



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          Grade 3 SAEs (one of each) were acute kidney injury, anemia, brain tumor operation,
          delirium, disease progression, intestinal obstruction, acute pancreatitis, pulmonary
          embolism, spinal cord compression, and syncope. Grade 4 SAEs were hydronephrosis,
          pulmonary embolism, sepsis, and urinary tract obstructions. Grade 5/fatal SAEs were
          death due to disease progression, aspiration, and Trousseau syndrome.
          These SAEs are generally consistent with the baseline disease (disease progression,
          which should not be considered an AE, abdominal pain, intestinal obstruction, urinary
          tract obstruction and hydronephrosis, etc.) and the known safety profile of
          pembrolizumab. In addition, they may be reflective of institutional practices as patients
          may have been hospitalized for monitoring or symptomatic management.
          For KEYNOTE164, 23 patients (38%) experienced an SAE. See Table 16 for details of
          the PT for each SAE.
          Table 16: KEYNOTE164 Serious Adverse Events
          Preferred Term                                       Grade 2      Grade 3       Grade 5
          Abdominal pain                                          0            3             0
          Pulmonary embolism                                      0            2             0
          Acute myocardial infarction                             0            1             0
          Blood bilirubin increased                               0            1             0
          Cholecystitis acute                                     0            1             0
          Dehydration                                             0            1             0
          Duodenal ulcer                                          0            1             0
          Female genital tract fistula                            0            1             0
          Flank pain                                              0            1             0
          Ileus                                                   0            1             0
          Incisional hernia                                       0            1             0
          Influenza                                               0            1             0
          Muscle swelling                                         0            1             0
          Pyrexia                                                 1            1             0
          Sinus bradycardia                                       0            1             0
          Small intestinal obstruction                            0            1             0
          Squamous cell carcinoma                                 0            1             0
          Tumor pain                                              0            1             0
          Upper gastrointestinal hemorrhage                       0            1             0
          Urinary tract infection                                 0            1             0
          Urinary tract obstruction                               0            1             0
          Aspiration                                              0            0             1
          Headache                                                1            0             0
          Nausea                                                  1            0             0
          Vaginal hemorrhage                                      1            0             0
          With the exception of a vaginal bleeding event, all other Grade 2 SAEs (headache,
          nausea, fever) were considered serious because the patient required hospitalization.
          This listing of SAEs is consistent with the known safety profile of pembrolizumab and
          the baseline disease.




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          7.3.3    Dropouts and/or Discontinuations

          For KEYNOTE016A, there were 3 treatment discontinuations which occurred in patients
          who died: due to Trousseau syndrome, aspiration pneumonia, and disease progression.
          However, none of the discontinuations were considered to be drug-related as all were
          associated with underlying malignancies.
          The narratives these events indicated that the etiology of Trousseau syndrome was
          thought to be possibly related to the subject’s prior history of this syndrome in the
          context of worsening clot burden. The subject had a known history of thromboembolic
          disease and progressed previously through treatment with heparin, levofloxacin, and
          fondaparinux. The subject with aspiration pneumonia had aspirated during a
          hospitalization for abdominal pain, requiring intubation, and then died due to asystole.
          Treatment was temporarily held in 17 patients (61%) in KEYNOTE016A, and 8 subject’s
          treatment interruptions were noted to be attributed to study drug. Grade 1-2 adverse
          events associated with treatment temporary interruptions were (one of each) acute
          kidney injury, AST increase, alkaline phosphatase increase, device malfunction,
          diarrhea, drug withdrawal syndrome, dyspnea, hematuria, pancreatitis, pleuritic pain,
          pyrexia, skin disorder, thrombocytopenia, thyroiditis, upper respiratory tract infection,
          and decreased weight. Grade 3 adverse events associated with treatment temporary
          interruptions were (one of each, with the exception of 3 patients with anemia) AST
          increased, intestinal obstruction, leukopenia, lymphopenia, pancreatitis, acute
          pancreatitis, pemphigoid, pulmonary embolism, rash pruritic, and syncope. Grade 4
          adverse events associated with treatment temporary interruptions were (one of each,
          except two patients with thrombocytopenia) were hydronephrosis, pulmonary embolism,
          sepsis, and urinary tract obstruction. Most of these events appeared likely to be
          unrelated to pembrolizumab; however, some may have represented immune-related
          events (e.g., thyroiditis, pemphigoid, rash, and possibly pancreatitis).
          For KEYNOTE164 as of the initial sBLA submission, 2 subjects discontinued treatment
          because of AEs that were considered not drug-related (data cutoff 3-Jun 2016): a
          patient who died on Day 6 (aspiration) and a patient with decreased appetite and ileus.
          By the updated summary of clinical safety (data cutoff 3-Aug 2016) 2 additional subjects
          discontinued due to AEs due autoimmune arthritis and pneumonitis, both known AEs
          related to pembrolizumab.
          For KEYNOTE164, treatment was temporarily held in 13 patients (21%). AEs described
          as related to study drug were known AEs as listed in the pembrolizumab USPI such as
          pancreatitis, pneumonitis, and ALT/AST elevations. Note there was a subject with PT
          “increased bilirubin” captured as related to study drug, however, this was in the setting
          of other increased liver enzymes in a subject with metastatic CRC so it may have been
          related to the underlying disease. Causes for treatment interruption are summarized on
          Table 17 (some patients had more than one dose interruption or concomitant
          conditions).




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          Table 17: KEYNOTE164 Treatment interruptions
          Preferred Term                          N
          AST increased                           3
          ALT increased                           2
          Blood alkaline phosphatase increased    2
          Blood bilirubin increased               2
          Pulmonary embolism                      2
          Abdominal pain                          1
          Amylase increased                       1
          Anemia                                  1
          Blood creatinine increased              1
          Cough                                   1
          Influenza like illness                  1
          Inspiratory capacity decreased          1
          Lipase increased                        1
          Pancreatitis                            1
          Pneumonitis                             1
          Pyrexia                                 1
          Tooth infection                         1
          Upper gastrointestinal hemorrhage       1
          Urinary tract obstruction               1
          Of these treatment discontinuations, all were Grade 3 with the exception of ALT
          increased (2 patients), cough, influenza like illness, inspiratory capacity decreased,
          pneumonitis, fever, and tooth infection (1 patient each).
          Taken together for the pooled safety of CRC in KEYNOTE016A and KEYNOTE164,
          treatment interruptions due to AEs were reported in 34% of subjects in the MSI­
          H/dMMR cancer population versus 22% in the reference population. The most
          frequently reported AEs leading to treatment interruption in the MSI-H/dMMR cancer
          population were anemia, aspartate aminotransferase increased, and pulmonary
          embolism (4.5% each). Treatment was withdrawn for 8% of subjects compared to 12%
          in the reference population. The most common reasons for treatment discontinuation
          were related to underlying disease or to known immune-related AEs.
          In summary, patients in KEYNOTE016A had a higher rate of drug modifications due to
          toxicity. Although the frequency of all-grades AEs that led to drug interruption
          (temporarily held) was numerically higher in KN016A compared with those of KN164
          and the reference safety population, the frequency of AEs that led to treatment
          discontinuation in KN016A and KN164 was lower than or consistent with that of the
          reference safety population. In the MSI-H/dMMR safety population, the frequency of
          deaths was lower than or consistent with that of the reference safety population (Table
          18).




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          Table 18: Disposition of Safety Population and Reference Safety Population
                                         KN016A (N=28)                          KN164 (N=61)              Reference Safety Population (N=2799)
                                             Grade       Grade                     Grade       Grade                  Grade 3/4/5 Grade 3/4/5
           As of Cut Off                   3/4/5 Drug  3/4/5 Drug     All        3/4/5 Drug  3/4/5 Drug                   Drug          Drug
                              All Grades                                                                  All Grades
           Data Date                       Modify<6    Modifyi::6   Grades       Modify <6   Modifyi::6                Modify <6     Modify 2:6
                                 N (%)                                                                       N (%)
                                            Months      Months       N (%)        Months      Months                    Months         Months
                                              N (%)       N (%)                     N (%)       N (%)                    N (%)          N (%)
           Deaths              2 (7.1%)    1 (3.6%)     1 (3.6%)    1 (1.6%)        1 (1.6%)     0        110 (3.9%)    92 (3.3%)    18 (0.6%)
           Discontinuation
                               2 (7.1%)    1 (3.6%)     1 (3.6%)    2 (3.3%)        1 (1.6%)     0        334 (11.9%)   208 (7.4%)   52 (1.9%)
           duetoAE
           Temporarily
                                                                       13
           held due to AE     17 (60.7%)   7 (25.0%)   4 (14.3%)                    9 (14.8%)    0        622 (22.2%)   219 (7.8%)   98 (3.5%)
                                                                    (21.3%)
           nnterruotionsl

          REVIEWER COMMENT: KEYNOTE016A had a higher rate of drug modifications due to toxicity, but it is unclear whether
          this was from a longer duration of follow-up or a higher dose, or due the small sample size of each study. Patients in the
          safety reference database had a higher rate of treatment discontinuation associated with AEs, likely related to the larger
          numbers of patients treated and stage of development of pembrofizumab (as this population includes patients in the first
          clinical studies).




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          7.3.4    Significant Adverse Events (Grade 3-5)

          AEs that occurred at toxicity Grade 3 or higher in the 89 patients in KEYNOTE016A and
          KEYNOTE164 are listed by system organ class (SOC) in Table 19 and Table 20.

          Table 19: KEYNOTE016A: AEs by System Organ Class (SOC)
                                                            Grade 3-4              All Grades
          System Organ Class
                                                              N (%)                   N (%)
          Gastrointestinal disorders                          5 (18)                 24 (86)
          General disorders and administration site
                                                                   1 (4)          21 (75)
          conditions
          Respiratory, thoracic and mediastinal
                                                                   2 (7)          17 (61)
          disorders
          Infections and infestations                              2 (7)          16 (57)
          Musculoskeletal and connective tissue
                                                                     0            16 (57)
          disorders
          Skin and subcutaneous tissue disorders                   1 (4)          16 (57)
          Nervous system disorders                                 2 (7)          15 (54)
          Metabolism and nutrition disorders                      4 (14)          14 (50)
          Blood and lymphatic system disorders                   10 (36)          13 (46)
          Investigations                                          5 (18)          13 (46)
          Psychiatric disorders                                    1 (4)          10 (36)
          Injury, poisoning and procedural
                                                                   1 (4)           9 (32)
          complications
          Vascular disorders                                       1 (4)           9 (32)
          Renal and urinary disorders                              2 (7)           7 (25)
          Cardiac disorders                                          0             6 (21)
          Endocrine disorders                                        0             6 (21)
          Ear and labyrinth disorders                                0             5 (18)
          Eye disorders                                              0             5 (18)
          Reproductive system and breast disorders                   0             5 (18)
          Hepatobiliary disorders                                    0              2 (7)
          Surgical and medical procedures                          1 (4)            2 (7)
          Congenital, familial and genetic disorders                 0              1 (4)
          Immune system disorders                                    0              1 (4)
          Neoplasms benign, malignant and
                                                                     0              1 (4)
          unspecified
          Product issues*                                            0              1 (4)
          *This is not a recognized MedDRA term. Investigators used the term “product issues” to describe 4 events
          of drain malfunction and stent malfunction in a single patient.
          Table 20: KEYNOTE164 AEs by SOC
          System Organ Class                              Grade 3-4      Total
                                                          N (%)          N (%)
          Gastrointestinal disorders                      5 (8)          44 (72)
          General disorders                               7 (11)         37 (61)
          Musculoskeletal and connective tissue           2 (3)          24 (39)
          disorders
          Infections and infestations                     3 (5)          23 (38)
          Respiratory, thoracic and mediastinal           4 (7)          22 (36)


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          System Organ Class                               Grade 3-4   Total
                                                           N (%)       N (%)
          disorders
          Investigations                                   8 (13)      18 (30)
          Skin and subcutaneous tissue disorders           0           17 (28)
          Metabolism and nutrition disorders               3 (5)       16 (26)
          Nervous system disorders                         0           15 (25)
          Blood and lymphatic system disorders             2 (3)       12 (20)
          Vascular disorders                               1 (2)       8 (13)
          Neoplasms benign, malignant and unspecified      5 (8)       7 (11)
          Renal and urinary disorders                      1 (2)       7 (11)
          Endocrine disorders                              0           5 (8)
          Eye disorders                                    0           5 (8)
          Ear and labyrinth disorders                      0           4 (7)
          Hepatobiliary disorders                          1 (2)       4 (7)
          Psychiatric disorders                            0           4 (7)
          Cardiac disorders                                2 (3)       3 (5)
          Injury, poisoning and procedural complications   1 (2)       3 (5)
          Reproductive system and breast disorders         1 (2)       3 (5)
          Grade 3-4 AEs for PT and HLT are listed in Section 7.4.1    Common Adverse Events.
          Details for Grade 5 AEs from both studies are provided in Section 7.3.1 Deaths of
          this review.
          REVIEWER COMMENT: There was an increased frequency of blood and lymphatic
          system disorders in the sBLA safety population compared to the reference safety
          population, specifically anemia (see Sections 7.4.1    Common Adverse Events, 7.4.2
                 Laboratory Findings). Gastrointestinal events were also in greater frequency
          (11.2% in the sBLA safety population compared to 8.3% in the reference safety
          population), possible due to higher frequency of abdominal pain, diarrhea, and
          pancreatitis (see Section 7.4.1    Common Adverse Events) which can be attributed to
          underlying disease (CRC) or from noted AEs in the pembrolizumab USPI (pancreatitis).
          Investigation-related AEs were also higher in the submission, mostly liver enzymes,
          which may be reflective of the underlying disease etiology (metastatic CRC) see Section
          7.4.2 Laboratory Findings). However, overall incidence of Grades 3-5 adverse events
          was similar between the two safety populations.

          7.3.5    Submission Specific Primary Safety Concerns

          Immune-mediated AEs
          Below are data on AEOSI for the 89 patients with MSI-H/dMMR cancers which
          represent the CRC safety population (KEYNOTE016A and KEYNOTE164).
          In KEYNOTE016A, four AEOSI categories with reported events were hypothyroidism,
          pancreatitis, skin disorders, and thyroiditis. The AEOSI were presented in the CSR
          regardless of investigator-assessed causality and generally included all AE grades (with
          the exception of severe skin reactions). A total of 9 subjects (32.1%) had one or more
          AEOSIs. A total of 8 subjects (28.6%) reported a drug-related AEOSI. The most


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          commonly reported AEOSI was thyroiditis, at an incidence of 14.3% (n=4) and highest
          Grade 2, followed by pancreatitis at 10.7% (n=3). One patient experienced Grade 2
          pancreatitis (asymptomatic), one patient experienced Grade 3 (symptomatic)
          pancreatitis, one patient experienced Grade 4 pancreatitis (in the context of a biliary
          tract stent malfunction). One patient experienced Grade 3 pruritic rash and pemphigoid.
          Of the 9 subjects, 2 required concomitant corticosteroid use; however there are not full
          details regarding the need of corticosteroids for the treatment of these irAEs per the
          applicant due to issues with the Johns Hopkins University (JHU) database.
          In KEYNOTE164, there were 12 events identified in 10 subjects with an incidence of
          16.4%: (incidence; number as follows): hypothyroidism (6.6%; n = 4), hyperthyroidism
          (4.9%; n = 3), pancreatitis (4.9%; n = 3), colitis (1.6%; n = 1), and pneumonitis (1.6%; n
          = 1). The majority of these events (10 of 12) were Grade 1 or Grade 2 AEOSI. Two
          patients (both with pancreatitis) had Grade 3 events. None of these events resulted in
          treatment discontinuation. Four of these patients were treated with corticosteroids (all
          pancreatitis AEs and one patient with pneumonitis).
          Pancreatitis
          Seven subjects in the MSI-H/dMMR CRC cancer population developed pancreatitis
          [Grade 2 (n=2); Grade 3 (n=4); and Grade 4 (n=1)]. Pancreatitis was considered to be
          drug-related for 6 of 7 subjects and only one of the drug related events was considered
          serious although dose modifications and steroid treatment were required for 4 of the
          subjects. Median time to onset was 79.0 days (range: 7 to 135 days) and the median
          duration was 33 days (range 2 to 126 days).
          For KEYNOTE164, one of the 2 patients with Grade 3 pancreatitis had chemical
          pancreatitis (diagnosed by lipase/amylase) without clinical symptoms. Both events
          resolved within 5 weeks. One subject resumed pembrolizumab without recurrence of
          pancreatitis, while the other did not resume pembrolizumab as the last dose of study
          treatment was administered 29 days prior to the onset of pancreatitis.
          The majority (4 of 7) of subjects with pancreatitis were biochemically diagnosed with
          lipase/amylase laboratories without associated clinical symptoms typically observed
          with pancreatitis. Of these 4 subjects, 1 was diagnosed in the context of a
          malfunctioning percutaneous biliary drain placed 16 days prior to the event due to
          obstructing carcinomatosis. Two of these 4 subjects had no radiographic change to
          indicate inflammatory changes usually observed with pancreatitis, both before or after
          the reported event, and the 4th subject had a 27-year history of alcohol consumption,
          which can lead to pancreatitis. Pancreatitis is an identified safety risk for the
          pembrolizumab program. Given that only 1 of the 7 subjects had pancreatitis that was
          considered serious, none resulted in study treatment discontinuation, and most (6 of 7)
          had already resolved at data cutoff, it is reasonable to conclude that pancreatitis does
          not change the overall safety profile of pembrolizumab. Furthermore, given the relatively
          small number of subjects in the MSI-H/dMMR cancer population, it is difficult to
          determine if the difference is a true difference (e.g. increased rate) versus a chance
          finding.


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          Thyroiditis
          There were 4 reports of thyroiditis: all were reported from KEYNOTE016. One was
          Grade 1, and 3 were Grade 2. All incidents were considered to be drug-related. The
          thyroid laboratory panel results for these cases suggest that they were consistent with
          hypothyroidism and hyperthyroidism (1 subject each) and subclinical hyperthyroidism (2
          subjects). Both subjects with subclinical hyperthyroidism eventually became
          hypothyroid. For KEYNOTE164, thyroid dysfunction events (by HLT) were infrequently
          observed, although follow-up was limited: increased TSH was observed in one patient,
          hyperthyroidism (Grade 1-2) in 3 patients, and hypothyroidism (Grade 1-2) in 4 patients,
          starting on Cycle 2 and up to Cycle 10.
          REVIEWER COMMENT: Pancreatitis and thyroid disorders are known and uncommon
          identified risks of pembrolizumab therapy. The applicant submitted summary data on
          pancreatitis and thyroiditis across all 5 clinical trials which was reviewed. Of the 60
          subjects with MSI-H/dMMR non-CRC, pancreatitis (Grade 3, serious) was reported in
          only 1 subject with biliary cancer. There were no thyroiditis events reported in
          KEYNOTE016C, KEYNOTE164, KEYNOTE012, KEYNOTE028, and KEYNOTE158,
          and the applicant attributed the reports in KEYNOTE016A to a function of terminology.
          This reviewer agrees that the risk of pancreatitis and thyroiditis in MSI-H/dMMR cancer
          are consistent with those described in the label.


          7.4 Supportive Safety Results

          7.4.1    Common Adverse Events

          Overall, the incidence rates of adverse events were similar to the published incidence
          rates and were previously reviewed by FDA in separate efficacy supplements. The
          following tables summarize the AEs (irrespective of whether caused by pembrolizumab)
          by SOC, HLT and PT.
          KEYNOTE016A
          The safety of pembrolizumab in patients with MSI-H CRC was assessed in 28 patients.
          All patients experienced AEs. As in prior studies with pembrolizumab, the most
          frequently observed AEs in KEYNOTE016A were in the gastrointestinal (GI) system
          (mostly Grade 1-2 nausea, diarrhea, vomiting, and abdominal pain) and general
          disorders and administration site conditions (mostly Grade 1 fatigue). The most
          frequently reported AEs were fatigue/asthenia (54%), nausea/vomiting (46%), anemia
          (32%), arthralgia (32%), rash (32%), and diarrhea (32%). Most of these toxicities were
          Grade 1-2; Grade 3-4 events were reported in 46% patients. Grade 3-4 events that
          occurred in 3 or more patients were anemia, lymphopenia, hypocalcemia, and
          hypoalbuminemia. It appears that hematologic findings were more frequent in this
          population, as the incidence of anemia was 32% (including 25% Grade 3 anemia).




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          As described in Table 21, when combined as a high level term (HLT), the incidence of
          fatigue/asthenia is 54%, nausea/vomiting is 46%, diarrhea is 32%, and rashes is 32%.
          Table 21: KEYNOTE016A: Adverse Events (AEs) by High Level Term (HLT)
          incidence > 4 subjects
          High Level Term                                           N subjects         %
          Asthenic conditions                                           15             54
          Nausea and vomiting symptoms                                  13             46
          Musculoskeletal and connective tissue pain and
                                                                       11              39
          discomfort
          Anemias                                                       9              32
          Diarrhea                                                      9              32
          Joint related signs and symptoms                              9              32
          Pruritus                                                      9              32
          Rashes, eruptions and exanthems                               9              32
          Gastrointestinal and abdominal pains                          8              29
          Upper respiratory tract infections                            8              29
          Upper respiratory tract signs and symptoms                    8              29
          Anxiety symptoms                                              7              25
          Coughing and associated symptoms                              7              25
          Febrile disorders                                             7              25
          Feelings and sensations                                       7              25
          Headaches                                                     7              25
          Physical examination procedures and organ system
                                                                        7              25
          status
          Dermal and epidermal conditions                               6              21
          White blood cell analyses                                     6              21
          Appetite disorders                                            5              18
          Breathing abnormalities                                       5              18
          Liver function analyses                                       5              18
          Nasal congestion and inflammations                            5              18
          Edema                                                         5              18
          Acute and chronic pancreatitis                                4              14
          Acute and chronic thyroiditis                                 4              14
          Apocrine and eccrine gland disorders                          4              14
          Flatulence, bloating and distension                           4              14
          Gastrointestinal atonic and hypomotility disorders            4              14
          Muscle related signs and symptoms                             4              14
          Neurological signs and symptoms                               4              14
          Oral dryness and saliva altered                               4              14
          Peripheral vascular disorders                                 4              14
          Protein metabolism disorders                                  4              14
          Sodium imbalance                                              4              14
          Supraventricular arrhythmias                                  4              14
          Thrombocytopenias                                             4              14
          Tissue enzyme analyses                                4                14
          Fatigue, nausea, anemia, diarrhea, arthralgia, rash, vomiting, abdominal pain, and fever
          were the most frequently observed AEs (irrespective of attribution). Grade 3-4 AEs
          observed in ≥ 2 patients were anemia (7 patients, incidence 25%), lymphopenia (5



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          patients, incidence 18%), hypocalcemia and hypoalbuminemia (3 patients each,
          incidence 11%), thrombocytopenia, sepsis, pulmonary embolism, pancreatitis,
          hyponatremia, diarrhea, and AST increased (2 patients each, incidence 7%). See Table
          22 for the full listing of incidence of AEs by PT for at least 4 subjects. There was one
          patient who experienced a Grade 4 event of each of the following: hydronephrosis,
          lymphopenia, pancreatitis, pulmonary embolism, sepsis, and urinary tract infection;
          there were two patients with Grade 4 thrombocytopenia.
          Table 22: KEYNOTE016A: AEs by Preferred Term (PT) incidence > 4 patients
          Preferred Term                 Gr 3-4       Gr 3-4%        Total        Total %
          Fatigue                          0              0           15            54
          Nausea                           0              0           11            39
          Anemia                           7             25            9            32
          Diarrhea                         2              7            9            32
          Arthralgia                       0              0            9            32
          Rash                             0              0            9            32
          Vomiting                         0              0            8            29
          Abdominal pain                   0              0            7            25
          Headache                         0              0            7            25
          Pyrexia                          0              0            7            25
          Anxiety                          0              0            6            21
          Back pain                        0              0            6            21
          Cough                            0              0            6            21
          Dry skin                         0              0            6            21
          Lymphocyte count decreased       5             18            5            18
          AST increased                    2              7            5            18
          Weight decreased                 1              4            5            18
          Decreased appetite               0              0            5            18
          Nasal congestion                 0              0            5            18
          Oropharyngeal pain               0              0            5            18
          Pruritus                         0              0            5            18
          Upper respiratory tract
                                           0              0            5            18
          infection
          The incidence rates in the CRC safety population appeared similar to the rates
          described in labeling for the pembrolizumab monotherapy studies with the exception of
          anemia. It is possible that due to GI bleeding, anemia may be more likely in patients
          with CRC. In summary, the overall number, type, and frequency of AEs reported in this
          study are consistent with the safety profile previously described for pembrolizumab at
          this higher dose (with many of the events expected in patient population with advanced
          CRC). As this is a small study population, incidences should be taken cautiously. No
          new safety concerns were identified in this study.
          KEYNOTE164
          The safety of pembrolizumab in patients with MSI-H/dMMR CRC was assessed in 61
          patients. All but 1 patient experienced AEs (98%). The most frequently reported AEs are
          fatigue/asthenia, nausea/vomiting, abdominal pain, and diarrhea.




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          As described in Table 23, when combined as a HLT, the incidence of fatigue/asthenia is
          46%, nausea/vomiting 38%, diarrhea 25%, and rashes 13%.
          Table 23: KEYNOTE164: AEs by HLT (all Grades, incidence > 4 patients)
          HLT                                                       N (all grades)            %
          Asthenic conditions                                              28                 46
          Nausea and vomiting symptoms                                     23                 38
          Gastrointestinal and abdominal pains                             19                 32
          Diarrhea                                                         15                 25
          Coughing and associated symptoms                                 14                 23
          Febrile disorders                                                13                 22
          Musculoskeletal and connective tissue pain and
                                                                         13                   22
          discomfort
          Anemias                                                         9                   15
          Appetite disorders                                              9                   15
          Liver function analyses                                         9                   15
          Edema                                                           9                   15
          Joint related signs and symptoms                                8                   13
          Rashes, eruptions and exanthems                                 8                   13
          Gastrointestinal atonic and hypomotility disorders              7                   11
          Pruritus                                                        7                   11
          Headaches                                                       6                   10
          Physical examination                                            6                   10
          Tissue enzyme analyses                                          6                   10
          Upper respiratory tract infections                              6                   10
          General signs and symptoms                                      5                    8
          Pain and discomfort                                             5                    8
          Thyroid dysfunction events were infrequently observed: increased TSH was observed in
          one patient, hyperthyroidism (Grade 1-2) in 3 patients, and hypothyroidism (Grade 1-2)
          in 4 patients, starting on Cycle 2 and up to Cycle 10.
          Table 24: KN164: AEs by PT (incidence > 4 patients)
          Preferred Term                                   Gr 3-4     Gr 3-4%         Total        Total %
          Fatigue                                          2          3               17           28
          Abdominal pain                                   3          5               16           26
          Nausea                                           0          0               16           26
          Diarrhea                                         0          0               15           25
          Vomiting                                         0          0               14           23
          Pyrexia                                          1          2               13           21
          Asthenia                                         2          3               10           16
          Cough                                            0          0               10           16
          Peripheral edema                                 1          2               9            15
          Anemia                                           2          3               8            13
          Arthralgia                                       0          0               8            13
          Decreased appetite                               0          0               8            13
          ALT increased                                    3          5               6            10
          Headache                                         0          0               6            10
          Pruritus                                         0          0               6            10
          Rash                                             0          0               6            10
          Blood alkaline phosphatase increased             2          3               5            8



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          Preferred Term                          Gr 3-4       Gr 3-4%      Total       Total %
          Constipation                            0            0            5           8
          Weight decreased                        0            0            5           8
          Most of these toxicities were Grade 1-2; Grade 3 events (there was only one Grade 4
          event which was increased bilirubin during long-term follow up) were reported in 46%
          patients and there was no Grade 3 event with an incidence higher than 5%. Grade 3
          events with incidence rates between 3-5% were abdominal pain, ALT/AST increased,
          anemia, asthenia and fatigue, increased alkaline phosphatase, increased bilirubin,
          increased lipase, pancreatitis, ileus, and pulmonary embolism. The incidence rates
          appeared similar to the rates described in labeling for the pembrolizumab monotherapy
          studies.
          Pooled CRC Safety Population
          The type and incidence of AEs in the MSI-H/dMMR mCRC population were similar to
          the reference safety population (N=2799) with the exception of those events that are
          likely also related to advanced CRC, such as abdominal pain, which had an incidence in
          the pooled CRC population of 26% versus 10% in the reference population, and
          vomiting, which was 25% in the pooled population versus 14% in the reference
          population. The following were the AEs with the highest incidence in the pooled
          population (N=89; incidence; number): fatigue (36%;32), nausea (30%;27), diarrhea
          (27%;24), abdominal pain (26%;23), vomiting (25%;22), fever (22%;20), and anemia
          (19%;17). Again, anemia had a higher incidence in the pooled CRC population
          compared to the reference population (12%) possibly due to GI bleeding from the
          underlying cancer.
          Grade 3-5 AEs in the MSI-H/dMMR CRC population occurred in 14 patients (16%);
          however, the only events observed in 2 or more patients were pancreatitis (3 patients)
          and fatigue (2 patients). Therefore, no conclusions can be made in regards to
          comparisons with the reference safety population (incidence of Grade 3-5 AEs 14%).
          In conclusion, tolerance to treatment with pembrolizumab in subjects with MSI-H/dMMR
          mCRC treated in studies KEYNOTE016A and KEYNOTE164 was similar to other
          pembrolizumab studies as described in FDA’s reviews and product labeling. The overall
          AE profile for the MSI-H/dMMR cancer population is representative of underlying AEs
          that occur in patients with CRC and consistent with that of the reference population
          safety data from subjects with melanoma and NSCLC. There were no new safety issues
          identified.
          It is unlikely that data from Study KEYNOTE016 cohort C (subjects with MSI-H non­
          colorectal solid tumors), KEYNOTE012, KEYNOTE028, or KEYNOTE158 will
          substantively differ from the data analyzed in this review. In addition to the reviewed
          pooled data, Merck also submitted pooled data from an ongoing study in patients with
          head and neck carcinoma, consistent with the overall safety profile of pembrolizumab.
          This reviewer agrees that data from KEYNOTE016A and KEYNOTE164 is sufficient for
          the determination of the risk of pembrolizumab for the proposed indication.



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          7.4.2    Laboratory Findings

          The applicant stated that due to factors related to data collection, changes in laboratory
          parameters from baseline could not be analyzed for KEYNOTE016A. The analyses are
          based on the worst toxicities observed. As expected and previously described, liver
          function abnormalities were frequently observed, as summarized in Table 25.
          Table 25: KEYNOTE016A Liver Function Laboratory Assessment
          Laboratory category             I       N (%)
          ALT
          Grade 2 (> 3 – 5 x ULN)         I       3 (11)
          Grade 3-4 (> 5 x ULN)           I          0
          AST
          Grade 2 (> 3 – 5 x ULN)         I       3 (11)
          Grade 3 (> 5 – 20 x ULN)        I        1 (4)
          Bilirubin
          ≥ 2 x ULN                       I       4 (14)
          Alkaline phosphatase
          ≥ 1.5 x ULN                     I      11 (41)
          Transaminase AND bilirubin
          AT ≥ 3 x ULN and BI ≥ 1.5 x ULN I       1 (4)
          AT ≥ 3 x ULN and BI ≥ 2 x ULN I         1 (4)
          Other laboratory abnormalities observed, irrespective of causality (patient incidence in
          parentheses), were Grade 1-2 hypoalbuminemia (43%), Grade 3 hypoalbuminemia
          (4%), Grade 1-2 increased amylase (11%), Grade 3 amylase (7%), Grade 1-2
          hypocalcemia (25%), Grade 3-4 hypocalcemia (7%), Grade 3 hypercalcemia (4%),
          Grade 1-2 increased creatinine (18%), Grade 4 hypoglycemia (4%), Grade 1-2
          hyperglycemia (79%), and hematologic abnormalities. Most of these lab abnormalities
          were also reported as adverse events or were concurrent with clinical events for which
          they are expected (i.e., pancreatitis and elevated amylase).
          For KEYNOTE164, the most significant laboratory changes (from Grade 1-2 at baseline
          to ≥ Grade 3 or from normal at baseline to Grade 2) included increased alkaline
          phosphatase (7%), increased AST increased (5%), increased aPTT (3%), increased
          ALT (3%), increased amylase (3%), increased bilirubin (3%), hemoglobin (3%), and
          increased creatinine (2%). One subject (1.6%) had a shift to Grade 4 in bilirubin. All
          these changes are reflected in the AEs dataset when there were clinical manifestations
          (i.e., pancreatitis, liver toxicity, etc.). As expected and previously described, liver
          function abnormalities were frequently observed, as summarized in Table 26 (summary
          based on 59 patients who had normal liver function at baseline).
          Table 26: KN164 liver function laboratory assessment
          Laboratory category                     N (%)
          ALT
          Grade 2 (> 3 – 5 x ULN)                 4 (7)
          Grade 3 (> 5 – 20 x ULN)                3 (5)
          Grade 4 (>20 x ULN)                       0
          AST



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          Grade 2 (> 3 – 5 x ULN)                    6 (10)
          Grade 3 (> 5 – 20 x ULN)                    3 (5)
          Grade 4 (>20 x ULN)                           0
          Bilirubin
          ≥ 2 x ULN                                  4 (7)
          Alkaline phosphatase
          ≥ 1.5 x ULN                               19 (32)
          Transaminase AND bilirubin
          AT ≥ 3 x ULN and BI ≥ 1.5 x ULN            4 (7)
          AT ≥ 3 x ULN and BI ≥ 2 x ULN              4 (7)

          REVIEWER COMMENT: Aside from the laboratories associated with pancreatitis
          (elevated amylase/lipase), there were no appreciable differences in laboratory values
          between the safety population and the reference population.

          7.4.3    Vital Signs

          Vital signs, weight, physical examinations, ECOG performance status, laboratory safety
          tests were obtained and assessed at designated intervals throughout the study for the
          pembrolizumab and chemotherapy treatment arms. Refer to the Study Flow Charts 9.4
          Supplemental information in for timing of assessments.
          Due to JHU data availability, the mean change in vital signs and other physical
          observations for the subjects in the as treated population could not be provided for
          KEYNOTE016A.
          No clinically meaningful vital sign changes were observed in the KEYNOTE164
          population based on mean change in vital sign measurements from baseline over time.

          7.4.4    Electrocardiograms (ECGs)

          ECGs were not obtained as part of routine clinical testing.

          7.4.5    Special Safety Studies/Clinical Trials

          There were no special safety studies/clinical trials conducted with pembrolizumab.

          7.4.6    Immunogenicity

          An integrated immunogenicity evaluation was performed across data from studies
          KEYNOTE001, KEYNOTE002, KEYNOTE006, KEYNOTE010, KEYNOTE012, P024,
          KEYNOTE052, P055 and KEYNOTE164. The total of 3048 subjects were included in
          the immunogenicity assessment (1535 melanoma subjects, 1237 NSCLC subjects, 101
          head and neck squamous cell cancer subjects, 121 urothelial cancer [UC] subjects and
          54 MSI-H subjects), and 1437 subjects were evaluable. The observed incidence of
          treatment-emergent anti-drug antibodies (ADAs) in evaluable subjects based on the
          pooled population is 1.9% (28 out of 1437), based on 28 subjects with confirmed


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          treatment-emergent positive status, relative to 1437 evaluable subjects (of 1437
          subjects, 28 subjects had treatment-emergent positive, 14 subjects had non-treatment­
          emergent positive and 1395 subjects had negative immunogenicity status). These data
          indicate pembrolizumab has a low potential for eliciting the formation of ADAs.
          In the subgroup of MSI-H/dMMR subjects, 1 of 54 evaluable subjects (51 negative, 2
          non-treatment emergent positive, and 1 treatment emergent) had treatment emergent
          ADA yielding an incidence rate for treatment emergent antibodies of 1.9%.
          None of the subjects had any AEs associated with ADAs, such as hypersensitivity
          events (e.g., anaphylaxis, urticaria, angioedema) or injection site reactions. No clinically
          significant impact on efficacy (i.e., tumor size change) was established.


          7.5 Other Safety Explorations

          7.5.1    Dose Dependency for Adverse Events

          The sBLA has data submitted from subjects on 5 trials who were administered 2
          different doses of pembrolizumab: 10 mg/kg every 2 weeks or 200 mg every 3 weeks.
          Table 27: Dose by trial
          Study             N (MSI-H)                         Dose

          012               6 non CRC

                           30 non CRC
          016                                       10mg/kg every 2 weeks
                             28 CRC

          028               5 non CRC

          164                61 CRC
                                                    200mg every 3 weeks
          158              19 non CRC


          Below is a reviewer table of summary AEs by trial, which also shows the difference in
          dose for each trial:
          Table 28: Summary AEs per trial and dose
                                                      KN016A         KN164      Pooled
                                                      10mg/kg        200mg      MSI-H
                                                      2 weeks        3 weeks
                                                      N=28 (%)       N=61 (%)   N=89; n(%)
          Subjects who experienced an AE              28 (100)       60 (98)    88 (99)
          Subjects who experienced a Grade 1-2 AE     27 (96)        57 (93)    84 (94)
          Subjects who experienced a Grade 3-4 AE     13 (46)        28 (46)    41 (46)
          Subjects who experienced an SAE             14 (50)        23 (38)    35 (39)
          Deaths reported as an AE                    4 (14)         2 (3)      3 (3)*



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          *In review of the death data from the MSI-H/dMMR safety population, 3 deaths appeared to be at least
          partly caused by AE and not completely by the underlying etiology.
          There were no obvious differences in AEs by dose. Although three deaths associated
          with adverse events were reported in KEYNOTE016A, all appeared to be related to
          underlying disease progression.
          REVIEWER COMMENT: Due to the small numbers of subjects in this safety cohort
          compared to the reference safety pool (N=2799), and due to the different doses
          administered in each study (KEYNOTE016A was 10 mg/kg every 2 weeks vs
          KEYNOTE164 at 200mg every 3 weeks) it is difficult to determine the clinical
          significance of dose dependency for AEs. There are no new safety signals identified
          thus far.

          7.5.2      Time Dependency for Adverse Events

          REVIEWER COMMENT: Due to the small numbers of subjects in this safety cohort
          compared to the reference safety pool (N=2799), it is difficult to determine the clinical
          significance for time dependency for AEs.

          7.5.3      Drug-Demographic Interactions

          Below is the table for key demographics and baseline characteristics for the safety
          population (KEYNOTE016A and KEYNOTE164) for this sBLA:
          Table 29: Demographic and Baseline Characteristics for Safety Population
                                              KEYNOTE 016
              Demographic Baseline                                    KEYNOTE 164
                                                Cohort A
                 Characteristics
                                                  N=28                    N=61
               Age        Mean (range)          49 (24-75)              54 (21-84)
                                             Count         %        Count         %
                             ≥ 65 years        8           29        19           31
                             < 65 years       20           71        42           69
            Age Group
                         65 <= Age <75         7           25        15           25
                             ≥ 75 years        1            4         4            7
                                        F     13           47        25           41
               Sex
                                        M     15           54        36           59
                                   None        1            4         0            0
                                 1st line      7           25         6           10
               Prior            2nd line       8           29        28           46
             therapy             3rd line      7           25        13           21
                                 4th line      4           14         5            8
                               ≥ 5th line      1            4         9           15
                                 Mutant       11           39        16           26
              KRAS
                             Wild Type        17           61        38           62



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                                                  KEYNOTE 016
              Demographic Baseline                                  KEYNOTE 164
                                                    Cohort A
                 Characteristics
                                                       N=28              N=61
                                    PCR           21          75    39          64
                                     IHC          19          68    38          62
              MSI-H          Both tests           12          43    16          26
                             MSI-H total
                                                  28          100   60          98
                            (either test)
            Metastatic
                            Stage 4               28          100   61          100
             disease

          The applicant performed a sensitivity analysis for the influence of patient characteristics
          and drug exposure on efficacy (see 6.1.7        Subpopulations) and they concluded
          that there was no influence.
          REVIEWER COMMENT: The applicant’s analysis of subgroups in regards to AE was
          reviewed for age, gender, ECOG, and region. Demographic characteristics did not
          appear to have an impact on the safety of pembrolizumab in the MSI-H/dMMR
          population; however, as noted earlier, the population had limited numbers (N=89)
          compared to the reference (N=2799).

          7.5.4     Drug-Disease Interactions

          Data from subjects with 15 tumor histologies (see Table 30) was submitted to the sBLA.
          Based on the limited numbers of patients with different tumor-types, it would be difficult
          to assess whether safety would be different in patients with different tumor types;
          however, based on the underlying mechanism of action of pembrolizumab, it would not
          be expected that large differences in safety would exist.
          Table 30: Enrollment by tumor type over 5 trials for MSI-H/dMMR cancers
          Cancer type                       (n)

          Colorectal                        90
          Esophageal                        1
          Gastric                           9
          Ampullary / Biliary               11

          Pancreatic                        6

          Small Intestine                   8
          Breast                            2
          Endometrial                       14
          Thyroid                           1



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          Cancer type                  (n)

          SCLC                         1
          Bladder                      1
          Kidney                       1
          Prostate                     2
          Sarcoma                      1

          Retroperitoneal              1


          7.5.5      Drug-Drug Interactions

          No formal PK drug interaction studies have been conducted with pembrolizumab.
          Pembrolizumab belongs to the class of immunoglobulin G (IgG) antibodies, which are
          administered parentally and cleared by catabolism, and consequently extrinsic factors,
          including food and drug-drug interactions, are not anticipated to influence the exposure
          of pembrolizumab. See the FDA Clinical Pharmacology review for details.

          7.6 Additional Safety Evaluations

          7.6.1      Human Carcinogenicity

          No studies have been performed to test the potential of pembrolizumab for
          carcinogenicity.

          7.6.2      Human Reproduction and Pregnancy Data

          Based on its mechanism of action, pembrolizumab can cause fetal harm when
          administered to a pregnant woman. Females of reproductive potential are advised to
          use effective contraception during treatment with pembrolizumab and for at least 4
          months following the final dose. For additional details, see the FDA
          Pharmacology/Toxicology Review from the original BLA submission.

          7.6.3      Pediatrics and Assessment of Effects on Growth

          Safety and effectiveness of pembrolizumab have not been established in pediatric
          patients. However, based on the expected comparability in PKs between adolescents
          and adults, and based on the expectation that pembrolizumab is reasonably likely to
          predict benefit across MSI-H/dMMR tumors, I agree that pembrolizumab can be
          indicated for the treatment of adolescent patients (e.g., 12 years of age and older) with
          MSI-H/dMMR tumors. There are reports of Lynch Syndrome-associated cancers in
          older adolescents. Merck is conducting an ongoing pediatric study of pembrolizumab


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          and during the 13 Feb 2017 meeting, agreed to obtain data in pediatric patients with
          MSI-H/dMMR tumors.

          7.6.4    Overdose, Drug Abuse Potential, Withdrawal and Rebound

          No experience with overdose with pembrolizumab is available. On the basis of its
          pharmacological properties, there are no concerns regarding the potential for abuse,
          withdrawal, or rebound with pembrolizumab.

          7.7 Additional Submissions / Safety Issues
          None.

          8 Postmarket Experience

          Pembrolizumab received accelerated approval for the treatment of patients with
          unresectable or metastatic melanoma in September 2014, for the treatment of patients
          with metastatic NSCLC whose tumors express PD-L1 in October 2015, and for the
          treatment of recurrent or metastatic HNSCC in August 2016. It is currently under review
          for Hodgkin’s lymphoma. The safety profile has largely been consistent in clinical trials
          following the initial approval.




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          9 Appendices

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          figures.html
          9.2 Labeling Recommendations
          The label was not sent back to the applicant for review before the time of my
          submission.
          9.3 Advisory Committee Meeting
          There was no advisory committee meeting for this application because the safety profile
          of pembrolizumab is acceptable for the treatment of patients with recurrent or metastatic
          MSI-H cancers, the application did not raise significant public health questions
          regarding the role of pembrolizumab for this indication, and outside expertise was not
          necessary as there were no controversial issues that could benefit from an Advisory
          Committee discussion.




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          9.4 Supplemental information

          9.4.1 KEYNOTE 016

          Figure 2: Schema of KEYNOTE 016 (copied from sBLA submission)

                                                          N=83



                          Colorectal Cancers                     Non-Colorecta l Cancers

                      Cohort A            Cohort B                        Cohort C
                  Deficient in MMR    Proficient in MMR               Deficient in l\,1MR
                        (n=28)              (n=25)                          (n=30)


                              Anti-PDl (Pembrolizumab) - 10 mg/kg every 2 weeks
                              Primary endpoint: Objective response rate (ORR)



          Evaluable patients were confirmed using the MSI Analysis System from Promega at
          Johns Hopkins (see description below). This test determined MSI status through the
          insertion or deletion of repeating units in the five nearly monomorphic mononucleotide
          repeat markers (BAT-25, BAT-26, MON0-27, NR-21 and NR-24). At least 2 MSI loci
          were required to be evaluable in Cohorts A and C. Patients were assigned to a new
          cohort and/or replaced based on the Promega test results.
          The MSI Analysis System (Promega), Version 1.2, is a fluorescent multiplex PCR based
          method used to detect microsatellite instability (MSI). This instability is due to insertion
          or deletion of repeating units during DNA replication and failure of the mismatch repair
          system (MMR) to correct these errors. MSI analysis typically involves comparing allelic
          profiles of microsatellite markers generated by amplification from matching pairs of test
          samples, which may be MMR-deficient, and normal tissue samples. New alleles in the
          abnormal sample not found in the corresponding normal sample indicate the presence
          of MSI. The MSI Analysis System, Version 1.2, includes fluorescently labeled primers
          (marker panel) for co-amplification of seven markers for analysis of the MSI-high (MSI­
          H) phenotype, including five nearly monomorphic mononucleotide repeat markers (BAT­
          25, BAT-26, MON0-27, NR-21 and NR-24) and two highly polymorphic pentanucleotide
          repeat markers (Penta C and Penta D). Amplified fragments are detected using an ABI
          PRISM® 310, 3100, 3100-Avant, 3130 or 3130xl Genetic Analyzer after spectral
          calibration. GeneMapper® 4.0 software was used for data analysis and assignment of
          genotype.
          Key Inclusion Criteria
                   Subjects with measureable disease
                   Patients with locally advanced unresectable or metastatic CRC must have
                    received or refused at least 2 prior cancer therapy regimens.




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                        o include fluoropyrimidine, oxaliplatin, irinotecan, bevacizumab and
                          cetuximab or panitumumab (if KRAS wild type)
                 Patients with other cancer types must have received or refused at least 1 prior
                  cancer therapy regimen.
                 MSI testing: performed locally by CLIA certified immunohistochemistry (IHC) or
                  PCR based tests (see Section 2.6.1 MSI-H testing)
                 Age > 18 years
                 ECOG performance status 0-1
                 Adequate organ function, defined as:
                        o Absolute neutrophil count (ANC) ≥1500/mcL
                        o Platelets ≥100,000/uL
                        o Hemoglobin ≥9.0 g/dL
                        o Serum creatinine ≤1.5 x upper limit normal (ULN)
                        o Total bilirubin ≤1.5 x ULN
                        o Albumin ≥2.5mg/dL
                        o Coagulation parameters ≤1.5 x ULN
                        o Aspartate aminotransferase (AST) and alanine aminotransferase (ALT)
                          ≤2.5 x ULN
          Key Exclusion Criteria
                 Has known active central nervous system (CNS) metastases and/or
                  carcinomatous meningitis
                 Patient who has had chemotherapy, radiation, or biological cancer therapy within
                  14 days prior to the first dose of study drug; investigational agent or using an
                  investigational device within 28 days of the first dose of study drug; surgery
                  within 4 weeks; Patients who have received any of the following concomitant
                  therapy: IL-2, interferon or other non-study immunotherapy regimens;
                  immunosuppressive agents; other investigational therapies; or chronic use of
                  systemic corticosteroids (used in the management of cancer or non-cancer­
                  related illnesses) within 1 week; patients who have received any non-oncology
                  vaccine therapy used for prevention of infectious diseases including live seasonal
                  vaccinations for up to 30 days prior to dosing of study drug; growth factors within
                  14 days
                 History of any autoimmune disease, HIV, hepatitis B or C
                 Interstitial lung disease




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          Treatment Plan
          Pembrolizumab was administered as monotherapy 10mg/kg intravenously every 14
          days as a 30 minute infusion, for up to 24 months. No prophylactic pre-medication was
          given.
          Dose adjustments/modifications
          Dose adjustments were not permitted in individual patients. Pembrolizumab was
          withheld for drug-related Grade 4 hematologic toxicities, nonhematological toxicity ≥
          Grade 3 including laboratory abnormalities, and severe or life-threatening AEs as per
          Table 31 below. Supportive care guidelines, including use of corticosteroids, were
          included in the protocol and also provided to investigators in a separate document, the
          Events of Clinical Interest Guidance Document. The protocol also included supportive
          care treatment guidelines for infusion reactions (see Section 9.4 Supplemental
          information).
          Table 31: Dose Delay Guidelines for Pembrolizumab during KEYNOTE 016
                     Toxicity                Grade         Hold          Timing for      Dose/Schedule Discontinue
                                                        Treatment        restarting       for restarting Subject
                                                          (Y/N)          treatment          treatment
               Hematological Toxicity        1, 2, 3         No               N/A                N/A                 N/A
                                               4            Yes              Toxicity     May increase the      Toxicity does
                                                                           resolves to   dosing interval by 1 not resolve within
                                                                          Grade 0-1 or          week                  12
                                                                            baseline                            weeks of last
                                                                                                                   infusion
              Non-hematological toxicity       1             No               N/A                N/A                 N/A
             Non-hematological toxicity        2          Consider           Toxicity         Clinical AE      Toxicity does
                                                       withholding for     resolves to     resolves within 4 not resolve within
            Note: Exception to be treated                persistent       Grade 0-1 or      weeks: Same              12
            similar to grade 1 toxicity                  symptoms           baseline           dose and        weeks of last
                      Grade 2 alopecia                                                  schedule Clinical AE     infusion
                      Grade 2 fatigue                                                     does not resolve
                                                                                            within 4 weeks:
                                                                                          May increase the
                                                                                            dosing interval
                                                                                         by 1 week for each
                                                                                              occurrence
                                               3            Yes              Toxicity     May increase the      Toxicity does
                                                                           resolves to   dosing interval by 1 not resolve within
                                                                          Grade 0-1 or     week for each      12 weeks of last
                                                                            baseline         occurrence            infusion
                                               4            Yes              Toxicity     May increase the      Toxicity does
                                                                           resolved to   dosing interval by 1 not resolve within
                                                                          Grade 0-1 or        week for                12
                                                                            baseline      each occurrence       weeks of last
                                                                                                                   infusion
            Severe or life-threatening AEs    Any           Yes              Toxicity     May increase the      Subject should
                                                                           resolves to   dosing interval by 1 be discontinued if
                                                                          Grade 0-1 or     week for each       toxicity does not
                                                                            baseline         occurrence       resolve within 12
                                                                                                                 weeks of last
                                                                                                                    infusion




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          If toxicity did not resolve to Grade 0-1 within 12 weeks after the last infusion, the trial
          treatment was discontinued after consultation with the Applicant. Subjects with a
          laboratory adverse event still at Grade 2 after 12 weeks continued treatment in the trial
          only if asymptomatic and controlled.
          Permanent discontinuation of pembrolizumab was considered for any of the following
          immune-related adverse reactions (irAEs):
                 Diarrhea with abdominal pain, fever, ileus, or peritoneal signs; increase in stool
                  frequency (7 or more over baseline), stool incontinence, need for intravenous
                  hydration for more than 24 hours, gastrointestinal hemorrhage, and
                  gastrointestinal perforation
                 Aspartate aminotransferase (AST) or alanine aminotransferase (ALT) >5 times
                  upper limit of normal
                 Total serum bilirubin >3 times upper limit of normal
                 Steven-Johnson syndrome, toxic epidermal necrolysis, or rash complicated by
                  full thickness dermal ulceration or necrotic, bullous or hemorrhagic
                  manifestations
                 Severe (i.e., CTCAE Grade 3 or 4) motor or sensory neuropathy
                 Any grade Guillain-Barré syndrome, or myasthenia gravis or other neurologic
                  symptoms that impact activity of daily living
                 Severe immune-mediated reactions involving any other organs (e.g., nephritis,
                  pneumonitis, pancreatitis, non-infectious myocarditis)
                 Immune-mediated ocular disease that is unresponsive to topical
                  immunosuppressive therapy
                 Grade 4 infusion reaction
          Statistical Analysis Plan
          • The primary efficacy endpoint was ORR per RECIST 1.1. The point estimate and 95%
          confidence interval were provided using the exact binomial method. The subjects
          without response, in the primary analysis population (ASaT) data, were counted as non-
          responders.
          • For DCR (per RECIST 1.1), the point estimate, 95% confidence interval was provided
          using the exact binomial method. The subjects without response data, in the analysis
          population (ASaT), were considered as having the disease not under control.
          • For DOR (per RECIST 1.1), Kaplan-Meier (KM) curves and median estimates from the
          KM curves were provided as appropriate.
          • For PFS (per RECIST 1.1) and OS endpoints, Kaplan-Meier (KM) curves and median
          estimates from the KM curves were provided as appropriate.



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          Protocol Amendments
          Key changes are described for the following protocol amendments relevant to this
          application:
                 Amendment 1 (12 July 2013): Updated protocol to allow for testing of MSI status
                  in subjects with non-CRC tumors. Eligibility criteria for bilirubin were updated to
                  include patients with diagnosed Gilbert’s Syndrome.
                 Amendment 2 (19 Sept 2013): Clarified the evaluable population. MSI-H tumors
                  will be defined by using standard clinical criteria and require at least two affected
                  loci.
                 Amendment 3 (13 Jan 2014): Updated eligibility criteria for subjects with CRC
                  and non-CRC tumors. Removed Promega testing must take place at Johns
                  Hopkins.
                 Amendment 4 (18 March 2014): Subjects with thyroid disease were allowed but
                  subjects with a history of any autoimmune disease were to be excluded.
                 Amendment 5 (5 May 2014): Updated the definition and eligibility rules for Cohort
                  C. The requirement for ECG monitoring while on study has been removed to
                  reflect the guideline of the commercial sponsor for this product.
                 Amendment 6 (19 Nov 2014): Updated exclusion criteria regarding administration
                  of live vaccines.
                 Amendment 7 (4 March 2015): Expanded Cohorts A and C to include up to an
                  additional 50 subjects in each cohort. Changes in the eligibility criteria pertaining
                  to the acceptable ranges for AST/ALT, and revision of criteria for dosing delays
                  to make consistent with the commercial sponsor were amended.
                 Amendment 8 (1 May 2016): Clarification that serious adverse events were to be
                  monitored for 90 days after the last infusion of study drug. Revisions to exclusion
                  criteria to conform to the commercial sponsor’s development program.
                  Clarifications regarding follow-up and re-treatment procedures following 24
                  months on study drug.




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           Schedule of Key Events modified from sBLA submission)
                                             Scl'eening                                                    End of
                  Trial Period                                      Trea tment Cycles                                            Post-Treatment
                                               Phase                                                      Treatment
                          Treatment Cycle    Screening                                            Last Dose       Safety     Follow Up      Sw-vival
                                                          1    2      3       4    5    Cycle 6
                                                                                                                Follow-up      Visits      Follow up
                                                                                          and
                                                                                        beyond    At time of     30 dpost   Q 9 wks post   Q 8 weeks
                                                                                                  tx discon        dose       last dose
           Scheduling Window (Days):         -28to -1         ±3     ±3     ±3    ±3     ±3           ±3           ±7            ±7           ±7
       Clinical Procedures/Assessments
      Review Adverse Events                      X        X   X       X      X     X      X           X               X          X
      12-Lead ECG (Local)                        X
      Full or dfrected Phys. Exam; ECOG          X        X   X       X      X     X      X           X
      Post-study Anticancer Therapy Status                                                                            X          X            X
      Survival Status                                                                                                                         X
      Trial Treatment A dministration
      Pembrolizumab                                       X   X       X      X     X      X
      Laboratory
      P1·ocedures/Assessments: Analysis
      pe1·formed by LOCAL laboratory
      PT/INR and aPTI; UA                        X
      CBC with Differential and Chem Panel       X            X       X      X     X      X "'       X                X
      T3(or Free T3), FT4 and TSH                X            X              X            X*                          X
      Serum tumor markers: CEA                   X        X   X       X      X     X      X          X
      Efficac.y l\ieasnrements
      Ttm1or Imaging                             X                    X                   X          X                           X
      Tumor Tissue Collection
      .AJ·chival and/or Newly Obtained           X
      Tissue Collection
            * not on Cycle 7




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          9.4.2 KEYNOTE 164

          Key Inclusion Criteria
             Cohort A enrolled subjects who have experienced documented objective
              radiographic or clinical disease progression previously treated with standard of care
              therapies (including fluoropyrimidine, oxaliplatin, irinotecan, bevacizumab and
              cetuximab or panitumumab [if KRAS wild type])
             Locally advanced unresectable or metastatic pathologically; MMR deficient or MSI-H
              CRC
                   MSI status in tumor samples was determined locally at each participating
                    center using an IHC- or PCR-based test.
             Measurable disease by RECIST 1.1
             ECOG Performance Status 0 or 1
             Adequate renal, hepatic, and hematologic function defined as follows: serum
              creatinine ≤1.5 mg/dL, total serum bilirubin ≤ 1.5 x upper limit of normal (ULN),
              serum AST (SGOT) and/or ALT (SGPT) ≤ 2.5 x ULN (or ≤ 5.0 x ULN if considered
              due to tumor), albumin ≥ 2.5 mg/dL, INR or PT or aPTT ≤ 1.5 x ULN (unless patient
              on anticoagulation therapy), ANC ≥ 1500/mm3, platelets ≥100,000/mm3 and
              hemoglobin ≥ 9g/dL
          Key Exclusion Criteria
             Investigational agent or investigational device within 4 weeks of the first dose of trial
              treatment
             Active autoimmune disease that has required systemic treatment in past 2 years
              (with use of disease modifying agents, corticosteroids or immunosuppressive drugs)
             Has a diagnosis of immunodeficiency or is receiving systemic steroid therapy or
              immunosuppressive therapy within 7 days prior to the first dose of trial drug
             Has had a prior anti-cancer monoclonal antibody, chemotherapy, targeted small
              molecule therapy, or radiation therapy within 2 weeks prior to study or who has not
              recovered to ≤ Grade 1 or at baseline
             Other active malignancy
             Patients with brain metastasis that are not stable
             Infection requiring systemic therapy
             Known positive serology for HIV, active Hepatitis B, and/or active Hepatitis C
              infection




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              Patients who have had a major surgery and not recovered from side effects of such
               procedure
              History of, or any evidence of interstitial lung disease or active, noninfectious
               pneumonitis
              Has received a live vaccine within 30 days of planned start of study therapy
          Treatment
          Pembrolizumab 200mg fixed dose was administered as an intravenous 30 minute
          infusion q 3 weeks.
          Dose modifications
          Pembrolizumab will be withheld for drug-related toxicities and severe or life-threatening
          AEs as per Table 32.
          Table 32: Pembrolizumab dose adjustments for toxicities
                  Toxicity             Hold       Timing for Restarting                     Treatment Discontinuation
                                    Treatment          Treatment
                                    For Grade
                                       2-3                                         Toxicity does not resolve within 12 weeks of last dose
                Diarrhea/Colitis                 Toxicity resolves to Grade 0-1.                               or
                                                                                    inability to reduce corticosteroid to 10 mg or less of
                                                                                     prednisone or equivalent per day within 12 weeks.

                                        4            Permanently discontinue                       Permanently discontinue

           AST, ALT, or Increased       2        Toxicity resolves to Grade 0-1    Toxicity does not resolve within 12 weeks of last dose
                  Bilirubin                         Permanently discontinue
                                       3-4           (see exception below)1                      Permanently discontinue
               Type 1 diabetes                    Hold pembrolizumab for new
               mellitus (if new      T1DM or                 onset                 Resume pembrolizumab when patients are clinically
                  onset) or            3-4         Type 1 diabetes mellitus or               and metabolically stable.
               Hyperglycemia                                 Grade
              Hypophysitis             2-4
                                                 Toxicity resolves to Grade 0-1.
                                                                                     Toxicity does not resolve within 12 weeks of last
                                                  Therapy with pembrolizumab
                                                                                     dose or inability to reduce corticosteroid to 10 mg
                                                    can be continued while
                                                                                     or less of prednisone or equivalent per day within
                                                    endocrine replacement
                                                                                                           12 weeks.
                                                      therapy is instituted
                                                                                     Toxicity does not resolve within 12 weeks of last
              Hyperthyroidism           3         Toxicity resolves to Grade 0-1     dose or inability to reduce corticosteroid to 10 mg
                                                                                     or less of prednisone or equivalent per day within
                                                                                                           12 weeks.
                                        4            Permanently discontinue                      Permanently discontinue
                                                  Therapy with pembrolizumab       Therapy with pembrolizumab can be continued while
              Hypothyroidism
                                                               can                      thyroid replacement therapy is instituted.
                                                   be continued while thyroid
                                                    replacement therapy is
                                                            instituted
                Infusion
                                       3-4           Permanently discontinue                       Permanently discontinue
                Reaction
                                                                                     Toxicity does not resolve within 12 weeks of last
               Pneumonitis              2         Toxicity resolves to Grade 0-1                            dose or
                                                                                        inability to reduce corticosteroid to 10 mg or
                                                                                      less of prednisone or equivalent per day within
                                                                                                          12 weeks.
                                       3-4           Permanently discontinue                       Permanently discontinue




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                  Toxicity          Hold       Timing for Restarting                  Treatment Discontinuation
                                 Treatment          Treatment
                                 For Grade
                                                                                Toxicity does not resolve within 12 weeks of last
              Renal Failure or       2         Toxicity resolves to Grade 0-1                          dose or
                 Nephritis                                                         inability to reduce corticosteroid to 10 mg or
                                                                                 less of prednisone or equivalent per day within
                                                                                                      12 weeks.
                                    3-4          Permanently discontinue                        Permanently discontinue
                                                                                Toxicity does not resolve within 12 weeks of last
              All Other Drug-       3 or
                                               Toxicity resolves to Grade 0-1   dose or inability to reduce corticosteroid to 10 mg
              Related Toxicity     Severe
                                                                                or less of prednisone or equivalent per day within
                                                                                                      12 weeks.
                                     4           Permanently discontinue                        Permanently discontinue



          Dose modifications and treatment guidelines for infusional reaction treatment were
          provided as were suggested supportive care measures for the management of adverse
          events with potential immunologic etiology.
          Prohibited medications
          Aside from live vaccines and systemic glucocorticoids, all treatments that the
          investigator considers necessary for a subject’s welfare may be administered at the
          discretion of the investigator in keeping with the community standards of medical care.
          Radiation therapy for tumor control was prohibited.
          Statistical Analysis Plan
          There was one planned interim analysis for futility. For the primary efficacy endpoint of
          ORR per RECIST 1.1 assessed by central imaging vendor, the point estimate and 95%
          confidence interval were provided using exact binomial method by Clopper and
          Pearson. Subjects in the ASaT population without response assessments were counted
          as non-responders.
          Protocol Amendments
          Key changes are described for the following protocol amendments relevant to this
          application:

                  Amendment 1 (8 July 2015): Indication statement updated to mismatched repair
                   deficient or microsatellite instability High CRC. Baseline imaging assessment
                   was changed from within 14 days prior to allocation to within 28 days prior to
                   allocation. Overall survival follow up changed from every 8 weeks to every 9
                   weeks.
                  Amendment 2 (19 Oct 2015): Modification of inclusion criterion to define previous
                   lines of therapy, “Subjects who have been previously treated with approved
                   standard therapies, which must include fluoropyrimidine, oxaliplatin, and
                   irinotecan.” ORR, DOR, and PFS per RECIST 1.1 assessed by Investigator were
                   added to “other objectives.”
                  Amendment 3 (24 March 2016): Addition of a new cohort B consisting of subjects
                   with locally advanced unresectable or metastatic MMR deficient or MSI high CRC


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                  and who have been previously treated with at least one line of systemic standard
                  of care therapy (fluoropyrimidine + oxaliplatin or fluoropyrimidine + irinotecan +/-
                  anti-VEGF/EGFR monoclonal antibody, N=60) to the protocol. A second cohort of
                  60 subjects was added to evaluate pembrolizumab 200 mg 3QW in subjects with
                  colorectal cancer (CRC) who have undergone 1 line of systemic treatment
                  (fluoropyrimidine +oxaliplatin or fluoropyrimidine +irinotecan +/- anti-VEGF/EGFR
                  monoclonal antibody). The first cohort will be designated Cohort A, the second,
                  Cohort B. A requirement was added for required tumor tissue sampling in Cohort
                  B. Newly obtained tissue from primary tumor is encouraged if it is accessible and
                  not a contraindication due to subject safety concerns; otherwise, archival tumor
                  tissue from primary tumor is accepted. Statistics were amended for new sample
                  size.




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           Table 33: KEYNOTE 164 Schedule of Events (modified from sBLA submission)
                                              Screening                                                  End of
                   Trial Period                                    Treatment Cycles                                             Post-Treatment
                                                Phase                                                   Treatment
                           Treatment Cycle    Screening                                         Last Dose       Safety      Follow Up      Survival
                                                          1    2     3      4    5    Cycle 6
                                                                                                              Follow-up       Visits      Follow up
                                                                                        and
                                                                                      beyond    At time of     30 d post   Q 9 wks post   Q 8 weeks
                                                                                                tx discon        dose        last dose
            Scheduling Window (Days):         -28 to -1       ±3    ±3    ±3    ±3     ±3           ±3            ±7            ±7           ±7
       Clinical Procedures/Assessments
       Review Adverse Events                      X       X   X      X      X    X      X           X               X           X
       ePROs (HRQoL Measures)                             X   X      X      X    X                  X               X
       12-Lead ECG (Local)                        X
       Full or directed Phys. Exam; ECOG          X       X   X      X      X    X      X           X
       Post-study Anticancer Therapy Status                                                                                     X             X
       Survival Status                                                                                                                        X
       Trial Treatment Administration
       Pembrolizumab                                      X   X      X      X    X      X
       Laboratory
       Procedures/Assessments: Analysis
       performed by LOCAL laboratory
       Pregnancy Test Serum or Urine              X       X   X      X      X    X      X                           X
       PT/INR and aPTT; UA                        X
       CBC with Differential and Chem Panel       X           X      X      X    X      X           X               X
       T3(or Free T3), FT4 and TSH                X           X             X           X                           X
       Serum carcinoembryonic antigen                                                   X
                                                  X                  X           X
       (CEA) and CA19-9
       Efficacy Measurements
       Tumor Imaging                              X                  X                  X           X                           X
       Tumor Tissue Collection
       Archival and/or Newly Obtained            X                                                  X
       Tissue Collection




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          9.4.3 KEYNOTE 012

          Figure 3: KEYNOTE 012 Trial Schema (copied from sBLA submission)
                                                              Interim Analysis•   Add itiona l
             Triple-Negative
             Breast Cancer
                                    10 subjects
                                    lOmg/kg Q2W                q                  16 subjects
                                                                                  lOmg/kg Q2W
             (Cohort A)
                                  ~ - - - - - - - ~ Interim Analysis•
                                                                                  A dditional
             Head/Neck              10 HPV(-)subjects 1,-----1'._                 12 HPV{-) subjects
             Cancer"                lOmg/kg Q2W        ~                          lOmg/kg Q2W
                                  ~

             (Cohort B)
                                            12 HPV(+) subjects will also be enrolled in Cohort B     I
             Head/Neck
                                          110 subjects (both PD-Ll+ and PD-Ll-)
             Cancer
                                                       200mgQ3W
             (Cohort B2)

             Urothelial Tract
             Cancer
             (Cohort C)
                                     10 subjects
                                     lOmg/kg Q2W
                                                                                  Additional
                                                                                  12 subjects
                                                                                  10mg/kg Q2W
                                                                                                          g                [sFLJl
             Gastric cancer#            32 su bjects tota l: 16 from AP + 16 non-AP
             (Cohort D)                                lOmg/kg Q2W

             *An Int erim ana lysis for each cohort may be performed depending on t he rate of enrollment or other
              factors determined during the course of the trial. This interim analysis would only be performed
              when ,c 10 patients in the respective cohort have had at least two post-baseline scans.
             •A total of 34 subject s with head/neck ca ncer will be enrolled in Cohort B of t he study
             # The gastric cancer cohort w ill be stratifi ed to enroll 16 patients In Asia Pacific (AP) and 16 patients ex-AP.
             No Int erim analysis will be performed In t his cohort.
             PD = Progressive Disease
             SFU = Survival Follow-up




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          9.4.4 KEYNOTE 028

          Figure 4: KEYNOTE 028 Trial Schema (copied from sBLA submission)

                             --------+                                      ---
                                 20 Tumor Cohortst                           Sequential Monitoring
                       1
                        2     ------+               l!!i1w
                                                 Enrollment
                                                                                                 Alll!ill2!w
                                                                                                Enrollment



                              --                                            ----
                        3
                       4
                        5
                                               6 subjects per
                                                   cohort
                                                                                                Cohorts NOT
                                                                                                 closed fo r
                                                                                                                                    c"-              5'
                                                                                                                                                     ...
                       6      ------+ Interim analysts                                           futility will                                       !!!.
                                                                                                                                     .,
                                                                                                                                     ...,QI
                                                                                                                                     QI



                               -------+                                        -
                        7                                                                      enroll a total of
                       8      ------• performed   by
                                         continuous
                                                                                                22 evaluable
                                                                                                subjects per
                                                                                                                                                      CL
                                                                                                                                                     ::::>
                       9


                              --
                                                 sequentia l                                                                                          le
                                                                                                   cohort.
                       10                        monitoring                                                                         i5               .2
                       11                       (see Section        ♦         ---+                                    ♦                          ♦
                       12     ------+          8.2.9) after at               ·--+           Cohorts deemed                           QI
                                                                                                                                     >               ...
                                                                                                                                                     0

                                                                             ..                                                      .,
                                      least 6 patients                       ---+              futile by                            "iii
                       13




                             --------+
                              ------+ least
                                        have had at                          ·---+
                                                                                              continuous                                             ii
                       14
                                              1 post-                                         sequential                             f                >
                       15                                                                      monitoring will                       Cl              -~
                       16                       baseline scan                •--+
                                                                             ---+
                                                                                             Ch)~~ ror OCCI ual                      e                ::,




                             -
                       17                                                                        and treated                        CL               1/)
                       18
                       19
                               ------+          Enrollment will
                                                NOT pause for
                                                                             ·---+
                                                                             --+
                                                                                                    patients
                                                                                                 followed for
                                               interim analysis
                       20     ------•                                        ---+                  response


               t List of 20 Advanced Solid Tumor Indicati on for which No Curative Therapy Exists:
               Al Colon or Rectal Adenocarcinoma                  Bl ER Positive HER2 Negative                     Dl Thyrofd Cancer
               A2 Anal Canal Squamous Cell Carcinoma                 Breast Cancer                                    {Papillary or Follicular Subtype)
               Al Pancreas Adenocarclnoma                         62 Ovarian Eplthellal, Fatloplan Tube or         D2 Salivary Gland Carcinoma
               A4 Esophaoeal Souamous Cell Carcinoma or              Primarv Peritoneal Carcinoma                  D3 Na,sopharvnoeal Carcinoma
                  Adenocarcinoma (Includi ng GE Junction)         BJ Endometrial Carcinoma
               AS BIiiary Tract Adenocarclnoma                    B4 Cervical Squamous Cell Cancer                 El Glioblastoma Multlforme
                  (Ga1 1bladderand BIiiary Tree but exclud lng    BS Vulvar Squamous Cell Carcinoma                El Lelomyosarcoma
                  Ampulla of Vater Cancers)                                                                        El Prostate Adenocarclnoma
               Ab Carc1no1d I umors                               Cl Sma ll Cell Lung Cancer
               A7 Neuroendocrine Carcinomas                       C2 Mesothelioma
                  (Well or moderately differentiated                 (Malignant Pleural Mesothelioma)
                  Pancreatic Neuroendocrine Tumor)




          9.4.5 KEYNOTE 158

          Figure 5: KEYNOTE 158 Trial Schema (copied from sBLA submission)
                                                                               KN158 Trial Schema
                                                                                                                         Central            Central
                             " Basket " of                                        Tumor BMx                             Rad iologic        Radiologic
                            rare cancers:                                         Screening:                             Review: Treatment: Review:
                     (A) Anal
                     (B) Biliary
                                                                                                                              ....
                                                                                                                                        ....          r             CJ
                                                                                                                                                                    "'C
                                                                                                                            0          .,,                   ~      8.
                     (C) Ncurocndocrinc
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                     (DI ndometrial                                                                                         ,Q iJ                            CJ     a::
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                     (El Cervical                                                                                            io a::                                 0 ~
                     (Fl Vulvar                                                                                              E .D>                                  C
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                     (GI Small Cell Lung                                                                                    'E0 Cl.I                                 io   .,,
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                     (H) Mesothelioma
                                                                                                                             C: 0                            "'
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                     (I) Thyroid                                                                                             Cl.I                             N
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                     (JI Salivary Gland
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                                                                                                                             a. ~                            .0     "O
                                                                                                                                          :,                        C
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                     (K) Advanced Solid                                                                                     "O
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                                                                                                                                                             Q.
                                                                                                                                                                     8.
                                                                                                                                                                     CJ
                         Tumors (other                                                                                                  ::!:                        "O

                         than CRC)
                                                                                                                                                      LJ            .s




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     LEIGH J MARCUS
     02/15/2017

     STEVEN J LEMERY
     02/15/2017




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               CHEMISTRY REVIEW(S)
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     ( ~ n;_m U.S. FOOD & DRUG
     ~   ~\.-    -     ADMINISTRATION




                                        Memorandum of Review
                                            (Environmental Assessment)


     Date: February 14, 2017
     To:   File for STN: 125514 SUPPL-14 (SD#775)

     From: Mark Paciga, Ph.D., Product Quality Reviewer, DBRR1/OBP

     Through: Sarah Kennett, Ph.D., Review Chief, DBRR1/OBP

     Subject: 125514/SUPPL-14 Environmental assessment and acceptability of drug product used in the
     clinical study

     Applicant: Merck Sharp & Dohme Corp.

     Product: Keytruda® (pembrolizumab)

     Indication:
                                                                                                            (b) (4)




     Received: September 8, 2016
     Action Due Date: March 8, 2017

     Review Recommendation: The claim of categorical exclusion from the environmental assessment is
     accepted. Appropriate pembrolizumab drug product supplies were used in these studies.

     1. FDA Regional Information
     1.12. Other Correspondence
     1.12.14. Environmental Analysis

     Merck requests a categorical exclusion from the preparation of an environmental assessment pursuant to
     section 505(b) of the Federal Food, Drug, and Cosmetic Act, as provided in 21 CFR 25.31(c) for an action
     on a supplemental Biologics License Application. Under this regulation, exclusion is provided if the
     substance comprises naturally occurring elements but has a sequence different from that of a naturally
     occurring substance, and when approval of the application does not significantly alter the concentration or
     distribution of the substance, its metabolites or degradation products in the environment.

     Reviewer comment: There is no information in this supplement indicating that any additional
     environmental information is needed, and the claim of categorical exemption is accepted.

     Clinical Supplies Dispensed to Patients
     In the Phase 2 trial in patients with microsatellite unstable (MSI) tumors (Protocol Number MK-3475­
     U.S. Food & Drug Administration
     10903 New Hampshire Avenue
     Silver Spring, MD 20993
     w ww.fda.gov

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                       ADMINISTRATION
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     016V09) the clinical material used was supplied as 50 mg/vial lyophilized MK-3475. In the Phase 2 trial in
     patients with previously treated locally advanced unresectable or metastatic (Stage IV) mismatched repair

     clinical material used was
                                   -
     deficient or microsatellite instability-high colorectal carcinoma (Protocol Number MK-3475-164) the
                                 (b) (4)
                                         MK-3475, 100 mg/vial (■ DS).

     Reviewer comment: The drug substance (DS) manufactured at
                                                               (b) (4)



                                                                                             (b) (4)
                                                                                                    is not approved for
     commercial release. Merck has presented data from release testing, extended characterization studies,
     forced degradation studies and stability studies to demonstrate that this material is comparable to the
     licensed product (IND 110,080 SD# 1095), and it was determined that the drug product manufactured from
     the ■ DS is sufficiently representative of the commercial material for use in pivotal clinical studies.
          (b) (4)


     From the information available in this supplement, it is not clear whether the DS used to manufacture the
     DP in the MK-3475 50 mg/vial was manufactured at clinical                   or licensed sites. However, given that
                                                                         (b) (4)


     the pembrolizumab drug product manufactured from
                                                                 (b) (4)
                                                                         DS is sufficiently representative of the
     commercial material, the use of these products in these clinical trials is acceptable.




     U.S. Food & Drug Administration
     10903 New Hampshire Avenue
     Silver Spring, MD 20993
     w ww.fda.gov

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     ----------------------------------------------------
     MARK PACIGA
     02/17/2017

     SARAH B KENNETT
     02/17/2017




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                     APPLICATION NUMBER:

                         125514Orig1s014

              STATISTICAL REVIEW(S)
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                                                 U.S. Department of Health and Human Services
                                                 Food and Drug Administration
                                                 Center for Drug Evaluation and Research
                                                 Office of Translational Sciences
                                                 Office of Biostatistics




                                   STATISTICAL REVIEW AND
                                         EVALUATION
                                                  C LINICAL S TUDIES

                  BLA Serial Number:         125514/ 14
                  Drug Name:                 Keytruda (Pembrolizumab/MK-3475)
                  Indication(s):             Microsatellite instability-high (MSI-H) cancer
                  Applicant:                 Merck
                  Submission Date:           09/08/2016
                  PDUFA Date:                03/08/2017
                  Review Priority:           Priority
                  Biometrics Division:       V
                  Statistical Reviewer:      Weishi Yuan
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                  Keywords:                  Objective Response Rate, Microsatellite Instability-High (MSI-H)
                                             Cancer, Exact Method




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                  1.        EXECUTIVE SUMMARY

                  The applicant submitted data and analysis of pooled data from 5 single arm studies to
                  support approval of pembrolizumab (MK-3475) as
                                                                                                    (b) (4)


                                                                 Pembrolizumab had previously received
                  approval for unresectable or metastatic melanoma; metastatic NSCLC whose tumors
                  express PD-L1 as determined by an FDA-approved test and who have disease
                  progression on or after platinum-containing chemotherapy, and accelerated approval for
                  recurrent head and neck squamous cell carcinoma (HNSCC) with disease progression on
                  or after platinum-containing therapy.

                  This application was based on pooled data analysis from 5 single arm studies listed
                  below. The primary endpoint was objective response rate (ORR) per the RECIST 1.1
                  criteria.

                           KN016:
                            o Cohort A included patients with MSI-H colorectal cancer (CRC) who had
                                been previously treated with at least 2 lines of systemic therapies (must have
                                included fluoropyrimidine, oxaliplatin, irinotecan, bevacizumab and
                                cetuximab or panitumumab [if KRAS wild type]).
                            o Cohort C included patients with MSI-H non-CRC solid tumors (including
                                gastric, small intestine, ampullary/biliary, pancreatic, endometrial, prostate,
                                and thyroid cancers plus sarcoma) who had been previously treated with more
                                than 1 prior therapies.
                           KN012: included patients with PD-L1-positive advanced solid tumors in Cohorts
                            A (triple-negative breast cancer), C (urothelial tract cancer), and D (gastric
                            cancer), who were previously treated with standard of care (SOC)
                            chemotherapies. The MSI analysis was not used for biomarker selected
                            enrollment and 6 patients were identified as MSI-H upon retrospective analysis.
                           KN028: included patients with PD-L1-positive advanced solid tumors (including
                            CRC, biliary, esophageal, breast, and endometrial cancers), who were previously
                            treated with SOC chemotherapies. The MSI analysis was not used for biomarker
                            selected enrollment, and 5 patients were identified as MSI-H upon retrospective
                            analysis in this cohort.
                           KN164: included patients with MSI-H CRC who were previously treated with
                            approved standard therapies (must have included fluoropyrimidine, oxaliplatin,
                            and irinotecan).
                           KN158: included prospectively enrolled patients with MSI-H non-CRC (including
                            gastric, biliary, pancreatic, endometrial, kidney, prostate, retroperitoneal
                            adenocarcinoma, small cell lung cancer and small intestine cancers) and patients
                            with endometrial cancer identified as MSI-H upon retrospective analysis, all of
                            whom were previously treated with SOC therapies.

                  A total of 149 patients were included in the final analysis for MSI-H. The ORR assessed
                  by independent review was 35.6% (95% CI: 27.9, 43.8). The median duration of response
                                                                                                             4




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                  was not reached, and duration ranged from 1.6 to 27.7 months.      A total of 26 (46%)
                  patients had a response of 6.0 months or longer.

                  Based on the data and analyses, the results showed 35.6% ORR in pembrolizumab treated
                  patients. Whether the data and analyses provided in this submission indicate a favorable
                  benefit/risk profile in supporting a regulatory approval will be a clinical decision.

                  According to the meeting with the applicant on 02/13/2017, a major amendment will be
                  submitted to support the flat dose of 200 mg every 3 weeks. A review addendum may be
                  filed after the additional data are submitted.




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                  2.       INTRODUCTION

                  The applicant submitted data and final study report of pooled analysis from 5 single arm
                  studies to seek accelerated approval for a new indication for pembrolizumab. This
                  application was based on data from the Studies K016, KN012, KN028, KN164, and
                  KN1598, in patients with advanced MSI-H cancers.

                  2.1      Overview

                  2.1.1.     Class and Indication

                  Pembrolizumab is a humanized monoclonal antibody (mAb) of the immunoglobulin G4
                  (IgG4)/kappa isotype designed to block the interaction between programmed cell death 1
                  (PD-1) and its ligands, PD-L1 and (programmed cell death ligand 2 (PD-L2).

                  Microsatellites are repetitive sequences, distributed throughout the genome.
                  Microsatellite instability (MSI) is the phenotype associated with defective dismatch
                  repair (dMMR) proteins and can occur due to a germline mutation in one of the mismatch
                  repair (MMR) genes or through methylation of an MMR gene promoter. High MSI is
                  indicative of a high mutational load and a highly immunogenic molecular phenotype.
                  MSI-H cancer represents a unique set of cancers with a common defect in MMR) and
                  immunobiology. The overall MSI-H cancer prevalence is 2% to 5% across tumor
                  histologies. MSI-H cancer represents an area of high unmet medical need, with up to
                  26,000 patients per year in the US alone.

                  The applicant is seeking an indication as a
                                                                                                      (b) (4)




                  2.1.2.     Regulatory History

                  Pembrolizumab had previously received approval as
                      treatment for unresectable or metastatic melanoma;
                      first-line treatment of patients with metastatic NSCLC whose tumors have high
                        PD-L1 expression [tumor proportion score (TPS) ≥ 50%] as determined by an
                        FDA-approved test, with no EGFR or ALK genomic tumor aberrations;
                      treatment of patients with metastatic NSCLC whose tumors express PD-L1 (TPS
                        ≥ 1%) as determined by an FDA-approved test, with disease progression on or
                        after platinum-containing chemotherapy. Patients with EGFR or ALK genomic
                        tumor aberrations should have disease progression on FDA-approved therapy for
                        these aberrations (prior to receiving pembrolizumab); and
                      (accelerated approval) treatment of patients with recurrent head and neck
                        squamous cell carcinoma (HNSCC) with disease progression on or after platinum-
                        containing therapy.



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                  The sBLA was submitted on September 8, 2016. FDA held a meeting with the applicant
                  on 02/13/2017, and the applicant stated that a major amendment will be submitted to
                  support the flat dose of 200 mg every 3 weeks.

                  2.1.3.     Studies Reviewed

                  KN016 is an ongoing, 2-stage, multi-cohort, single arm trial in previously treated patients
                  to evaluate the clinical activity of pembrolizumab monotherapy. The 3 cohorts includes:
                  patients with metastatic or locally advanced MSI-H CRC with at least 2 prior regimens
                  (Cohort A); patients with metastatic or locally advanced non-MSI-H CRC (Cohort B);
                  and patients with metastatic or locally advanced MSI-H non-CRC with at least 1 prior
                  regimen (Cohort C). Only results from Cohort A and Cohort C are presented to support
                  this application. The analysis of KN016 efficacy data included 58 patients with MSI-H
                  cancer, with 28 from Cohort A and 30 from Cohort C.

                  KN164 is an ongoing Phase 2, single arm trial of pembrolizumab in previously treated
                  patients with MSI-H CRC. All patients receive pembrolizumab 200 mg Q3W. Patients
                  are required to have been previously treated with the standard therapies fluoropyrimidine,
                  oxaliplatin, and irinotecan. The analysis of KN164 efficacy data included 5 patients with
                  MSI-H cancer.

                  KN158 is an ongoing Phase 2, multi-cohort trial of pembrolizumab monotherapy in
                  patients with advanced solid tumors evaluated for predictive biomarkers. Patients are
                  required at trial entry to have measurable disease as assessed per RECIST 1.1 criteria,
                  and to have failed prior therapy. Patients are treated with pembrolizumab 200 mg Q3W.
                  The analysis of KN158 efficacy data included 19 patients with MSI-H cancer.

                  KN012 was a multi-cohort trial of pembrolizumab in patients with advanced solid
                  tumors. Patients were enrolled into Cohort A for triple negative breast cancer (TNBC),
                  Cohort B as the initial HNSCC cancer cohort, Cohort B2 as the HNSCC cancer
                  expansion cohort, Cohort C for urothelial tract cancer, or Cohort D for gastric cancer.
                  Only patients with PD-L1 positive tumors were enrolled in cohorts A, B, C and D.
                  Treatment in Cohorts A, B, C, and D was pembrolizumab 10 mg/kg Q2W, and for Cohort
                  B2 200 mg Q3W. In Cohorts A, B, C, and D, patients must have had a PD-L1 positive
                  tumor as determined by IHC at a central laboratory. Patients with PD-L1 positive and
                  negative tumors were enrolled into Cohort B2. MSI status was not used for biomarker-
                  selected enrollment but was analyzed retrospectively. Tumor response was assessed
                  every 8 weeks according to RECIST 1.1 by IRC. The analysis of KN012 efficacy data
                  included 6 patients with MSI-H cancer.

                  KN028 is an ongoing Phase 1b open-label, multi-cohort trial of pembrolizumab
                  monotherapy in patients with PD-L1 positive advanced solid tumors. Patients received
                  pembrolizumab 10mg/kg every 2 weeks (Q2W). MSI status was not used for biomarker-
                  selected enrollment but was analyzed retrospectively. Tumor response was assessed
                  every 8 weeks according to RECIST 1.1 for the first 6 months and every 12 weeks
                  thereafter. The analysis of KN028 efficacy data included 5 patients with MSI-H cancer.
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                  The primary efficacy endpoint was ORR based on Independent Radiology Review (IRC)
                  assessment of confirmed response for KN012, KN016 and KN028. For KN164, patients
                  who had an unconfirmed response first documented at the last disease assessment prior to
                  the database cutoff date are included as responders. For KN158, confirmed and
                  unconfirmed responses per Investigator (INV) assessment were utilized due to the short
                  duration of follow-up, and no IRC data were available as of the database cutoff date.

                  A total 149 patients with MSI-H CRC were included in the final efficacy analysis from
                  the 5 studies.

                  2.2    Data Sources

                  Data used for review is from the electronic submission received on February 9, 2016 and
                  April 27, 2016. The network paths are
                      \\CDSESUB1\evsprod\BLA125514\0267
                      \\CDSESUB1\evsprod\BLA125514\0308




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                  3.     STATISTICAL EVALUATION

                  3.1 Data and Analysis Quality

                  Data and reports of this submission were submitted electronically. The applicant
                  submitted data for the 5 studies as well as the related SAS programs for analysis.

                  The reviewer was able to perform most of the analyses using the submitted data.

                  3.2 Evaluation of Efficacy

                  3.2.1. Study Design and Endpoints

                  KN016 is an ongoing, investigator-initiated, multi-center, open label, 2-stage, Phase 2
                  trial in previously treated patients to evaluate the clinical activity of pembrolizumab
                  monotherapy. The following 3 cohorts are being enrolled to receive pembrolizumab 10
                  mg/kg Q2W: patients with MSI-H CRC (Cohort A); patients with non-MSI-H CRC
                  (Cohort B); and patients with MSI-H non-CRC (Cohort C). Only results from Cohort A
                  and Cohort C are presented to support this application. Patients in Cohort A were
                  required to have received at least 2 prior cancer therapy regimens. Patients in Cohort C
                  were required to have received at least 1 prior cancer therapy regimen. Disease
                  assessments based on RECIST 1.1 criteria are conducted at Week 12 and every 8 weeks
                  thereafter. The analysis of KN016 efficacy data included 58 patients with MSI-H cancer,
                  with 28 from Cohort A and 30 from Cohort C. The data cut-off for Cohort A was
                  2/19/2016, and for Cohort C was 4/13/2016.

                  KN164 is an ongoing Phase 2, single arm, open-label, multicenter trial of pembrolizumab
                  in previously treated patients with MSI-H CRC. All patients receive pembrolizumab 200
                  mg Q3W. Patients are required to have been previously treated with the standard
                  therapies fluoropyrimidine, oxaliplatin, and irinotecan. MSI status in tumor samples is
                  determined locally at each participating center using an IHC- or PCR-based test. Disease
                  assessments based on RECIST 1.1 criteria are conducted every 9 weeks. The analysis of
                  KN164 efficacy data included 5 patients with MSI-H cancer. The data cur-off was
                  08/03/2016.

                  KN158 is an ongoing Phase 2, open-label, non-randomized, multicenter, multi-cohort
                  trial of pembrolizumab monotherapy in patients with advanced solid tumors evaluated for
                  predictive biomarkers. Patients are required at trial entry to have measurable disease as
                  assessed per RECIST 1.1 criteria, and to have failed prior therapy. Patients are treated
                  with pembrolizumab 200 mg Q3W. MSI-H status is required specifically for enrollment
                  into Group K and was prospectively analyzed by local IHC-based or PCR-based testing.
                  For patients enrolled into Groups A-J, retrospective testing of tumor tissue samples for
                  MSI is performed. Tumor response is assessed every 9 weeks according to RECIST 1.1
                  by IRC. The analysis of KN158 efficacy data included 19 patients with MSI-H cancer.
                  The data cut-off was 08/17/2016.

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                  KN012 was a multicenter, nonrandomized, multi-cohort trial of pembrolizumab in
                  patients with advanced solid tumors. Patients were enrolled into Cohort A for triple
                  negative breast cancer (TNBC), Cohort B as the initial HNSCC cancer cohort, Cohort B2
                  as the HNSCC cancer expansion cohort, Cohort C for urothelial tract cancer, or Cohort D
                  for gastric cancer. Only patients with PD-L1 positive tumors were enrolled in cohorts A,
                  B, C and D. Treatment in Cohorts A, B, C, and D was pembrolizumab 10 mg/kg Q2W,
                  and for Cohort B2 200 mg Q3W. In Cohorts A, B, C, and D, patients must have had a
                  PD-L1 positive tumor as determined by IHC at a central laboratory. Patients with PD-L1
                  positive and negative tumors were enrolled into Cohort B2. MSI status was not used for
                  biomarker-selected enrollment but was analyzed. Tumor response was assessed every 8
                  weeks according to RECIST 1.1 by IRC. The analysis of KN012 efficacy data included 6
                  patients with MSI-H cancer. The data cut-off was 04/26/2016.

                  KN028 is an ongoing Phase 1b open-label, non-randomized, multicenter, multi-cohort
                  trial of pembrolizumab monotherapy in patients with PD-L1 positive advanced solid
                  tumors. Patients were required at trial entry to have measurable disease as assessed per
                  RECIST 1.1 criteria, and to have a malignancy that is incurable with any of the
                  following: (a) failed prior standard therapy, (b) no existing standard therapy, or (c)
                  standard therapy is not considered appropriate by the patient and treating physician.
                  Patients received pembrolizumab 10mg/kg every 2 weeks (Q2W). MSI status was not
                  used for biomarker-selected enrollment and was analyzed retrospectively. Tumor
                  response was assessed every 8 weeks according to RECIST 1.1 for the first 6 months and
                  every 12 weeks thereafter. The analysis of KN028 efficacy data included 5 patients with
                  MSI-H cancer. The data cut-off was 06/20/2016.

                  The primary endpoint of these studies was objective response rate (ORR) per RECIST1.1
                  criteria by the independent central radiology review for KN012, KN016 and KN028. For
                  KN164, patients who had an unconfirmed response first documented at the last disease
                  assessment prior to the database cutoff date are included as responders. For KN158,
                  confirmed and unconfirmed responses per Investigator (INV) assessment were utilized
                  due to the short duration of follow-up, and no IRC data were available as of the database
                  cutoff date.

                  The following is a table that summarizes the studies involved in this submission. A total
                  149 patients were included in the final efficacy analysis.

                  Table 1. Summary of Studies
                                      Cohort            N/Total            MSI Status              Dosage
                   KN012           4 Indications         6 /165           Retrostpective        10mg/kg Q2W
                   KN016-A            mCRC               28 /28            Prospective          10mg/kg Q2W
                   KN016-C           non-CRC            30 / 30            Prospective          10mg/kg Q2W
                   KN028          20 Indications        5 / 450           Retrostpective        10mg/kg Q2W
                                 10 Indications +
                   KN158        non-CRC MSI-H            61 /61    Retrostpective/Prospective   200 mg Q3W
                                                      19 /on-going
                   KN164           MSI-H mCRC          enrollment         Prospective           200 mg Q3W
                                                                                                         10




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                  Reviewer’s Comment:

                  The original sBLA submission included report and data for Study KN 164 and KN158
                  with a cut-off date of June 3, 2016. The applicant submitted an updated report, based on
                  data with cut-off August 3, 2016 which had additional 9 weeks of follow-up. This review
                  used the updated data.

                  3.2.2. Efficacy Measures

                  The primary endpoint ORR was defined as the percentage of patients who have a
                  complete response [CR] or partial response [PR] defined by RECIST 1.1. The confidence
                  interval of the ORR was calculated using the exact method.

                  3.2.3. Sample Size Consideration

                  The studies did not include sample size justification included in the protocols. All of the
                  studies are still on-going.

                  Reviewer’s Comments:

                  In a single arm study, the point estimate and its 95% confidence interval will be used in
                  decision making, instead of formal testing with a selected null hypothesis.

                  3.2.4. Statistical Methodologies

                  The efficacy analysis dataset pooled patients across the 5 studies regardless of dosage and
                  tumor types. Patients were analyzed as treated.

                  The ORR was calculated as the percentage of patients who have a CR or PR defined by
                  RECIST 1.1 by independent central review. Patients without response data were treated
                  as non-responders. A 95% confidence interval (CI) was derived for the ORR using the
                  exact Clopper-Pearson method.

                  Reviewer’s Comments:

                  The efficacy analysis pooled data from 5 different trials, which included two distinct
                  doses administered and 16 different tumor types. The rationale for pooling from different
                  studies with different doses was based on the consistency of demographic and baseline
                  disease characteristics of the trial populations, and consistent improvement in ORR and
                  durability of the response across trials.

                  3.2.5. Patient Disposition, Demographic and Baseline Characteristics

                  This trial was conducted at 49 centers, of which 18 were in the United States; 5 were in
                  France; 4 each were in Israel, Japan, Korea and Spain; 3 were in Germany; 2 each were
                                                                                                          11




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                  in Belgium, and Russia; 1 each was in Canada, Australia and Taiwan. A total of 149
                  patients from 5 studies were combined to form the efficacy analyses set. The disposition
                  of the patients is presented in Table 2.

                  Table 2. Patient Disposition
                   Dispotion                                              N (%)
                   Study                    KN016A KN016C        KN164    KN158      KN012    KN028     Pooled
                                                28    30            61      19          6        5        149
                   No. of Patients
                                              (100) (100)         (100)    (100)      (100)    (100)     (100)
                   Completed                     2     1                                2
                   Treatment                  (7.1) (3.3)                            (33.3)              5 (3.4)
                   Discontinued
                                                  8      12        27       8          4         2
                   Treatment
                                               (28.6)   (40)     (44.3)   (42.1)     (67.7)    (40)    61 (40.9)
                                                  1                 4       4
                        Adverse Event
                                                (3.6)             (6.6)   (21.1)                         9 (6.0)
                                                                    3
                        Physician Decision
                                                                  (4.9)                                  3 (2.0)
                                                  1
                        Death
                                                (3.6)                                                    1 (0.7)
                                                  5       10       18       4           3        1
                        Progression
                                               (17.9)   (33.3)   (29.5)   (21.1)      (50)     (20)    41 (27.5)
                                                  1        1        2                   1        1
                        Patient Withdrawn
                                                (3.6)    (3.3)    (3.3)              (16.7)    (20)      6 (4.0)
                                                 18       17       34       11                   3
                   Ongoing Treatment
                                               (64.3)   (56.7)   (55.7)   (57.9)               (60)    83 (55.7)

                  Demographic data at baseline are summarized in the Table 3.

                  Table 3. Patients Demographics
                   Demographics                                                  N (%)
                   Patients in Efficacy Analysis                                149 (100)
                   Age
                     < 65                                                       96 ( 64.4)
                     ≥ 65                                                       53 (35.6)
                   Sex
                     Male                                                       83 (55.7)
                     Female                                                     66 (44.3)
                   Race
                     White                                                      115 (77.2)
                     Other                                                       34 (22.8)
                   Region
                     USA                                                        73 (49.0)
                    Western                                                     53 (35.6)
                     Asia                                                       23 (15.4)

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                  Disease characteristics at baseline are summarized in Table 4.

                  Table 4. Patients Baseline Characteristics
                   Baseline Characteristics                                          N (%)
                   Patients in Efficacy Analysis                                    149 (100)
                   ECOG Status
                     0                                                              53 (35.6)
                     1                                                              96 (64.3)
                   Prior Lines of Therapy
                     Missing                                                          1 (0.7)
                     None                                                             6 (4.0)
                     1st Line                                                       35 (23.5)
                     2nd Line                                                       51 (34.2)
                     3rd Line                                                       26 (17.5)
                     4th Line                                                       18 (12.1)
                     5th Line or Greater                                             12 (8.1)
                   KRAS Status
                     Mutant                                                         31 (20.8)
                     Wild Type                                                      65 (43.6)
                     Undetermined                                                   25 (16.8)
                     Data Unavailable                                               28 (18.8)
                   Brain Metastases
                     Yes                                                             1 (0.7)
                     No                                                             90 (60.4)
                     Missing                                                        58 (38.9)

                  Reviewer’s comments:

                  The percentage for patients discontinued treatment due to adverse event was higher in
                  KN158 than other trials. However, the sample size was relatively small.

                  The demographic and baseline characteristics are from the 149 patients in the efficacy
                  analysis population. More patients were Caucasians. More patients were younger than 65
                  years old. About 44% of the patients were females. About half of the patients were
                  enrolled in the USA. Most patients had metastatic disease. Most patients had prior lines
                  of therapies.

                  All 6 patients from KN012 and 19 patients from KN158 did not have data available for
                  KRAS status. Only 1 patient in Study KN012 had brain metastasis. All 58 patients in
                  KN016A and KN016C did not have brain metastases data available.


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                  3.2.6. Results and Conclusions

                  Based on the 149 patients in the efficacy analysis population, there were a total of 56
                  responders. The primary efficacy endpoint was ORR based on Independent Radiology
                  Review (IRC) assessment of confirmed response for KN012, KN016 and KN028. The
                  following table summarizes the ORR results based on independent central radiology
                  review.

                  Table 5. ORR Analysis Results
                                                              N (%)                        95 % CI
                   Patients in Efficacy Analysis             149 (100)
                   CR+PR (%)                                 56 (37.6)                   (29.8, 45.9)
                     CR                                       9 (6.0)
                     PR                                      47 (31.5)
                     SD                                      36 (24.2)
                     PD                                      47 (24.5)
                     NE                                       7 (4.7)
                     Non-CR/Non-PD                            1 (0.7)
                     Missing                                  2 (1.3)

                  The median of the duration of responses was not reached. The duration ranged from 1.6
                  to 22.7 months. There were 52 patients with responses that were on-going at time of data
                  cut-off. There were 26 patients who had 6 months or longer duration of response. The
                  following is a Kaplan-Meier curve of DoR.




                                                                                                        14




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                  Figure 1. K-M Curve of Duration of Response

                            1.0        11111 I        I   h       II   Ill                                           I+ Censored I
                                                                         • I I    I
                                                                                      II

                            0.8                                                                      I ~1--lt+l--+1-+I+I--+---+1-+I

                     QI
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                            0.2




                            0.0
                                  56             40           29                 18        12   11            7

                                  0              3            6                  9         12   15            18
                                                                   Duration of Response (Months)


                  Reviewer’s Comments

                  The ORR results pooled data from 5 trials which involved two dosages, and 16 tumor
                  types. Please see additional analysis by subgroup in Section 4.2.

                  The protocols of the 5 trials did not provide sample size justification. All trials are still
                  ongoing and KN164 is still enrolling patients.

                  The rationale for pooling the data for efficacy analysis was based on the consistency of
                  the patients population, and the consistency of the ORR results and duration of response.

                  3.3 Evaluation of Safety

                  Please refer to the clinical review of this application for details of the safety evaluation.




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                  4.     FINDINGS IN SPECIAL/SUBGROUP POPULATIONS

                  4.1 Gender, Race, Age, and Geographic Region

                  The following table summarizes the subgroup analysis of ORR.

                  Table 6. ORR Subgroup Analyses
                                                                                        DOR Range
                   Subgroup            N        Response (ORR)       95% CI of ORR       (Months)
                   < 65                96          37 (39%)           (28.8%, 49.0%)     (1.6, 22.7)
                   >= 65               53          19 (36%)           (23.1%, 50.2%)     (1.9, 19.3)
                   Female              66          27 (41%)           (29.0%, 53.7%)     (1.9, 19.6)
                   Male                83          29 (35%)           (24.8%, 46.2%)     (1.6, 22.7)
                   Non-White           34          15 (44%)           (27.2%, 62.1%)     (1.6, 22.1)
                   White              115          41 (36%)           (26.9%, 45.1%)     (1.9, 22.7)
                   Asia                23           7 (30%)           (13.2%, 52.9%)     (1.9, 22.1)
                   USA                 73          36 (49%)           (37.4%, 61.3%)     (1.6, 22.7)
                   Western             53          13 (25%)           (13.8%, 38.3%)     (2.0, 15.9)

                  Reviewer’s comments:

                  There were no outlier subgroup with respect to response rate among the subgroups
                  analyzed.

                  4.2 Other Subgroup Analysis

                  The following tables summarize the subgroup analyses of ORR by dosage, study, and
                  tumor types.

                  Table 7. ORR Subgroup Analyses by Dose
                   Dose                             10 mg/kg Q2W                   200 mg Q3W
                                                         N=69                           N=80
                   Responders (%)                       35 (51%)                      21 (26%)
                   95% CI of ORR                    (38.4%, 63.0%)                (17.0%, 37.3%)
                   DOR Range                           (1.6, 22.7)                    (1.9, 8.1)
                                                    6 from KN012,                 19 from KN158,
                   Studies                          5 from KN028,                 61 from KN164
                                                   28 from KN016A,
                                                   30 from KN016C




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                  Table 8. ORR Subgroup Analyses by Study
                                                                                              DOR Range
                   Subgroup              N          Resp (ORR)        95% CI of ORR            (Months)
                   KN012                  6           3 (50%)          (11.8%, 88.2%)          (7.6, 22.1)
                   KN016-A               28          14 (50%)          (30.6%, 69.4%)          (1.6, 20.9)
                   KN016-C               30          14 (47%)          (28.3%, 65.7%)          (1.9, 19.6)
                   KN028                  5           4 (80%)          (28.4%, 99.5%)         (15.9, 22.7)
                   KN158                 19           6 (32%)          (12.6%, 56.6%)           (1.9, 2.2)
                   KN164                 61          15 (25%)          (14.5%, 37.3%)           (2.0, 8.1)

                  Table 9. ORR Subgroup by Tumor Type
                                                                 Response                           DOR Range
                                                          N       (ORR)      95% CI of ORR           (Months)
                            GI Tumor
                   BILIARY CANCER                         11      3 (27%)     (6.0%, 61.0%)         (11.6, 19.6)
                   COLORECTAL CANCER                      90     30 (33%)    (23.7%, 44.1%)          (1.6, 22.7)
                   GASTRIC CANCER                          8      4 (50%)    (15.7%, 84.3%)          (2.0, 22.1)
                   PANCREATIC CANCER                       6      5 (83%)    (35.9%, 99.6%)           (2.0, 9.1)
                   SMALL INTESTINAL CANCER                 8      3 (38%)     (8.5%, 75.5%)           (1.9, 6.2)
                   ESOPHAGEAL CANCER                       1         PR                            18.2, On-going
                   GE JUNCTION CANCER                      1         PD
                          Non-GI Tumor
                   ENDOMETRIAL CANCER                     14     5 (36%)     (12.8%, 64.9%)           (1.9, 17.3)
                   BREAST CANCER                           2     PR, PR                            7.6, 15.9, ended
                   PROSTATE CANCER                         2     PR, SD                             9.8, on-going
                   BLADDER CANCER                          1     Missing
                   SARCOMA                                 1        PD
                   THYROID CANCER                          1        NE
                   RETROPERITONEAL
                   ADENOCARCINOMA                         1        PR                               2.1, on-going
                   SMALL CELL LUNG CANCER                 1        PR                               2.2, on-going
                   RENAL CELL CANCER                      1        PD


                  Reviewer’s comments:
                  The results were based on pooled data from 5 studies.

                        1. The ORR was higher in the 10mg/kg Q2W patients group than the 200 mg Q3W
                           patient group. The 95% CIs of ORR do not overlap between the different doses.
                           This may indicate that the response may be different among the patients with
                           these two different doses. The application will file a major amendment to justify
                           for the flat dose of 200 mg Q3W.
                        2. Patients in KN028 reported a higher response rate, which may be a spurious result
                           due to the small sample size of 5. The studies KN158 and KN164 reported a
                           lower response rate than the other studies.

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                        3. There were a total of 16 different tumor types presented in the analysis dataset.
                           Some of the tumors are only represented by 1 or 2 patients; therefore whether the
                           results apply to all disease types with MSI-H status is uncertain.
                        4. Some of the MSI-H samples were retrospectively identified, which included 6
                           from KN012, 5 from KN028, and 3 from KN158. Therefore the samples are not
                           prospectively selected and bias may have been introduced into the selection.




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                  5.     SUMMARY AND CONCLUSIONS

                  5.1    Statistical Issues and Collective Evidence

                  This application is based on pooling of selected patients from 5 independently conducted
                  studies. The pooling of data was not pre-specified in any of the study protocols. The
                  dosing regimen varied among the studies. There were 16 different tumor types included
                  in the data, and the sample size for each tumor type varies from 1 to 90. The clinical team
                  opined that defining the MSI-H over multiple disease sites can be considered as a single
                  disease.

                  A total of 149 patients were included in the final analysis for MSI-H. The ORR assessed
                  by the independent review was 35.6% (95% CI: 27.9, 43.8). The median duration of
                  response was not reached, and duration ranged from 1.6 to 27.7 months. A total of 26
                  (46%) patients had response of 6.0 months or longer.

                  5.2    Conclusions and Recommendations

                  Based on the data and analyses, the results showed 35.6% ORR in pembrolizumab treated
                  patients. Whether the data and analyses provided in this submission showed a favorable
                  benefit/risk profile in supporting a regulatory approval will be a clinical decision.

                  5.3    Labeling Recommendations

                  1. The ORR results combined by data from 5 studies by independent review should be
                     included in the label as the primary efficacy results.
                  2. The subgroup analysis by tumor type provides current available information of
                     clinical benefit for each tumor type, and should be included in the label.




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     /s/
     ----------------------------------------------------
     WEISHI YUAN
     02/14/2017

     LISA R RODRIGUEZ
     02/14/2017

     RAJESHWARI SRIDHARA
     02/14/2017




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     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                     APPLICATION NUMBER:

                         125514Orig1s014


      CLINICAL PHARMACOLOGY AND
      BIOPHARMACEUTICS REVIEW(S)
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                                 Clinical Pharmacology Review Addendum
          BLA (supplement)                125514 (S-14)
          Submission Date:                September 8th, 2016
          Amendment Submission Date       March 8th, 2017
          Brand Name:                     Keytruda ®
          Generic Name:                   Pembrolizumab (MK-3475)
          Sponsor:                        Merck
          Submission Type; Code:          Efficacy Supplement; Major amendment
          Dosing regimen:                 200 mg once every 3 weeks (Q3W) and 10 mg/kg once
                                          every two weeks (Q2W) as a 30 minute intravenous (IV)
                                          infusion
          Proposed Indication:
                                                                                       (b) (4)




          Pharmacometrics Reviewer:       Hongshan Li, Ph.D.
          PBPK Lead:                      Ping Zhao, Ph.D.
          Pharmacometrics Team            Jiang Liu, Ph.D.
          Leader:
          OCP Reviewer:                   Brian D. Furmanski, Ph.D.
          OCP Team Leader:                Hong Zhao, Ph.D.
          OCP Divisions:                  Division of Clinical Pharmacology V
                                          Division of Pharmacometrics

          ORM Division:                   Division of Oncology Products 2 (DOP2)




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          2.2.2. Does the PBPK analysis support the dosing regimen of 200 mg Q3W proposed by Merck
               for the treatment of MSI-H cancer?




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          1. Executive summary
          Merck submitted BLA125514 Supplement 14 (S14) in support of the proposed indication of



          -
          pembrolizumab for the
                                                                                                   (b) (4)


                   on Sept 8th, 2016. The sBLA population consisted of 149 patients with MSI-H/dMMR
          cancers who were treated with pembrolizumab in Trials KN016, KN012, KN028, KN164, and
          KN158. The clinical pharmacology review of S14 was finalized on Feb 17th, 2017,
          recommending pembrolizumab 10 mg/kg Q2W as the starting dose for patients with MSI-H. The
          proposed dose can be reduced to 200 mg Q3W as needed by tolerability and safety. The
          recommendation was based on the totality of evidence that pembrolizumab 10 mg/kg Q2W
          showed a consistent trend towards better response rate than 200 mg Q3W in patients with MSI­
          H while the safety profile was comparable among the two dose levels. In addition the review
          included the results of the trials for melanoma and NSCLC indications where 10 mg/kg Q2W or
          Q3W dose demonstrated a trend towards increased overall survival compared to the 200 mg
          Q3W or 2 mg/kg Q3W.

          On February 13, 2017, Merck discussed with the FDA on the outstanding review issues for S14,
          and subsequently submitted a major amendment to support pembrolizumab 200 mg Q3W dose
          for MSI-H on March 8, 2017. In the major amendment, no updated information is provided for
          Trials KN016, KN012, and KN028 that demonstrated the efficacy of 10 mg/kg Q2W dose. The
          duration of follow-up was extended to ≥54 weeks (from ≥27 weeks in the original S14
          submission) and ≥36 weeks (from ≥18 weeks in the original S14 submission) in KN164 and
          KN158. The trials KN164 and KN158 supported the effectiveness of 200 mg Q3W dose. The
          efficacy data in 65 additional MSI-H cancer patients were also submitted as supportive evidence,
          which included an additional 58 patients enrolled in KN158 and 7 patients with gastric cancer
          who received pembrolizumab in the third line (3L)+ setting enrolled in KN059. Results of 6
          patients from French ATU program as well as a physiologically based pharmacokinetic (PBPK)
          analysis of pembrolizumab PD-1 engagement across multiple tumor types were also submitted.

          For the 149 patients presented in the sBLA, 2 patients in trial KN164 with stable disease (SD)
          converted to partial response (PR) with longer follow-up duration, which increases the ORR
          from 24.6% to 27.9% and 1 patient with PR converted to unconfirmed complete response (uCR).
          In KN158, 1 patient with SD converted into PR, which increases the ORR from 31.6% to 36.8%,
          while 2 (10.5%) other patients converted from PR to CR (Table 1).

          Overall, for the 149 patients in the sBLA the updated ORR of 30.0% (95% CI: 20.3, 41.3) at 200
          mg/kg Q3W dose remains lower than the mean of 50.7% (95% CI: 38.4, 63.0) at the 10 mg/kg
          Q2W dose (Table 1) with 2.9% overlap of confidence intervals. In addition, the complete
          response rate was 13% (9/69) with the 10 mg/kg Q2W dose versus 2.5% (2/80) with 200 mg
          Q3W dose. Merck’s PBPK analysis is exploratory and the model remains to be verified with
          regard to its ability to represent heterogeneity in PD-1 expression and tumor heterogeneity.
                                                                                                         2

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          Both doses of 10 mg/kg Q2W and 200 mg Q3W have demonstrated significant tumor response
          in the MSI-H refractory population. Although potential factors such as cross-trial comparison
          may limit a definitive comparison, accumulated clinical data have demonstrated that
          pembrolizumab 10 mg/kg Q2W or Q3W showed better efficacy than the 200 mg Q3W or 2
          mg/kg Q3W dose in indications including melanoma, NSCLC, and MSI-H without
          compromising the safety profile. Therefore, consistent with our original review, the updated data
          did not change the overall risk/benefit profile of the two doses studied.

          1.1. Recommendations
          The Office of Clinical Pharmacology has reviewed the information contained in the major
          amendment to pembrolizumab BLA125514 Supplement 14. Based on the review of the entire
          dataset, we recommend the following:

                 Both the 2 mg/kg Q3W and 10 mg/kg Q2W dosing regimens should be available for the
                  treatment of MSI-H patients given the effectiveness of both regimens and incremental
                  benefit of the higher dose.

                 Further evaluation of accumulating data to determine whether both dose regimens should
                  be made available for approved indications including melanoma and NSCLC.

          No baseline patient-specific factors are identified to determine which starting regimen should be
          recommended. This is not uncommon for drug approvals where multiple dose regimens are
          available and described in labeling. In the absence of identified baseline factors, OCP
          recommends the starting dose regimen be left to the discretion of the practitioner without explicit
          recommendations in labeling.

          Signatures:

           Hongshan Li, Ph.D.                                Ping Zhao, Ph.D.
           Pharmacometrics Reviewer                          PBPK Lead
           Division of Pharmacometrics                       Division of Pharmacometrics



          Jiang Liu, Ph.D.                                   Brian D. Furmanski, Ph.D.
          Pharmacometrics Team Leader                        Reviewer
          Division of Pharmacometrics                        Division of Clinical Pharmacology V




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          Hong Zhao, Ph.D.                                  Yaning Wang, Ph.D.
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          Division of Clinical Pharmacology V               Division of Pharmacometrics

          Nam Atiqur Rahman, Ph.D.
          Division Director
          Division of Clinical Pharmacology V




          Cc:      DOP2:
                   DCPV:                                                       - -
                                  RPM – S Sickafuse; DD – P Keegan; MTL – S Lemery; MO – L Marcus
                                  DDD - B Booth; DD - A Rahman



          2.1. Summary of Major Amendment
          The major amendment provided the following updated information:
              Updated data with longer duration of follow-up for KN164 (extended to ≥54 weeks from
                ≥27 weeks) and KN158 (extended to ≥36 weeks from ≥18 weeks) for the patients
                presented in the sBLA.
              No updated data is provided for Trials KN016, KN012, and KN028 that demonstrated the
                effectiveness of 10 mg/kg Q2W dose.
              Supportive data in 65 additional MSI-H cancer patients, which included 58 new patients
                enrolled in KN158 and 7 patients with gastric cancer who received pembrolizumab in the
                third line (3L)+ setting from KN059.
              Results of 6 patients from French ATU program.
              Physiologically based pharmacokinetic (PBPK) analysis of pembrolizumab PD-1
                engagement across multiple tumor types.
                                                                                    (b) (4)




          2.2. Key Review Questions
          2.2.1. What dose should be recommended in pembrolizumab label?
          We consider that both 200 mg Q3W and 10 mg/kg Q2W doses have demonstrated significant
          benefit for MSI-H patients. Based on the consistently observed trend towards better effectiveness
          of pembrolizumab 10 mg/kg Q2W, this dose should be made available for the treatment of
                                                                                                         4

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          MSI-H patients. However, 200 mg Q3W dose is also acceptable as a starting dose based on the
          physician’s discretion.

          Based on the amended efficacy data for S14, the ORRs increased to 27.9% from 24.6% for Trial
          KN164 and to 36.8% from 31.6% for Trial KN158 for the 200 mg Q3W dosing regimen, with
          mean of 30.0% (95% CI: 20.3, 41.3), which remains lower than the mean of 50.7% (95% CI:
          38.4, 63.0) for the 10 mg/kg Q2W dose (Table 1) with 2.9% overlap of confidence intervals. The
          complete response rate was 13% (9/69) with the 10 mg/kg Q2W dose versus 2.5% (2/80) with
          200 mg Q3W dose.
          Table 1: Summary of Response Results of the Five Trials in sBLA (with Updated
          Information for KN164 and KN158).
               Response                              10 mg/kg Q2W                                 200 mg Q3W
                                  KN016-A        KN016-C        KN012           KN028         KN164        KN158
                                   (n=28)         (n=30)        (n=6)           (n=5)         (n=61)       (n=19)
               Complete            4 (14.3)       5 (16.7)      0 (0.0)         0 (0.0)       0 (0.0)     2 (10.5)
               Response (%)
               Partial Response   10 (35.7)       9 (30.0)        3 (50.0)      4 (80.0)     17 (27.9)      5 (26.3)
               (%)
               CR+PR (%),           14 (50),      14 (46.7),       3 (50.0),    4 (80.0),     17 (27.9),     7 (36.8),
               (95% CI†)          (30.6,69.4)    (28.3,65.7)     (11.8,88.2)   (28.4,99.5)   (17.1,40.8) (16.3,61.6)
               Pooled CR+PR                              35 (50.7)                                   24 (30.0)
               (%), (95% CI†)                          (38.4, 63.0)                                 (20.3, 41.3)



          For trials not listed in Table 1, the ORRs was 33% for ATU (2 mg/kg Q3W, N=6), and 57% for
          KN059 (200 mg Q3W, N=7). Combining the 58 additional patients with those from the initial
          submission yields a total of 77 patients with ≥18 weeks of follow-up in KN158 with an IRC
          confirmed ORR of 29.9% and Investigator assessed confirmed and unconfirmed ORR of 37.7%.

          Supporting Evidence for 10 mg/kg Dose

          As discussed in the documented clinical pharmacology review for S14, accumulated clinical data
          have demonstrated that pembrolizumab 10 mg/kg Q2W or Q3W showed a trend towards better
          efficacy than the 200 mg or 2 mg/kg Q3W dose in indications including melanoma, NSCLC, and
          MSI-H without compromising the safety profile as shown below:

          MSI-H cancer

                 For MSI-H colorectal cancer (CRC), the ORR is consistently higher at 10 mg/kg Q2W
                  dosing regimen:



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                        o 50% (with 95% CI 30.6%, 69.4%) for 10 mg/kg Q2W vs. 27.9% (with 95% CI:
                          17.1%, 40.8%) for 200 mg Q3W with no overlap of confidence intervals;
                        o ORR separation is evident between the two trials after 4 months of treatment;
                        o The evident separation between the two trials was also observed in Kaplan Meier
                          plot of progression free survival (PFS).
                 For the overall MSI-H indication across various tumor types the ORRs are consistently
                  higher for the 10 mg/kg Q2W regimen as compared to 200 mg Q3W regimen (Table 1).
                 There were 9/69 (13.0%) complete responders with the 10 mg/kg Q2W dose versus 2/80
                  (2.5%) with 200 mg dose.


          Ipilimumab-Refractory Melanoma (KN002, N=440)
          The overall survival (OS) of pembrolizumab 10 mg/kg Q3W dosing regimen was higher than
          chemotherapy and showed a trend toward better survival compared to 2 mg/kg Q3W dosing
          regimen (
                 Table 2):
                        o The median OS times are 11.0, 13.4, and 14.7 months for the control,
                          pembrolizumab 2 mg/kg Q3W, and 10 mg/kg Q3W, respectively. While 2 mg/kg
                          Q3W dose prolonged OS by 2.4 months over control, the 10 mg/kg Q3W dose
                          provided additional 1.3 months in OS.
                        o The OS hazard ratio of 10 mg/kg Q3W to 2 mg/kg Q3W is 0.87 (95%CI: 0.67,
                          1.12), which appears to be comparable to that of 2 mg/kg Q3W to the control,
                          0.86 (95%CI: 0.67, 1.10).
                        o The numerically better OS of pembrolizumab 10 mg/kg Q3W than that of 2
                          mg/kg Q3W appeared to be even more evident in PD-L1 negative melanoma
                          patients.


          Previously treated NSCLC (KN010, N=1033, TPS>1%)
          The OS of pembrolizumab at 10 mg/kg Q3W dose was significantly higher than docetaxel and
          showed a trend toward better survival than 2 mg/kg Q3W dosing regimen (
                 Table 2):

                        o The median OS were 8.5, 10.4, and 12.7 months for the control, pembrolizumab 2
                          mg/kg Q3W, and 10 mg/kg Q3W, respectively. While pembrolizumab 2 mg/kg


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                           Q3W prolonged OS by 1.9 months over the control, 10 mg/kg Q3W provided
                           additional 2.3 months in OS.
                        o Numerically longer OS of pembrolizumab 10 mg/kg Q3W than that of 2 mg/kg
                          Q3W appeared to be even more evident in PD-L1 weakly positive NSCLC
                          patients.


          Table 2: Consistently Better Overall Survival of Pembrolizumab 10 mg/kg Q3W Dose Than
          That of 2 mg/kg Q3W Dose in Melanoma and NSCLC


                                               2 mg/kg vs. control   10 mg/kg vs. 2 mg/kg

                        Melanoma
                        OS Hazard Ratio
                        (95%CI)                 0.86 (0.67, 1.10)      0.87 (0.67, 1.12)
                        Median OS
                        (month)                   13.4 vs. 11.0          14.7 vs. 13.4

                        NSCLC
                        OS Hazard Ratio
                        (95%CI)                 0.71 (0.58, 0.88)      0.85 (0.69, 1.06)
                        Median OS
                        (month)                   10.4 vs. 8.5           12.7 vs. 10.4


          Safety
                  The number of patients studied for each pembrolizumab dose was approximately 180 in
                   KN002, 280 in KN006, and 350 in KN010, and the safety profiles of the two doses are
                   generally comparable. Refer to clinical study reports for KN002, KN006 and P010 for
                   more information.
                  For pembrolizumab 10 mg/kg Q2W dose, the safety profile in patients with MSI-H was
                   consistent with that in patients with melanoma (KN006).
                  Safety profile was also comparable between 200 mg Q3W and 10 mg/kg Q2W.
                   Discontinuation due to toxicity was 11% (3/28) for KN016-A (10 mg/kg Q2W) and 7%
                   (4/60) for KN164 (200 mg Q3W). Although dose interruption rate in KN016A is higher
                   than that in KN164, the outcome was drug being held temporarily and majority of the


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                  events were resolved. Moreover, the higher dose interruption with 10 mg/kg Q2W did not
                  cause a compromised ORR compared to that with the 200 mg Q3W dosing.
          2.2.2. Does the PBPK analysis support the dosing regimen of 200 mg Q3W proposed by Merck
               for the treatment of MSI-H cancer?
          The objective of this PBPK analysis was to predict PD-1 engagement across cancer types
          (considering higher PD-1 expression which can be associated with MSI-H) and tumor regions
          (including poorly vascularized regions) to inform dose choice. To achieve this objective, the
          model should consider heterogeneity in PD-1 expression and tumor heterogeneity for different
          types of cancer to allow adequate characterization of receptor binding and tumor distribution of
          pembrolizumab.
                                                                                                         (b) (4)




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                                                                                                         (b) (4)




          In summary, Merck’s PBPK analysis is exploratory. The model remains to be verified with
          regard to its ability to represent heterogeneity in PD-1 expression and tumor heterogeneity.




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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
     BRIAN D FURMANSKI
     05/10/2017

     HONG ZHAO
     05/10/2017
     I concur.

     HONGSHAN LI
     05/10/2017

     PING ZHAO
     05/10/2017

     JIANG LIU
     05/10/2017

     YANING WANG
     05/10/2017

     NAM ATIQUR RAHMAN
     05/10/2017
     I concur.




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                                       Clinical Pharmacology Review
          BLA (supplement)                125514 (S-14)
          Submission Date:                November 11th, 2016
          Brand Name:                     Keytruda ®
          Generic Name:                   Pembrolizumab (MK-3475)
          Formulation/Strength:           50 mg lyophilized powder and 100 mg/4 mL (25 mg/mL)
                                          solution in a single-use
          Sponsor:                        Merck
          Submission Type; Code:          Efficacy Supplement
          Dosing regimen:                 200 mg once every 3 weeks (Q3W) and 10 mg/kg once
                                          every two weeks (Q2W) as a 30 minute intravenous (IV)
                                          infusion
          Proposed Indication:
                                                                                        (b) (4)




          Pharmacometrics Reviewer:       Hongshan Li, Ph.D.
          Pharmacometrics Team
          Leader:                         Jiang Liu, Ph.D.
          OCP Reviewer:                   Brian D. Furmanski, Ph.D.
          OCP Team Leader:                Hong Zhao, Ph.D.
          OCP Divisions:                  Division of Clinical Pharmacology V
                                          Division of Pharmacometrics

          ORM Division:                   Division of Oncology Products 2 (DOP2)



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          2.2.1. What are the findings in the population pharmacokinetics (PopPK) report of this efficacy
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          2.2.2. Does the dose- and exposure-response relationship from the efficacy and safety trials
               support the dose regimen of 200 mg Q3W and10 mg/kg Q2W for the proposed indication
               of MSI-H/MMR deficient cancer?
          2.2.3. What is the incidence (rate) of the formation of the anti-drug antibodies (ADA)? Do the
               ADAs have neutralizing activity?
          2.2.4. What bioanalytical methods are used to assess pembrolizumab concentrations?
          2.2.5. What immunogenicity assays are used to assess pembrolizumab ADA incidence in
               patients with MSI-H/MMR deficient cancer?




                                                                                                           2

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          1. Executive summary
          Pembrolizumab (Keytruda) is a human programmed death receptor-1 (PD-1)-blocking antibody
          that is indicated for indications of melanoma (2 mg/kg Q3W) and NSCLC (non-small cell lung
          cancer) (200 mg Q3W). Pembrolizumab has also received accelerated approval for the indication
          of head and neck squamous cell carcinoma (HNSCC) (200 mg Q3W).

          In support of an accelerated approval of the indication for MSI-H/MMR deficient cancer, Merck
          submitted safety and efficacy data from multiple trials in patients with 15 different histologic
          types of MSI-H/MMR deficient cancer. The primary efficacy endpoint is objective response rate
          (ORR). The efficacy results demonstrate that both pembrolizumab dose regimens of 200 mg
          Q3W and 10 mg/kg Q2W are effective in the treatment of patients with MSI-H cancer, however,
          the ORR is consistently higher across trials for the 10 mg/kg Q2W regimen than the 200 mg
          Q3W regimen after 4 months of treatment . Furthermore, the dose-response data assessing
          relationship between dose and PFS or OS in MSI-H, melanoma, and non-small-cell-lung cancer
          (NSCLC) suggest that 10 mg/kg Q2W or Q3W provides additional efficacy compared to the 200
          mg Q3W dose. The adverse event profile for pembrolizumab at 10 mg/kg Q2W and 200 mg
          Q3W in the MSI-H patient population is similar to, and consistent with the previously reported
          results in patients with melanoma, HNSCC and NSCLC.

          The following clinical pharmacology pertinent information was submitted to support the use of
          pembrolizumab
                                                                                                  (b) (4)




             A pooled comparative analysis of pembrolizumab exposure and clearance across multiple
              tumor types was conducted. Pembrolizumab plasma exposure and clearance in the MSI­
              H/MMR deficient cancer population was comparable to patients with other tumor types.

             A pooled comparative analysis of the immunogenicity rate of pembrolizumab across multiple
              tumor types was submitted. The rate of anti-drug antibody (ADA) formation in the MSI­
              H/MMR deficient cancer population was 1.9% which is the same as the overall studied
              population for pembrolizumab. The effect of ADA formation on pembrolizumab safety and
              pharmacokinetic profile is minimal and is not clinically meaningful.

          1.1. Recommendations
          The Office of Clinical Pharmacology has reviewed the information contained in Supplement 14
          of BLA125514. Given the consistently higher objective response rates and lack of patient
          characteristics, markers, demographics to select a specific dose, we recommend that patients
          receive pembrolizumab at 10 mg/kg IV Q2W and that the dose be modified to as low as 200 mg
          IV Q3W based on patient tolerability and safety.


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          1.2. Post Marketing Requirements or Commitments

          There are no postmarketing requirements (PMR) or postmarketing commitment (PMC) studies
          requested by the Office of Clinical Pharmacology.

          Signatures:

           Hongshan Li, Ph.D.                           Jiang Liu, Ph.D.
           Pharmacometrics Reviewer                     Pharmacometrics Team Leader
           Division of Pharmacometrics                  Division of Pharmacometrics



          Brian D. Furmanski, Ph.D.                     Hong Zhao, Ph.D.
          Reviewer                                      Team Leader
          Division of Clinical Pharmacology V           Division of Clinical Pharmacology V

          Cc:      DOP2:
                   DCPV:                                                  - -
                                RPM – S Sickafuse; DD – P Keegan; MTL – S Lemery; MO – L Marcus
                                DDD - B Booth; DD - A Rahman




                                                                                                    4

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          2.1. Introduction
          Pembrolizumab (Keytruda) is a humanized monoclonal antibody that binds to the human
          programmed cell death-1 (PD-1) receptor and blocks the interaction between PD-1 and its 2
          ligands: PD-1 ligand 1 (PD-L1) and PD-1 ligand 2 (PD-L2).
          2.1.1. Clinical pharmacology study design to support labeling claims
          BLA125514 Supplement 14 includes results of population PK (popPK) analysis and
          immunogenicity assessment for trials KN164 (N=58) and KN012 (N=6).

          KN012 is an ongoing open label trial that is assessing the activity of pembrolizumab at 10 mg/kg
          Q2W in patients with PD-L1-positive advanced solid tumors in Cohorts A (triple negative breast
          cancer), C (urothelial tract cancer), and D (gastric cancer), who were previously treated with
          standard of care (SOC) chemotherapies. The MSI analysis was not used for biomarker selected
          enrollment and 6 patients were identified as MSI-H upon retrospective analysis.

          KN164 is an ongoing open label trial that is assessing the activity of pembrolizumab at 200 mg
          Q3W in patients with MSI-H colorectal cancer (CRC) who were previously treated with
          approved standard therapies (must have included fluoropyrimidine, oxaliplatin, and irinotecan).

          Additional trials not included in the clinical pharmacology section used to support the safety and
          efficacy of Pembrolizumab in the MSI-H population include, KN016-A, KN016C and KN028
          (10 mg/kg Q2W) and KN158 (200 mg Q3W).

          PK and immunogenicity sampling schedules for trial KN164 and KN012
          KN012: PK samples were collected at pre-dose and 30 min after the start of infusion on Cycles 1
          and 2. Thereafter starting with Cycle 5 pre-dose samples were collected every 4 cycles through
          Cycle 37. Additional samples were taken 30 days after discontinuation of trial drug, and 3
          months and 6 months after discontinuation of trial drug. Also PK time matched antibodies
          immunogenicity samples were collected prior to infusion of pembrolizumab at the cycles
          indicated above.

          KN164: PK and immunogenicity samples were collected within 24 hours before infusion at
          Cycles 1, 2, 4, 6, 8 and every 4 cycles thereafter, 30 days after discontinuation of trial drug.

          2.1.2. Formulation and Dose Regimen
          Sterile solution available as a 100 mg/ 4 mL single use vial
          200 mg administered as an intravenous (IV) infusion over 30 minutes Q3W
          2.2. Key Review Questions
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          2.2.1. What are the findings in the population pharmacokinetics (PopPK) report of this efficacy
               supplement?
          PK data of 6 MSI-H patients from KN012 (with dose of 10 mg/kg Q2W), and 58 MSI-H patients
          from KN164 (with dose of 200 mg Q3W) were combined with PK data of non-MSI-H patients
          from Trials KN01, KN02 and KN06 for a population pharmacokinetics (PPK) analysis using a
          static clearance model. The PPK parameters are comparable between MSI-H and other patients
          (Table 1 below, also see section 4 appendix 1). Individual post-hoc PK parameters are also
          comparable (Table 1 below, also see section 4 appendix 1). In addition, the exposures for MSI­
          H patients receiving 200 mg Q3W pembrolizumab demonstrated no clinically meaningful
          difference in PK variability compared to weight-based dosing (Error! Reference source not
          found. below, also see section 4 appendix 1). The population exposure of 200 mg Q3W was
          numerically higher than 2 mg/kg Q3W dose, but significantly lower than 10 mg/kg Q2W and
          Q3W doses.
          Table 1. Comparisons of Descriptive Statistics of Individual PK Parameters (CL,
          Vc) and Derived Parameters (t1/2, Vdss, Tss) between MSI-H and non- MSI-H Patients
                                                      MSI-H                                  Non-MSI-H
                                     N     Mean       Median      Standard       N      Mean     Median     Standard
                                                                  deviation                                 deviation
             CL (L/day)              64     0.214      0.205       0.0894       2189    0.235       0.205      0.12
             Vc (L)                  64      3.23       3.24        0.729       2189     3.43        3.38     0.785
             Half life (days)        64      27.4        27          6.48       2189     27.5         27       8.81
             Vdss (L)                64      7.17       7.15         1.44       2189     7.53        7.41      1.53
             Tss; Time to steady     64      137        135          32.4       2189     137         135        44
             state (days)
            Source: Table 6 of modeling and simulation report file “04gf2t-ppk-extended-to-MSI.pdf”.

          Table 2: Mean (CV%) Comparison of Descriptive Statistics of Post-hoc Individual PK
          Parameters and Derived Parameters between MSI-H and non-MSI-H Patients Based on
          Time-Dependent PPK Analysis
                                             MSI-H (n=79)                Non-MSI-H (n=2189)
          CL (L/d)                            0.240 (39%)                     0.253 (46%)
          CLss (L/d)                          0.221 (44%)                     0.238 (52%)
          Vss (L)                              6.72 (19%)                      6.96 (20%)
          T    (day)                           24.8 (26%)                      25.2 (35%)
            1/2 β
          Source: FDA reviewer’s analysis.
          2.2.2. Does the dose-exposure relationship for efficacy and safety from related trials support the
               dose regimen of 200 mg Q3W and 10 mg/kg Q2W for the proposed indication of MSI­
               H/MMR deficient cancer?
          The efficacy results demonstrate that both pembrolizumab dose regimens of 200 mg Q3W and
          10 mg/kg Q2W are effective in the treatment of patients with MSI-H cancer, however, the ORR
          is consistently higher across trials for the 10 mg/kg Q2W regimen than the 200 mg Q3W
                                                                                                                        6

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          regimen after 4 months of treatment . Furthermore, the dose-response data assessing relationship
          between dose and PFS or OS in MSI-H, melanoma, and non-small-cell-lung cancer suggest that
          10 mg/kg Q2W or Q3W provide additional efficacy compared to the 200 mg Q3W dose.:
                 KN016-A and KN164 are two trials in patients with MSI-H colorectal cancer (CRC),
                  where pembrolizumab dose are 10 mg/kg Q2W and 200 mg Q3W, respectively. The
                  ORR separation is evident between the two trials after 4 months of treatment (Figure 1
                  below, also see section 4 appendix 1); 10 mg/kg Q2W in Trial KN016-A clearly showed
                  better efficacy than 200 mg Q3W in Trial KN164. The evident separation between the
                  two trials was also observed in Kaplan Meier plot of progression free survival (PFS) as
                  shown in Figure 3 below (also see section 4 appendix 1). This suggests 10 mg/kg Q2W
                  dose level could be more efficacious.
                 Across the 6 trials/cohorts for the MSI-H indication listed in Table 2 below (also see
                  section 4 appendix 1) each of the four with pembrolizumab 10 mg/kg Q2W showed
                  better efficacy (CR + PR) than each of the two with 200 mg Q3W dose. There were 9
                  complete responders at the 10 mg/kg Q2W dose versus 1 complete responder at 200 mg
                  Q3W dose.
          In addition, Trial KN002 in melanoma patients and Trial KN010 in NSCLC patients consistently
          demonstrated numerically better efficacy (overall survival) of pembrolizumab 10 mg/kg Q3W
          than 2 mg/kg Q3W dose, especially in PD-L1 negative melanoma or PD-L1 weakly positive
          NSCLC patients (
                 Figure 4 and Figure 5 below, also see section 4 appendix 1).
                 The number of patients studied for each pembrolizumab dose was about 180 in KN002
                  and 350 in KN010, and the safety profile of the two doses are generally comparable.
                  KN06 studied pembrolizumab 10 mg/kg Q2W (n=279) and 10 mg/kg Q3W (n=277), and
                  the safety profile was also acceptable. Refer to clinical trial reports for KN002, KN006
                  and P010 for more information.
                 The overall number, type, and frequency of AEs reported in the MSI-H safety population
                  are consistent with the safety profile previously described for pembrolizumab at 10
                  mg/kg Q2W dose level. Discontinuation due to toxicity is also comparable between
                  KN016-A (11% (3/28)) and KN164 (7% (4/60)). Although dose interruption rate of
                  KN016A at 10 mg/kg Q3W is higher than that of KN164 at 200 mg Q3W (Figure 6
                  below, also see section 4 appendix 1), the overall result was drug held temporarily and
                  majority of the events were resolved. This observation suggested both doses are clinically
                  meaningful; patients with frequent dose interruption at 10 mg/kg Q3W starting dose may
                  transit to 200 mg/kg Q3W as needed.




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          Figure 1. Kaplan-Meier Curve of Time to Response (Confirmed and Unconfirmed
          Combined) Based on IRC Assessment per RECIST 1.1 (Cohort A of KN016 and KN164,
          ASaT Population)
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                   64 cohort A       6       53       7     0       0        0                 0       0       0    0
                  016 cohort A       28      18      11     6       6        5                 4       3            0
                 Source: Figure 2.7.3 in Page 59 of Summary of Clinical Efficacy.

          Figure 2. Kaplan-Meier Curve of PFS (Cohort A of KN016 (10 mg/kg Q2W, Blue) and
          KN164 (200 mg Q3W, Red))
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                                              1 28                 17            6             4               0
                                              2 61                  9            0

                                                      0           200           400           600             800
                                                                                Day
                                                                         Planned Treatment
                                                                 - - - 1: 016A: MK-347510 mg/kg Q2W
                                                                 - - - 2: 164A: MK-3475 200 mg Q3W

                           Source: Reviewer’s exploratory analysis.
                                                                                                                           8

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          Table 2. Summary of Response Results of the Five Trials
                Response                            10 mg/kg Q2W                             200 mg Q3W
                                 KN016-A         KN016-C       KN012        KN028         KN164       KN158
                                  (n=28)          (n=30)        (n=6)       (n=5)         (n=61)      (n=19)
                Complete          4 (14.3)        5 (16.7)     0 (0.0)      0 (0.0)       0 (0.0)     1 (5.3)
                Response (%)
                Partial           10 (35.7)       9 (30.0)     3 (50.0)     4 (80.0)      13 (21.3)    4 (21.1)
                Response (%)
                CR+PR (%),         14 (50),       14 (46.7),   3 (50.0),    4 (80.0),     15 (24.6),   6 (31.6),
                (95% CI†)        (30.6-69.4)     (28.3-65.7)    (11.8-     (28.4-99.5)   (14.5-37.3)    (12.6-
                                                                 88.2)                                   56.6)
                Stable Disease    9 (32.1)        5 (16.7)      0 (0.0)      0 (0.0)      18 (29.5)    8 (42.1)
                (%)
                Disease           23 (82.1),     19 (63.3),    3 (50.0),    4 (80.0),     31 (50.8),     Not
                Control* (%),    (63.1-93.9)     43.9-80.1)     (11.8-     (28.4-99.5)   (37.7-63.9)   reported
                (95% CI†)                                        88.2)
                Source: Table 2.7.3 in Page 22 of Summary of Clinical Efficacy.




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          Figure 4. Kaplan-Meier Curve of Time to Overall Survival for Trial KN-002 in Ipilimumab
          Refractory Melanoma Patients
                                                                                      Kaplan-Meier of Overall Stuviva l
                                                                                             (ITT Population)


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                                          MK - 3475 2 mg/kg Q3W
                                                     180 154 131                             11D        95     82       70       65   61   28    11                0
                                          MK-3475 ID mg/kg Q3W
                                                     181 157 138                             114        99     87       79       74   67   36    12                0


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                                                                                            64      54        48       40        38   37   15    5                 0
                                        MK- 3475 10 mg/kg Q3W
                                                  97   89   82                              66      58        50       47        45   41   19    7                 0


                                                                                  Kaplan-Meier of Overall Smvival
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                                                                                                             Time in Months
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                                  :antral
                                           40   31     25                              20          16        11        g         g     8    5                  0        0
                                  ~K-3475 2 mg/kg Q.:SW
                                           48   40     33                              25          22        15        11        g     8    4         2        0        0
                                  ~K-3475 10 mg/kg Q3W
                                           46   36     29                              26          23        23        2D        18   16    10        5        0        0

                        Source: Figures 11-1, 11-12 and 11-14 of Applicant’s Clinical Trial
                        Report for KN-002 (P002v02).

                                                                                                                                                                                          10

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          Figure 5. Kaplan-Meier Curve of Time to Overall Survival for Trial KN-010 in Non-small
          Cell Lung Cancer Previously Treated with Platinum Based Chemotherapy
                                                                                   Kaplan-Meier of Overall Survival
                                                                                    ITT Population (TPS >= 1%)




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                                                                                Kaplan-Meier of Overall Surviva l
                                                                          Subj ects with TPS >= 50%. ITT Population


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                                 MK-34-75 2 ~f'1<',1 QJW
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                 Source: Figures 11-3, 11-1 and 14.2.1-5 of Applicant’s Clinical Trial Report for
                 KN-010 (P010v01).

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          Figure 6. Kaplan-Meier Curve of First Dose Interruption/Withdrawal (Cohort A of KN016
          (10 mg/kg Q2W, Blue) and KN164 (200 mg Q3W, Red))
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                                 1 28            11                 2
                                 2   61          30                 0

                                     0          200                400             600
                                                             Day

                                                      Planned Treatment
                                             - - - 1: 016A: MK-3475 10 mg/kg Q2W
                                             - - - 2: 164A: MK-3475 200 mg Q3W

                   Source: Reviewer’s sensitivity analysis, censored data were imputed from the
                   last observation in the OS dataset

          In summary, both pembrolizumab 200 mg Q3W and 10 mg Q2W are effective for patients with
          MSI-H tumors. The high dose of 10 mg/kg Q2W may provide additional benefit with acceptable
          safety in the MSI-H population.
          2.2.3. What is the incidence (rate) of the formation of the anti-drug antibodies (ADA), including
               the rate of pre-existing antibodies, the rate of ADA formation during and after the
               treatment, time profiles and adequacy of the sampling schedule? Do the ADAs have
               neutralizing activity?
          In patients with MSI-H positive tumors, 1 of 54 (1.9%) evaluable patients (51 negative, 2 non-
          treatment emergent positive) had treatment emergent ADA, see table 4 below. In trial KN012,
          six patients were identified as MSI-H. Per Merck, three patients are classified as ADA
          inconclusive and three were ADA negative. Patients from KN012 were not included in the
          integrated analysis of pembrolizumab immunogenicity. Neutralizing capacity for the confirmed
          one positive ADA sample in trial KN164 is pending.

          Merck also submitted an integrated immunogenicity analysis across multiple tumor types
          (melanoma, NSCLC, HNSCC, urothelial cancer (UC) and MSI-H) from 1427 evaluable out of
          3048 treatment patients. Pre- and post-baseline serum samples from patients treated with
                                                                                                        12

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          pembrolizumab were analyzed for ADAs. The observed incidence of pembrolizumab treatment
          emergent ADA in evaluable patients based on a pooled analysis of patients is 1.9% (28 out of
          1437), see table 4 below. Incidence of ADA induction was also stratified by dose regimen (2
          mg/kg, 10 mg/kg, or 200 mg pembrolizumab). Immunogenicity rate did not increase with
          increasing dose, see table 5 below.

          Table 4. Summary of immunogenicity assessments stratified by indication following
          treatment with pembrolizumab at dose of 2 mg/kg, 10 mg/kg, or 200 mg

          Immunogenicity           Melanoma         NSCLC        HNSCC              UC       MSI-H
          status
          Assessable patients         1535            1237          101          121              54
          Inconclusive patients       1101            444           39              27             0
          Evaluable patients           434            793           62              94            54
          Negative                     427            765           59            93            51
                                     (98.4%)        (96.5%)      (95.2%)       (98.9%)       (94.4%)
          Non-Treatment                 4            6             2           0                 2
          emergent positive          (0.9%)       (0.8%)        (3.2%)       (0%)             (3.7%)
          Treatment emergent        3 (0.7%)    22 (2.8%)      1 (1.6%)    1 (1.1%)          1 (1.9%)
          Positive
          Data Source: Table 5 of immunogenicity report [Ref. 5.3.5.3: 04D4CF]

          Table 5. Summary of immunogenicity results stratified by pembrolizumab dose pooled
          across multiple tumor types

          Immunogenicity status      All treatments                       Treatment
                                                         2 mg/kg          10 mg/kg       200 mg
          Assessable patients                3048             706            2014            328
          Inconclusive patients              1611             136            1469             6
          Evaluable patients               1437              570         545         322
          Negative                   1395 (97.1%)        555 (97.4%) 530 (97.2%) 310 (96.3%)

          Non-Treatment             14 (1.0%)         7 (1.2%)        4 (0.7%)           3 (0.9%)
          emergent positive
          Treatment emergent        28 (1.9%)         8 (1.4%)        11 (2.0%)          9 (2.8%)
          Positive
          Data Source: Table 5 of immunogenicity report [Ref. 5.3.5.3: 04D4CF]

          Among the 28 patients who tested positive for treatment emergent anti-pembrolizumab
          antibodies, only 4 patients were tested for neutralizing antibodies and one was positive. Per
                                                                                                          13

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                       -- -
          Merck, during the course of the trial, measurement of the ADA samples has been transferred
          from               to another vendor,             . As part of this transfer the neutralizing assay is being

                                                                                                                                                                 - -
                     (b) (4)                        (b) (4)


          optimized at               . At this moment only results from the neutralizing assay                     from 4
                             (b) (4)                                                                       (b) (4)


          patients are available and the majority of the confirmed positive samples the results of the
          neutralizing assay are still pending, because the optimization of the neutralizing assay at                          has
                                                                                                                       (b) (4)


          not finalized yet.
          One patient with an ADA screening negative result that was classified as inconclusive but
          inadvertently tested for neutralizing ADA capacity and showed a positive result, see table 6
          below.

          Table 6. Neutralizing ADA positive patient



                                      -
                                                                      TAFD           TALD          i\1K-3-t75 ronr                      Result ADA assay              Result Neum1lizing assay
            Srudy         TRT            .-\.t"i'    , -isit code
                                                                      (day)          (day)             ()1g/mL)           Sneeninf         Confu·matory"   Screening         Co nfir mator~·      Final
           MK34 75 -                     (b) (6)
                        10 mg/kg                       Cl W0                                             0.00            Negative
            002
                                                       C3W6           43            21                   78.3            Negative                          Positive             Positive         Positive
                                                      C6W15           108           22                    197            Negative
                                                      C9\V24          185           22                    198            Negative
                                                      Cl3\V36         276           28                    233            Negative
                                                      Cl6\V45         339           21                    149            Negative
             TRI: Treatment; AN: Allocation Number
            TAFD: Time A.ftei- First Dose; TA.LO: Time A.ftei- Last Dose
            a: A positive result for the screening assay is reported by (b) (4) s "Positive" and b! (b) (4)
            b: For samples with a screening negative result, the confirma tory result is report
                                                                                            iii,ied..,.  (b) (4)
                                                                                                     by.-7.:----:             (b) (4)
            c: For samples with a screening negative result, the Titer result is reported by (b) (4)                (b) (4)


          Data Source: Table 9 of immunogenicity report [Ref. 5.3.5.3: 04D4CF]

          In conclusion, overall the observed incidence of treatment emergent ADA in evaluable MSI-H
          patients was 1.9 % (1 of 58 patients). No impact of ADA on pembrolizumab exposure was
          observed, and no hypersensitivity events or infusion site reactions associated with neutralizing
          antibodies have yet been identified.

          2.2.4. What bioanalytical methods are used to assess pembrolizumab concentrations?
          The electrochemiluminescence (ECL) bioanalytical method was utilized in the quantitation of


          -
          pembrolizumab serum samples. The ECL assay reviewed in the original BLA was developed by
               (b) (4)
                       and subsequently was transferred to
                                                           (b) (4)
                                                                   . The history of the bioanalytical method was
          previously detailed in Supplements 4 and 6. The bioanalytical method validation was reviewed
          earlier as part of Supplements 4 and 6.

          Per Merck, the lower limit of quantitation (LLOQ) for the 3rd generation assay at      was
                                                                                                                -                                                                   (b) (4)


          raised on 27 May 2016 from 10 ng/mL                           to 25 ng/mL                 . All
                                                                (b) (4)                     (b) (4)


          samples tested before that date are reported with an LLOQ of 10 ng/mL and all samples tested
          from 27 May 2016 onwards are using an LLOQ of 25 ng/mL. The original 10 ng/ml
          concentration was used as an anchor point in method                           .
                                                                                (b) (4)




          Method                   , with an LLOQ of 10 ng/ml was used to determine the serum
                                                          (b) (4)


          concentration in trial KN012.                      , with an LLOQ of 25 ng/ml was used to determine
                                                     (b) (4)


          the serum concentration of in trial KN164.


                                                                                                                                                                                                            14

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          Reviewer’s Comment: The increase in LLOQ unlikely to influence PK data quality as the
          majority of trough samples are above 10 ug/ml or 400 times above the LLOQ of 25 ng/ml.

          2.2.5. What methods are used to assess pembrolizumab ADA incidence in SCCHN
               patients?
          The validated bridging electrochemiluminescence (ECL) immunoassay used for the detection of
          anti-pembrolizumab antibodies in human serum was reviewed earlier as part of supplement 8.
          3. Detailed Labeling Recommendations
          Only relevant clinical pharmacology sections are included. The sponsor’s proposed additions are
          underlined and deletions have a strikethrough line. The sponsor proposed additions are
          represented by red strikethrough lines.

            - - - - - -- - - - - · DOSAGE AND AD MINISTRATION ················-······
             •    NSCLC 200 mg eve ry 3 weeks. (2 3)
             •    HNSCC 200 mg eve ry 3 weeks. (2.4)
             •    MSI-H Cancer 200 mg eve!Y 3 weeks [2 SJ
             Admi111ister KEYT RUDA as an intravenou s infusion over 30 minutes .


           2.5 Recommended Dosage for Microsatellite Instability-High (MSI-H} Cancer
           The recommended dose of KEYTRUDA is 200 mg adm inistered as an intravenous infusion
           over 30 minutes every 3 weeks until disease progression. unacceptable toxicity. or up to
           24 months in patients w ithout disease progression {see Clinical Studies (14.4)7.[2]


           12.3 Pharmacokinetics
           The pharmacokinetics (PK) of pembrolizumab was characterized using a population PK
           analysis with concentration data collected from 2841 patients with various cancers who
           received pembrolizumab doses of 1 to 10 mg/kg every 2 weeks or 2 to 10 mg/kg every
           3 weeks. Pembrolizumab clearance CV%) is a proximatj ;:w21 % lower [geometric mean,
                                                                         (b) (4)
           ~ 196 ml/day (4-M 1%))                         .,-...,..,.._,         at steady state than that af:ler
                      (b) (4)
                              the firsi dose ~ 2--:;rn mOaay (¾438%)]; t is decrease in clearance with time
           is not considered clinically important. The geometric mean value (CV%) for volume of
           distribution at steady state is ~-0 L (21%) and for terminal half-life (1112) is ~22 days
           (~ 32%).

           Steady-state concentrations of pembrolizumab were reached by 49-16 weeks of repeated
           dosing with an every 3-week regimen and the systemic accumulation was 2.2-fold. The peak
           concentration (Cm.,), trough concentration (Cm;n), and area under the plasma concentration
           versus time curve at steady state (AUC55 ) of pembrolizumab increased dose proportionally in
           the dose range of 2 to 10 mg/kg every 3 weeks.[1 8)


          Reviewer’s Comment: Merck is proposing not to update the label for immunogenicity. Per
          Merck, FDA feedback provided for S-008 and S-012 for NSCLC that the database of 1289


                                                                                                                15

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          evaluable patients is sufficient to characterize the incidence of anti-pembrolizumab antibodies.
          Therefore no revision to section 6.2 is proposed at this time.
          Also Merck proposes to revise PK parameter values introduced by FDA on 19Sep2016 for
          NSCLC (S-008 and S-012). Per Merck, the values provided by FDA are based on arithmetic
          mean and %CV calculations. The revised values proposed by Merck represent calculations
          based on geometric mean and geometric %CV as described in the text.

          4. Appendix 1) Pharmacometrics review office of clinical pharmacology: pharmacometric
             review

          BLA Number                                                           125514/s14
          Drug Name                                                            Keytruda® (pembrolizumab)
          Dose Regimen                                                         200 mg intravenous infusion over 30 minutes
                                                                               every 3 weeks
          Indication                                                           For the treatment of patients with microsatellite
                                                                               instability high (MSI-H) tumors
          Pharmacometrics Reviewer                                             Hongshan Li, Ph.D.
          Pharmacometrics Team Leader                                          Jiang Liu, Ph.D.
          Sponsor                                                              Merck & Co. Inc.

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          SUMMARY OF FINDINGS
          Pembrolizumab BLA125514 Supplement 14 (s14) included efficacy and safety data from 5 trials
          for a total of 149 patients with different types of microsatellite instability-high (MSI-H) tumors
          from 5 trials (KN016, KN012, KN028, KN164, and KN 158), where the objective response rate
          (ORR) is the primary efficacy endpoint.
                 In Trials KN164 (n=61) and KN158 (n=19), pembrolizumab 200 mg were administered
                  every 3 weeks (Q3W), and the percent ORRs (95% CI) were 24.6 (14.5-37.3) and 31.6
                  (12.6-56.6), respectively.
                 In Trials KN012 (n=6), KN016-A (n=28), KN016-C (n=30), and KN028 (n=5),
                  pembrolizumab 10 mg/kg were administered every 2 weeks (Q2W), and the percent
                  ORRs (95% C) were 50.0 (11.8-88.2), 50.0 (30.6-69.4), 46.7 (28.3-65.7) and 80.0 (28.4­
                  99.5), respectively.
          The efficacy data based on cross-trial comparison showed that the high dose of 10 mg/kg Q2W is
          more efficacious than 200 mg Q3W in the MSI-H population with overall safety profile
          demonstrated acceptable in pembrolizumab development program. We therefore recommend the
          10 mg/kg Q2W dosing to be approved for patients with MSI-H cancer.

          1.1. KEY REVIEW QUESTIONS
          The purpose of this review was to address the following key question.

          1.1.1. Is the proposed pembrolizumab dose of 200 mg Q3W optimal for patients with MSI-
          H tumors?
          In context of the limited data provided in this application, both pembrolizumab 200 mg Q3W and
          10 mg Q2W are effective for patients with MSI-H tumors. The high dose of 10 mg/kg Q2W can
          provide additional benefit with acceptable safety in the MSI-H population.:
                 KN016-A and KN164 are two trials in patients with MSI-H colorectal cancer (CRC),
                  where pembrolizumab dose are 10 mg/kg Q2W and 200 mg Q3W, respectively. The
                  ORR separation is evident between the two trials after 4 months of treatment (Figure 1);
                  10 mg/kg Q2W in Trial KN016-A clearly showed better efficacy than 200 mg Q3W in
                  Trial KN164. The evident separation between the two trials was also observed in Kaplan
                  Meier plot of progression free survival (PFS) as shown in (Error! Reference source not
                  found. This suggests 10 mg/kg Q2W dose level could be more efficacious.
                 Across the 6 trials/cohorts listed in Table 2, each of the four with pembrolizumab 10
                  mg/kg Q2W showed better efficacy than each of the two with 200 mg Q3W dose.
          In addition, Trial KN002 in melanoma patients and Trial KN010 in non-small cell lung cancer
          (NSCLC) patients consistently demonstrated numerically better efficacy of pembrolizumab 10

                                                                                                         17

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          mg/kg Q3W than 2 mg/kg Q3W dose, especially in PD-L1 negative melanoma or PD-L1 weakly
          positive NSCLC patients (
                 Figure and Figure ).
                 The number of patients studied for each pembrolizumab dose was about 180 in KN02 and
                  350 in KN010, and the safety profile of the two doses are generally comparable. KN06
                  studied pembrolizumab 10 mg/kg Q2W (n=279) and 10 mg/kg Q3W (n=277), and the
                  safety profile was also acceptable. Refer to clinical trial reports for KN002, KN006 and
                  P010 for more information.
                 The overall number, type, and frequency of AEs reported in the MSI-H safety population
                  are consistent with the safety profile previously described for pembrolizumab at 10
                  mg/kg Q2W dose level. Discontinuation due to toxicity is also comparable between
                  KN016-A (11% (3/28)) and KN164 (7% (4/60)). Although dose interruption rate of
                  KN016A at 10 mg/kg Q3W is higher than that of KN164 at 200 mg Q3W (Figure ), the
                  overall result was drug held temporarily and majority of the events were resolved. This
                  observation suggested both doses are clinically meaningful; patients with frequent dose
                  interruption at 10 mg/kg Q3W starting dose may transit to 200 mg/kg Q3W as needed.


          Figure 3: Kaplan-Meier Curve of Time to Response (Confirmed and Unconfirmed
          Combined) Based on IRC Assessment per RECIST 1.1 (Cohort A of KN016 and KN164,
          ASaT Population)
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                                      0      15      30       s     60       75    90   05   120   35
                                                                  Ti e (In Wees)
                  At Risk

                  164 cohort A        6      53       7      0       0       0     0    0    0     0
                  016 cohort A        28     18      11      6       6       5     4    3          0
          Source: Figure 2.7.3 in Page 59 of Summary of Clinical Efficacy.


                                                                                                          18

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          Figure 4: Kaplan-Meier Curve of PFS (Cohort A of KN016 (10 mg/kg Q2W, Blue) and
          KN164 (200 mg Q3W, Red))
                                 1.0
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                                                                                    Logrank p=0.0012


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                                 0.2
                                   1 28              17             6              4               0
                                   2 61              9              0

                                       0             200           400            600             800
                                                                   Day
                                                            Planned Treatment
                                                           1 016A: MK-3475 10 mg/kg Q2W
                                                           2: 164A: MK-3475 200 mg Q3W

          Source: Reviewer’s exploratory analysis.




          Figure 5: Kaplan-Meier Curve of First Dose Interruption/Withdrawal (Cohort A of KN016
          (10 mg/kg Q2W, Blue) and KN164 (200 mg Q3W, Red))




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                         u::
                                     0.0
                                       1 28                   11                    2
                                       2 61                   30                    0

                                             0               200                 400                 600
                                                                           Day
                                                                   Planned Treatment
                                                          - - - 1: 016A MK-3475 10 mg/kg Q2W
                                                          - - - 2 164A MK-3475 200 mg Q3W

          Source: Reviewer’s sensitivity analysis, censored data were imputed from the last observation in the OS dataset



          Table 3: Summary of Response Results of the Five Trials
          Response                                            10 mg/kg Q2W                                     200 mg Q3W
                                           KN016-A        KN016-C         KN012          KN028             KN164        KN158
                                            (n=28)         (n=30)          (n=6)         (n=5)             (n=61)       (n=19)
          Complete                          4 (14.3)       5 (16.7)       0 (0.0)        0 (0.0)           0 (0.0)      1 (5.3)
          Response (%)
          Partial Response        10 (35.7)        9 (30.0)          3 (50.0)            4 (80.0)          13 (21.3)    4 (21.1)
          (%)
          CR+PR (%,             14 (50, 30.6-   14 (46.7, 28.3-      3 (50.0,            4 (80.0,        15 (24.6,      6 (31.6,
          95% CI†)                  69.4)            65.7)         11.8-88.2)           28.4-99.5)      14.5-37.3)     12.6-56.6)
          Stable Disease (%)       9 (32.1)        5 (16.7)           0 (0.0)            0 (0.0)        18 (29.5)       8 (42.1)
          Disease Control* 23 (82.1, 63.1- 19 (63.3, 43.9-           3 (50.0,            4 (80.0,        31 (50.8,        Not
          (%, 95% CI†)              93.9)            80.1)         11.8-88.2)           28.4-99.5)      37.7-63.9)     reported
          Source: Table 2.7.3 in Page 22 of Summary of Clinical Efficacy.

          Figure 6: Kaplan-Meier Curve of Time to Overall Survival for Trial KN-002 in
          Ipilimumab Refractory Melanoma Patients




                                                                                                                              20

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                                                                                      Kaplan-Meier of Overall Smvival
                                                                                             (rIT Population)


                                                      11D
                                                      1DD
                                                       9D
                                             .."..     BO
                                               0       7D
                                             -~        6D
                                               ,
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                                                       2D              - - - Control
                                                                       - - -- - -• MK-.l475 2 mg/kg O.lW
                                                       1D              - - - MK-.l475 10mo/ko0.JW
                                                           0
                                                                   0         3       6       g     12        15        18       21        24       27       30       33       36

                                                                                                         Time in Monlhs
                                                       n al risk
                                       Control
                                                 179 151   115                               g7    BO     69           60       so        48       28       g                  0
                                       MK- 3475 2 mg/kg Q3W
                                                 180 154 131                              11D      95     82          7D         65       61       28       11                 0
                                       MK-3475 1D mg/kg Q3W
                                                 181 157 138                              114      99     87          79        74        67       36       12                 0


                                                                                     Kaplan- 1eier of Overall Smvival
                                                                                     (ITT Population- PD-LI Positive)


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                                                     20            - - - Control
                                                                   - - -- - - ~ - 3475 2 mg/kg Q3W
                                                      10           - - - "1<-.l475 1 D mg/kg O.lW
                                                       0
                                                               0         3       6       9        12     15       18        21        24       27       30       33       36

                                                                                                        lime in Months
                                                      not risk
                                     Cont ro l
                                               98   84  64                               55       48     44       39        30        29       15        5           0        0
                                     MK-3475 2 99g/ksi3W75
                                                                                         64       54     48       4D        38        37       15        5                    D
                                     MK- 3475 1D mg/kg Q3W
                                               97   89   82                              66       58     so       47        45        41       19           7                 0


                                                                                  Kaplan-Meier of Overall Smvival
                                                                                 (ITT Population- PD-LI Negative)

                                                     110
                                                     100
                                                      90
                                         K           80
                                        ~            70
                                         ,
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                                        "'1i         50
                                                     40
                                         ~           30
                                        0
                                                     20            - - - control
                                                                   - - -- - - "1<-.l4 75 2 mg/kg O.lW
                                                     10            - - - "1<-.l475 10 mg/kg 0.lW
                                                      0
                                                           D             3       6       9        12    15        18        21        24       27       30       33       36

                                                                                                        Time in Months
                                                      not risk
                                     :antral
                                              4D   31   25                               2D       16    11        9         9         8        5                 D        D
                                     ~K-3475 2 mg/kg Q3W
                                              48   40   33                               25       22    15        11        g         8        4        2        0        0
                                     ~K-3475 10 mg/kg Q3W
                                              46   36   29                               26       23    23        20        18        16       1D       5        0        0

          Source: Figures 11-1, 11-12 and 11-14 of Applicant’s Clinical Trial Report for KN-002 (P002v02).

                                                                                                                                                                                            21

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          Figure 7: Kaplan-Meier Curve of Time to Overall Survival for Trial KN-010 in Non-small
          Cell Lung Cancer Previously Treated with Platinum Based Chemotherapy
                                                                               Kaplan-Meier of Overall Surviva l
                                                                                ITT Population (TPS >= I%)




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          Source: Figures 11-3, 11-1 and 14.2.1-5 of Applicant’s Clinical Trial Report for KN-010 (P010v01).

          In summary, both pembrolizumab 200 mg Q3W and 10 mg Q2W are effective for patients with
          MSI-H tumors. The high dose of 10 mg/kg Q2W can provide additional benefit with acceptable
          safety in the MSI-H population..
          1.2. LABELING CHANGE
          Associated with FDA action on S-008 and S-012, time-dependent population pharmacokinetics
          parameters (based on an expanded dataset, n=2841 including KN001, KN002, KN006 and
          KN010) appeared in Section 12.3 of the USPI. The label text refers to geometric means, but the
          values were based on arithmetic mean and %CV calculations. With an amendment submitted on
          11/23/2016 under BLA125514 s14, (\\cdsesub1\evsprod\bla125514\0308\m1\us\efficacy­
          information-amendment-23nov2016.pdf), Merck proposes to revise the PK parameter values.
          The corrected values proposed here represent calculations based on geometric mean and
          geometric %CV using the same PPK dataset and the same time-dependent PK model.




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           Proposed labt>ling with ro1Tt>dt>d gt>omt>hi r mt>an and gt>omt>hi r %CV ,·alut>
              1e phanuacokinetics (PK) of pembrolizmuab was characterized using a population PK analysi
           \\1th concentration data collected from 2841 patients with Yarious cancers who receiYed
           pembrolizmuab doses of 1 to 10 mg/kg eYery 2 weeks or 2 to 10 mg/kg e,·ery 3 weeks.
             embroliZlmiab clearance (CV0o) is approxiuiately 21~0o lower [geometiic mean. 19~
            111/day (1!_%0o)]                                      (b) (4)                 (b) (4)
                                                                           at steady state         thaa that afi@r th
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               st dose [24~ mIJday (L843-:+ o)]: this decrease in clearance with time is not considered
             liuically impo11ant. The geomet11c mean ,·alue (CV0o) for Yolume of distiibution at steady stat
           ·s 6.0 .e,-l. L (21°0) and for tenninal half-life (t 12 ) is 22U days (gJ0°o).

            teady-state conceun·atious of pembrolizmuab were reached by 16-1-9 weeks of repeated dosin~
           :\1th an e,·ery 3-week regimen and the systemic acc1mmlation ,,·as 2.2-fold. The pea
            onceun·ation (Cmax). n·ough concenn-ation (Cinin). and area 1mder the plasnia concenn·ation
           ·ersus tin1e cmYe at steady state (AUC55) of pembrolizumab increased dose propo11ionally in th
            ose rarnze of 2 to 10 nuz/k e\'eI 3 weeks.

          Reviewer’s comments: The proposed values are verified to be correct so the proposed revisions
          are necessary although the differences are not significant.

          2.   PERTINENT REGULATORY BACKGROUND
          This supplementary submission is for the approval of pembrolizumab 200 mg Q3W for patients
          with microsatellite instability high (MSI-H) solid tumors based on efficacy and safety data of
          149 patients from 5 trials.
           Key highlights of the US regulatory history on pembrolizumab include grant of orphan drug
           designation for Stage IIB-IV melanoma on 20-Nov-2012, grant of breakthrough therapy
           designation on 17-Jan-2013, and the grant of a pediatric waiver based on orphan drug
           status on 17-Apr-2013.
           On 04-Sept-2014, pembrolizumab (Keytruda®) received the FDA’s accelerated approval as a
           breakthrough therapy for the treatment of patients with unresectable or metastatic melanoma
           who have been previously treated with ipilimumab (BLA125514). The accelerated approval
           was based on ORR data of Trial P001 Part B2, a randomized (1:1) Phase I trial of
           pembrolizumab 2 mg/kg Q3W (n=89) versus 10 mg/kg Q3W (n=84) in the treatment of
           ipilimumab-refractory melanoma patients. The primary objective was to compare the ORR
           between the two treatments. The confirmed ORR was 26% (95% CI: 17-37%) for 2 mg/kg
           Q3W dose and 26% (95% CI: 17-38%) for 10 mg/kg Q3W dose by independent central review
           (based on IRO assessment) using RECIST 1.1.
           On 25-Mar-2015: the supplement (sBLA 125514-s4, Seq 253) was submitted for the approval
           of pembrolizumab for the treatment of ipilimumab treated, unresectable or metastatic melanoma
           based on efficacy and safety result of P002V01, a randomized, Phase II trial of MK-3475 versus
                                                                                                                  24

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           chemotherapy in patients with advanced melanoma. This was a partially blinded, randomized,
           Phase II trial of intravenous (IV) MK-3475 (2 or 10 mg/kg Q3W) versus investigator-choice
           (standard of care) chemotherapy in a 1:1:1 ratio in patients with advanced melanoma.
           On 19-Jun-2015: the supplement (sBLA 125514-s6, Seq 310) was submitted for the approval of
           pembrolizumab for the treatment of non-ipilimumab treated, unresectable or metastatic
           melanoma based on efficacy and safety result of P006, a multicenter, randomized, controlled,
           three-arm, phase III trial to evaluate the safety and efficacy of two dosing schedules of MK­
           3475 (10 mg/kg Q2W and 10 mg/kg Q3W) compared to ipilimumab in patients with advanced
           melanoma.
           On 24-Dec-2015: the supplement (sBLA 125514-s8, Seq 516) was submitted for the approval
           of pembrolizumab for the treatment of previously treated PDL-1 positive NSCLC patients
           based on efficacy and safety result of P010, a Phase II/III randomized trial of two doses of MK­
           3475 (2 mg/kg Q3W and 10 mg/kg Q3W) versus docetaxel in previously treated PDL-1
           positive patients with non-small cell lung cancer.
          On 09-Feb-2016: the supplement (sBLA 125514-s9, Seq 547) was submitted for the approval of
          pembrolizumab for the treatment of patients with recurrent or metastatic HNSCC with disease
          progression on or after platinum-containing chemotherapy based on efficacy and safety result of
          P055, a Phase II clinical trial of single agent, pembrolizumab, in patients with recurrent or
          metastatic head and neck squamous Cell carcinoma (HNSCC) who have failed platinum and
          cetuximab. Patients received 200 mg of pembrolizumab administered every 3 weeks (Q3W).
          On 24-Jun-2016: the supplement (sBLA 125514-s12, Seq 679) was submitted for the approval of
          pembrolizumab for the first-line treatment of PDL-1 positive NSCLC patients based on efficacy
          and safety result of P024, a randomized open-label Phase III trial of MK-3475 versus platinum
          based chemotherapy in first line patients with PD-L1 Strong metastatic NSCLC. Patients
          received 200 mg of pembrolizumab administered every 3 weeks (Q3W).
          On 12-Aug-2016: the supplement (sBLA 125514-s13, Seq 776) was submitted for the approval
          of pembrolizumab 200 mg Q3W for melanoma based on PK tables and figures for MK-3475
          Trial PN037, a phase I/II trial exploring the safety, tolerability and efficacy of MK-3475 in
          combination with INCB024360 in patients with selected solid tumors, where 200 mg Q3W dose
          was administered to 143 patients including 25 melanoma patients. Modeling and simulation
          component was submitted for dose justification.
          On 08-Sep-2016: the supplement (sBLA 125514-s14, Seq 775) was submitted for the approval of
          pembrolizumab 200 mg Q3W for patients with microsatellite instability high (MSI-H) solid
          tumors based on efficacy and safety data of 149 patients from 5 trials:

          Trial                        MSI-H Patient and Pembrolizumab Dose Information
          KN012             A Phase Ib multi-cohort trial of pembrolizumab in patients with advanced solid
          (n=6)             tumors. Six patients (4 gastric, 1 breast and 1 bladder) were identified as MSI­

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                              H patients retrospectively out of 297 patients studied. Pembrolizumab dose is
                              10 mg/kg Q2W
          KN016               Phase 2 trial of MK-3475 in patients with microsatellite unstable (MSI)
          (n=28 for           tumors. Three cohorts of patients were enrolled to receive pembrolizumab:
          Cohort A, and       patients with MSI-H colorectal cancer (CRC) with at least 2 prior cancer
          n=30 for            therapy regimens (Cohort A, n=28); patients with MSI-H negative CRC and at
          Cohort C)           least 2 prior cancer therapy regimens (Cohort B); and patients with MSI-H
                              solid tumor malignancies other than CRC and at least 2 prior cancer therapy
                              regimens (Cohort C, n=30, Endometrial 9, Amp/biliary 7, Pancreatic 4, Small
                              bowel 4, Gastric 3, 1 each of sarcoma, prostate, thyroid). Pembrolizumab dose
                              is 10 mg/kg Q2W.
          KN028               Multi-disease cohorts PD-L1+. Total 5 out of 475 were identified as MSI-H
          (n=5)               patients retrospectively. The MSI-H tumors on this trial were esophageal,
                              cholangio, breast endometrial, CRC. Pembrolizumab dose is 10 mg/kg Q2W.
          KN158               MSI-H cohort of multi-cohort rare tumor basket trial. Total 19 of 713 patients
          (n=19)              were identified as MSI-H. Cohort k consisted of prospectively identified MSI­
                              H 16 patients (4 endometrial cancer, 4 small intestinal cancer, 3 cholangio­
                              carcinoma, 2 gastric cancer, 2 pancreatic cancers, 1 kidney cancer, 1 prostate
                              cancer, 1 retroperitoneal adenocarcinoma, and 1 small cell lung cancer), along
                              with 3 additional MSI-H patients identified retrospectively by PCR from
                              cohorts B and D c/o SCLC, gastric, pancreatic, and SB. Pembrolizumab dose is
                              200 mg Q3W.
          KN164               A Phase II trial of pembrolizumab as monotherapy in patients with previously
          (n=61)              treated locally advanced unresectable or metastatic (Stage IV) mismatched
                              repair deficient or microsatellite instability-high CRC. The dose of
                              pembrolizumab dose is 200 mg Q3W.
          Source: mid-cycle meeting slides by medical officer Leigh Marcus.


          3.   RESULTS OF SPONSOR’S ANALYSIS
          3.1. PPK ANALYSIS
          PK data of 6 MSI-H patients of KN012 (with dose of 10 mg/kg Q2W), and 58 MSI-H patients of
          KN164 (with dose of 200 mg Q3W) were combined with PK data of non-MSI-H patients from
          Trials KN01, KN02 and KN06 for a population pharmacokinetics (PPK) analysis using a static
          clearance model. The PPK parameters are comparable between MSI-H and other patients (Table
          1). Individual post-hoc PK parameters are also comparable (Table 1).In addition, the exposures
          for MSI-H patients receiving 200 mg Q3W pembrolizumab demonstrated no clinically
          meaningful difference in PK variability compared to weight-based dosing (Error! Reference
          source not found.). The population exposure of 200 mg Q3W was numerically higher than 2
          mg/kg Q3W dose, but significantly lower than 10 mg/kg Q2W and Q3W doses.
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            Table 4: Comparisons of Descriptive Statistics of Individual PK Parameters (CL,
            Vc) and Derived Parameters (t1/2, Vdss, Tss) between MSI-H and non- MSI-H Patients
                                                      MSI-H                                     Non-MSI-H
                                     N     Mean       Median      Standard       N      Mean        Median   Standard
                                                                  deviation                                  deviation
             CL (L/day)              64     0.214      0.205       0.0894       2189    0.235       0.205       0.12
             Vc (L)                  64      3.23       3.24        0.729       2189     3.43        3.38      0.785
             Half life (days)        64      27.4        27          6.48       2189     27.5         27        8.81
             Vdss (L)                64      7.17       7.15         1.44       2189     7.53        7.41       1.53
             Tss; Time to steady     64      137        135          32.4       2189     137         135         44
             state (days)
            Source: Table 6 of modeling and simulation report file “04gf2t-ppk-extended-to-MSI.pdf”.




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           Figure 8: Individual Post-hoc PK Parameters (CL, V, tt/2, Vdss, Tss) between MSI-H
           and non-MSI-H Patients
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           Sourc.e: Figures 2 of modeling and simulation report file "04gf2t-nok-extended-to-MSI.odf'.




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           Figure 9: Pembrolizumab (MK-3475) Exposure across Indications at Clinically Tested
           Dose Re          o Scale
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           Source: Fi1rures 3 of modelin~ and simulation re ort file "04°f2t-          k-extended-to-MSI. df'.




           FDA Reviewer's Comments: Labeling Section 12.3 (clinical pharmacology) for
           pembrolizumab sBLA 125514 s8 and s12 was based on time-dependent PPK model, while the
           modeling and prediction for this submission is based static-PK model, so the analysis is
           outdated. However, this did not change the conclusion that the PK is similar between MSI-H
           and non-MSI-Hpatients, as demonstrated in the FDA reviewer's analysis.


          3.2. ANALYSIS OF COUNFOUNDING FACTORS ON RESPONSE
           Upon FDA reviewer's request, the applicant submitted an analysis exploring confounding effect
           on objective response. Error! Reference source not found. shows the flat exposure-ORR
           relationship. The applicant concluded the response with this sentence: "fu summary , there is no
           evidence to indicate an influence of patient characteristics, trial conduct, or drng exposure on
           the efficacy of pembrolizumab in patients with MSI-H cancer emolled in the 5 trials." Refer to


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           Figure 10: Pembrolizumab (MK-3475) Exposure across Indications at Clinically Tested
           Dose Regimens (Log Scale)

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           Note: Open circles represent the observed ORR(%) for each quartile of AUC, plotted at the median of the quartile;
           95% CI: Vettical bars representing the 95% exact confidence intervals cotTesponding to the observed ORR (%)
           Sourc.e: Figures 1 of applicant's response to FDA pharmacometrics reviewer's information request Item 2. The
           repo1t was named "efficacv-infonnation-amendment-21nov20 16.odf.


          4.     REVIEWER'S ANALYSIS

          4.1. OBJECTIVE
          The objectives of FDA reviewer's PPK analyses were:
             • To apply the time-dependent PPK (TDPK) model used by Supplement 8 to the PPK data
                 of Supplement 14.
             • To compare the steady-state exposme between pembrolizumab 10 mg/kg Q2W and 200
                 mg Q3W in MSI-H patients based on the TDPK model.
          4.2.     METHODS
          4.2.1. Data Set and Code Files
          File                           Link
                                                                                                                          30

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          PPK data (s14new3.csv)          \\cdsnas\pharmacometrics\Reviews\Ongoing PM
                                          Reviews\Pembrolizumab_BLA125514s14_HLi\PopPK
          PPK output list file            \\cdsnas\pharmacometrics\Reviews\Ongoing PM
          (run0074.lst)                   Reviews\Pembrolizumab_BLA125514s14_HLi\PopPK
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          includingp12p158p164­           Reviews\Pembrolizumab_BLA125514s14_HLi\PopPK
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          estimates.R                     Reviews\Pembrolizumab_BLA125514s14_HLi\PopPK


          4.2.2. Software
          R (v3.2.2) and NONMEM (v7.3) were used for the reviewer’s analysis.

          4.2.3. Method

          The applicant provided static PPK analysis results based on dataset "p12p158p164poppk.csv", as
          shown in Section 3.1, where PK data of only 64 MSI-H patients were provided. The applicant
          provided more PK data in "p1p2p6p12msihp164poppk.csv" upon FDA information request, but
          didn’t provide associated PPK analysis. The FDA reviewer combine the two PPK datasets into a
          new dataset named as “s14new3.csv” and conducted PPK analysis using the TDPK model, with
          pembrolizumab clearance decreases with time, which can be described by Equations 1-2.
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                              WT                   
                                                                                                   Equation 1
           CL  TVCL TDPK       CoCov  CaCov  e 1
                              75 
                                                   
                       (I max   3 ) Time   BSLD     40                                   Equation 2
           TDPK  1           
                                                            
                          TI 50  Time         91   ALB  40 

          Where α, γ, θ, and λ are parameters to be estimated, and η1 and η3 are inter-individual variability.
          After PPK parameters are estimated, individual exposure values at steady-state (AUCss) are
          imputed and the descriptive statistics is graphically presented.
          4.3. RESULTS
          The results of FDA reviewer’s exploratory analysis are presented in Error! Reference source
          not found. and Figure 11

          Table 5: Mean (CV %) Comparison of Descriptive Statistics of Post-hoc Individual PK
          Parameters and Derived Parameters between MSI-H and non-MSI-H Patients Based on
          Time-Dependent PPK Analysis
                                             MSI-H (n=79)                Non-MSI-H (n=2189)
          CL (L/d)                            0.240 (39%)                     0.253 (46%)
          CLss (L/d)                          0.221 (44%)                     0.238 (52%)
          Vss (L)                              6.72 (19%)                      6.96 (20%)

                                                                                                                31

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          T           (day)                             24.8 (26%)                 25.2 (35%)
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          Source: FDA reviewer’s analysis.




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          Figure 11: TDPK Generated Pembrolizumab Exposure across Indications at Clinically
          Tested Dose Regimens




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                                                200mg Q3W   10mg/kg Q2W     10mg/kg Q2W      10mg/kg Q3W       2mg/kg Q3W
                                                             Patient Category by Dose and MSI-H



          Source: FDA reviewer’s analysis.




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                     APPLICATION NUMBER:

                         125514Orig1s014

                    OTHER REVIEW(S)
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                                           MEMORANDUM
                          DEPARTMENT OF HEALTH AND HUMAN SERVICES
                                        Public Health Service
                                    Food and Drug Administration
                              Center for Drug Evaluation and Research
                                Office of Prescription Drug Promotion

                                 **PRE-DECISIONAL AGENCY MEMO**

          Date:         March 3, 2017

          To:           Sharon Sickafuse
                        Regulatory Project Manager
                        Division of Oncology Products 2
                        Office of Hematology and Oncology Products

          From:         Nick Senior, PharmD, JD
                        Regulatory Review Officer
                        Office of Prescription Drug Promotion (OPDP)

          Subject: OPDP Comments on the proposed product labeling for BLA 125514
                   KEYTRUDA (pembrolizumab) for injection, for intravenous use; injection, for
                   intravenous use


          OPDP has reviewed the proposed product labeling (PI) for KEYTRUDA
          (pembrolizumab) for injection, for intravenous use; injection; for intravenous use
          (Keytruda) as requested in the consult dated September 21, 2016. The following
          comments, using the proposed substantially complete, marked-up version of the PI
          emailed to OPDP by Sharon Sickafuse on February 17, 2017, are provided below.

          OPDP conferred with and concurs with the Patient Labeling Team’s comments on the
          draft Med Guide.

          If you have any questions, please feel free to contact me (contact information: 240-402­
          4256; Nicholas.Senior@fda.hhs.gov)

          Thank you! OPDP appreciates the opportunity to provide comments on these
          materials.




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     /s/
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     NICHOLAS J SENIOR
     03/03/2017




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                                 Department of Health and Human Services
                                           Public Health Service
                                      Food and Drug Administration
                                 Center for Drug Evaluation and Research
                                    Office of Medical Policy Initiatives
                                   Division of Medical Policy Programs

                                       PATIENT LABELING REVIEW

              Date:                    March 1, 2017

              To:                      Patricia Keegan, MD
                                       Director
                                       Division of Oncology Products 2 (DOP2)

              Through:                 LaShawn Griffiths, MSHS-PH, BSN, RN
                                       Associate Director for Patient Labeling
                                       Division of Medical Policy Programs (DMPP)

                                       Barbara Fuller, RN, MSN, CWOCN
                                       Team Leader, Patient Labeling
                                       Division of Medical Policy Programs (DMPP)

              From:                    Sharon Mills, BSN, RN, CCRP
                                       Senior Patient Labeling Reviewer
                                       Division of Medical Policy Programs (DMPP)

              Subject:                 Focused Review of Patient Labeling: Medication Guide
                                       (MG)

              Drug Name (established   KEYTRUDA (pembrolizumab) for injection, for intravenous
              name): Dosage Form       use
              and Route:               KEYTRUDA (pembrolizumab) injection, for intravenous
                                       use

              Application              BLA 125514
              Type/Number:

              Supplement Number:       S-014

              Applicant:               Merck Sharp & Dohme Corp.




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              1    INTRODUCTION
                   On September 8, 2016, Merck Sharp & Dohme Corp. submitted for the Agency’s
                   review a Prior Approval Supplement (PAS)-Efficacy to their approved Biologics
                   License Application (BLA) 125514/S-014 for KEYTRUDA (pembrolizumab) for
                   injection and KEYTRUDA (pembrolizumab) injection. KEYTRUDA was originally
                   approved on September 4, 2014.
                   In this supplement, the Applicant proposes revision to the approved KEYTRUDA
                   (pembrolizumab) Prescribing Information (PI) to reflect the addition of a proposed
                                                                                                (b) (4)
                   new indication for the treatment of

                                                                                                     (b) (4)




                   This focused review is written by the Division of Medical Policy Programs (DMPP)
                   in response to a request by the Division of Oncology Products 2 (DOP2) on
                   September 22, 2016, for DMPP to review the Applicant’s proposed Medication
                   Guide (MG) for KEYTRUDA (pembrolizumab) for injection and KEYTRUDA
                   (pembrolizumab) injection.

              2    MATERIAL REVIEWED
                   • Draft KEYTRUDA (pembrolizumab) for injection and KEYTRUDA
                     (pembrolizumab) for intravenous use MG received on September 8, 2016.
                   • Draft KEYTRUDA (pembrolizumab) for injection and KEYTRUDA
                     (pembrolizumab) for intravenous use Prescribing Information (PI) received on
                     September 8, 2016, revised by the Review Division throughout the review
                     cycle, and received by DMPP on February 17, 2017.
                   • Approved KEYTRUDA (pembrolizumab) for injection and KEYTRUDA
                     (pembrolizumab) for intravenous use labeling dated October 24, 2016.

              3    REVIEW METHODS
                   In our focused review of the MG we:
                   • simplified wording and clarified concepts where possible
                   • ensured that the MG is consistent with the Prescribing Information (PI)

              4    CONCLUSIONS
                   The MG is acceptable with our recommended changes.

              5    RECOMMENDATIONS
                   • Please send these comments to the Applicant and copy DMPP on the
                      correspondence.




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                   •    Our focused review of the MG is appended to this memorandum. Consult
                        DMPP regarding any additional revisions made to the PI to determine if
                        corresponding revisions need to be made to the MG.
                  Please let us know if you have any questions.




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     /s/
     ----------------------------------------------------
     SHARON R MILLS
     03/01/2017

     BARBARA A FULLER
     03/01/2017

     LASHAWN M GRIFFITHS
     03/02/2017




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                                                   #: 19790



                                          Clinical Inspection Summary

              Date                 Februaiy 10, 2017
              From                 Lauren Iacono-Connors, Reviewer
                                   Susan Thompson, M.D., Team Leader
                                   KassaAyalew, M.D., M.P.H,Branch Chief
                                   Good Clinical Practice Assessment Branch Divlsion of Clinical
                                   Compliance Evah:tation
                                   Office of Scientific Investigations
              To                   Sharon Sickafuse, Regulat01y Project Manager
                                   Leigh Marcus, Clinical Reviewer
                                   Divlsion of Oncology Products 2
              sBLA#                125514 S-014
              Applicant            Merck Sha1p & Dohme Co1p.
              Drug                 Keytrnda'"" (pembrolizumab)
              NME                  No
              Therapeutic          Priority
              Classification                                                                               (b) (4)
              Proposed
              Indication

              Consultation          September 20, 2016
              ReauestDate
              Summary Goal         Februaiy 14, 2017
              Date
              Action Goal Date     March 8, 2017
              PDUFADate            March 8, 2017


                I.      OVERALL ASSESSMENT OF FINDINGS AND
                        RECOMMENDATIONS
              The data from Study MK-3475-016 were submitted to the Agency in suppoli of sBLA 125514
              S-014. One clinical site, Dr. Dung T. Le (Site 1) was selected for audit.

              The prima1y efficacy endpoint, immm1e related objective response rate (iJ:ORR), was
              co1Toborated with the source records generated at the inspected clinical site. The inspection of
              Dr. Le found no significant deficiencies associated with the conduct of Study MK-3475-016.


               II.      BACKGROUND
              Merck Sha1p & Dohme C01p. (Merck) seeks approval of Keytmda ® (pembrolizlllllab) for the
              treatment of
                          -------------------------                                          (b) (4)


                                                                              This request is based on the
              results from primarily Study MK-3475-016. The study planned to emoll 25 subjects into each




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              Page2                                                Clinical InspectionSummu:y
                                                                   sBIA 125514 S-014, Keytmda®


              study Coh01i (A, Band C). The cun ent submission reports on the data from 28 MSI-H CRC
              patients emolled in Coh01i A only.

              Study Period: First subject emolled:                        September 11, 2013
                              Data cut-off date for prima1y analysis:     Februa1y 19, 2016
              Prima1y efficacy endpoint: itORR is the propo1tion of subjects with a best overall response
              (BOR) of Complete (CR) or Paiiial Response (PR), using RECIST vl .1 and immune-related
              response criteria as assessed by a blinded independent review committee (BIRC).

              Objectives of Inspection:
                     a. Verify key seconda1y efficacy endpoints as detennined by the clinical mvestigator
                         and Overall Smvival (OS).
                     b. Identification, doclllllentation, and reporting of adverse events (AEs) for a sample
                         of emolled subjects.
                     c. General compliance with the investigational plan.

             III.       RESULTS (by site):
              Name of CI, Site#, Address Protocol# and # of            Inspection      Final Classification
                                         Subjects                      Date
              CI#l: Dung T. Le                Protocol: MK-3475-       November        NAI
              (Site 1)                        016                      28-29, 2016
              1650 Orie.ans Street
              Room410                         Number of Subjects
              Bahimore, MD 21287              Emolled: 20 (Cohort A)

              Key to Compliance Classifications
              NAI = No deviation from regulations.
              V AI= Deviation(s) from regulations.
              OAI = Significant deviations from regulations. Data mireliable.
              Pending = Prelimina1y classification based on infonnation in 483 or prelimina1y
                      communication with the field; EIR has not been received from the field, and complete
                      review of EIR is pending. Final classification occurs when the post-inspectional
                      letter has been sent to the inspected entity.

                1. Dr. Dung T. Le, M.D. (Site 1)

               The inspection reviewed the conduct of one clinical study (MK-3475-016). The site
               screened 29 subjects and 20 were emolled into Coh01t A at the time of the inspection.
               Six subjects had completed the 2 year treatment period, five withdrew early for disease
               progression and have died, one died early in the study for reasons not related to the
               study medication or disease and four are continuing in the study.

               The records for 16 Coh01i A subjects, specifically those whose data were submitted to
               sBLA 125514 S-014, were inspected. Each subject met eligibility criteria, and




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                                                                  sBLA 125514 S-014, Keytruda®


               informed consent was properly obtained prior to participation in the study. Study
               procedures were performed per the study protocol. Adverse events (AEs) identified in
               the study files matched the AEs in the data listings submitted to the application.
               Efficacy assessments as determined by the BIRC were corroborated by study records
               reviewed at the site. However, it was noted that efficacy endpoints as determined by
               the clinical investigator were different than that determined by the BIRC for 2
               subjects.

               The inspection revealed no significant deficiencies. The efficacy endpoint data as
               determined by the clinical investigator was verifiable. There was no evidence of
               under-reporting of AEs.

               The data from Site 1, associated with Study MK-3475-016 appear reliable.


                                              {See appended electronic signature page}


                                              Lauren Iacono-Connors, Ph.D.
                                              Good Clinical Practice Assessment Branch
                                              Division of Clinical Compliance Evaluation
                                              Office of Scientific Investigations


              CONCURRENCE:

                                              {See appended electronic signature page}


                                              Susan Thompson, M.D.
                                              Team Leader
                                              Good Clinical Practice Assessment Branch
                                              Division of Clinical Compliance Evaluation
                                              Office of Scientific Investigations


              CONCURRENCE:

                                            {See appended electronic signature page}


                                            Kassa Ayalew, M.D., M.P.H
                                            Branch Chief
                                            Good Clinical Practice Assessment Branch
                                            Division of Clinical Compliance Evaluation
                                            Office of Scientific Investigations




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                                                            sBLA 125514 S-014, Keytruda®



              cc:
              Central Doc. Rm. sBLA #125514 S-014
              DOP2/Division Director/Patricia Keegan
              DOP2/Clinical Team Leader/Steven Lemery
              DOP2/Project Manager/Sharon Sickafuse
              DOP2/Medical Officer/Leigh Marcus
              OSI/Office Director (Acting)/David Burrow
              OSI/DCCE/ Division Director/Ni Khin
              OSI/DCCE/Branch Chief/Kassa Ayalew
              OSI/DCCE/Team Leader/Susan D. Thompson
              OSI/DCCE/GCP Reviewer/Lauren Iacono-Connors
              OSI/ GCP Program Analysts/Joseph Peacock/Yolanda Patague
              OSI/Database PM/Dana Walters




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     /s/
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     LAUREN C IACONO-CONNORS
     02/10/2017

     SUSAN D THOMPSON
     02/10/2017

     KASSA AYALEW
     02/10/2017




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     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                     APPLICATION NUMBER:

                         125514Orig1s014

ADMINISTRATIVE and CORRESPONDENCE
           DOCUMENTS
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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES

                                                                                  Food and Drug Administration
                                                                                  Silver Spring MD 20993


          IND 123482
                                                                                   MEETING MINUTES

          Merck Sharp and Dohme Corp.
          Attention: Nahid Latif
          Executive Director, Global Regulatory Affairs
          351 N. Sumneytown Pike
          P.O. Box 1000, UG-2C029
          North Wales, PA 19454

          Dear Ms. Latif:

          Please refer to your Investigational New Drug Application (IND) submitted under section 505(i)
          of the Federal Food, Drug, and Cosmetic Act for “Pembrolizumab (MK-3475).”

          We also refer to the meeting between representatives of your firm and the FDA on July 13, 2016.
          The purpose of the meeting was to discuss the content and format of a sBLA for the treatment of
          patients with unresectable or metastatic microsatellite instability-high (MSI-H) cancers.

          A copy of the official minutes of the meeting is enclosed for your information. Please notify us
          of any significant differences in understanding regarding the meeting outcomes.

          If you have any questions, call Sharon Sickafuse, Senior Regulatory Project Manager at
          (301) 796-1462.

                                                   Sincerely,

                                                   {See appended electronic signature page}

                                                   Leah S. Her, M.S.
                                                   Regulatory Health Project Manager
                                                   Division of Oncology Products 2
                                                   Office of Hematology and Oncology Products
                                                   Center for Drug Evaluation and Research


          Enclosure:
          Meeting Minutes




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                              FOOD AND DRUG ADMINISTRATION
                              CENTER FOR DRUG EVALUATION AND RESEARCH




                                 MEMORANDUM OF MEETING MINUTES

          Meeting Type:               Type B
          Meeting Category:           pre-sBLA

          Meeting Date and Time:      July 13, 2016 / 2:00 – 3:00 PM (EST)
          Meeting Location:           WO 21 Room 1537

          Application Number:     123482
          Product Name:           Keytruda (pembrolizumab)
          Indication:             Treatment of patients with unresectable or metastatic microsatellite
                                  instability-high (MSI-H) cancers
          Sponsor/Applicant Name: Merck Sharp and Dohme Corp. (Merck)

          Meeting Chair:              Steven Lemery
          Meeting Recorder:           Leah Her

          FDA ATTENDEES

          Martha Donoghue             Associate Director (Acting), OHOP/DOP2
          Steven Lemery               Clinical Team Lead, OHOP/DOP2
          Leigh Marcus                Clinical Reviewer, OHOP/DOP2
          Lorraine Pelosof            Clinical Reviewer, OHOP/DOP2
          Leah Her                    Regulatory Health Project Manager, OHOP/DOP2
          Jonathan Meyer              Observer (Pharmacy Student), DOP2
          Kun He                      Statistical Team Lead, OTS/OB/DBV
          Weishi (Vivian) Yuan        Statistical Reviewer, OTS/OB/DBV
          Hong Zhao                   Clinical Pharmacology Team Lead, OTS/OCP/DCPV
          Brian Furmanski             Clinical Pharmacology Reviewer, OTS/OCP/DCPV
          Donna Roscoe                Branch Chief, CDRH/OIR/DMGP/MGB
          Prakash Jha                 Medical Officer, CDRH/OIR/DMGP/MGB
          Janaki Veeraraghavan        Reviewer, CDRH/OIR/DMGP/MGB

          SPONSOR ATTENDEES

          Merck Sharp and Dohme Corp. (Merck)
          Julie Lepin              Vice President, Regulatory Affairs
          Nahid Latif              Executive Director, Regulatory Affairs
          Roger Dansey             Senior Vice President, Clinical Research
          Peter Kang               Executive Director, Clinical Research




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          Andrew Joe                   Executive Director, Clinical Research
          Scott Pruitt                 Director, Clinical Research
          Baohoang Lam                 Director, Clinical Research
          Christine Gause              Executive Director, Biostatistics
          Honghong Zhou                Director, Biostatistics
          Tomoko Freshwater            Associate Principal Scientist, Quantitative Sciences
          Lina AlJuburi                Director, Regulatory Policy
          Mary Savage                  Director, Companion Diagnostics
          Lokesh Jain                  Principal Scientist, Quantitative Pharmacology and
                                       Pharmacometrics

          Johns Hopkins Sidney Kimmel Comprehensive Cancer Center
          Luiz Diaz                 Associate Professor of Oncology


          BACKGROUND

          Regulatory History
          On May 18, 2016, Merck submitted a pre-sBLA meeting request (SDN 285) to discuss the
          format and content of a proposed sBLA for the treatment of patients with unresectable or
          metastatic microsatellite instability-high (MSI-H) cancers. The meeting package was submitted
          on June 13, 2016, as SDN 292.

          Keytruda is approved in the U.S. for the treatment of patients with unresectable or metastatic
          melanoma. FDA also granted accelerated approval to Keytruda for patients with metastatic non-
          small cell lung cancer (NSCLC) whose tumors express PD-L1, as determined by an FDA-
          approved companion diagnostic test, and who have disease progression on or after platinum-
          containing chemotherapy.

          Merck is developing pembrolizumab for the treatment of patients with MSI-H tumors under two
          INDs: 127548 for non-colorectal cancers (CRC) and 123482 for CRC. Additionally, a Type B
          meeting to discuss Study KN158 was initially held under IND 110080; however, based on FDA
          request, the study was submitted under a separate IND (127548).

          On May 12, 2015, a meeting was held between FDA and Merck under IND 123482 to discuss
          the design of Study KN164, entitled “A Phase IIB Study of Pembrolizumab (MK-3475) as
          Monotherapy in Subjects with Unresectable Locally Advanced or Metastatic Microsatellite
          Instability-High Colorectal Adenocarcinoma,” in order to support accelerated approval. During
          this meeting, FDA stated that whether Study KN164 will support accelerated approval would
          depend upon the magnitude of response observed, the duration of response, and the risk-benefit
          profile of pembrolizumab in patients with previously treated MSI-H CRC. In the meeting
          package, Merck summarized the results of Study KN016, entitled “Phase 2 study of MK-3475 in
          Patients with Microsatellite Unstable (MSI) Tumors.” Study KN016 was conducted under a
          separate IND, primarily at Johns Hopkins. During the meeting, based on the magnitude of the
          effect observed in Study KN016 in patients with MSI-H CRC, FDA recommended that Merck
          submit a request for Breakthrough Therapy Designation as an IND amendment.




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          On July 10, 2015, a meeting was held between FDA and Merck under IND 110080 to discuss the
          design of Study KNl 58, a study that was initially intended to enroll patients across ten different
          primaiy tumors based on PD-I tumor expression, microsatellite instability, or a specific gene
          expression profile signature (using Nauostring-based RNA analysis). The meeting package
          indicated that Merck would use the Promega MSI Analysis System to identify patients as MSI-H
          in Study KN158.

          On September 29, 2015, under new IND 127548, Merck requested FDA's agreement with a
          proposal to _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __(b) (4)
          On October 27, 2015, FDA responded by email that the Agency did not agree with the proposal
          based on _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _(b)_            (4) . FDA stated that au alternative to


          central testing would be required to ensure the same reagents, protocol, and result reporting are
          used at all testing sites. On Febmaiy 16, 2016, Merck submitted an amendment to IND 127548
          containing a proposal stating that MSI-H testing could be pe1fo1med using IHC or one of two
          specific PCR assays. Merck stated that the case report fo1ms would collect info1mation about
          methodology used to identify MSI-H status, including reagents, assay protocols, and results.

          Keytmda received Breakthrough Therapy Designation on October 29, 2015 for the treatment of
          MSI-H metastatic colorectal carcinoma (CRC). Merck submitted a request for Breakthrough
          Therapy Designation for the treatment of patients with MSI-H metastatic non-CRC on
          June 21 , 2016.

          Proposed Content of the sBLA
          To suppo11 the sBLA for pembrolizumab in the treatment of patients with unresectable or
          metastatic microsatellite instability-high (MSI-H) cancers, Merck proposes to submit data on
          objective response rate and duration ofresponse from at least 146 patients with MSI-H
          metastatic cancer. These include patients from the following studies:

                                                                                          Number of patients
              Study     Title
                                                                                            with MSI-H
                        Phase 2 Sn1dy ofMK-3475 in Patients with Microsatellite               CRC: 28
            KN016
                        Unstable (MSI) Tumors (Hopkins Snidv)                               Non-CRC: 30
                        Phase 2B Sn1dy of Pembrolizumab (MK-3475) in Subjects with
            KN164       Umesectable Locally Advanced or Metastatic Microsatellite                 61
                        Instabilitv-High Colorectal Adenocarcinoma
                        A Phase lB Multi-Coho1t Study of MK-3475 in Subjects with
            KN012                                                                                 6
                        Advanced Solid Tumors
                        A Phase 1B Snidy of Pembrolizumab (MK-3475) in Subjects with
            KN028                                                                                 5
                        Select Advanced Solid Tumors
                        A Clinical Trial of Pembrolizumab (MK-3475) Evaluating
            KN158       Predictive Biomarkers in Subjects with Advanced Solid Tumors          At least 16
                        A Phase 2 Clinical Trial of Pembrolizumab as Monotherapy and in
                        Combination with Cisplatin plus 5-Fluorouracil in Subjects with    TBD (MSI results
            KN059
                        RecmTent or Metastatic Gastric or Gastroesophageal Junction           pending)
                        Adenocarcinoma
            Total                                                                            At least 146




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          In the meeting package, Merck provided summa1y data from Studies KN016, KN012, and
          KN028. MSI-H status from patients in Studies KN012 (n=165) and KN028 (n=450) were
          retrospectively identified based on PCR-based MSI testing (of patients with available samples)
          using the Promega MSI Analysis System vl.2. The following table summarizes the available
          efficacy data from the three studies as described in the meeting package:

                                             KN016*                    KN012             KN028              Total
                                        CRC      Non-CRC              Non-CRC           CRC (1) I           MSI-H
          (n)
                                        (28)        (30)                   (6)         non-CRC (4)           (69)
          CR%                            11          30                     0               0                17%
          PR%                            46          23                    50              80                 39
          ORR%                           57          53                    50              80                 56
          Median DOR                    NR          NR                    NA               NA                NR
          Median follow-up (mo)
          (range)                     11 (5, 27)      11 (5, 24)      18 (1.8, 31)       20 (5, 22)
          *Investigator-assessed

          On July 6, 2016, Merck provided an update of the clinical data regarding the development
          program for MSI-H tumors. The following table summarizes the updated data. Median follow-
          up time of patients in Study KN164 is 5.4 months (range 0.2 to 8.7). The data for Study KN164
          includes both confirmed and unconfinned responses (due to shorter follow-up compared to
          Study KN016). To date, the confirmed overall response rate (ORR) per independent review
          committee (IRC) according to RECIST vl.1 is 14.8%. An estimated 56% of patients
          experienced some degree of maximum target lesion shrinkage per IRC.

                                   KN016               KN012        KN028         KN164#         KN158@        Total
                                        Non-                       CRC (1)/
                             CRC                       Non-                          CRC        Non-CRC
          (n)                           CRC                          non-                                        146
                             (28) --                  CRC (6)                        (61)         (16)
                                         (30)                      CRC (4)
          CR%                 14          30                 0         0                  0              1        10
          PR%                 36          23                50        80                 21             25        28
          ORR%                50          53                50        80                 21             31        38
          Median DOR          NR         NR                NA        NA                 NR              NA
          Median follow
          up (mo)(range)
                              11 (5, 27) 11 (5, 24) 18 (2,3 1) 20 (5, 22) 5.4 (0.2, 8.7) (2.2, 4.3)
          - confinned and !RC-assessed per RECIST (median time to response was 2.7 months); non-CRC group is based on
            investigator assessment
          # includes confinned and 1mconfirmed responses (due to shorter follow-up compru·ed to KN0 16)
          ®preliminary assessment based on unconfirmed-investigator detennination

          FDA sent Preliminaiy Comments to Merck on July 11, 2016. Merck's responses were received
          on July 12, 2016. On July 13, 2016, Merck submitted slides for review dming the meeting.




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          DISCUSSION

          1.      Does the Agency concur that a submission comprised of data from 146+ patients with
                  MSI-H cancers from 6 studies across multiple different tumor types could support
                  approval of pembrolizumab for the treatment of patients with metastatic MSI-H cancers,
                  agnostic of tissue type?

                  FDA Response: FDA agrees that, pending review of the data, the application could
                  potentially support approval of pembrolizumab for the treatment of patients with
                  metastatic MSI-H cancers, agnostic of tissue type.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s response and stated
                  that no further discussion is required during the meeting.

          2.      The Sponsor intends to submit the sBLA to support approval of pembrolizumab for the
                  treatment of patients with metastatic MSI-H cancers. Does the Agency concur with this
                  position?

                  FDA Response: FDA agrees that Merck can submit the sBLA with the proposed
                  indication; however, because the proposed effect is based on a surrogate endpoint or on a
                  clinical endpoint that can be measured earlier than irreversible morbidity or mortality and
                  because limited data will be submitted in the sBLA for certain tumor types (e.g., prostate
                  cancer), if approved, FDA may approve pembrolizumab for the treatment of MSI-H
                  cancer under the accelerated approval regulations. Furthermore, if approved, the
                  indication, including qualifications regarding prior therapy and whether any tumor
                  histology is excluded from the indication, will be determined during the review of the
                  sBLA.

                  FDA acknowledges that there may be challenges in conducting randomized trials in
                  certain groups of patients with MSI-H tumors. During the review of the sBLA, FDA will
                  consider what data would be necessary to support regular approval (e.g., data from
                  Study KN177 or confirmatory data on ORR and duration of response (DOR) in a larger
                  clinical experience).

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s response and
                  requested discussion during the meeting.

                  Discussion During the Meeting of 7/13/16: Merck proposed to submit additional data
                  from Studies KN164 (~121 patients with MSI-H CRC across two cohorts) and KN158
                  (~120 patients with non-MSI-H CRC) to support regular approval. Merck stated that
                  both studies would be fully enrolled with a minimum follow up of at least 9 months by
                  the 4th quarter of 2017. FDA stated that Merck’s approach was reasonable; however,
                  FDA will need to further consider during the review of the sBLA what data will be
                  necessary to confirm the clinical benefit of pembrolizumab in patients with MSI-H
                  advanced cancers. FDA stated that it is possible that single-arm data could confirm the
                  clinical benefit of pembrolizumab, depending on the results; however, FDA also stated




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                  that data from Study KN177 (the randomized mCRC trial) could also be used for
                  confirmation of clinical benefit.

                  FDA also stated that the Agency would be amenable to Merck providing additional data
                  from a registry study in patients with MSI-H tumors; in this case, images from
                  responding patients would need to be collected in order to facilitate independent
                  confirmation of response.

          3.      Does the Agency agree that the approach for presenting safety analyses from KN016
                  (Cohort A) and KN164 only, comparing to the combined reference safety information
                  from KN001, KN002, KN006, and KN010, will enable evaluation of the proposed sBLA?

                  FDA Response: Yes.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s response and stated
                  that no further discussion is required during the meeting.

          4.      Does the Agency agree that the contents of the proposed submission dataset package will
                  support the sBLA submission?

                  FDA Response: FDA does not object to Merck’s proposal; however FDA requests that a
                  single dataset containing all demographic and tumor response data from all patients be
                  submitted in the sBLA.

                  Additionally, provide clinical pharmacology datasets and population PK and exposure
                  response analyses including results of Study KN059 in support of the 200 mg Q3W
                  regimen in patients with MSI-H cancer. Please refer to the following guidance for
                  general expectations on submitting pharmacometrics data and models:
                  http://www.fda.gov/AboutFDA/CentersOffices/OfficeofMedicalProductsandTobacco/CD
                  ER/ucm180482.htm.

                  Finally, if Merck does not plan to include data from Study KN059 in the population PK
                  and exposure response analyses, the sBLA should provide justification for this approach.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s response and
                  requested discussion during the meeting.

                  Discussion During the Meeting of 7/13/16: Regarding Merck’s single dataset containing
                  integrated demographics and tumor response data, FDA stated that the Agency would
                  prefer to have the demographics and response data from Cohort C of Study KN016
                  integrated within the dataset. FDA stated that Merck should submit the ADaM-like
                  datasets (ADSL and ADORR) into the legacy folder. FDA will provide the location of
                  the non-CDISC dataset for submission in a subsequent communication. Merck
                  acknowledged FDA’s response.




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                  Merck proposed to submit an integrated population PK data dataset and PK analysis from
                  Studies KN164 and KN012. FDA acknowledged this proposal and stated that FDA will
                  request additional information during the review of the sBLA, if needed.

                  Merck also proposed not to submit exposure-response analyses for MSI-H patients.
                  FDA stated that specific MSI-H exposure-response analyses will not be required to file
                  the sBLA.

                  Post Meeting Addendum: Both tabulation and analysis data have a legacy folder.
                  Please place the non-CDISC tabulation datasets in the legacy folder under the tabulation
                  folder, and the non-CDISC analysis datasets in the legacy folder under the analysis
                  folder.

          OSI

          5.      Merck plans to provide site level datasets in the sBLA to aid the Office of Scientific
                  Investigation (OSI) in identifying clinical trial sites for inspections. Financial disclosure
                  information will not be included in the summary level dataset since this information is
                  sensitive and has extremely limited distribution within Merck. This information is
                  provided by a separate group within Merck and will be available within Module 1.3.4 of
                  the sBLA. Does the Agency agree that providing site level datasets with no financial
                  disclosure information will satisfy OSI requirements?

                  FDA Response: Yes.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s response and stated
                  that no further discussion is required during the meeting.

          ADDITIONAL FDA COMMENTS:

          6.      Please refer to FDA Guidance for Industry
                  (http://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidan
                  ces/ucm136174.pdf) regarding the integrated summary of safety (ISS) and integrated
                  summary of effectiveness (ISE). For this application, FDA agrees that it is acceptable for
                  the ISE and ISS to be split across Module 2 and Module 5, with the narrative portion
                  located in section 2.7.3 or 2.7.4 and any appendices of tables, figures, and datasets, as
                  appropriate, located in section 5.3.5.3. Ensure that there is a clear explanation, both in
                  Module 2 and in Module 5 of where parts of the application are located.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s comment and stated
                  that no further discussion is required during the meeting.

          7.      In the sBLA, please describe the tests that will be used to identify the subset of patients
                  with MSI-H tumors across the range of tumor types. Provide evidence that specific
                  commercial and laboratory developed tests can accurately identify MSI-H tumors




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                  regardless of primary site of origin for the purposes of patient selection and where
                  risk/benefit assessment is favorable.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s comment and stated
                  that no further discussion is required during the meeting.

           8.     Please provide a plan to provide an update of the ORR and DOR data from Studies
                  KN164, 158, and 059 during the review of the sBLA.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s comment and
                  requested discussion during the meeting.

                  Discussion During the Meeting of 7/13/16: Merck proposed not to include Study KN059
                  data in the upcoming MSI-H cancer sBLA. Merck stated that this was because MSI
                  testing was not originally planned in Study KN059; therefore, tissue was not specifically
                  allocated for testing and only a minority of patients appear to have specimens available.
                  Merck stated that they plan to retrospectively test patients that have available tumor
                  specimens and that these data will be planned for submission in a sBLA for a gastric
                  cancer indication targeted for 2017.

                  FDA acknowledged Merck’s plans and stated that data from Study KN059 would not be
                  required in order to file a sBLA in the intended indication.

                  Merck proposed to submit a Day 60 efficacy update containing ORR and DOR data from
                  Studies KN164 and KN158. FDA acknowledged and agreed with this approach.

          9.      In the sBLA, provide a discussion regarding the potential reason(s) for the discrepancies
                  in the data between Studies KN016 and KN164 and whether it is scientifically
                  appropriate to pool the data to provide an estimation of the ORR. The discussion should
                  include whether there were any differences in MSI testing (e.g., was testing in
                  Study KN016 more specific), differences in enrolled populations, and any other factors
                  deemed relevant.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s comment and stated
                  that no further discussion is required during the meeting.

                  Discussion During the Meeting of 7/13/16: FDA expressed concern that the 200 mg
                  every three week dose may be insufficient for the treatment of patients with MSI-H
                  tumors. FDA noted that the differences in response rates between studies could
                  potentially be related to differences in the dose between studies, which resulted in almost
                  a log difference in exposure (per AUC). Merck believed that the 200 mg dose (every
                  three weeks) was sufficient based on PK analyses and analyses of receptor saturation
                  from lung and melanoma studies (non-MSI-H studies) and that the differences in
                  response rates were likely due to other factors. FDA stated that the Agency would
                  consider Merck’s position and the data submitted to the sBLA when determining whether




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                  further actions are necessary to optimize the dose of pembrolizumab for the treatment of
                  patients with MSI-H cancers.

          10.     In the sBLA, provide a narrative summary of all patients who developed
                  progression/recurrence limited to the central nervous system. The summary should
                  include whether the patient had CNS imaging at baseline, what treatment the patient
                  received for the CNS metastasis, whether the patient continue to receive pembrolizumab
                  (and for how long), and any other information deemed relevant.

                  Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s comment and stated
                  that no further discussion is required during the meeting.

          PREA REQUIREMENTS

          Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for new
          active ingredients (which includes new salts and new fixed combinations), new indications, new
          dosage forms, new dosing regimens, or new routes of administration are required to contain an
          assessment of the safety and effectiveness of the product for the claimed indication(s) in
          pediatric patients unless this requirement is waived, deferred, or inapplicable.

          Please be advised that under the Food and Drug Administration Safety and Innovation Act
          (FDASIA), you must submit an Initial Pediatric Study Plan (iPSP) no later than 210 calendar
          days before submission of the sBLA. The PSP must contain an outline of the pediatric study or
          studies that you plan to conduct (including, to the extent practicable study objectives and design,
          age groups, relevant endpoints, and statistical approach); any request for a deferral, partial
          waiver, or waiver, if applicable, along with any supporting documentation, and any previously
          negotiated pediatric plans with other regulatory authorities. The PSP should be submitted in
          PDF and Word format. Failure to include an agreed iPSP with a marketing application could
          result in a refuse to file action.

          We acknowledge your November 30, 2015, Agreed iPSP for the treatment of colorectal cancer.
          Unless you have Orphan Drug Designation at the time of sBLA submission for the other
          indications, you will need to submit iPSPs for these indications; however, at this time, FDA is
          determining the type and scope of the iPSP that will need to be submitted [i.e., whether Merck
          should conduct study(ies) in pediatric patients with MSI-H tumors (agnostically) versus whether
          the scope would involve requests for studies (or waivers) of individual tumor types].

          For additional guidance on the timing, content, and submission of the PSP, including a PSP
          Template, please refer to the draft guidance for industry, Pediatric Study Plans: Content of and
          Process for Submitting Initial Pediatric Study Plans and Amended Pediatric Study Plans at:
          http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/U
          CM360507.pdf. In addition, you may contact the Division of Pediatric and Maternal Health at
          301-796-2200 or email pdit@fda.hhs.gov. For further guidance on pediatric product
          development, please refer to:
          http://www.fda.gov/Drugs/DevelopmentApprovalProcess/DevelopmentResources/ucm049867.ht
          m.




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          Merck’s Emailed Response of 7/12/16: Merck acknowledged FDA’s comment and stated that no
          further discussion is required during the meeting. Merck will await further guidance as to the
          type and scope of iPSP that will need to be submitted, for the sBLA submission for MSI-H
          cancers.

          PRESCRIBING INFORMATION

          In your application, you must submit proposed prescribing information (PI) that conforms to the
          content and format regulations found at 21 CFR 201.56(a) and (d) and 201.57 including the
          Pregnancy and Lactation Labeling Rule (PLLR) (for applications submitted on or after June 30,
          2015). As you develop your proposed PI, we encourage you to review the labeling review
          resources on the PLR Requirements for Prescribing Information and Pregnancy and Lactation
          Labeling Final Rule websites, which include:

                 The Final Rule (Physician Labeling Rule) on the content and format of the PI for human
                  drug and biological products.
                 The Final Rule (Pregnancy and Lactation Labeling Rule) on the content and format of
                  information related to pregnancy, lactation, and females and males of reproductive
                  potential.
                 Regulations and related guidance documents.
                 A sample tool illustrating the format for Highlights and Contents, and
                 The Selected Requirements for Prescribing Information (SRPI) − a checklist of
                  important format items from labeling regulations and guidances.
                 FDA’s established pharmacologic class (EPC) text phrases for inclusion in the
                  Highlights Indications and Usage heading.

          The application should include a review and summary of the available published literature
          regarding drug use in pregnant and lactating women, a review and summary of reports from your
          pharmacovigilance database, and an interim or final report of an ongoing or closed pregnancy
          registry (if applicable), which should be located in Module 1. Refer to the draft guidance for
          industry – Pregnancy, Lactation, and Reproductive Potential: Labeling for Human Prescription
          Drug and Biological Products – Content and Format
          (http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/
          UCM425398.pdf).

          Prior to submission of your proposed PI, use the SRPI checklist to ensure conformance with the
          format items in regulations and guidances.




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          Office of Scientific Investigations (OSI) Requests

          The Office of Scientific Investigations (OSI) requests that the following items be provided to
          facilitate development of clinical investigator and sponsor/monitor/CRO inspection assignments,
          and the background packages that are sent with those assignments to the FDA field investigators
          who conduct those inspections (Item I and II). This information is requested for all major trials
          used to support safety and efficacy in the application (i.e., phase 2/3 pivotal trials). Please note
          that if the requested items are provided elsewhere in submission in the format described, the
          Applicant can describe location or provide a link to the requested information.

          The dataset that is requested in Item III below is for use in a clinical site selection model that is
          being piloted in CDER. Electronic submission of the site level dataset is voluntary and is
          intended to facilitate the timely selection of appropriate clinical sites for FDA inspection as part
          of the application and/or supplement review process.
          This request also provides instructions for where OSI requested items should be placed within an
          eCTD submission (Attachment 1, Technical Instructions: Submitting Bioresearch Monitoring
          (BIMO) Clinical Data in eCTD Format).

          I. Request for general study related information and comprehensive clinical investigator
             information (if items are provided elsewhere in submission, describe location or provide
             link to requested information).

              1. Please include the following information in a tabular format in the original NDA for each
                 of the completed pivotal clinical trials:
                 a. Site number
                 b. Principal investigator
                 c. Site Location: Address (e.g., Street, City, State, Country) and contact information
                     (i.e., phone, fax, email)
                 d. Location of Principal Investigator: Address (e.g., Street, City, State, and Country) and
                     contact information (i.e., phone, fax, email). If the Applicant is aware of changes to a
                     clinical investigator’s site address or contact information since the time of the clinical
                     investigator’s participation in the study, we request that this updated information also
                     be provided.

              2. Please include the following information in a tabular format, by site, in the original NDA
                 for each of the completed pivotal clinical trials:
                 a. Number of subjects screened at each site
                 b. Number of subjects randomized at each site
                 c. Number of subjects treated who prematurely discontinued for each site by site

              3. Please include the following information in a tabular format in the NDA for each of the
                 completed pivotal clinical trials:
                 a. Location at which sponsor trial documentation is maintained (e.g., , monitoring plans
                    and reports, training records, data management plans, drug accountability records,
                    IND safety reports, or other sponsor records as described ICH E6, Section 8). This is




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                      the actual physical site(s) where documents are maintained and would be available for
                      inspection
                   b. Name, address and contact information of all Contract Research Organization (CROs)
                      used in the conduct of the clinical trials and brief statement of trial related functions
                      transferred to them. If this information has been submitted in eCTD format
                      previously (e.g., as an addendum to a Form FDA 1571, you may identify the
                      location(s) and/or provide link(s) to information previously provided.
                   c. The location at which trial documentation and records generated by the CROs with
                      respect to their roles and responsibilities in conduct of respective studies is
                      maintained. As above, this is the actual physical site where documents would be
                      available for inspection.

                4. For each pivotal trial, provide a sample annotated Case Report Form (or identify the
                   location and/or provide a link if provided elsewhere in the submission).
                5. For each pivotal trial provide original protocol and all amendments ((or identify the
                   location and/or provide a link if provided elsewhere in the submission).


          II.    Request for Subject Level Data Listings by Site

                1. For each pivotal trial: Site-specific individual subject data listings (hereafter referred to as
                   “line listings”). For each site, provide line listings for:
                   a. Listing for each subject consented/enrolled; for subjects who were not randomized to
                       treatment and/or treated with study therapy, include reason not randomized and/or
                       treated
                   b. Subject listing for treatment assignment (randomization)
                   c. Listing of subjects that discontinued from study treatment and subjects that
                       discontinued from the study completely (i.e., withdrew consent) with date and reason
                       discontinued
                   d. Listing of per protocol subjects/ non-per protocol subjects and reason not per protocol
                   e. By subject listing of eligibility determination (i.e., inclusion and exclusion criteria)
                   f. By subject listing, of AEs, SAEs, deaths and dates
                   g. By subject listing of protocol violations and/or deviations reported in the NDA,
                       including a description of the deviation/violation
                   h. By subject listing of the primary and secondary endpoint efficacy parameters or
                       events. For derived or calculated endpoints, provide the raw data listings used to
                       generate the derived/calculated endpoint.
                   i. By subject listing of concomitant medications (as appropriate to the pivotal clinical
                       trials)
                   j. By subject listing, of testing (e.g., laboratory, ECG) performed for safety monitoring

                2. We request that one PDF file be created for each pivotal Phase 2 and Phase 3 study using
                   the following format:




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                                    I!] Listing "a· (For example: Enrollment )
                                    ~ Listing "b'
                                    !!J Listing "c'
                                    !!] Listing "d'
                                    I!] Listing "e·
                                    I!] Listing "f '
                                    !!J Li sting "g •
                                    !!] etc.
                                    I!] etc.
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                              I!]
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                            :±1 ~ SITE fY




          III. Request for Site Level Dataset:

          OSI is piloting a risk based model for site selection. Voluntary electronic submission of site
          level datasets is intended to facilitate the timely selection of appropriate clinical sites for FDA
          inspection as part of the application and/or supplement review process. If you wish to
          voluntarily provide a dataset, please refer to the draft Guidance for Industry Providing
          Submissions in Electronic Format – Summary Level Clinical Site Data for CDER’s Inspection
          Planning” (available at the following link
          http://www.fda.gov/downloads/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequire
          ments/UCM332468.pdf ) for the structure and format of this data set.




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          Attachment 1
                                                Technical Instructions:
                        Submitting Bioresearch Monitoring (BIMO) Clinical Data in eCTD Format


                A. Data submitted for OSI review belongs in Module 5 of the eCTD. For items I and II in
                   the chart below, the files should be linked into the Study Tagging File (STF) for each
                   study. Leaf titles for this data should be named “BIMO [list study ID, followed by brief
                   description of file being submitted].” In addition, a BIMO STF should be constructed
                   and placed in Module 5.3.5.4, Other Study reports and related information. The study ID
                   for this STF should be “bimo.” Files for items I, II and III below should be linked into
                   this BIMO STF, using file tags indicated below. The item III site-level dataset filename
                   should be “clinsite.xpt.”

              DSI Pre-               STF File Tag                               Used For                Allowable
               NDA                                                                                         File
              Request                                                                                   Formats
               Item1
                  I          data-listing-dataset                  Data listings, by study             .pdf
                  I          annotated-crf                         Sample annotated case               .pdf
                                                                   report form, by study
                   II        data-listing-dataset                  Data listings, by study             .pdf
                                                                   (Line listings, by site)
                  III        data-listing-dataset                  Site-level datasets, across         .xpt
                                                                   studies
                  III        data-listing-data-definition          Define file                         .pdf

                B. In addition, within the directory structure, the item III site-level dataset should be placed
                   in the M5 folder as follows:

                                                         ··to [m5]
                                                             ··to datasets
                                                              ' . e, bimo
                                                                   L... e, site-level



                C. It is recommended, but not required, that a Reviewer’s Guide in PDF format be included.
                   If this Guide is included, it should be included in the BIMO STF. The leaf title should be
                   “BIMO Reviewer Guide.” The guide should contain a description of the BIMO elements
                   being submitted with hyperlinks to those elements in Module 5.




          1
              Please see the OSI Pre-NDA/BLA Request document for a full description of requested data files




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          References:

          eCTD Backbone Specification for Study Tagging Files v. 2.6.1
          (http://www.fda.gov/downloads/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequire
          ments/ElectronicSubmissions/UCM163560.pdf)

          FDA eCTD web page
          (http://www.fda.gov/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequirements/Elect
          ronicSubmissions/ucm153574.htm)

          For general help with eCTD submissions: ESUB@fda.hhs.gov


          ISSUES REQUIRING FURTHER DISCUSSION

          None

          ACTION ITEMS

             Action Item/Description                Owner                  Due Date
          Location of the non-CDISC         FDA                 Refer to the Post Meeting
          dataset for submission in the                         Addendum under Question 4.
          sBLA.
          Proposal for MSI testing          Merck               Prior to sBLA
          methodology
          Determination of the type and     FDA                 Prior to sBLA
          scope of an initial Pediatric
          Study Plan (iPSP) needed to
          support this sBLA indication

          ATTACHMENTS AND HANDOUTS

                 Final MSI-H slides for FDA 13 JUL 2016.pptx




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                            MK‐3475 Pembrolizumab
                        Pre sBLA – MSI‐H Cancer Meeting


                                                                         July 13 2016




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                        Focus of Meeting Discussion
            •    Merck appreciates the thorough review and considered feedback to our briefing document
                 and the questions we posed.
            •    Responses to Questions 1, 3 and 5, are acknowledged with no further discussion required.
            •    Additional FDA comments 6, 9 and 10, are acknowledged with no further discussion required.
            •    Merck would like to discuss the following topics
                  – Question 2, discussion regarding data to support regular approval
                  – Question 4, clarification regarding request that a single dataset containing all
                      demographic and tumor response data from all patients be submitted in the sBLA
                  – Comment 8, discussion regarding request to provide a plan to provide an update of the
                      ORR and DOR data from studies during the review of the sBLA
                  – Question 4, discussion regarding request to provide clinical pharmacology datasets and
                      population PK and exposure response analyses
            •    Regarding PREA requirements, Merck acknowledges the Agency’s response, and will await
                 further guidance as to the type and scope of iPSP that will need to be submitted for the sBLA
                 submission for MSI‐H cancers.
            •    Regarding comment 7, Merck intends to return to FDA with a proposal regarding
                 methodology of MSI testing

            2


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                                                    Agenda
                Topic                                                                                       Time

                Introductions

                Question 2

                Discussion regarding data to support regular approval                              5 min


                Question 4

                Clarification regarding request that a single dataset containing all demographic   15 min
                and tumor response data from all patients be submitted in the sBLA

                Discussion regarding request to provide clinical pharmacology datasets and         15 min
                population PK and exposure response analyses


                Question 8

                Discussion regard ing request to provide a plan to provide an update of the ORR    15 min
                and DOR data from studies during the review of the sBLA




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                                                 Question 2

           During review of the sBLA, FDA will consider what data would be
           necessary to support regular approval (e.g. data from KN177 or
           confirmatory data on ORR and DOR in a larger clinical
           experience).
                  – Merck proposes that the following studies, fully enrolled with
                    sufficient follow up (9m min by Q4 2017), will provide confirmatory
                    data required to support regular approval:
                        • KN164 Cohort B (~60 MSI‐H CRC patients)
                        • KN164 Cohort A (61 MSI‐H CRC patients)
                        • KN158 (~120 MSI‐H non CRC patients)




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                                Update KN059 Status
            • Upon further evaluation of MSI testing, Merck
              proposes to not include KN059 data in the MSI‐H
              cancer sBLA
            • As MSI testing was not originally planned, tissue
              was not specifically allocated for testing and only
              a minority of patients appear to have specimens
              available
            • KN059 is a key study within the gastric cancer
              development program, and will be included in an
              upcoming sBLA submission


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                                                 Question 4
            FDA does not object to Merck’s proposal for the contents of
            the proposed submission dataset package; however FDA
            requests that a single dataset containing all demographic
            and tumor response data from all patients be submitted in
            the sBLA.

            • Merck proposes to submit the following tables, listings,
              and figures pooled across MSI‐H subjects that represent
              a single summary in the sBLA
                   – Demographics (KN16‐A, KN164, KN012, KN028, KN158)
                   – ORR and DOR
                        • Centrally reviewed (IRC): KN16‐A, KN164, KN16‐C, KN012, KN028
                        • Site reviewed: KN16‐A, KN164, KN012, KN028, KN158 (confirmed and
                          unconfirmed)
                   – Swimlane plots of responders



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                                  Question 4 - Initial sBLA
            •    Merck would like clarification as to whether SAS datasets are required containing
                 all demographic and tumor response data
            •    Merck can provide the following ADaM-like analysis datasets across multiple
                 studies for demographics and efficacy

           Dataset                        IRC or        KN16-A   KN164       KN16-C          KN012       KN028 KN158
                                          Site          (N=28)   (N=61)      (N=30)          (N=6)       (N=S) (N=19)
                                                    -                              *
                                                                                            -        - -      --
           Demographics (ADSL)
                                         1 --             X          X                           X         X     X
                                                                                                                        I
           Response (ADORR)

             RECIST 1.1 ORR               IRC             X          X             X             X         X

                DOR RECIST 1.1            IRC             X          X             X             X         X
             RECIST 1.1 ORR               Site            X          X             *             X         X     X
                                                                                     -
                DOR RECIST 1.1            Site            X          X             *             X         X     X
                                                                                            -
            Confirmed and                 IRC             X          X             X             X         X
           Unconfirmed ORR
            Confirmed and                 Site            X          X             *             X         X     X
           Unconfirmed ORR
                   * Directly from JHU
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                                                  Comment 8
           Please provide a plan to provide an update of the ORR and DOR data from
           studies KN164, 158 and 059 during review of this sBLA.

           •     Merck proposes to provide an efficacy (ORR and DOR) update at day 60
                 following submission, which will comprise of the following additional
                 information

           •     KN164, N=61
                  – 27 wk FU
                  – Efficacy (Central Review)
                  – Update report

           •     KN158, N=16 Group K + 3 Group D (endometrial)
                  – 18 wk FU
                  – Efficacy (Central Review)
                  – Update report


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                  Question 4 - Data Provided for Efficacy Update
              •    Merck can provide the following single ADaM-like analysis datasets
                   across multiple studies for demographics and efficacy update at Day 60
              Dataset                    IRC or        KN16-A         KN164    KN16-C     KN012       KN028           KN158
                                         Site          (N=28)*        (N=61)   (N=30)*    (N=6)       (N=S)           (N=19)
          -                          --           --             --                   --          --              --

              Demographics (ADSL)        --              X              X         X           X           X             X
                                                                                                                                I
              Response (ADORR)
                                                   -                                  -   -       -   -       -   -         -
               RECIST 1.1 ORR            IRC             X              X         X           X           X             X

                  DOR RECIST 1.1         IRC             X              X         X           X           X             X
               RECIST 1.1 ORR            Site            X              X         X           X           X             X
                  DOR RECIST 1.1         Site            X              X         X           X           X             X

               Confirmed and             IRC             X              X         X           X           X             X
              Unconfirmed ORR
               Confirmed and             Site            X              X         X           X           X             X
              Unconfirmed ORR
          * Data cutoff will be the same as for sBLA, data for Cohort C will be converted from JHU format into
         ADaM-like format

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                                                     Question 4:
         •     Additionally, provide clinical pharmacology datasets and population PK and
               exposure response analyses including results of study KN059 in support of the
               200 mg Q3W regimen in patients with MSI‐H cancer.

         Merck Response for Population PK:
         • The PK data available at the time of sBLA submission will be provided as an
           integrated population PK dataset along with the population PK analysis
           report.
                 –      KN164 (N=61) at 200 mg Q3W
                 –      KN012 (N=6) at 10 mg/kg Q2W
                 –      No PK data were collected from KN016 and KN028 evaluating 10 mg/kg Q2W
                 –      Propose to not include data from KN158 (N=19) at 200 mg, since we have a sufficient
                        number of PK observations from KN164 at 200 mg Q3W to evaluate PK
                          • If needed, can be provided at day 60 efficacy update




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                                     Question 4 (cont’d):
         Merck Response (cont’d) for Exposure‐Response:
         • Merck does not plan to conduct exposure‐response analysis for MSI‐H
           patients
             Anti‐tumor effect of pembrolizumab is driven through immune system
               activation and not direct binding to cancer cells; therefore, the shape of
               the exposure‐response relationship among indications is expected to be
               similar
             Available PK data show that PK in patients with MSI‐H is consistent with
               PK in other indications
             No indication of differences in target engagement between MSI‐H and
               MEL/NSCLC based on similarity of clearance values
             If conducted, exposure‐response analysis will be confounded and
               results will be difficult to interpret
                 • Available PK data are from a small number of subjects
                 • Majority of PK data are at 200 mg Q3W dose



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       Pharmacokinetics of Pembrolizumab in Various Indications is
       Similar Including MSI-H Population
             Exposures for 200 mg Q3W are contained within the range of exposures shown to have
              similar efficacy and safety and are associated with maximal efficacy for MEL and NSCLC
             Observed concentrations in CRC patients at 200 mg Q3W in MSI-H are similar to other
              indications
                                                   30000

                                                   20000

                                                                     •
                              Pembrolizumab AUC




                                                                                                                               Therapeutic window
                                                  10000
                                 (mcg*day/mL)




                                                    7000

                                                    5000                     •
                                                    3000             •
                                                    2000



                                                  1000
                                                    700                                                                   -   +-
                                                    500                                               - -
                                                           2 mg/kg 10 mg/kg 10 mg/kg                  Observed 200 mg
                                                            Q3W      Q3W      Q2W                          Q3W

                                                                    Weight-based doses in melanoma and NSCLC trials
                                                                    Observed AUCs from KN055 head and neck trial (N=47)
                                                                    Observed AUCs from KN024 NSCLC trial (N=152)
                                                                    Observed AUCs from KN164 MSI-H CRC trial (N=59)


                   Horizontal dashed lines represent the range of exposures (5th percentile of 2 mg/kg Q3W and 95th percentile of 10 mg/kg
                   Q2W) from dose regimens demonstrated to have comparable efficacy and tolerability in melanoma and NSCLC trials.

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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
     LEAH S HER
     07/22/2016




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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES

                                                                                  Food and Drug Administration
                                                                                  Silver Spring MD 20993


          IND 123482
                                                                                   MEETING MINUTES

          Merck Sharp and Dohme Corporation
          Attention: Chandrika Kumar, Ph.D.
          Director, Global Regulatory Affairs
          126 East Lincoln Ave.
          RY 34-B212
          Rahway, NJ 07065

          Dear Dr. Kumar:

          Please refer to your Investigational New Drug Application (IND) submitted under section 505(i)
          of the Federal Food, Drug, and Cosmetic Act for “Pembrolizumab (MK3475).”

          We also refer to the meeting between representatives of your firm and the FDA on May 12,
          2015. The purpose of the meeting was to discuss a proposed Phase 2 study, Protocol KEYNOTE
          (KN)-164 entitled “A Phase IIB Study of Pembrolizumab (MK-3475) as Monotherapy in
          Subjects with Unresectable Locally Advanced or Metastatic Microsatellite Instability-High
          Colorectal Adenocarcinoma.”

          A copy of the official minutes of the meeting is enclosed for your information. Please notify us
          of any significant differences in understanding regarding the meeting outcomes.

          If you have any questions, please call me at (301) 796-5890.

                                                   Sincerely,

                                                   {See appended electronic signature page}

                                                   Tina M. Ennis, M.S.
                                                   Regulatory Health Project Manager
                                                   Division of Oncology Products 2
                                                   Office of Hematology and Oncology Products
                                                   Center for Drug Evaluation and Research


          Enclosure:
          Meeting Minutes




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                              FOOD AND DRUG ADMINISTRATION
                              CENTER FOR DRUG EVALUATION AND RESEARCH




                                 MEMORANDUM OF MEETING MINUTES

          Meeting Type:               Type B
          Meeting Category:           Single-Arm Clinical Trial to Support Accelerated Approval

          Meeting Date and Time:      Tuesday, May 12, 2015, 1:00 PM - 2:00 PM
          Meeting Location:           10903 New Hampshire Avenue
                                      White Oak Building 21, Conference Room: 1537
                                      Silver Spring, Maryland 20903

          Application Number:         123482
          Product Name:               Pembrolizumab
                                                                                              (b) (4)
          Indication:


          Sponsor/Applicant Name: Merck Sharp & Dohme Corp. (Merck)

          Meeting Chair:              Joseph Gootenberg, M.D.
          Meeting Recorder:           Tina Ennis, M.S.

          FDA ATTENDEES
          Center for Drug Evaluation and Research
          Office of Hematology and Oncology Products
          Division of Oncology Products 2
          Joseph Gootenberg, M.D.                 Division Deputy Director
          Steven Lemery, M.D., M.H.S.             Medical Officer Team Lead
          Leigh Marcus, M.D.                      Medical Officer
          Jeanne Fourie Zirkelbach, Pharm.D.      Clinical Pharmacology Team Lead
          Elimika Pfuma, Ph.D.                    Clinical Pharmacology Reviewer
          Kun He, Ph.D.                           Biometrics Team Lead
          Weishi (Vivian) Yuan, Ph.D.             Biometrics Reviewer
          Sharon Sickafuse, M.S.                  Senior Regulatory Health Project Manager
          Tina Ennis, M.S.                        Regulatory Health Project Manager

          Center for Devices and Radiological Health
          Office of In Vitro Diagnostics and Radiological Health
          Division of Molecular Genetics and Pathology
          Elizabeth Mansfield                         Director
          Robert Becker                               Medical Officer Team Lead




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          Merck Sharp and Dohme Corp.
          Joseph Arena Ph.D                            Vice President, Regulatory Affairs
          Chandrika Kumar Ph.D.                        Director, Regulatory Affairs
          Koshiji Minori M.D., Ph.D.                   Executive Director, Clinical Research Oncology
          Roger Dansey M.D.                            Senior Vice President, Oncology
          Linda Sun Ph.D.                              Senior Principal Scientist, Biostatistics
          Anna Georgieva Kondic, Ph.D., MBA            Oncology TA Lead, Quantitative Pharmacology and
                                                       Pharmacometrics
          Tomoko Freshwater Ph.D.                      Associate Principal Scientist
                                                       Quantitative Sciences, PPDM
          Mary Savage Ph.D.                            Senior Principal Scientist
                                                       Molecular Biomarkers and Diagnostics
          Siddhartha Mathur, MBS                       Principal Scientist, Regulatory Affairs

          INTRODUCTION

          This material consists of our preliminary responses to your questions and any additional
          comments in preparation for the discussion at the meeting scheduled for May 12, 2015,
          between Merck and the Division of Oncology Products 2. We are sharing this material to
          promote a collaborative and successful discussion at the meeting. The meeting minutes
          will reflect agreements, important issues, and any action items discussed during the
          meeting and may not be identical to these preliminary comments following substantive
          discussion at the meeting. However, if these answers and comments are clear to you and
          you determine that further discussion is not required, you have the option of cancelling the
          meeting (contact the regulatory project manager (RPM)). If you choose to cancel the
          meeting, this document will represent the official record of the meeting. If you determine
          that discussion is needed for only some of the original questions, you have the option of
          reducing the agenda and/or changing the format of the meeting (e.g., from face to face to
          teleconference). It is important to remember that some meetings, particularly milestone
          meetings, can be valuable even if the pre-meeting communications are considered
          sufficient to answer the questions. Contact the RPM if there are any major changes to your
          development plan, the purpose of the meeting, or the questions based on our preliminary
          responses, as we may not be prepared to discuss or reach agreement on such changes at the
          meeting.

          FDA sent Preliminary Comments to Merck on May 6, 2015. Merck submitted a response via
          email on May 8, 2015.

          BACKGROUND

          Regulatory:

          On March 18, 2015, Merck submitted a meeting request (SDN 95) to discuss Protocol
          KEYNOTE (KN)-164 entitled “A Phase IIB Study of Pembrolizumab (MK-3475) as
          Monotherapy in Subjects with Unresectable Locally Advanced or Metastatic Microsatellite
          Instability-High Colorectal Adenocarcinoma” to support accelerated approval. The meeting
          background package was received on April 13, 2015, as SDN 127.



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          Pembrolizumab received marketing approval in the U.S. on September 4, 2014, for the treatment
          of patients with unresectable or metastatic melanoma and disease progression following
          ipilimumab and, if BRAF V600 mutation positive, a BRAF inhibitor. Pembrolizumab is also
          under development as a treatment for patients with NSCLC, gastric cancer, head and neck
          cancer, and other malignancies.

          Clinical:

          In the meeting package, Merck summarized the results of study KN016 entitled a “Phase 2 Study
          of MK-3475 in Patients with Microsatellite Unstable (MSI) Tumors” that accrued 41 patients
          with microsatellite instability-high (MSI-H) colorectal cancer (CRC) (n=11), microsatellite
          instability-stable (MSI-S) CRC (n=21), and MSI-H non-CRC (n=9). All but 1 patient received >
          2 chemotherapy regimens (median = 4). Patients in KN016 received 10 mg/kg pembrolizumab
          every two weeks and response was assessed using both RECIST v1.1 and immune-related
          response criteria (irRC). Six patients (1 with MSI-H CRC, 3 with MSI-S CRC, and 2 with
          MSI-H non-CRC) were not included in the response assessment because they discontinued prior
          to evaluation. The meeting package stated that 4 of 10 (40%) patients with MSI-H CRC and 5 of
          7 patients with MSI-H non-CRC (71%) had a response. No responses were observed among 18
          evaluable patients with MSI-S CRC. The meeting package stated that the median duration of
          response has not yet been reached; however, the duration of follow-up for response was not
          reported.

          KEYNOTE-164
          KEYNOTE-164 is a single arm, open-label, multi-site trial of pembrolizumab to be conducted in
          patients with previously-treated locally advanced unresectable or metastatic (Stage IV) MSI-H
          CRC. Approximately 60 patients with MSI-H CRC will receive single agent pembrolizumab,
          200 mg as an intravenous infusion every 3 weeks.

          To be eligible for KEYNOTE-164, patients are required to have measurable disease per RECIST
          1.1 and to have been previously treated with at least two lines of approved standard therapies,
          including a fluoropyrimidine, oxaliplatin, irinotecan, bevacizumab, and cetuximab or
          panitumumab (if KRAS wild type). Patients also will be required to provide an archival or
          newly obtained tumor sample and a blood sample for central laboratory evaluation and
          confirmation of MSI-high status.

          The primary objective of this trial is to determine the overall response rate (ORR) per RECIST of
          pembrolizumab administered as monotherapy. Beginning with screening, all imaging
          assessments will be submitted for central imaging vendor review and will be evaluated using
          RECIST 1.1 for determination of eligibility and assessment of response. Imaging assessments
          will be performed every 9 weeks.

          Patients will continue to receive pembrolizumab until progressive disease, unacceptable adverse
          events, intercurrent illness that prevents further administration of pembrolizumab, investigator’s
          decision to withdraw the patient, withdrawal of consent, pregnancy, noncompliance with trial




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          treatment or procedure requirements, administrative reasons, or the patient has received 35 doses
          of pembrolizumab.

          The proposed sample size of 60 patients will provide for 92% power with a one sided type I error
          rate of 2.5% to reject the null hypothesis of an ORR of 10% assuming the true ORR is 27%.

          Determination of MSI-H Status:
          MSI-H status will be confirmed by Merck and determined by comparing CRC tumor DNA
          allelic profiles of microsatellite markers with normal DNA using a PCR-based assay followed by
          capillary electrophoresis. The meeting package stated that patients will be assessed using the
          MSI Analysis System using fluorescently labeled primers for co-amplification of seven markers,
          including five nearly monomorphic mononucleotide repeat markers and two highly polymorphic
          pentanucleotide repeat markers. At least two MSI loci are required to be evaluable and greater
          than 2 loci will need to be abnormal to consider a patient as having MSI-H CRC.

          SPONSOR QUESTIONS AND FDA RESPONSES

          Clinical

          Background for Question 1:

          To be eligible for pembrolizumab as monotherapy, previously treated subjects must meet the key
          inclusion criteria listed below:

                    Have a histologically proven locally advanced unresectable or metastatic CRC (Stage
                     IV).
                    Confirmed MSI-H CRC by the sponsor.
                     Had been previously treated with at least two lines of approved standard therapies,
                     which must include fluoropyrimidine, oxaliplatin, irinotecan, bevacizumab and
                     cetuximab or panitumumab (if KRAS wild type), if approved in the respective
                     country. Subjects who have withdrawn from standard treatment due to
                     unacceptable toxicity warranting discontinuation of treatment and precluding
                     retreatment with the same agent before progression of disease will also be eligible.
                    Must have an ECOG performance status of 0 or 1.
                    Have at least one measureable lesion by RECIST v1.1 for response assessment.

          1.       Does the Agency agree that the key patient eligibility criteria for the previously treated
                   MSI- H CRC patient population proposed below define a population with significant
                   unmet medical need and that the results of the proposed single-arm study could be
                   considered as a basis for accelerated approval in this population?

                   FDA Response:
                   The meeting package contained insufficient information for FDA to answer the question
                   on unmet medical need because Merck did not address all available therapies in the
                   position statement regarding Question #1. Nevertheless, because the response rate of
                   regorafenib is approximately 1%, Merck can make a reasonable argument in support of




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                  accelerated approval that pembrolizumab is better than available therapy based on the
                  results of a single arm study if a response rate of a sufficient magnitude (and with a
                  sufficient duration) is observed in the proposed patient population.

                  Merck Response Received Via Email on May 8, 2015:
                  Merck accepts the Agency’s input on the proposed single arm study to support
                  accelerated approval and no further discussion is needed at the F2F meeting.

          2.


                 -KN164 to support consideration for accelerated approval in previously treated
                             metastatic MSI-H-CRC?

                  FDA Response:
                  No. Study KN164 is designed to only rule out a 10% response rate. FDA recommends
                                                                                                  -
                  Does the Agency agree with the proposed study design and statistical analysis plan of
                                                                                                   (b) (4)




                  that Merck power the study to rule out a higher (e.g., at least 15%) lower bound of the
                  95% confidence interval of the response rate. Ultimately, whether KN164 will support
                  accelerated approval depends upon the actual magnitude of response observed, the
                  duration of response, and the risk-benefit profile when pembrolizumab is administered to
                  patients with previously treated MSI-H mCRC.

                  Merck Response Received Via Email on May 8, 2015:
                  Merck acknowledges Agency’s recommendation and agrees to design the study to rule
                  out a response rate of 15%.

                  Discussion During the Meeting:
                  Merck proposed to conduct an interim analysis when 40 patients have been enrolled and
                  followed for at least 18 weeks. FDA recommended that Merck submit a meeting request
                  to discuss results from the planned interim analysis.

                  FDA requested Merck submit a revised protocol.
                                                                                                             (b) (4)




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          FDA ADDITIONAL CLINICAL COMMENTS

          4.      FDA would not object to Merck revising the eligibility criteria to exclude patients who
                  have received a monoclonal antibody within two weeks (rather than 4 weeks).

                  Merck Response Received Via Email on May 8, 2015:
                  Merck agrees to revise the eligibility criteria accordingly.

          5.      In the informed consent document, describe available therapies (e.g., regorafenib) that
                  patients would be willing to forgo in order to enroll into the trial.

                  Merck Response Received Via Email on May 8, 2015:
                  Merck acknowledges Agency’s comment and agrees to provide available therapy
                  information for inclusion in the ICF. No further discussion is required at the F2F
                  meeting.

          6.      FDA recommends that Merck consider allowing patients with HIV on highly active
                  antiretroviral therapy and an intact immune system to enroll into the clinical trial.

                  Merck Response Received Via Email on May 8, 2015:
                  Merck acknowledges Agency’s comment and will take this into consideration. No
                  further discussion required at the F2F meeting.

          7.      FDA recommends that Merck consider enrolling a cohort of patients with MSI-H small
                  intestinal cancer.




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                  Merck Response Received Via Email on May 8, 2015:
                  Merck acknowledges Agency’s recommendation and would like to discuss this further at
                  the F2F meeting to get better understanding of the recommendation.

                  Discussion During the Meeting:
                  Rather than include patients in an “umbrella protocol,” FDA encouraged Merck to
                  enroll patients with MSI-H small intestinal cancer and other gastrointestinal
                  malignancies in a dedicated protocol in order to expedite development of
                  pembrolizumab for these patient populations.

          8.      FDA recommends that Merck test tumor samples for BRAF V600E mutations in
                  addition to MSI-high status.

                  Merck Response Received Via Email on May 8, 2015:
                  Merck acknowledges the Agency’s comment and will take this into consideration. No
                  further discussion required at the F2F meeting.

          ADDITIONAL SPONSOR QUESTION NOT CONVEYED IN MEETING PACKAGE:

          9.      Merck requests feedback from the Agency whether the data from MSI-H CRC trial
                  “Phase 2 Study of MK-3475 in Patients with Microsatellite Unstable (MSI) Tumors”
                  (KN016) would be sufficient to support the submission of a breakthrough therapy
                  designation application for MSI-H CRC. The clinical activity data is provided in section
                  5.2.4.2 of the briefing package and Merck plans to share data update at the F2F meeting.

                  Discussion During the Meeting:
                  FDA recommended that Merck submit a request for Breakthrough Therapy (BT)
                  designation as an IND amendment. FDA would further discuss the proposal internally in
                  order to determine whether to grant the request. FDA recommended that the BT request
                  include the results from an independent review of responses.

          PREA REQUIREMENTS
          Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for new
          active ingredients, new indications, new dosage forms, new dosing regimens, or new routes of
          administration are required to contain an assessment of the safety and effectiveness of the
          product for the claimed indication(s) in pediatric patients unless this requirement is waived,
          deferred, or inapplicable.

          Please be advised that under the Food and Drug Administration Safety and Innovation Act
          (FDASIA), you must submit an Initial Pediatric Study Plan (iPSP) within 60 days of an End of
          Phase (EOP2) meeting. In the absence of an End-of-Phase 2 meeting, refer to the draft guidance
          below. The PSP must contain an outline of the pediatric study or studies that you plan to
          conduct (including, to the extent practicable study objectives and design, age groups, relevant
          endpoints, and statistical approach); any request for a deferral, partial waiver, or waiver, if
          applicable, along with any supporting documentation, and any previously negotiated pediatric
          plans with other regulatory authorities. The PSP should be submitted in PDF and Word format.




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          Failure to include an agreed iPSP with a marketing application could result in a refuse to file
          action.

          For additional guidance on the timing, content, and submission of the PSP, including a PSP
          Template, please refer to the draft guidance for industry, Pediatric Study Plans: Content of and
          Process for Submitting Initial Pediatric Study Plans and Amended Pediatric Study Plans at:
          http://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/U
          CM360507.pdf. In addition, you may contact the Division of Pediatric and Maternal Health at
          301-796-2200 or email pdit@fda.hhs.gov.
          For further guidance on pediatric product development, please refer to:
          http://www.fda.gov/Drugs/DevelopmentApprovalProcess/DevelopmentResources/ucm049867.ht
          m.

          DATA STANDARDS FOR STUDIES
          CDER strongly encourages IND sponsors to consider the implementation and use of data
          standards for the submission of applications for investigational new drugs and product
          registration. Such implementation should occur as early as possible in the product development
          lifecycle, so that data standards are accounted for in the design, conduct, and analysis of clinical
          and nonclinical studies. CDER has produced a web page that provides specifications for sponsors
          regarding implementation and submission of clinical and nonclinical study data in a standardized
          format. This web page will be updated regularly to reflect CDER's growing experience in order
          to meet the needs of its reviewers. The web page may be found at:
          http://www.fda.gov/Drugs/DevelopmentApprovalProcess/FormsSubmissionRequirements/Electr
          onicSubmissions/ucm248635.htm.

          LABORATORY TEST UNITS FOR CLINICAL TRIALS
          CDER strongly encourages IND sponsors to identify the laboratory test units that will be
          reported in clinical trials that support applications for investigational new drugs and product
          registration. Although Système International (SI) units may be the standard reporting
          mechanism globally, dual reporting of a reasonable subset of laboratory tests in U.S.
          conventional units and SI units might be necessary to minimize conversion needs during review.
          Identification of units to be used for laboratory tests in clinical trials and solicitation of input
          from the review divisions should occur as early as possible in the development process. For
          more information, please see the FDA web Page entitled “CDER/CBER Position on Use of SI
          Units for Lab Tests” found at
          http://www.fda.gov/ForIndustry/DataStandards/StudyDataStandards/ucm372553.htm .

          ACTION ITEMS
            Action Item/Description                 Owner                          Due Date
          Design the study to rule out      Merck                        TBD
          a response rate of 15% and
          revise the eligibility criteria
          to exclude patients who
          have received a monoclonal
          antibody within two weeks
          (rather than 4 weeks).




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          Submit a revised protocol.
          Submit a meeting request to         Merck                    TBD
          discuss results from the
          planned interim analysis.
                                    (b) (4)
                                              Merck                    TBD



                                              Merck                    TBD



          Submit a request for                Merck                    TBD
          Breakthrough Therapy
          designation. Include the
          results from an independent
          review of responses.
          Revise the informed                 Merck                    TBD
          consent document to
          provide available therapy
          information.

          ATTACHMENTS AND HANDOUTS
          Merck’s presentation

          POST-MEETING ADDENDUM
          After further discussion, FDA will agree to review a request for breakthrough designation prior
          to full independent review of responses from Study KN016. FDA continues to recommend that
          Merck obtain the independent review as soon as possible and prior to a sBLA submission.




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                                    OHOP’s End-of-Phase 2
                        General Advice for Planned Marketing Applications
          NDA and BLA applications must comply with all applicable statutes and regulations (e.g. 21
          CFR 314, 21 CFR Part 201, and 21 CFR Parts 600 and 601). In addition, FDA has published
          many guidance documents (available at
          www.fda.gov/RegulatoryInformation/Guidances/default.htm) that contain important information
          necessary for preparing a complete, quality application.

          FDA’s methodology and submission structure for regulatory applications supports research study
          design, as indicated in the Guidance to Industry, Providing Regulatory Submissions in Electronic
          Format - Human Pharmaceutical Product Applications and Related Submissions Using the
          eCTD Specifications and the Study Data Specifications. Our methodology and submission
          structure also supports integrating study data collection for Safety and Efficacy study
          submission. Each study should be complete and evaluated on its own merits. The
          sponsor/applicant should maintain study data independently in the SEND datasets for non­
          clinical tabulations, SDTM datasets for clinical tabulations, and ADaM datasets for analyses
          tabulations. (See SEND, SDTM and ADaM as referenced in Study Data Specifications). Study
          analyses datasets should be traceable to the tabulations datasets.

          The PDUFA REAUTHORIZATION PERFORMANCE GOALS AND PROCEDURES FISCAL
          YEARS 2013 THROUGH 2017 guidance provides specific requirements for electronic
          submissions and standardization of electronic drug application data. Sponsors/Applicants should
          design and implement data standardization in all research protocols to be included in regulatory
          submissions, as required, based on the timing for implementation of the research. The non­
          clinical and clinical research study designs should include concise and complete explanation for
          implementation of data standardization in the data collection section of the protocol. The
          sponsor/applicant should use the Clinical Data Interchange Standards Consortium (CDISC)
          Technical Road Map to design end-to-end harmonized data standardization, including the
          Clinical Data Acquisition Standards Harmonization (CDASH) standard for design and
          implementation of data collection instruments.

          The Study Data Specifications provide the current specifications for submissions. The
          specifications provide the most conducive data content definition and structure for the review
          team. The review team assigned to the submission determines the acceptability. Therefore, you
          are encouraged to follow this best practice noted in the Study Data Specifications, “prior to
          submission, sponsors should discuss with the review division the datasets that should be
          provided, the data elements that should be included in each dataset and the organization of the
          data within the file”.

          In addition, please reference the CDER Common Data Standards Issues Document for further
          information on data standardization in submissions. The purpose of the document is to highlight
          important aspects of CDISC and STDM datasets that should be addressed by the
          Sponsor/Applicant regarding submission of CDISC data in support of an application for
          registration. In addition to the information and guidance provided at the above FDA link and
          CDISC links contained therein, the Division Oncology Products 2 (DOP2) has attached a




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          separate document that details additional Oncology Specific domains and variables that we
          request be used for all oncology submissions. These domains and variable specifications have
          been developed by CDISC and will be included in the implementation guidance in the near
          future. DOP2 is using these domains.

          Additional Links:

          Electronic Regulatory Submissions and Review Helpful Links
          Electronic Common Technical Document (eCTD)

          Based on our experience with marketing applications, the following tables focus on specific
          areas of an application and are intended to help you plan and prepare for submitting a quality
          application. These comments do not include all issues you need to consider in preparing an
          application, but highlight areas where we have seen problems and/or issues that can delay our
          timely review of applications. These are general comments; if you believe some are
          inapplicable to your planned application, we encourage you to provide justification and
          discuss it with us.

          GENERAL
          Special Protocol Assessment (SPA) Requests
          1) It is strongly recommended that you discuss protocols for SPA request at an EOP2 meeting.
             The SPA protocol should be limited to one indication. Discussions of other indications may
             wru.Tant another meeting. In addition, the Agency may agree that a specific finding (e.g., a
             particular p-value on the prima.iy efficacy endpoint) of a study will satisfy a specific
             objective (e.g., demonstration of efficacy) or support an approval decision. However, final
             determinations a.i·e made after a complete review of a marketing application and are based on
             the entire data in the application.
          SPA Requests for a Single Trial Intended to Support Marketing Approval
          Note: You may also avvly these concevts to a trial for which you are not seekinK SPA af!reement.
          2) If the protocol for your SPA request is intended to be used as the sole registration trial to
             suppo1t ma.i·keting approval, this single trial should be optimally designed and the
             development program optimally planned. Therefore, you should address the following in
             your SPA request, and you may also briefly describe these items in your EOP2 meeting
             briefing document:
                • Justification of why a single trial and not multiple trials are appropriate or not possible
                    for drng development and ma.i·keting approval for an NME or substantially different
                    indication (e.g., a study is designed to show a clinically meaningful effect on m01tality,
                    ineversible morbidity, or prevention of disease with potentially serious outcome and
                    confnmation of the result in a second trial would be practically or ethically impossible.
                    See 'Guidance for Industry: Providing Clinical Evidence ofEffectiveness for Human
                    Drugs and Biological Products').
                • A description of your drng development plan, including each indication that is being (or
                    has been) studied and a timetable for submission of the planned studies. You should
                    also include infonnation on where the drng/biologic is marketed outside of the U.S. or
                    indicate if an application for the dtug/biologic has been submitted to forei!m re~lators.
          Additional Content for SPA Request Submission




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          Note: You may also app~y some of the concepts below to trials for which you are not seeking SPA
          af!.reement.
          3) Please submit/address the items below in your SPA request.
                 • The protocol must be complete, including a FINAL detailed statistical analysis plan for
                     the evaluation of prima1y and seconda1y clinical trial endpoints that potential claims
                     will be sought. The cover letter should identify the need for an expe1t statistical review
                     if the planned trial includes (1) adaptive design, (2) enrichment design, (3) 110 11-
                     inferiority hypotheses, or (4) novel, new or composite endpoints.
                 • If study is blinded, discuss toxicities of agents (or regimens) that may unmask blinding.
                 • If radiologic, you should discuss whether au external radiological review will be
                     perfo1med of primaiy endpoint
                 • If yom trial uses an in vitro diagnostic test to identify the treatment population, you
                     should meet with CDRH to discuss the plai1s for co-development of the diagnostic test
                     prior to the SPA request. Also, you should provide your plans for a commercially
                     available test at the time of proposed approval. The testing procedure used in your
                     clinical trial should be identical (or "bridged") to your proposal for a c01mnercial kit.
                 • If registration trial is to be primarily completed outside of the U.S. , the following issues
                     need to be addressed:
                          ► How assessment of safety and efficacy of U.S. minorities will be examined
                              (e.g., will another study be conducted?)
                          ► Applicability of comparator treatment or of disease chai·acteristics to U.S.
                                                        population
                 • Any single aim submission should be accompanied by an adequate explanation of the
                     reasons a randomized trial cailllot be perfonned. Please refer to the transcripts for the
                     Febrnaiy 8, 2011 ODAC 011 Accelerated Approval for Committee recommendations 0 11
                     single aim trials:
                     (www.fda.gov/downloads/Advis01yC01mnittees/CommitteesMeetingfyfaterials/Drngs/O
                     ncolo!!icDnrn.sAdviso1vCommittee/UCM245644 .odf).
          Accelerated or Regular Approval:
          4) You should include a statement of whether you are seeking approval U11der 2 1 CFR 314
               Subpaii H/21 CFR 601 Subpait E (accelerated approval) or regulai· approval in your meeting
               briefing document, SPA request and NDA/BLA submission. If seeking accelerated approval,
               there should be a description of all protocols for confnmato1y trials (including a timetable for
               expected trial initiation(s), completion of the planned trial(s), submission of final clinical
               study repo1t(s)) in your SPA request and NDAIBLA submission. Under §314.510 and
               601.41 , confnmato1y trials would usually be unde1way at the time of accelerated approval.
               Please refer to the transcripts for the Febrna1y 8, 2011 ODAC 0 11 Accelerated Approval for
               Committee recommendations on the timing and number of confnmato1y trials:
               (www.fda.gov/downloads/Advis01yCommittees/CommitteesMeetingMaterials/Drngs/Oncolo
               gicDrngsAdvis01yC01mnittee/UCM245644.pdf) .
                 • If sunogate endpoint is being used for accelerated approval, you should justify (i.e.,
                     from the literature) why the proposed effect 011 this SUITogate is reasonably likely to
                     predict clinical benefit.

              NDA/BLA content and format




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              CLINICAL

           1) Original versions of all protocols, statistical analysis plans, Data Safety Monitoring Board
              (DSMB) and adjudication committee chaiiers, and all amendments.
          2) Minutes of all DSMB and efficacy endpoint review/adjudication committee meetings.
          3) hlvestigator instrnctions that may have been produced in addition to the protocol and
             investigator brochure
          4) All randomization lists and, if used, IVRS datasets (in SAS transport fo1mat)
           5) All datasets used to track adjudications (in SAS transp01t fo1mat)
          6) A Reviewers Guide to the data submission that includes, but is not litnited to the following:
            a) description of files and documentation
            b) description of selected analysis datasets
            c) key variables of interest, including efficacy and safety vai·iables
            d) SAS codes for sub-setting and combining datasets
            e) coding dictionary used
            f) methods of handling missing data
            g) list of variable contained in eve1y dataset
            h) listing of raw data definitions
            i) analysis data definitions
            j) a1111otated CRF (the a1111otated CRF should contain links co1111ecting to the document that
               defines the variable name and lists the data sets that contain the specific item)
            k) documentation of programs
          7) Clinical study repo1i(s) for all trials (should follow the ICH E3 Strncture and Content of
             Clinical Study Repo1ts guidance
             (www.fda.gov/downloads/Regulatoryhlfo1mation/Guidances/UCM129456.Qdf) .
          8) Pediatric Studies:
             All applications for new active ingredients, new dosage forms, new indications, new routes
             of administration, and new dosing regimens ai·e required to contain an assessment of the
             safety and effectiveness of the product in pediatric patients unless this requirement is exempt
             (i.e. 01phan designation), waived or defe1Ted. The Food and Drng Administration Safety and
             Innovation Act of2012 changes the timeline for submission of a PREA Pediatric Study Plan
             and includes a timeline for the implementation of these changes. You should review this law
             and assess if your application will be affected by these changes. If you have any questions,
             please email the FDA Pediatric Team at Pedsdmgs@fda.hhs.gov. You may also refer to the
             following FDA website:
             http://www.fda.gov/Drngs/Develo12mentA1212rovalProcess/Develo12mentResources/ucm04986
             7.htm


          9) Quantitative Safety Analysis Plan (OSAP):
              The QSAP should state the adverse events of special interest (AESI), the data to be collected
              to chai·acterize AESis, and quantitative methods for analysis, smnma1y and data presentation.




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              The QSAP provides the framework to ensure that the necessary data to understand the
              premarketing safety profile are obtained, analyzed and presented appropriately. When
              unanticipated safety issues are identified the QSAP may be amended. At a minimum the
              Safety Analysis Plan should address the following components:
              a) Study design considerations (See: FDA Guidance to Industry: Premarketing Risk
                 Assessment,
                 (www.fda.gov/downloads/Dmgs/GuidanceCom12lianceReg11lato1:yinfo1mation/Guidances
                 /ucm072002.pdf).
              b) Safety endpoints for Adverse Events of Special Interest (AERI)
              c) Definition of Treatment Emergent Adverse Event (TEAE)
              d) Expert adjudication process (Expe1t Clinical Committee Chaiter or Independent
                 Radiology Review Cha1ter))
              e) Data/Safety Monitoring Committee (DSMC): (Attach Charter to QSAP)
              f) Analytical methods (e.g., data pooling or evidence synthesis): statistical principles and
                 sensitivity analyses considered.
           10) Integrated summaries of safety and effectiveness (ISS/ISE) as required by 21 CFR 314.50
              and in confo1mance with the following guidance documents:
              a) Integrated Summaries of Effectiveness and Safety: Location Within the Common
                  Technical Document
                  (www.fda.gov/downloads/Dmgs/GuidanceCom12lianceRe8!!lat01:yinfo1mation/Guidances
                  /UCMl 36174.pdf)
              b) Cancer Drng and Biological Products-Clinical Data in Marketing Applications
                  (www.fda.gov/downloads/Dmgs/GuidanceCom12lianceRegulat01:yinfo1mation/Guidances
                  /ucm071323 .Qdf)
           11) Perfo1m the following Standard MedDRA Queries (SMQs) on the ISS adverse event data and
               include the results in your ISS repo1t. Also, provide any additional SMQ that may be useful
               based on your assessment of the safety database. Be sure the version of the SMQ that is used
               co1Tesponds to the same version ofMedDRA used for the ISS adverse event data.
           12) A statement that the manufacturing facilities ai·e ready for inspection upon FDA receipt of
               the application
           13) A chronology of prior substantive communications with FDA and copies of official
               meeting/telecom minutes.
           14) References:
              There should be active links from lists of references to the referenced ali.icle.
          Studies, Data And Analyses
           15) Provide a table listing all of the manufacturing facilities (e.g. drng product, drng substance,
              packaging, contrnl/testing), including name of facility, full address including sfreet, city,
              state, country, FEI number for facility (if previously registered with FDA), full name and
              title, telephone, fax number and email for on-site contact person, the manufacturing
              responsibility and function for each facility, and DMF number (if applicable).
           16) Provide a table with the following columns for each of the completed Phase 3 clinical trials:




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              a) Site number
              b) Principle investigator
              c) Location: City State, Country
              d) Number of subjects screened
              e) Number of subjects randomized
              f) Number of subjects treated who prematurely discontinued (or other characteristic of
                 interest that might be helpful in choosing sites for inspection)
              g) Number of protocol violations (Major, minor, including definition)
          17) Provide an assessment of safety as per the Guidance for Industry: Premarketing Risk
              Assessment
              (www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/uc
              m072002.pdf).
          18) Provide detailed information, including a narrative (data listings are not an acceptable
              substitute for a narrative), for all patients who died while on study or who terminated study
              drug or participation in the study prematurely including those categorized as other, lost to
              follow up, physician decision, or subject decision. Narrative summaries should contain the
              following components:
              a) subject age and gender
              b) signs and symptoms related to the adverse event being discussed
              c) an assessment of the relationship of exposure duration to the development of the adverse
                  event
              d) pertinent medical history
              e) concomitant medications with start dates relative to the adverse event
              f) pertinent physical exam findings
              g) pertinent test results (for example: lab data, ECG data, biopsy data)
              h) discussion of the diagnosis as supported by available clinical data
              i) a list of the differential diagnoses, for events without a definitive diagnosis
              j) treatment provided
              k) re-challenge and de-challenge results (if performed)
              l) outcomes and follow-up information
              m) an informed discussion of the case, allowing a better understanding of what the subject
                  experienced.
          19) Provide complete case report forms (CRFs) for all patients with serious adverse events, in
              addition to deaths and discontinuations due to adverse events. You should be prepared to
              supply any additional CRFs with a rapid turnaround upon request.
          20) Provide reports for any autopsies conducted on study.
          21) For patients listed as discontinued to due “investigator decision,” “sponsor request,”
              “withdrew consent,” or “other,” the verbatim reason for discontinuation (as written in the
              CRF) should be reviewed to ensure that patients did not dropout because of drug-related
              reasons (lack of efficacy or adverse effects). If discrepancies are found between listed and
              verbatim reasons for dropout, the appropriate reason for discontinuation should be listed and




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              patient disposition should be re-tabulated. In addition, the verbatim description from the CRF
              should be included as a variable in the adverse event data set.
          22) Regulations require that the safety and effectiveness data be presented for subgroups
             including “by gender, age, and racial subgroups”. Therefore, as you are gathering your data
             and compiling your application, we request that you include this data and pertinent analysis
          23) The clinical information contained in the NDA/BLA will be reviewed utilizing the CDER
             Clinical Review Template. Details of the template may be found in the Manual of Policies
             and Procedures (MAPP) 6010.3
             (www.fda.gov/downloads/AboutFDA/ReportsManualsForms/StaffPoliciesandProcedures/uc
             m080121.pdf). To facilitate the review, we request you provide analyses and discussion,
             where applicable, that will address the items in the template, including:
             a) Other Relevant Background Information – important regulatory actions in other countries
                 or important information contained in foreign labeling.
             b) Exposure-Response Relationships – important exposure-response assessments.
             c) Less common adverse events (between 0.1% and 1%).
             d) Laboratory Analyses focused on measures of central tendency. Also provide the normal
                 ranges for the laboratory values.
             e) Laboratory Analyses focused on outliers or shifts from normal to abnormal. Also provide
                 the criteria used to identify outliers.
             f) Marked outliers and dropouts for laboratory abnormalities.
             g) Analysis of vital signs focused on measures of central tendencies.
             h) Analysis of vital signs focused on outliers or shifts from normal to abnormal.
             i) Marked outliers for vital signs and dropouts for vital sign abnormalities.
             j) A comprehensive listing of patients with potentially clinically significant laboratory or
                 vital sign abnormalities should be provided. Also, a listing should be provided of patients
                 reporting adverse events involving abnormalities of laboratory values or vital signs, either
                 in the “investigations” SOC or in a SOC pertaining to the specific abnormality. For
                 example, all AEs coded as “hyperglycemia” (SOC metabolic) and “low blood glucose”
                 (SOC investigations) should be tabulated. Analyses of laboratory values should include
                 assessments of changes from baseline to worst value, not simply the last value.
             k) Overview of ECG testing in the development program, including a brief review of the
                 nonclinical results.
             l) Standard analyses and explorations of ECG data.
             m) Overdose experience.
             n) Analysis and summary of the reasons and patterns of discontinuation of the study drug.
                 Identify for each patient the toxicities that result in study discontinuation or dose
                 reduction.
             o) Explorations for:
                 i) Possible factors associated with a higher likelihood of early study termination;
                     include demographic variables, study site, region, and treatment assignment.
                 ii) Dose dependency for adverse findings, which should be supported by summary tables
                     of the incidence of adverse events based on the cumulative dose and the average dose
                     administered.




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                 iii) Time dependency for adverse finding, which should be supported by analyses
                      summarizing the length of time subjects experience adverse events and whether
                      recove1y occurs during ti-eatment.
                 iv) Drng-demographic interactions
                 v) Drng-disease interactions
              p) Drng-drng interactions
                 i) Dosing considerations for important drug-drug interactions.
                 ii) Special dosing considerations for patients with renal insufficiency, patients with
                      hepatic insufficiency, pregnant patients, and patients who are nursing.
          24)Marketing applications must include the clinical evaluation of the potential for QT/QTc
             interval prolongation (see ICH E14). In oncology, alternative proposals to the "TQT" study
             may be appropriate. Provide all appropriate data as well as a clinical study report for any
             study perfo1med to evaluate QT/QTc prolongation.
          Financial Disclosure Information
          25) Marketing applications must include ce1tain infonnation concerning the compensation to,
              and financial interests of, any clinical investigator conducting clinical studies, including
              those at foreign sites, covered by the regulation. This requires that investigators provide
              infonnation to the sponsor during the course of the study and after completion. See
              Guidance for Industty - Financial Disclosure by Clinical Investigators
              (www.fda.gov/Regulato1:yI11fo1mafion/Guidances/ucml26832.htm).

          Physician's Labelin2 Rule
             Hi2hli2hts
           1) Type size for all labeling info1mation, headings, and subheadings must be a minimum of 8
              points, except for tt·ade labeling. This also applies to Contents and the FPL [See 21 CFR
              201.57(d)(6) and Implementation Guidance]
          2) The Highlights must be limited in length to one-half page, in 8 point type, two-column
             fo1mat. [See 21 CFR 201.57(d)(8)]
          3) The highlights limitation statement must read as follows: These highlights do not include all
             the info1mation needed to use [inse1t name of drng product] safely and effectively. See full
             prescribing info1mation for [inse1t name of drng product]. [See 21 CFR 201.57(a)(l)]
          4) The drng name must be followed by the drng's dosage fonn, route of administt·ation, and
             controlled substance symbol. [See 21 CFR 201.57(a)(2)]
           5) The boxed warning is not to exceed a length of 20 lines, requires a heading, must be
              contained within a box and bolded, and must have tl1e verbatim statement "See full
              prescribing info1mation for complete boxed warning." Refer to 21 CFR 201.57(a) (4) and to
              www.fda.gov/Drngs/GuidanceCom12lianceRegylato1:yinfo1mation/LawsActsandRules/ucm08
              4159.htm for fictitious examples of labeling in the new format (e.g., Imdicon and Fantom).
          6) For recent major changes, the conesponding new or modified text in the Full Prescribing
             Info1mation (FPI) must be marked with a vertical line ("margin mark") on the left edge. [See
             21 CFR 201.57(d) (9) and Implementation Guidance1. Recent maior changes aoolv to only 5




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              sections (Boxed Warning; Indications and Usage; Dosage and Administration;
              Contraindications; Warnings and Precautions).
          7) The new mle [21 CFR 201.57(a)(6)] requires that if a product is a member of an established
             phannacologic class, the following statement must appear under the Indications and Usage
             heading in the Highlights:
                        (a) "(Drng/Biologic Product) is a (name of class) indicated for (indication(s))."
           8) Propose an established pharmacologic class that is scientifically valid AND clinically
              meaningfol to practitioners or a rationale for why pharmacologic class should be omitted
              from the Highlights.
          9) Refer to 21 CFR 201.57 (a) (11) regarding what info1mation to include under the Adverse
             Reactions heading in Highlights. Remember to list the criteria used to dete1mine inclusion
             (e.g., incidence rate).
           10) A general customer service email address or a general link to a company website cannot be
               used to meet the requirement to have adverse reactions repo1ting contact info1mation in
               Highlights. It would not provide a strnctured fo1mat for repo1ting. [See 21 CFR 201.57 (a)
               (11)].
           11) Do not include the pregnancy catego1y (e.g., A, B, C, D, X) in Highlights
           12) The Patient Counseling Info1mation statement must appear in Highlights and must read "See
               17 for PATIENT COUNSELING INFORMATION." [See 21 CFR 201.57(a)(14)]
           13) A revision date (i.e. , Revised: month/year) must appear at the end of Highlights. [See 21
               CFR 201.57(a) (15)]. For a new NDA, BLA, or supplement, the revision date should be left
               blank at the time of submission and will be edited to the month/year of application or
               supplement approval.
           14) A horizontal line must separ·ate the Highlights, Contents, and FPL [See 21 CFR 201.57(d)(2)]
              Table of Contents
           15) The headings and subheadings used in the Contents must match the headings and
               subheadings used in the FPL [See 21 CFR 201.57(b)]
           16) The Contents section headings must be in bold type. The Contents subsection headings must
               be indented and not bolded. [See 21 CFR 201.57(d)(10)]
           17) Create subsection headings that identify the content. Avoid using the word General, Other, or
               Miscellaneous for a subsection heading.
           18) Only section and subsection headings should appear in Contents. Headings within a
               subsection must not be included in the Contents.
           19) When a subsection is omitted, the numbering does not change [see 21 CFR 201.56(d) (1)].
               For example, under Use in Specific Populations, subsection 8.2 (Labor and Delive1y) is
               omitted. It must read as follows:
                              8.1 Pregnancy
                              8.3 Nursing Mothers (not 8.2)
                              8.4 Pediatric Use (not 8.3)




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                             8.5 Geriatric Use (not 8.4)
          20) When a section or subsection is omitted from the FPI, the section or subsection must also be
              omitted from the Contents. The heading "Full Prescribing Infonnation: Contents" must be
              followed by an asterisk and the following statement must appear at the end of the Contents:
          "*Sections or subsections omitted from the Full Prescribing Info1mation are not listed."
              Full Prescribing Information (FPI)
          22) Only section and subsection headings should be numbered. Do not number headings within a
              subsection (e.g. , 12.2.1 Central Nervous System). Use headings without numbering (e.g.,
              Central Nervous System).
          23) Other than the required holding [See 21 CFR 201.57(d) (1), (d) (5), and (d) (10)] , use bold
              print sparingly. Use another method for emphasis such as italics or underline.
          24) Do not refer to adverse reactions as "adverse events." Please refer to the "Guidance for
              Industiy: Adverse Reactions Sections of Labeling for Human Prescription Dmg and
              Biological Products - Content and F01mat"
              (www.fda.gov/downloads/Dmgs/GuidanceCom12lianceRefililat01:yinfo1mation/Guidances/uc
              m075057.Qd!).
          25) The prefen-ed presentation of cross-references in the FPI is the section (not subsection)
              heading followed by the numerical identifier. For example, [see Use in Specific Populations
              (8.4)] not See Pediatric Use (8.4). The cross-reference should be in brackets. Because cross-
              references are embedded in the text in the FPI, the use of italics to achieve emphasis is
              encouraged. Do not use all capital letters or bold print. [See Implementation Guidance,
              h!!Q://www.fda.gov/downloads/Dmgs/GuidanceComplianceRegulato1:yinfonnation/Guidance
              s/ucm075082.Qdfl
          26) Include only references that are important to the prescriber. [See 21 CFR 201.57(c)(16)]
          27) Patient Counseling Info1mation must follow after How Supplied/Storage and Handling
              section. [See 21 CFR 201.56(d)(l)] This section must not be written for the patient but rather
              for the prescriber so that important information is conveyed to the patient to use the dmg
              safely and effectively. [See 21 CFR 201.57 (c)(18)]
          28) The Patient Counseling Information section must reference any FDA-approved patient
              labeling or Medication Guide. [See 21 CFR 201.57(c)(18)] The reference [See FDA-
              Approved Patient Labeling] or [See Medication Guide] should appear at the beginning of the
              Patient Counseling Inf01mation section to give it more prominence.
          29) There is no requirement that the Patient Package Inse1t (PPI) or Medication Guide (MG) be a
              subsection under the Patient Counseling Inf01mation section. If the PPI or MG is reprinted at
              the end of the labeling, include it as a subsection. However, if the PPI or MG is attached (but
              intended to be detached) or is a separate document, it does not have to be a subsection, as
              long as the PPI or MG is referenced in the Patient Counseling Information section.
          30) The manufacturer info1mation (See 21 CFR 201.1 for dmgs and 21 CFR 610 - Subpmi G for
              biologics) should be located after the Patient Counseling Inf01mation section, at the end of
              the labeling.




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          31) If the “Rx only” statement appears at the end of the labeling, delete it. This statement is not
              required for package insert labeling, only container labels and carton labeling. [See Guidance
              for Industry: Implementation of Section 126 of the Food and Drug Administration
              Modernization Act of 1997 – Elimination of Certain Labeling Requirements]. The same
              applies to PPI and MG.
          32) Refer to
              www.fda.gov/Drugs/GuidanceComplianceRegulatoryInformation/LawsActsandRules/ucm08
              4159.htm for fictitious examples of labeling in the new format.
          33) Refer to the Institute of Safe Medication Practices’ website
              (http://www.ismp.org/Tools/abbreviationslist.pdf) for a list of error-prone abbreviations,
              symbols, and dose designations.




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               Slides for discussion on May 12th
               2015 Type B Face to Face Meeting




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           Merck accepts the Agency's input on the proposed single
           arm study to support accelerated approval and no further
           discussion is needed.




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        Primary Objective: To determine the immune-related progression free survival (irPFS)
        rate at 20 weeks and objective response rate (irORR) in patients with MSI positive
        and negative colorectal adenocarcinoma and non-colorectal solid tumor
        malignancies treated with MK-3475 using immune related response criteria (irRC).

        •Trial Design
        •Open-label, 2-stage, phase 2 study
        •MK-3475 10mg/kg every 14 days
        •Co-primary endpoints for CRC cohorts (A & B): immune-related PFS at 20 weeks and
        objective response rate using immune related response criteria
        •Primary endpoint for cohort C: immune-related PFS at 20 weeks
        •Secondary endpoints: disease control rate, PFS, OS, and safety
        •Markers of MSI status: BAT-25, BAT-26, MON0-27, NR-21 and NR-24

        •Investigators -
              •    Dung Le, M.D. (Protocol Chair)         Sidney Kimmel Comprehensive Cancer Center
              • Luis Diaz, M.D. (IND sponsor)             Sidney Kimmel Comprehensive Cancer Center
              •   Todd Crocenzi, M.D.                     Providence Medical Center
              •   George Fischer, M.D., Ph.D.             Stanford University
              •   Tim Greten, M.D.                        National Cancer Institute
              •    Richard M. Goldberg, M.D.              The Ohio State University
              •   James Lee, M.D., Ph.D.                  University of Pittsburgh


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                                                        Response to Treatment
                                        Initial Data in the briefing document                      Updated Data

                                   MMR-deficient CRC MMR-proficient CRC            MMR-deficient CRC      MMR-proficient CRC

       Type of Response-no (%)             n=10                    n=25                    n=13                      n=25


       Complete Response                   0 (0)                   0 (0)                   0 (0)                      0 (0)
       Partial Response                   4 (40)                   0 (0)                  8 (62)                      0 (0)
       Stable Disease (Week 12)           5 (50)                  4 (16)                  4 (30)                     4 (16)
       Progressive Disease                1 (10)                  14 (56)                  1 (8)                     14 (56)
       Not Evaluable 1                     0 (0)                  7 (28)                   0 (0)                     7 (28)


       Objective Response Rate
       (%)                                  40                       0                     62                          0
           95%CI                           12-74                   0-1 4                  32-86                       0-14


       Disease Control Rate (%)2            90                      16                      92                         16
          95%CI                                                                           64-100                      5-36
       1Patients were considered not evaluable if they did not undergo a 12 week scan due to clinical progression.


       2The rate of disease control was defined as the percentage of patients who had a complete response, partial response or
       stable disease for 12 weeks or more.


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                                                   dMMR CRC Duration of Benefit

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            100                      MMR-proficient CRC N=25
             90
                                     MMR-deficient CRC N=1 1
             80                                                        100
             70                                                                          -   MMR-proficient CRC N=25
      C      60                                                 C                        -   MMR-deficient CRC N=13
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                                                                                                      OS
                         PFS

                   100                                                                 100
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                    0                                                                    0
                     0   5       10     15    20                                          0       5          10     15   20
                               Months                                                                      Months
       •PFS = 2.3 mos. (MMR-proficient CRC) vs. Not Reached                            •OS= 7.6 mos. (MMR-proficient CRC) vs. Not
       (MMR-deficient CRC)                                                             Reached (MMR-deficient CRC)

       • HR 0.1300 (95% Cl, 0.07251 to 0.3599), p < 0.0001                             • HR 0.1713 (95% Cl, 0.09492 to 0.6793), p < 0.0072




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            Null hypothesis                      ORR= 10%                         ORR= 15%
            Alternative hypothesis               ORR= 27%                         ORR= 35%
            Sample size                          N = 60                           N = 60
            Power                                92%                              93%
            Statistical Success                  Observed ORR > 20%               Observed ORR> 26.7%
            Criterion at Final                   (12/60)                          (16/60)
            Analysis (FA)
            Statistical Success                  Observed ORR > 25%               Observed ORR > 32.5%
            Criterion at Interim                 (10/40)                          (13/40)
            Analysis (IA)




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            • Merck would like to discuss what data package for MSI-H
              small intestinal cancer will be considered sufficient for
              inclusion in the label.
            • An Investigator Initiated Study of small intestinal cancer
              (n=25) including MSI-H evaluation is planned.




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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
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     /s/
     ----------------------------------------------------
     TINA M ENNIS
     06/08/2015




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